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                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                               WESTERN DIVISION


LAMAR COUNTY, ALABAMA,                    )
                                          )
CITY OF VERNON, ALABAMA,                  )
                                          )
and HAL ALLRED, IN HIS CAPACITY AS        )
SHERIFF OF LAMAR COUNTY, ALABAMA          ) Civil Action No. ________________
                                          )
       Plaintiffs,                        )
                                          )
v.                                        ) JURY TRIAL DEMANDED
                                          )
PURDUE PHARMA L.P.,                       )
                                          )
PURDUE PHARMA INC.,                       )
                                          )
THE PURDUE FREDERICK COMPANY,             )
INC.,                                     )
                                          )
TEVA PHARMACEUTICALS USA, INC.,           )
                                          )
CEPHALON, INC.,                           )
                                          )
JOHNSON & JOHNSON,                        )
                                          )
JANSSEN PHARMACEUTICALS, INC.,            )
                                          )
ORTHO-MCNEIL-JANSSEN                      )
PHARMACEUTICALS, INC. n/k/a JANSSEN       )
PHARMACEUTICALS, INC.,                    )
                                          )
JANSSEN PHARMACEUTICA, INC. n/k/a         )
JANSSEN PHARMACEUTICALS, INC.,            )
                                          )
ENDO PHARMACEUTICALS, INC.,               )
                                          )
ALLERGAN PLC f/k/a ACTAVIS PLC,           )
                                          )
ACTAVIS, INC. f/k/a WATSON                )
PHARMACEUTICALS, INC.,                    )
                                          )
WATSON LABORATORIES, INC.,                )

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ACTAVIS LLC,                                                                           )
                                                                                       )
ACTAVIS PHARMA, INC. f/k/a WATSON                                                      )
PHARMA, INC.,                                                                          )
                                                                                       )
ENDO HEALTH SOLUTIONS INC.,                                                            )
                                                                                       )
MALLINCKRODT LLC,                                                                      )
                                                                                       )
INSYS THERAPEUTICS, INC.,                                                              )
                                                                                       )
MCKESSON CORPORATION,                                                                  )
                                                                                       )
CARDINAL HEALTH, INC.,                                                                 )
                                                                                       )
AMERISOURCEBERGEN CORPORATION,                                                         )
                                                                                       )
                Defendants.                                                            )




                                                             COMPLAINT



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       NOW COME the Plaintiffs, Lamar County, Alabama (“Plaintiff,” “County,” or “Lamar

County” or “Lamar”), the City of Vernon, Alabama (“Plaintiff,” “City,” or “City of Vernon” or

“Vernon”), and Hal Allred, in his capacity as Sheriff of Lamar County (“Sheriff”, “Sheriff Allred”

or “Lamar County Sheriff”) through their undersigned counsel, Riley & Jackson, P.C. and

Strawbridge, Strawbridge & Strawbridge, LLC, and for their Complaint against the Defendants

Purdue Pharma L.P.; Purdue Pharma Inc.; the Purdue Frederick Company, Inc.; Teva

Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.;

Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen

Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Endo Health Solutions Inc.; Endo

Pharmaceuticals, Inc.; Allergan plc f/k/a Actavis plc; Actavis, Inc. f/k/a Watson Pharmaceuticals,

Inc.; Watson Laboratories, Inc.; Actavis LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.;

Mallinckrodt LLC; and Insys Therapeutics, Inc.; (collectively, “Manufacturers,” “Manufacturer

Defendants,” or “Defendants”); and McKesson Corporation, Cardinal Health Inc.,                    and

AmerisourceBergen Drug Corporation (collectively, “Distributors,” “Distributor Defendants,” or

“Defendants”) (collectively, “Defendants”) allege as follows:

                                        INTRODUCTION

       1.      Plaintiffs bring this action to address the corporate greed that resulted in Defendants

placing their desire for profits above the health and well-being of consumers and residents of

Lamar County and Vernon.

       2.      To quote Anthony Daniels, Minority Leader of the Alabama House of

Representatives, “It’s been said that ‘what's done in the dark, always comes to light.’ The




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epidemic of opioid addiction that is gaining a foothold in Alabama is no longer a secret - not

when our citizens are dying by the dozens.”1

          3.        Lamar County and Vernon spend significant amounts of taxpayer dollars each year

to provide and pay for health care, services, pharmaceutical care and other necessary services and

programs on behalf of their residents who are indigent or otherwise eligible for services, including

payments through services such as Medicaid for prescription opioid painkillers (“opioids”) which

are manufactured, marketed, promoted, sold, and/or distributed by the Defendants.

          4.        Sheriff Allred operates his department within a budget limited by available

resources. Sheriff Allred is responsible for providing law enforcement services in Lamar County,

including, but not limited to, providing law enforcement response, making arrests, maintaining the

county jail, housing county inmates, feeding county inmates, arranging or contracting for the

provision of necessary health care services to county inmates, and transferring inmates. Sheriff

Allred has been forced to commit a portion of his resources to combating the opioid crisis in Lamar

County.

          5.        Opioids are a controlled substance and are categorized as having a “high potential

for abuse” under Alabama law. See Ala. Code §20-2-24(1)(a).

          6.        Lamar County, Vernon, and Sheriff Allred provide a wide range of other services to

residents, including law enforcement as alleged above, services for families and children, and

public assistance.

          7.        In recent years, Plaintiffs have been forced to expend exorbitant amounts of money,

described further below, due to what is commonly referred to as the “opioid epidemic” and as a

direct result of the actions of Defendants, jointly and severally.


1
    http://www.al.com/opinion/index.ssf/2017/07/opioid_crisis_a_threat_to_all.html

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         8.        The opioid epidemic in Lamar County and Vernon, Alabama, is a continuous public

nuisance and remains unabated.

         9.        Plaintiffs Lamar County and Vernon are each separately responsible for partially

funding a medical insurance plan and workers’ compensation plan for their employees.

         10.       Defendants knew that opioids were effective treatments for short-term post-surgical

and trauma-related pain, and for palliative (end-of-life) care. Yet they also knew–and had known

for years–that opioids are addictive and subject to abuse, particularly when used long-term for

chronic non-cancer pain (pain lasting three months or longer, hereinafter referred to as “chronic

pain”), and should not be used except as a last-resort.

         11.       Defendants further knew–and had known for years–that with prolonged use, the

effectiveness of opioids wanes, requiring increases in doses and markedly increasing the risk of

significant side effects and addiction.2,3

         12.       Defendants also knew that controlled studies of the safety and efficacy of opioids

were limited to short-term use (not longer than 90 days), and in managed settings (e.g., hospitals),

where the risk of addiction and other adverse outcomes was much less significant.

         13.       The U.S. Food and Drug Administration (“FDA”) has expressly recognized that

there have been no long-term studies demonstrating the safety and efficacy of opioids for long-term

use.4

         14.       Prescription opioids, which include well-known brand-name drugs like OxyContin

and Percocet, and generics like oxycodone and hydrocodone, are narcotics. They are derived from

2
  See, e.g., Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in Pain Res. & Mgmt.
247 (1994).
3
  The authoritative Diagnostic and Statistical Manual of Mental Disorders, (5th ed. 2013) (“DSM-V”) classifies addiction as a
spectrum of “substance use disorders” that ranges from misuse and abuse of drugs to addiction. Patients suffer negative
consequences wherever they fall on the substance use disorder continuum. Throughout this Complaint, “addiction” refers to this
range of substance use disorders.
4
  Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians for Responsible
Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).

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or possess properties similar to opium and heroin, which is why they are regulated as controlled

substances.5 Like heroin, prescription opioids work by binding to receptors on the spinal cord and

in the brain, dampening the perception of pain. Opioids also can create a euphoric high, which can

make them addictive. At certain doses, opioids can slow the user’s breathing, causing respiratory

depression and, ultimately, death.

          15.       In order to expand the market for opioids and realize blockbuster profits,

Defendants needed to create a sea change in the medical and public perception that would permit

the use of opioids not just for acute and palliative care, but also for long periods of time to treat

more common aches and pains, like lower back pain, arthritis, and headaches.

          16.       Defendants, through a sophisticated and highly deceptive and unfair marketing

campaign that began in the late 1990s, deepened around 2006, and continues to the present, set out

to, and did, reverse the popular and medical understanding of opioids. Chronic opioid therapy—the

prescribing of opioids to treat chronic pain long-term—is now commonplace.

          17.       To accomplish this reversal, Defendants spent hundreds of millions of dollars: (a)

Developing and disseminating seemingly truthful scientific and educational materials and

advertising that misrepresented the risks, benefits, and superiority of opioids used long-term to

treat chronic pain; (b) deploying sales representatives who visited doctors and other prescribers and

delivered misleading messages about the use of opioids; (c) recruiting prescribing physicians as

paid speakers as a means of both securing those physicians’ future “brand loyalty” and extending

their reach to the physicians’ peers; (d) funding, assisting, encouraging, and directing certain


5
  Since passage of the Controlled Substances Act (“CSA”) in 1970, opioids have been regulated as controlled substances. As
controlled substances, they are categorized in five schedules, ranked in order of their potential for abuse, with Schedule I being the
most dangerous. The CSA imposes a hierarchy of restrictions on prescribing and dispensing drugs based on their medicinal value,
likelihood of addiction or abuse, and safety. Opioids generally had been categorized as Schedule II or Schedule III drugs. Schedule
II drugs have a high potential for abuse, have a currently accepted medical use, and may lead to severe psychological or physical
dependence. Schedule III drugs are deemed to have a lower potential for abuse, but their abuse still may lead to moderate or low
physical dependence or high psychological dependence.

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doctors, known as “key opinion leaders” (“KOLs”), not only to deliver scripted talks, but also to

draft misleading studies, present continuing medical education programs (“CMEs”) that were

deceptive and lacked balance, and serve on the boards and committees of professional societies and

patient advocacy groups that delivered messages and developed guidelines supporting chronic

opioid therapy; and (e) funding, assisting, directing, and encouraging seemingly neutral and

credible professional societies and patient advocacy groups (referred to hereinafter as “Front

Groups”) that developed educational materials and treatment guidelines that were then distributed

by Defendants, which urged doctors to prescribe, and patients to use, opioids long-term to treat

chronic pain.

       18.      These efforts, executed, developed, supported, and directed by Defendants, jointly

and severally, were designed not to present a fair view of how and when opioids could be safely

and effectively used, but rather to convince doctors and patients that the benefits of using opioids

to treat chronic pain outweighed the risks and that opioids could be used safely by most patients.

Defendants and the third parties whom they recruited and supported all profited handsomely

through their dissemination of these deceptions. KOLs and Front Groups saw their stature in the

medical community elevated dramatically due to Defendants’ funding, and Defendants saw an

equally dramatic rise in their revenues.

       19.      Working individually, with, and through these Front Groups and KOLs, Defendants

pioneered a new and far broader market for their potent and highly addictive drugs— the chronic

pain market. Defendants persuaded doctors and patients that what they had long understood—that

opioids are addictive drugs and unsafe in most circumstances for long-term use— was untrue, and

to the contrary, that the compassionate treatment of pain required opioids. Ignoring the limitations

and cautions in their own drugs’ labels, Defendants: (a) Overstated the benefits of chronic opioid



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therapy, promised improvement in patients’ function and quality of life, and failed to disclose the

lack of evidence supporting long-term use; (b) trivialized or obscured their serious risks and

adverse outcomes, including the risk of addiction, overdose, and death; (c) overstated their

superiority compared with other treatments, such as other non-opioid analgesics, physical therapy,

and other alternatives; and (d) mischaracterized the difficulty of withdrawal from opioids and the

prevalence of withdrawal symptoms. There was, and is, no reliable scientific evidence to support

Defendants’ marketing claims, and there was, and is, a wealth of scientific evidence that these

claims are false. Defendants also deceptively and unfairly marketed the drugs for indications and

benefits that were outside of the drugs’ labels and not supported by substantial evidence.

       20.     Even Defendants’ KOLs initially were very cautious about whether opioids were

appropriate to treat chronic pain. Some of these same KOLs have since recanted their pro-opioid

marketing messages and acknowledged that Defendants’ marketing went too far. Yet despite the

voices of renowned pain specialists, researchers, and physicians who have sounded the alarm on

the overprescribing of opioids to treat chronic pain, Defendants continue to disseminate their

misleading and unfair marketing claims to this day.

       21.     Defendants’ efforts were wildly successful. The United States is now awash in

opioids. In 2012, health care providers wrote 259 million prescriptions for opioid painkillers—

enough to medicate every adult in America around the clock for a month. Twenty percent of all

doctors’ visits in 2010 resulted in the prescription of an opioid, nearly double the rate in 2000.

Opioids—once a niche drug—are now the most prescribed class of drugs—more than blood

pressure, cholesterol, or anxiety drugs. While Americans represent only 4.6% of the world’s

population, they consume 80% of the opioids supplied around the world and 99% of the global




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hydrocodone supply. Together, opioids generated $8 billion in revenue for drug companies in

2012.

         22.      It was Defendants’ marketing—and not any medical breakthrough—that

rationalized prescribing opioids for chronic pain and opened the floodgates of opioid use and

abuse. The result has been catastrophic for the nation as a whole and for the residents of Lamar

County and Vernon specifically.

         23.      There is a direct correlation between the sales of opioids and deaths and

hospitalizations caused by opioids6:




         Source: Annual Review of Public Health

         24.      According to the U.S. Centers for Disease Control and Prevention (“CDC”), the

nation has been swept up in an opioid-induced “public health epidemic.”7 According to the CDC,

6
 The Prescription Opioid and Heroin Crisis: A Public Health Approach to an Epidemic of Addiction., Annu. Rev. Public Health
2015, accessed at http://www.annualreviews.org/doi/pdf/10.1146/annurev-publhealth-031914-122957

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prescription opioid use contributed to 16,651 overdose deaths nationally in 2010; 16,917 in 2011;

and 16,007 in 2012. One Defendant’s own 2010 internal data shows that it knew that the use of

prescription opioids gave rise to 40% of drug-related emergency department visits in 2010 and

40% of drug poisoning deaths in 2008, and that the trend of opioid poisonings was increasing from

1999-2008. For every death, more than 30 individuals are treated in emergency rooms.

         25.       Doctors in Alabama prescribe 121 opioid pain relievers per 100 persons, compared

to the national rate of 82.5 per 100 persons.8

         26.       According to the CDC, Alabama’s physicians wrote “an alarming 5.8 million

prescriptions for opioids”, ranking Alabama highest in the nation for opioid prescriptions per

population.9

         27.       As a direct result of the opioid and eventual heroin epidemic, more than 17,000

Americans died from prescription opioids in 2015, and the number continues to grow.10




7
   CDC, Examining the Growing Problems of Prescription Drug and Heroin Abuse (Apr. 29, 2014), accessed at
http://www.cdc.gov/washington/testimony/2014/t20140429.htm.
8
   http://www.mh.alabama.gov/Downloads/COPI/NewsArticles/DecaturDaily100117.pdf;
https://www.jec.senate.gov/public/_cache/files/6c604f91-3d90-4b0e-bdec-25780bfc9167/state-opioid-epidemic-fact-sheets.pdf
9
   https://www.bcbs.com/news/press-releases/opioid-epidemic-grows-alabama-ranks-first-nationally-having-more-opioid
10
     https://www.bloomberg.com/news/articles/2017-06-28/life-after-opioids-drugmakers-scramble-to-concoct-alternatives

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         28.       In 2015, 282 people in Alabama officially died from opioid overdoses. 11 The

unofficial death count from opioid overdoses in Alabama is unknown but is certainly much higher.

         29.       Fatal opioid overdoses in Alabama more than doubled between 2011 and 2016.

         30.       The opioid crisis is taking a heavy toll in Lamar County and Vernon and is taxing

the limited resources of Sheriff Allred’s department.

         31.       Opioids accounted for 44% of overdose deaths in Alabama in 2016.12

         32.       From 2014 to 2015, Alabama was among the top five states reporting an increase in

overdose deaths.13

         33.       Since 2014, Alabama has been the top state in the country for number of painkiller

prescriptions per resident.14

         34.       Enough painkiller prescriptions are written in Alabama to give each resident 1.2

prescriptions per year.15 The national average is 0.71 prescriptions per person.16

11
   https://www.jec.senate.gov/public/_cache/files/6c604f91-3d90-4b0e-bdec-25780bfc9167/state-opioid-epidemic-fact-sheets.pdf
12
   http://www.decaturdaily.com/news/local/opioid-usage-up-and-so-are-fatal-overdoses/article_decf9176-7213-536f-b5e0-
f95c9b10b9a4.html
13
   Id.
14
   http://www.al.com/news/index.ssf/2017/07/pain_pill_prescriptions_drop_y.html

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            35.      The Centers for Medicare and Medicaid Services determined that there are more

Medicare patients in Alabama who receive opioids than any other state.17

            36.      A study by BlueCross and BlueShield revealed that 6.5% of company members

were using long-duration opioids in 2015, in comparison to the national average of 3.8%.18

            37.      The State of Alabama has seen an increase in the number of Hepatitis C cases,

which state health officials believe is caused by the growing drug epidemic. Addicts share needles,

which leads to transmission of Hepatitis C. Alabama’s Hepatitis C trend exceeds the national

average.




            38.      Lamar County and Vernon each have children admitted into the foster care system

due to parental drug abuse and drug addiction.

            39.      Lamar County operates a drug court in Vernon in part to combat substance abuse in

families. The program works with parents to overcome their drug abuse and eventually regain

custody of their children in the foster system.


15
     Id.
16
     http://www.al.com/opinion/index.ssf/2017/07/opioid_crisis_a_threat_to_all.html
17
     http://www.al.com/news/index.ssf/2017/07/pain_pill_prescriptions_drop_y.html
18
     http://www.alreporter.com/2017/08/22/time-fight-opioid-crisis-alabama/

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            40.      A law was passed to allow Alabama pharmacies to distribute naloxone without a

prescription in 2016 in order to prevent opioid deaths.19

            41.      Lamar County, Vernon, and Sheriff Allred have taken steps and will foreseeably

continue to take steps in efforts to combat the opioid epidemic that has been caused by the

Defendants’ actions, jointly and severally. These government efforts come with increased cost and

increased spending.

            42.      The dramatic increase in opioid prescriptions to treat common chronic pain

conditions has resulted in a population of addicts who seek drugs from doctors. When turned down

by one physician, many of these addicts deploy increasingly desperate tactics—including doctor-

shopping, use of aliases, and criminal means—to satisfy their cravings.

            43.      Efforts by doctors to reverse course for a chronic pain patient already on opioids

long-term include managing the physical suffering and psychological distress a patient endures

while withdrawing from the drugs. This process is often thwarted by a secondary criminal market

well-stocked by a pipeline of drugs that is diverted to supply them. Even though they never would

have prescribed opioids in the first place, many doctors feel compelled to continue prescribing

opioids to patients who have become dependent on them.

            44.      According to the CDC, more than 12 million Americans age 12 or older used

prescription painkillers without a prescription in 201020, and adolescents are abusing opioids in

alarming numbers.

            45.      Opioid abuse has not displaced heroin, but rather triggered resurgence in its use,

imposing additional burdens on the county and local agencies that address heroin use and

addiction. According to the CDC, the percentage of heroin users who also use opioid pain relievers


19
     http://www.al.com/business/index.ssf/2017/06/alabama_narcan_naloxone.html
20
     CDC, Prescription Painkiller Overdoses in the US (Nov. 2011), ttps://www.cdc.gov/vitalsigns/painkilleroverdoses/.

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rose from 20.7% in 2002-2004 to 45.2% in 2011-2013. Heroin produces a very similar high to

prescription opioids, but is often cheaper. While a single opioid pill may cost $10-$15 on the street,

users can obtain a bag of heroin, with multiple highs, for the same price. It is hard to imagine the

powerful pull that would cause a law-abiding, middle-aged person who started on prescription

opioids for a back injury to turn to buying, snorting, or injecting heroin, but that is a recognized

proximate result of opioid abuse and addiction.

         46.       According to the National Institute on Drug Abuse, based on data collected from a

2013 study, 80% of heroin users reported using prescription opioids prior to heroin.21

         47.       Dr. Robert DuPont, former director of the National Institute on Drug Abuse, opines

that opioids are more destructive than crack cocaine:

         [Opioid abuse] is building more slowly, but it’s much larger. And the potential[]

         for death, in particular, [is] way beyond anything we saw then. . . . [F]or pain

         medicine, a one-day dose can be sold on the black market for $100. And a single

         dose can [be] lethal to a non-patient. There                     is    no     other      medicine         that

         has     those characteristics.          And if you think about that combination and the

         millions of people who are using these medicines, you get some idea of the

         exposure of the society to the prescription drug problem.22

         48.       Numerous Lamar County and Vernon residents suffer from chronic pain, which

takes an enormous toll on their health, their lives, and their families. These residents deserve both

appropriate care and the ability to make decisions based on accurate and complete information

about treatment risks and benefits. But Defendants’ deceptive and unfair marketing campaign


21
   https://www.drugabuse.gov/publications/research-reports/relationship-between-prescription-drug-heroin-abuse/prescription-
opioid-use-risk-factor-heroin-use
22
   Transcript, Use and Abuse of Prescription Painkillers, The Diane Rehm Show (Apr. 21, 2011),
http://thedianerehmshow.org/shows/2011-04-21/use-and-abuse-prescription-painkillers/transcript.

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deprived these residents and their doctors of the ability to make informed medical decisions and,

instead, caused important, sometimes life-or-death decisions to be made based not on science, but

on hype. Defendants deprived patients, their doctors, and health care payers of the chance to

exercise informed judgment and subjected them to enormous costs and suffering.

       49.    Defendants’ actions are not permitted or excused by the fact that their labels (with

the exception of Cephalon’s labels for Fentora and Actiq) may have allowed, or did not exclude,

the use of opioids for chronic non-cancer pain. The FDA’s approval did not give Defendants

license to misrepresent the risks, benefits, or superiority of opioids. Indeed, what makes

Defendants’ efforts particularly nefarious—and dangerous—is that, unlike other prescription drugs

marketed unlawfully in the past, opioids are highly addictive controlled substances. Defendants

deceptively and unfairly engaged a patient base that—physically and psychologically—could not

turn away from their drugs, many of whom were not helped by the drugs or were profoundly

damaged by them.

       50.    Nor is Defendants’ causal role broken by the involvement of doctors with a

supposed learned intermediary defense. Defendants’ marketing efforts were both ubiquitous and

highly persuasive; their deceptive messages tainted virtually every source on which doctors could

rely for information and prevented doctors from making informed treatment decisions. Defendants

targeted not only pain specialists, but also primary care physicians (PCPs), nurse practitioners,

physician assistants, and other non-pain specialists who were even less likely to be able to assess

the companies’ misleading statements. Defendants were also able to manipulate what doctors

wanted to believe—namely, that opioids represented a means of relieving their patients’ suffering

and of practicing medicine more compassionately.




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          51.       By 2014, nearly two million Americans were either abusing opioid medications or

were dependent on opioids. 23 According to the CDC, opioids have created a “public health

epidemic” as of 2016.24

          52.       Defendants’ marketing campaign has been extremely harmful and has cost

American lives – including lives of residents of Lamar County and Vernon. Deaths from

prescription opioids have quadrupled since 1999. From 2000 to 2014 nearly 500,000 people died

from such overdoses. Seventy-eight Americans die every day from opioid overdoses.25

          53.       It is estimated that, in 2012, 2.1 million people in the United States suffered from

substances use disorders related to prescription opioid pain relievers.26

          54.       The National Institutes of Health (“NIH”) not only recognizes the opioid abuse

problem, but also identifies Defendants’ “aggressive marketing” as a major cause: “Several factors

are likely to have contributed to the severity of the current prescription drug abuse problem. They

include drastic increases in the number of prescriptions written and dispensed, greater social

acceptability for using medications for different purposes, and aggressive marketing by

pharmaceutical companies.” 27 As shown below, the “drastic increases in the number of

prescriptions written and dispensed” and the “greater social acceptability for using medications for

different purposes“ are not really independent causative factors but are in fact the direct result of

“the aggressive marketing by pharmaceutical companies.”




23
      CDC, Injury Prevention & Control: Opioid Overdose, Prescription Opioids, Addiction and Overdose. Available at
http://www.cdc.gov/drugoverdose/opioids/prescribed.html.
24
       CDC,      Examining     the    Growing     Problems     of     Prescription     Drug    and    Heroin    Abuse,     (Apr. 29, 2014),
http://www.cdc.gov/washington/testimony/2014/ts0140429.htm.
25
   CDC, Injury Prevention & Control: Opioid Overdose, Understanding the Epidemic.
26
   Substance Abuse and Mental Health Services Administration, Results from the 2012 National Survey on Drug Use and Health: Summary of
National Findings, NSDUH Series H- 46, HHS Publication No. (SMA) 13-4795. Rockville, MD: Substance Abuse and Mental Health Services
Administration, 2013.
27
    America’s Addiction to Opioids: Heroin and Prescription Drug Abuse. Available at http://www.drugabuse.gov/about-nida/legislative-
activities/testimony-to- congress/2015/americas-addiction-to-opioids-heroin-prescription-drug-abuse#_ftn2. (emphasis added).


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            55.       The rising numbers of persons addicted to opioids have led not only to an increase

in health care costs to Lamar County and Vernon, but also a major increase in issues such as drug

abuse, diversion,28 and crimes related to obtaining opioid medications. Lamar County, Vernon, and

Sheriff Allred’s office have been severely and negatively impacted due to the fraudulent

misrepresentations and omissions by Defendants regarding the use and risk related to opioids. In

fact, Defendants have been and continue to be aware of the high levels of diversion of their

product.

            56.       Due to the conduct of the Defendants, the commission of criminal acts has been

undertaken not only by individuals seeking to obtain opioids, but by physicians themselves. The

actions of Defendants have created an environment where select physicians have sought to profit at

the expense of their patients who become addicted to opioid pain medications, often accepting cash

payments and ordering unnecessary medical tests, again at Plaintiffs’ expense.

            57.       As a direct and foreseeable consequence of Defendants’ wrongful conduct,

Plaintiffs have been required to spend significant funds each year in their efforts to combat the

public nuisance created by Defendants’ deceptive marketing campaign. Plaintiffs have incurred and

continue to incur costs related to opioid addiction and abuse, including, but not limited to, health

care costs, criminal justice and victimization costs, law enforcement costs, jail costs, social costs,

and lost productivity costs. Defendants’ misrepresentations regarding the safety and efficacy of

long-term opioid use proximately caused injury to Plaintiffs and their residents.

            58.       Plaintiff brings this action against Defendants seeking damages necessary to recoup

the costs incurred by the Plaintiffs as a result of the public nuisance and drug-related nuisance

caused by the Defendants and damages necessary to eliminate the hazard to public health and


28
     The CDC defines using or obtaining opioids illegally as “diversion.”

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safety as well as abatement of the public nuisance, including both injunctive relief and an

abatement fund.

                                   JURISDICTION AND VENUE

        59.      This C o u r t has personal jurisdiction over the Defendants as they individually and

collectively engaged in systematic and continuous contacts with Alabama sufficient to establish

jurisdiction over each Defendant. Exercising jurisdiction over each Defendant would not offend

traditional notions of fair play and substantial justice. This C o u r t also has personal jurisdiction

over the Defendants as each Defendant caused and/or contributed to a public nuisance and a drug-

related nuisance, as further alleged herein, that continues to exist in Alabama.

        60.       Although each Defendants’ shipments of opioids into Alabama is concealed from

public viewing within the DEA’s Automated Reports and Consolidated Ordering System

(“ARCOS”) database, Plaintiffs plead that it is plausible that each named Defendant either

manufactured or distributed opioids that were deliberately shipped into Alabama and that were

intended to be prescribed by Alabama prescribers and intended to be consumed by Alabama

residents and for the purpose of furthering Defendants’ profits without due regard for consumer

and patient safety. This Court thus has specific jurisdiction over the Defendants for purposes of

this case.

        61.      This Court has subject matter jurisdiction over this dispute as there is complete

diversity of citizenship and the amount at issue exceeds the jurisdictional minimum.

        62.      Venue is proper in the Northern District of Alabama as the Plaintiffs are situated

herein, the harm at issue in this Complaint occurred herein, and the nuisance Plaintiffs seek to

abate is occurring herein.




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                                              PARTIES

   A. Plaintiff.

       63.      Lamar County and Vernon, Alabama are separate bodies politic with the power to

sue and be sued. Sheriff Hal Allred is a state constitutional officer with the power to sue and be

sued. Plaintiffs are individually and collectively responsible for the public health, safety and

welfare of their citizens. Plaintiffs provide a wide range of services on behalf of their residents,

including services for families and children, public health, public assistance, law enforcement,

county jail services, inmate housing, and emergency care.

        64.     Lamar County and Vernon have standing to bring this suit as set forth in Ala.

 Code § 11-40-1 (“All municipal organizations now existing in the State of Alabama . . . shall

 sue and be sued …. Such municipal corporations shall be invested with the full powers,

 duties, and authority granted in this title”).

       65.      Vernon is statutorily authorized to seek common law public nuisance remedies

and to file an action to abate a public nuisance under Alabama law. Ala. Code § 6-5-122; Ala.

Code § 11-47-117 and 118.

       66.      Lamar County, Vernon, and Sheriff Allred are separately and collectively vested

with Article III standing to file this action. Each has suffered both actual and threatened injury

that can fairly be traced to the actions of the Defendants, jointly and severally. It is substantially

likely that these injuries will be redressed by a favorable ruling in this action. Additionally, the

injunctive relief and monetary recovery sought by each Plaintiff in this action carry “with them a

deterrent effect that ma[kes] it likely, as opposed to merely speculative, that the [injunctive relief

and monetary recovery] would redress [plaintiffs’] injuries by abating current violations and

preventing future ones”, which vests standing in each Plaintiff to this action pursuant to FEC v.



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Akins, 524 U.S. 11 (1998).

       67.      Plaintiffs further allege that the actions of the Defendants placed at issue herein

jointly and severally constitute a drug-related nuisance in violation of Ala. Code § 6-5-155, et

seq. These actions include, but are not limited to, conduct defined as a drug-related nuisance in

Ala. Code § 6-5-155.1(3)b. The drug-related nuisance caused and created by the Defendants is

present throughout the State of Alabama, including within Lamar County and Vernon. Plaintiffs

individually and collectively have standing to file this action to abate the drug-related nuisance

caused by the Defendants pursuant to Ala. Code § 6-5-155.2.”

   B. Defendants.

       68.    All allegations below regarding specific opioid analgesics delivered into Lamar

County or Vernon are made upon information and belief and pursuant to the plausibility standard

required by applicable law.    Information currently hidden from public view within the DEA’s

ARCOS database, once accessible via subpoena or otherwise, as well as documentation currently

in possession of the Defendants but unavailable to Plaintiffs until provided through the discovery

process, will identify with specificity whether each identified opioid was shipped into Alabama and

likely into Lamar County and Vernon.        Plaintiffs reserve the right to and will amend their

Complaint to dismiss any Defendant who did not manufacture or distribute opioid analgesics that

were prescribed or consumed within Alabama.

       69.    Purdue Pharma L.P. is a limited partnership organized under the laws of Delaware.

Purdue Pharma Inc. is a Delaware corporation with its principal place of business in Stamford,

Connecticut, and The Purdue Frederick Company, Inc. is a Delaware corporation with its principal

place of business in Stamford, Connecticut (collectively, “Purdue”).




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          70.       Purdue is primarily engaged in the manufacture, promotion, and distribution of

opioids nationally and in Lamar County and Vernon, including the following:

                        a. OxyContin (oxycodone hydrochloride extended release) is a

                             Schedule II opioid agonist 29 tablet first approved in 1995 and

                             indicated for the “management of pain severe enough to require

                             daily, around-the-clock, long-term opioid treatment and for which

                             alternative treatment options are inadequate.” Prior to April 2014,30

                             OxyContin was indicated for the “management of moderate to

                             severe pain when a continuous, around-the-clock opioid analgesic is

                             needed for an extended period of time.”

                        b. MS Contin (morphine sulfate extended release) is a Schedule II

                             opioid agonist tablet first approved in 1987 and indicated for the

                             “management of pain severe enough to require daily, around-the-

                             clock, long-term opioid treatment and for which alternative

                             treatment options are inadequate.” Prior to April 2014, MS Contin

                             was indicated for the “management of moderate to severe pain when

                             a continuous, around-the-clock opioid analgesic is needed for an

                             extended period of time.”




29
   An opioid agonist is a drug that activates certain opioid receptors in the brain. An antagonist, by contrast, blocks the receptor and
can also be used in pain relief or to counter the effect of an opioid overdose.
30
   The labels for OxyContin and other long-acting opioids were amended in response to a 2012 citizens’ petition by doctors. The
changes were intended to clarify the existing obligation to “make an individualized assessment of patient needs.” The petitioners
also successfully urged that the revised labels heighten the requirements for boxed label warnings related to addiction, abuse, and
misuse by changing “Monitor for signs of misuse, abuse, and addiction” to “[Drug name] exposes users to risks of addiction, abuse,
and misuse, which can lead to overdose and death.” Letter from Bob Rappaport, Dir. Ctr. for Drug Evaluations & Res., Labeling
Supplement and PMR [Post-Marketing Research] Required (Sept. 10, 2013),
http://www.fda.gov/downloads/Drugs/DrugSafety/InformationbyDrugClass/UCM367697.pdf.



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      c. Dilaudid (hydromorphone hydrochloride) is a Schedule II opioid

         agonist first approved in 1984 (injection) and 1992 (oral solution

         and tablet) and indicated for the “management of pain in patients

         where an opioid analgesic is appropriate.”

      d. Dilaudid-HP (hydromorphone hydrochloride) is a Schedule II

         opioid agonist injection first approved in 1984 and indicated for the

         “relief of moderate-to-severe pain in opioid-tolerant patients who

         require larger than usual doses of opioids to provide adequate pain

         relief.”

      e. Butrans (buprenorphine) is a Schedule III opioid partial agonist

         transdermal patch first approved in 2010 and indicated for the

         “management of pain severe enough to require daily, around-the-

         clock, long-term opioid treatment and for which alternative

         treatment options are inadequate.” Prior to April 2014, Butrans was

         indicated for the “management of moderate to severe pain when a

         continuous, around-the-clock opioid analgesic is needed for an

         extended period of time.”

      f. Hysingla ER (hydrocodone bitrate) is a Schedule II opioid agonist

         tablet first approved in 2014 and indicated for the management of

         pain severe enough to require daily, around-the-clock, long-term

         opioid treatment and for which alternative treatment options are

         inadequate.




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                     g. Targiniq        ER      (oxycodone        hydrochloride    and   naloxone

                          hydrochloride) is a Schedule II combination product of oxycodone,

                          an opioid agonist, and naloxone, an opioid antagonist, first approved

                          in 2014 and indicated for the management of pain severe enough to

                          require daily, around-the-clock, long-term opioid treatment and for

                          which alternative treatment options are inadequate.

          71.     OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national annual

sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from

2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic

drugs (i.e., painkillers).

          72.     In 2007, Purdue settled criminal and civil charges against it for misbranding

OxyContin and agreed to pay the United States $635 million—at the time one of the largest

settlements with a drug company for marketing misconduct.31 Pursuant to its settlement, Purdue

operated under a Corporate Integrity Agreement with the Office of Inspector General of the U.S.

Department of Health and Human Services, which required the company, inter alia, to ensure that

its marketing was fair and accurate, and to monitor and report on its compliance with the

Agreement.

          73.     Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Whales, Pennsylvania. Teva USA is a

wholly owned subsidiary of Teva Pharmaceutical Industries, Ltd. (“Teva Ltd.”), an Israeli

corporation.




31
     https://oig.hhs.gov/publications/docs/press/2007/SemiannualRelfall2007E.pdf

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       74.      Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

       75.      Teva USA and Cephalon, Inc. work together closely to market and sell Cephalon

products in the United States. Teva USA conducts Teva Ltd.’s sales and marketing activities for

Cephalon in the United States and has done so since Teva Ltd.’s October 2011 acquisition of

Cephalon. Teva USA holds out Actiq and Fentora as Teva products to the public. Teva USA sells

all former Cephalon branded products through its “specialty medicines” division. The FDA

approved prescribing information and medication guide, which is distributed with Cephalon

opioids marketed and sold in Lamar County and Vernon, discloses that the guide was submitted by

Teva USA, and directs physicians to contact Teva USA to report adverse events. (Teva USA and

Cephalon, Inc. collectively are referred to herein as “Cephalon.”)

       76.      Cephalon has been in the business of manufacturing, selling, and distributing the

following opioids, nationally and in Lamar County and Vernon:

        a. Actiq (fentanyl citrate) is a Schedule II opioid agonist lozenge (lollipop) first

             approved in 1998 and indicated for the “management of breakthrough cancer

             pain in patients 16 years of age and older who are already receiving and who

             are tolerant to opioid therapy for their underlying persistent cancer pain.”

        b. Fentora (fentanyl citrate) is a Schedule II opioid agonist buccal tablet (similar

             to plugs of smokeless tobacco) first approved in 2006 and indicated for the

             “management of breakthrough pain in cancer patients 18 years of age and

             older who are already receiving and who are tolerant to around-the-clock

             opioid therapy for their underlying persistent cancer pain.”




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          77.     In November 1998, the FDA granted restricted marketing approval for Actiq,

limiting its lawful promotion to cancer patients experiencing pain. The FDA specified that Actiq

should not be marketed for off-label uses, stating that the drug must be prescribed solely to cancer

patients. In 2008, Cephalon pleaded guilty to a criminal violation of the Federal Food, Drug and

Cosmetic Act for its misleading promotion of Actiq and two other drugs, and agreed to pay $425

million in fines, damages, and penalties.

          78.     Teva USA was in the business of selling generic opioids, including a generic form

of OxyContin from 2005 through 2009 nationally and within Lamar County and Vernon.

          79.     On September 29, 2008, Cephalon entered into a five-year Corporate Integrity

Agreement with the Office of Inspector General of the U.S. Department of Health and Human

Services.32 The agreement, inter alia, required Cephalon to send doctors a letter advising them of

the settlement terms and gave them a means to report questionable conduct of its sales

representatives; disclose payments to doctors on its web site; and regularly certify that the company

has an effective compliance program.

          80.     Janssen Pharmaceuticals, Inc. is a Pennsylvania corporation with its principal place

of business in Titusville, New Jersey, and is a wholly owned subsidiary of Johnson & Johnson, a

New Jersey corporation with its principal place of business in New Brunswick, New Jersey.

Janssen Pharmaceuticals, Inc. was formerly known as Ortho-McNeil- Janssen Pharmaceuticals,

Inc., which in turn was formerly known as Janssen Pharmaceutica Inc. Defendant Ortho-Mcneil-

Janssen Pharmaceuticals, Inc., now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania

corporation with its principal place of business in Titusville, New Jersey. Janssen Pharmaceutica,

Inc., now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal


32
     https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.

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place of business in Titusville, New Jersey. Johnson & Johnson is the only company that owns

more than 10% of Janssen Pharmaceuticals, Inc.’s stock, and it corresponds with the FDA

regarding Janssen’s products. Upon information and belief, Johnson & Johnson controls the sale

and development of Janssen Pharmaceutical’s drugs, and Janssen Pharmaceuticals, Inc.’s profits

inure to Johnson & Johnson’s benefit. (Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., and Johnson & Johnson collectively are

referred to herein as “Janssen.”)

       81.     Janssen manufactures, sells, and distributes a range of medical devices and

pharmaceutical drugs in Lamar County and Vernon and the rest of the nation, including Duragesic

(fentanyl), which is a Schedule II opioid agonist transdermal patch first approved in 1990 and

indicated for the “management of pain in opioid-tolerant patients, severe enough to require daily,

around-the-clock, long-term opioid treatment and for which alternative treatment options are

inadequate.”

       82.     Until January 2015, Janssen also developed, marketed, and sold Nucynta and

Nucynta ER:

               a. Nucynta ER (tapentadol extended release) is a Schedule II opioid

                  agonist tablet first approved in 2011 and indicated for the “management

                  of pain severe enough to require daily, around-the-clock, long-term

                  opioid treatment and for which alternative treatment options are

                  inadequate.” Prior to April 2014, Nucynta ER was indicated for the

                  “management of moderate to severe chronic pain in adults [and]

                  neuropathic pain associated with diabetic peripheral neuropathy (DPN)

                  in adults.” The DPN indication was added in August 2012.



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                b. Nucynta (tapentadol) is a Schedule II opioid agonist tablet and oral

                    solution first approved in 2008 and indicated for the “relief of moderate

                    to severe acute pain in patients 18 years of age or older.”

        83.      Together, Nucynta and Nucynta ER accounted for $172 million in sales in 2014.33

Prior to 2009, Duragesic accounted for at least $1 billion in annual sales.

        84.      Endo Health Solutions Inc. is a Delaware corporation with its principal place of

business in Malvern, Pennsylvania. Endo Pharmaceuticals, Inc. is a wholly-owned subsidiary of

Endo Health Solutions Inc. and is a Delaware corporation with its principal place of business in

Malvern, Pennsylvania. (Endo Health Solutions, Inc. and Endo Pharmaceuticals, Inc. collectively

are referred to herein as “Endo.”)

        85.      Endo develops, markets, and sells prescription drugs, including the following

opioids, in Lamar County and Vernon and nationally:

              a. Opana ER (oxymorphone hydrochloride extended release) is a Schedule II

                 opioid agonist tablet first approved in 2006 and indicated for the

                 “management of pain severe enough to require daily, around-the-clock,

                 long-term opioid treatment and for which alternative treatment options are

                 inadequate.” Prior to April 2014, Opana ER was indicated for the “relief

                 of moderate to severe pain in patients requiring continuous, around-the-

                 clock opioid treatment for an extended period of time.”

              b. Opana (oxymorphone hydrochloride) is a Schedule II opioid agonist tablet

                 first approved in 2006 and indicated for the “relief of moderate to severe

                 acute pain where the use of an opioid is appropriate.”
33
   http://www.prnewswire.com/news-releases/depomed-announces-closing-of-acquisition-of-us-rights-to-nucynta-
tapentadol-nucynta-er-tapentadol-extended-release-tablets-and-nucynta-tapentadol-oral-solution-from-janssen-
pharmaceuticals-inc-for-105-billion-300060453.html.

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               c. Percodan (oxycodone hydrochloride and aspirin) is a Schedule II opioid

                   agonist tablet first approved in 1950 and first marketed by Endo in 2004

                   and indicated for the “management of moderate to moderately severe

                   pain.”

               d. Percocet (oxycodone hydrochloride and acetaminophen) is a Schedule II

                   opioid agonist tablet first approved in 1999 and first marketed by Endo in

                   2006 and indicated for the “relief of moderate to moderately severe

                   pain.”34

         86.       Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

2012. Opana ER yielded revenue of $1.15 billion from 2010 to 2013, and alone accounted for 10%

of Endo’s total revenue in 2012. Endo also manufactures and sells generic opioids nationally and in

Lamar County and Vernon, both itself and through its subsidiary, Qualitest Pharmaceuticals, Inc.,

including generic oxycodone, oxymorphone, hydromorphone, and hydrocodone products.

         87.       Allergan PLC is a public limited company incorporated in Ireland with its principal

place of business in Dublin, Ireland. Actavis PLC acquired Allergan PLC in March 2015, and the

combined company changed its name to Allergan PLC in March 2015. Prior to that, Watson

Pharmaceuticals, Inc. acquired Actavis, Inc. in October 2012; the combined company changed its

name to Actavis, Inc. in January 2013 and then to Actavis plc in October 2013. Watson

Laboratories, Inc. is a Nevada corporation with its principal place of business in Corona,

California, and is a wholly owned subsidiary of Allergan PLC (f/k/a Actavis, Inc., f/k/a Watson

Pharmaceuticals, Inc.). Actavis Pharma, Inc. (f/k/a Actavis, Inc.) is a Delaware corporation with its

principal place of business in New Jersey, and was formerly known as Watson Pharma, Inc.

34
   In addition, Endo marketed Zydone (hydrocodone bitartrate and acetaminophen), a Schedule III opioid agonist tablet indicated for
the “relief of moderate to moderately severe pain,” from 1998 through 2013. The FDA’s website indicates this product is currently
discontinued, but it appears on Endo’s own website.

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Actavis LLC is a Delaware limited liability company with its principal place of business in

Parsippany, New Jersey. Each of these defendants is owned by Allergan plc, which uses them to

market and sell its drugs in the United States. Upon information and belief, Allergan plc exercises

control over these marketing and sales efforts, and profits from the sale of Allergan/Actavis

products ultimately inure to its benefit. (Allergan plc, Actavis plc, Actavis, Inc., Actavis LLC,

Actavis Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson

Laboratories, Inc. hereinafter collectively are referred to as “Actavis.”)

        88.    Actavis engages in the business of marketing and selling opioids in Lamar County

and Vernon and across the country, including the branded drugs Kadian and Norco, a generic

version of Kadian, and generic versions of Duragesic and Opana. Kadian (morphine sulfate

extended release) is a Schedule II opioid agonist capsule first approved in 1996 and indicated for

the “management of pain severe enough to require daily, around-the-clock, long-term opioid

treatment and for which alternative treatment options are inadequate.” Prior to April 2014, Kadian

was indicated for the “management of moderate to severe pain when a continuous, around-the-

clock opioid analgesic is needed for an extended period of time.” Actavis acquired the rights to

Kadian from King Pharmaceuticals, Inc., on December 30, 2008 and began marketing Kadian in

2009.

        89.    Insys Therapeutics, Inc. (“Insys”) is a Delaware corporation with its principal place

of business in Chandler, Arizona.

        90.    Insys develops, markets, and sells prescription drugs, including Subsys, a sublingual

spray of fentanyl, in Lamar County and Vernon and nationally.

        91.    Mallinckrodt LLC (“Mallinckrodt”) is a Delaware corporation with its principal

place of business in Hazelwood, Missouri.



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       92.     Mallinckrodt develops, markets, and sells prescription drugs, including oxycodone,

in Lamar County and Vernon and nationally.

       93.     Defendant McKesson Corporation (“McKesson”) is a Delaware corporation with its

principal place of business in San Francisco, California.

       94.     Defendant McKesson had a net income in excess of $1.5 Billion in 2015.

       95.     Defendant McKesson distributes pharmaceuticals to retail pharmacies and

institutional providers to customers in all 50 states, including Alabama and Lamar County and

Vernon.

       96.     Upon information and belief, defendant McKesson is a pharmaceutical distributor

licensed to do business in Alabama.

       97.     Defendant McKesson is the largest pharmaceutical distributor in North America.

       98.     Upon information and belief, McKesson delivers one-third of all pharmaceuticals

used in North America.

       99.     Defendant McKesson does substantial business in the State of Alabama and Lamar

County and Vernon.

       100.    Defendant Cardinal Health Inc. (“Cardinal”) is an Ohio Corporation with its

principal place of business in Dublin, Ohio.

       101.    Defendant Cardinal distributes pharmaceuticals to retail pharmacies and institutional

providers to customers in all 50 states, including Alabama and Lamar County and Vernon.

       102.    Upon information and belief, defendant Cardinal is a pharmaceutical distributor

licensed to do business in Alabama.

       103.    Defendant Cardinal does substantial business in the State of Alabama and Lamar

County and Vernon.



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       104.     Upon information and belief, Defendant Cardinal is one of the largest distributors of

opioid pain medications in the country, including the State of Alabama.

       105.     Upon information and belief, Defendant            AmerisourceBergen Corporation

(“Amerisource”) is a Delaware Corporation with its principal place of business in Chesterbrook,

Pennsylvania.

       106.     Defendant Amerisource does substantial business in the State of Alabama and

Lamar County and Vernon.

       107.     Upon information and belief, Defendant Amerisource is a pharmaceutical distributor

licensed to do business in the State of Alabama.

       108.     Defendant Amerisource distributes pharmaceuticals to retail pharmacies and

institutional providers to customers in all 50 states, including Alabama and Lamar County and

Vernon.

       109.     Upon information and belief, defendant Amerisource is one of the largest

distributors of opioid pain medications in the Country, including the State of Alabama and Lamar

County and Vernon.

       110.     The pharmaceutical distributor defendants (hereinafter “Distributor Defendants”)

are three of the largest opioid distributors in the country, the State of Alabama, and within Lamar

County and Vernon.

       111.     The Distributor Defendants purchased opioids from manufacturers, such as the

named Defendants herein, and sold them to pharmacies throughout Lamar County and Vernon.

       112.     The Distributor Defendants played an integral role in the chain of opioids being

distributed throughout Lamar County and Vernon.




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        113.       Russell Portenoy, M.D. is a co-conspirator with Defendants who is not named as a

Defendant in this action and who is not an Alabama resident. Dr. Portenoy was instrumental in

promoting opioids for sale and distribution nationally and in Lamar County and Vernon.

        114.       Perry Fine, M.D., is a co-conspirator with Defendants who is not named as a

Defendant in this action and who is not an Alabama resident.         Dr. Fine was instrumental in

promoting opioids for sale and distribution nationally and in Lamar County and Vernon.

        115.       Scott Fishman, M.D. is a co-conspirator with Defendants who is not named as a

Defendant in this action and who is not an Alabama resident. Dr. Fishman was instrumental in

promoting opioids for sale and distribution nationally and in Lamar County and Vernon.

        116.       Lynn Webster, M.D is a co-conspirator with Defendants who is not named as a

Defendant in this action and who is not an Alabama resident. Dr. Webster was instrumental in

promoting opioids for sale and distribution nationally and in Lamar County and Vernon.

                        FACTS RELEVANT TO ALL CAUSES OF ACTION

    A. Background on Pain Medicine.

        1. Safe and Effective Treatment of Chronic Pain Centers on Informed Risk
           Management.

        117.       The practice of medicine centers on informed risk management. Prescribers must

weigh the potential risks and benefits of each treatment option, as well as the risk of non-treatment.

        118.       Accordingly, the safe and effective treatment of chronic pain requires that a

physician be able to weigh the relative risks of prescribing opioids against both (a) the relative

benefits that may be expected during the course of opioid treatment and (b) the risks and benefits

of alternatives.




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       119.    This bedrock principle of full disclosure is particularly important in the context of

chronic opioid therapy because of the risk that patients will become physically and psychologically

dependent on the drugs, finding it difficult to manage or terminate their use.

       120.    The FDA-approved drug labels on each of Defendants’ opioids do not attempt to

advise physicians how to maximize the benefits and minimize the risks for patients on long-term

chronic opioid therapy. The labels contain no dosing cap above which it would be unsafe for any

doctor to prescribe to any patient. Nor do any of the labels provide a duration limit, after which the

risks to a patient might increase. Thus, doctors and patients rely more heavily on educational

materials such as treatment guidelines, CMEs, and scientific and patient education articles and

websites to inform their treatment decisions.

       2. Opioid Use Is Associated with Known and Substantial Risks.

       121.    Due to concerns about t hei r addictive properties, opioids have been regulated at

the federal level as controlled substances by the U.S. Drug Enforcement Administration

(“DEA”) since 1970. The labels for scheduled opioid drugs carry black box warnings of potential

addiction and “[s]erious, life-threatening, or fatal respiratory depression,” as the result of an

excessive dose.

       122.    Studies and articles from the 1970s and 1980s also made the reasons to avoid opioids

clear. Scientists observed negative outcomes from long-term opioid therapy in pain management

programs; opioids’ mixed record in reducing pain long-term and failure to improve patients’

function; greater pain complaints as most patients developed tolerance to opioids; opioid patients’

diminished ability to perform basic tasks; their inability to make use of complementary treatments

like physical therapy due to the side effects of opioids; and addiction. Leading authorities

discouraged, and even prohibited, the use of opioid therapy for chronic pain.



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         123.     Discontinuing opioids after more than just a few weeks of therapy will cause

most patients to experience withdrawal symptoms. These withdrawal symptoms include: severe

anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium, pain,

and other serious symptoms, which may persist for months after a complete withdrawal from

opioids, depending on how long the patient had been using opioids.

         124.     When under the continuous influence of opioids over time, patients grow tolerant

to their analgesic effects. As tolerance increases, a patient typically requires progressively higher

doses to obtain the same levels of pain reduction to which he or she has become accustomed – up

to and including doses that are “frighteningly high.”35 At higher doses, the effects of withdrawal

are more substantial, thus leaving a patient at a much higher risk of addiction. A patient can take

the opioids at the continuously escalating dosages to match pain tolerance and still overdose at

recommended levels.

         125.     Dr. Andrew Kolodny, Chief Medical Officer for Phoenix House, a national

addiction treatment program, has explained the effect of opioids as akin to “hijack[ing] the brain’s

reward system,” which in turn convinces a user that “the drug is needed to stay alive.”36 A

patient’s fear of the unpleasant effects of discontinuing opioids combined with the negative

reinforcement during a period of actual withdrawal can drive a patient to seek further opioid

treatment—even where ineffective or detrimental to quality of life—simply to avoid the deeply

unpleasant effects of withdrawal.

         126.     Patients that receive high doses of opioids as part of long-term opioid therapy are

three to nine times more likely to suffer an overdose from opioid-related causes than those on low


35
    M. Katz, Long-term Opioid Treatment of Nonmalignant Pain: A Believer Loses His
   Faith, 170(16) Archives of Internal Med. 1422 (2010).
36
    David Montero, Actor’s Death Sows Doubt Among O.C.’s Recovering Opioid Addicts, The Orange Cnty. Reg. (Feb. 3, 2014),
http://www.ocregister.com/articles/heroin-600148-shaffer-hoffman.html.

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doses. As compared to available alternative pain remedies, scholars have suggested that tolerance

to the respiratory depressive effects of opioids develops at a slower rate than tolerance to analgesic

effects. Accordingly, the practice of continuously escalating doses to match pain tolerance can, in

fact, lead to an overdose even when opioids are taken as recommended.

         127.      Further, “a potential side effect from chronic use [of opioids] can be abuse and

addiction . . . . [i]n fact, correct use and abuse of these agents are not polar opposites—they are

complex, inter-related phenomena.” 37 It is very difficult to tell whether a patient is physically

dependent, psychologically dependent, or addicted. Drug-seeking behaviors, which are signs of

addiction, will exist and emerge when opioids are suddenly not available, the dose is no longer

effective, or tapering of a dose is undertaken too quickly.

         128.      Studies have shown that between 30% and 40% of long-term users of opioids

experience problems with opioid use disorders.38

         129.      Each of these risks and adverse effects—dependence, tolerance, and addiction—is

fully disclosed in the labels for each of Defendants’ opioids (though, as described below, not in

Defendants’ marketing).39 Prior to Defendants’ deceptive marketing scheme, each of these risks

was well-recognized by doctors and seen as a reason to use opioids to treat chronic pain sparingly

and only after other treatments had failed.

         130.      Opioids vary by duration. Long-acting opioids, such as Purdue’s OxyContin and MS

Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and Actavis’s Kadian, are

designed to be taken once or twice daily and are purported to provide continuous opioid


37
   Wilson M. Compton & Nora D. Volkow, Major Increases in Opioid Analgesic Abuse in the United States: Concerns and
Strategies, 81(2) Drug & Alcohol Dependence 103, 106 (2006).
38
   Joseph A. Boscarino et al., Risk factors for drug daependence among out-patients on opioid therapy in a large US health-care
system, 105(10) Addiction 1776 ( 2010); Joseph A. Boscarino et al., Prevalence of Prescription Opioid-Use Disorder Among
Chronic Pain Patients: Comparison of the DSM-5 vs. DSM-4 Diagnostic Criteria, 30(3) Journal of Addictive Diseases 185 (2011).
39
   For example, Purdue’s OxyContin label (October 5, 2011) states: “Physical dependence and tolerance are not unusual during
chronic opioid therapy.”

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therapy for, in general, 12 hours. Short-acting opioids, such as Cephalon’s Actiq and Fentora,

are designed to be taken in addition to long-acting opioids to address “episodic pain” and provide

fast-acting, supplemental opioid therapy lasting approximately 4 to 6 hours.

         131.      Defendants promoted the idea that pain should be treated by taking long-acting

opioids continuously and supplementing them with short-acting, rapid- onset opioids for episodic

pain.

         132.      Defendant Purdue was aware that its drug OxyContin did not provide pain relief for

up to 12 hours. Purdue was also aware of the risk that patients would then take additional pain

medications, beyond what was prescribed, to make of up for that gap in time. Despite this

knowledge, Purdue continued to market OxyContin as lasting for 12 hours.

         133.      While it was once thought that long-acting opioids would not be as susceptible to

abuse and addiction as short-acting ones, this view has been discredited. OxyContin’s label now

states, as do all labels of Schedule II long-acting opioids, that the drug “exposes users to risks of

addiction, abuse, and misuse, which can lead to overdose and death.” The FDA has required

extended release and long-acting opioids to adopt “Risk Evaluation Mitigation Strateg[ies]” on the

basis that they present “a serious public health crisis of addiction, overdose, and death.”40

         134.      In 2013, in response to a petition to restrict the labels of long-acting opioid products,

the FDA noted the “grave risks” of opioids, “the most well-known of which include addiction,

overdose, and even death.”41 The FDA further warned that “[e]ven proper use of opioids under

medical supervision can result in life-threatening respiratory depression, coma, and death.”42                             The

FDA required that—going forward—opioid makers of long-acting formulations clearly

40
   FDA, Risk Evaluation and Mitigation Strategy (REMS) for Extended-Release and Long-Acting
Opioids (last updated Oct. 9, 2014), http://www.fda.gov/Drugs/DrugSafety/InformationbyDrugClass/ucm163647.htm.
41
   Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians for Responsible
Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).
42
   Id.

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communicate these risks in their labels. Thus, the FDA confirmed what had previously been

accepted practice in the treatment of pain— that the adverse outcomes from opioid use include

“addiction, unintentional overdose, and death” and that long-acting or extended release opioids

“should be used only when alternative treatments are inadequate.”43

            135.     Notably, in reaching its conclusion, the FDA did not rely on new or otherwise

previously unavailable scientific studies regarding the properties or effects of opioids.

            136.     The FDA-approved labels on each of Defendant’s opioids do not attempt to advise

physicians on how to maximize the benefits and minimize the risks for patients on long term opioid

therapy. The labels contain no dosage cap above which it would be unsafe to prescribe to any

patient. Nor do they provide a duration limit. Doctors and patients rely heavily on education

materials, such as treatment guidelines, CMEs, and scientific and patient education articles and

websites, to inform their treatment decisions.

            137.     On July 25, 2012, the Physicians for Responsible Opioid Prescribing (“PROP”), a

non-profit organization made up of doctors and other health care professionals, petitioned the FDA

to change the labeling of opioid medications. The petition was signed by thirty-seven physicians

located nationwide. In its letter to the FDA, the group stated that “an increasing body of medical

literature suggests that long term-use of opioids may be neither safe nor effective for many

patients, especially when prescribed in high doses.”44

            138.     In its petition, PROP also stated that “many clinicians are under the false impression

that chronic opioid therapy (“COT”) is an evidence-based treatment for chronic non-cancer pain”

and that “these misconceptions lead to overprescribing and high dose prescribing.” It was also their

opinion that “the current label on opioid analgesics does not comply with [FDA law]”.


43
     Id. at 7 (emphasis in original).
44
     July 25, 2012 letter from PROP to FDA, accessed at http://www.citizen.org/documents/2048.pdf.

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         139.      As the basis for its petition, PROP provided “Statements of Scientific Basis for

Petition” which provided a list of detailed reports and studies proving the risks of opioid

medications, the high risk of addiction, the exaggerated and false benefits, and further medically

backed reasons to change the labelling of opioid medications to reduce prescribing.

         140.      In 2013, in response to a petition to require manufacturers to strengthen warnings

on the labels of long-acting opioid products, the FDA warned of the “grave risks” of opioids,

including “addiction, overdose, and even death.” The FDA further warned, “[e]ven proper use

of opioids under medical supervision can result in life- threatening respiratory depression, coma,

and death.” Because of those grave risks, the FDA said that long-acting or extended release

opioids “should be used only when alternative treatments are inadequate.”45 The FDA required

that – going forward – opioid makers of long-acting formulations clearly communicate these risks

on their labels.

         141.      In 2016, the FDA expanded its warnings for immediate-release opioid pain

medications, requiring similar changes to the labeling of immediate-release opioid pain

medications as it had for extended release opioids in 2013. The FDA also required several additional

safety-labeling changes across all prescription opioid products to include additional information on

the risk of these medications.46

         142.      The facts on which the FDA relied in 2013 and 2016 were well known to

Defendants in the many years since they began marketing these drugs.




45
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians for
Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013) (emphasis in original).
46
   FDA announces enhanced warnings for immediate-release opioid pain medications related to risks of misuse, abuse, addiction,
overdose and death. Available at http://www.fda.gov/newsevents/newsroom/pressannouncements/ucm491739.htm.

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         3. Long-Term Opioid Use Benefits Are Unproven and Contradicted.

         143.      Despite the fact that opioids are now routinely prescribed, there has never been

evidence of their safety and efficacy for long-term use.

         144.      Defendants have always been aware of these gaps in knowledge. While promoting

opioids to treat chronic pain, Defendants have failed to disclose the lack of evidence to support

their long-term use and have failed to disclose the contradictory evidence that chronic opioid

therapy actually makes patients sicker.

         145.      There are no controlled studies of the use of opioids beyond 16 weeks, and no

evidence that opioids improve patients’ pain and function long-term. The first random, placebo-

controlled studies appeared in the 1990s, and revealed evidence only for short-term efficacy and

only in a minority of patients.47

         146.      A 2004 report reviewed 213 randomized, controlled trials of treatments for cancer

pain and showed that, while opioids had short-term efficacy, the data was insufficient to establish

long-term effectiveness. Subsequent reviews of the use of opioids for cancer and non-cancer pain

consistently note the lack of data to assess long-term outcomes. For example, a 2007 systematic

review of opioids for back pain concluded that opioids have limited, if any, efficacy for back pain

and that evidence did not allow judgments regarding long-term use. Similarly, a 2011 systematic

review of studies for non-cancer pain found that evidence of long-term efficacy is poor. One year

later, a similar review reported poor evidence of long-term efficacy for morphine, tramadol, and

oxycodone, and fair evidence for transdermal fentanyl (approved only for use for cancer pain).

         147.      On the contrary, evidence exists to show that opioid drugs are not effective to treat

chronic pain, and may worsen patients’ health. A 2006 study-of-studies found that opioids as a


47
  Nathaniel Katz, Opioids: After Thousands of Years, Still Getting to Know You, 23(4) Clin J. Pain 303 (2007); Roger Chou et al.,
Research Gaps on Use of Opioids for Chronic Noncancer Pain, 10(2) J. Pain 147 (2009).

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class did not demonstrate improvement in functional outcomes over other non-addicting

treatments. Most notably, it stated: “For functional outcomes, the other analgesics were

significantly more effective than were opioids.”48 Another review of evidence relating to the use of

opioids for chronic pain found that up to 22.9% of patients in opioid trials dropped out before the

study began because of the intolerable effects of opioids, and that the evidence of pain relief over

time was weak.

          148.     Endo’s own research shows that patients taking opioids, as opposed to other

prescription pain medicines, report higher rates of obesity (30% to 39%); insomnia (9% to 22%);

and self-described fair or poor health (24% to 34%).

          149.     Increasing duration of opioid use is strongly associated with an increasing

prevalence of mental health conditions (depression, anxiety, post-traumatic stress disorder, or

substance abuse), increased psychological distress, and greater health care utilization.

          150.     As a pain specialist noted in an article titled Are We Making Pain Patients Worse?,

“[O]pioids may work acceptably well for a while, but over the long term, function generally

declines, as does general health, mental health, and social functioning. Over time, even high doses

of potent opioids often fail to control pain, and these patients are unable to function normally.”49

          151.     This is true both generally and for specific pain-related conditions. Studies of the

use of opioids long-term for chronic lower back pain have been unable to demonstrate an

improvement in patients’ function. Conversely, research consistently shows that long-term opioid




48
   Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects, 174(11) Can. Med.
Ass’n J. 1589 (2006). This same study revealed that efficacy studies do not typically include data on opioid addiction. In many
cases, patients who may be more prone to addiction are pre-screened out of the study pool. This does not reflect how doctors
actually prescribe the drugs, because even patients who have past or active substance use disorders tend to receive higher doses of
opioids. Karen H. Seal, Association of Mental Health Disorders With Prescription Opioids and High-Risk Opioids in US Veterans of
Iraq and Afghanistan, 307(9) J. Am. Med. Ass’n 940 (2012).
49
     Andrea Rubenstein, Are we making pain patients worse?, Sonoma Medicine (Fall 2009).

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therapy for patients who have lower back injuries does not help patients return to work or to

physical activity. This is due partly to addiction and other side effects.

       152.    As many as 30% of patients who suffer from migraines have been prescribed

opioids to treat their headaches. Users of opioids had the highest increase in the number of

headache days per month, scored significantly higher on the Migraine Disability Assessment

(MIDAS), and had higher rates of depression, compared to non-opioid users. A survey by the

National Headache Foundation found that migraine patients who used opioids were more likely to

experience sleepiness, confusion, and rebound headaches, and reported a lower quality of life than

patients taking other medications.

       153.    The lack of evidence for the efficacy of opioid use long-term has been well-

documented nationally in the context of workers’ compensation claims, where some of the most

detailed data exists. Claims involving workers who take opioids are almost four times as likely to

reach costs of over $100,000 than claims treated without opioids, as these patients suffer greater

side effects and are slower to return to work. Even adjusting for injury severity and self-reported

pain score, taking an opioid for more than seven days and receiving more than one opioid

prescription increased the risk that the patient would be on work disability one year later. A

prescription for opioids, as the first treatment for a workplace injury, doubled the average length of

the claim.

       4. Defendants’ Impact on the Perception and Prescribing of Opioids.

       154.    Before Defendants began the marketing campaign complained of herein, generally

accepted standards of medical practice dictated that opioids should only be used short-term, for

instance, for acute pain, pain relating to recovery from surgery, or for cancer or palliative care. In

those instances, the risks of addiction are low or of little significance.



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         155.     In 1986, the World Health Organization (“WHO”) published an “analgesic ladder”

for the treatment of cancer pain.50 The WHO recommended treatment with over-the- counter or

prescription acetaminophen or non-steroidal anti-inflammatory drugs (“NSAIDs”) first, and then

the use of unscheduled or combination opioids, and then stronger (Schedule II or III) opioids if

pain persisted. The WHO ladder pertained only to the treatment of cancer pain, and did not

contemplate the use of narcotic opioids for chronic pain—because the use of opioids for chronic

pain was not considered appropriate medical practice at the time.

         156.     Studies and articles from the 1970s and 1980s made the reasons to avoid opioids

clear. Scientists observed negative outcomes from long-term opioid therapy in pain management

programs: opioids’ mixed record in reducing pain long-term and failure to improve patients’

function; greater pain complaints as most patients developed tolerance to opioids; opioid patients’

diminished ability to perform basic tasks; their inability to make use of complementary treatments

like physical therapy due to the side effects of opioids; and addiction. Leading authorities

discouraged, or even prohibited, the use of opioid therapy for chronic pain.

         157.     In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

Pain Medicine and Palliative Care at Beth Israel Medical Center in New York, while at the same

time serving as a top spokesperson for drug companies, published an article reporting that “[f]ew

substantial gains in employment or social function could be attributed to the institution of opioid

therapy.”51

         158.     Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

dangers of long-term use of opioids:



50
  http://apps.who.int/iris/bitstream/10665/43944/1/9241561009_eng.pdf.
51
  Russell K. Portenoy & Kathleen M. Foley, Chronic Use of Opioid Analgesics in Non-Malignant
Pain: Report of 38 cases, 25(2) Pain 171 (1986).

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                   The traditional approach to chronic nonmalignant pain does not accept the
                   long-term administration of opioid drugs. This perspective has been justified
                   by the perceived likelihood of tolerance, which would attenuate any
                   beneficial effects over time, and the potential for side effects, worsening
                   disability, and addiction. According to conventional thinking, the initial
                   response to an opioid drug may appear favorable, with partial analgesia and
                   salutary mood changes, but adverse effects inevitably occur thereafter. It is
                   assumed that the motivation to improve function will cease as mental
                   clouding occurs and the belief takes hold that the drug can, by itself, return
                   the patient to a normal life. Serious management problems are anticipated,
                   including difficulty in discontinuing a problematic therapy and the
                   development of drug seeking behavior induced by the desire to maintain
                   analgesic effects, avoid withdrawal, and perpetuate reinforcing psychic
                   effects. There is an implicit assumption that little separates these outcomes
                   from the highly aberrant behaviors associated with addiction.52 (Emphasis
                   provided)

According to Portenoy, these problems could constitute “compelling reasons to reject long term

opioid administration as a therapeutic strategy in all but the most desperate cases of chronic

nonmalignant pain.”53

         159.      For the reasons outlined by Dr. Portenoy, and in the words of one researcher from

the Harvard Medical School, “it did not enter [doctors’] minds that there could be a significant

number of chronic pain patients who were successfully managed with opioids.” 54 Defendants

changed that perception.

     B. Defendants Promoted Their Branded Products Through Direct Marketing to
        Prescribers and Consumers.

         160.      Defendants’ direct marketing proceeded on two tracks, serving two related

purposes. First, Defendants worked through branded and unbranded marketing to build confidence

in long-term opioid use by overstating its benefits and downplaying its risks, thereby expanding the

chronic pain market. In addition, Defendants worked through their own staffs of sales

52
   Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in Pain Res. & Mgmt. 247
(1994) (emphasis added).
53
   Id.
54
   Igor Kissin, Long-term opioid treatment of chronic nonmalignant pain: unproven efficacy and neglected safety?, 6 J. Pain
Research 513, 514 (2013) (quoting Loeser JD, Five crises in pain management, 20(1) Pain Clinical Updates 1-4 (2012).

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representatives, physician speakers whom those representatives recruited, and advertising in

medical journals to claim their share of that broader market. Defendants directed all of this activity

through carefully designed marketing plans that were based on extensive research into prescriber

habits and the efficacy of particular sales approaches and messages.

        1. Defendants Relied Upon Branded Advertisements.

        161.     Defendants engaged in widespread advertising campaigns touting the benefits of

their branded drugs. Defendants published print advertisements in a broad array of medical

journals, ranging from those aimed at specialists, such as the Journal of Pain and Clinical Journal

of Pain, to journals with wider medical audiences, such as the Journal of the American Medical

Association. Defendants’ advertising budgets peaked in 2011, when they collectively spent more

than $14 million on the medical journal advertising of opioids, nearly triple what they spent in

2001. The 2011 total includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million by

Endo.55

        162.     A number of these branded advertisements deceptively portrayed the benefits of

opioid therapy for chronic pain. As just one example, a 2005 Purdue advertisement for OxyContin

that ran in the Journal of Pain touted the drug as an “around-the-clock analgesic . . . for an

extended period of time.” The advertisement featured a man and boy fishing and proclaimed that

“There Can Be Life With Relief.” This depiction falsely implied that OxyContin provides both

effective long-term pain relief and functional improvement, claims that, as described below, are

unsubstantiated and contradicted in medical literature.




55
   In 2011, Actavis spent less than $100,000 on such advertising, and Cephalon spent nothing. These companies’
medical journal advertising peaked earlier, with Actavis spending $11.7 million in 2005, and Cephalon spending about
$2 million in each of 2007 and 2008.


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       2. Defendants Relied Upon Their Sales Forces and Recruited Physician Speakers.

       163.    Each Defendant promoted the use of opioids for chronic pain through “detailers”—

sales representatives who visited individual physicians and their staff in their offices—and small

group speaker programs. By establishing close relationships with doctors, Defendants’ sales

representatives were able to disseminate their misrepresentations in targeted, one-on-one settings

that allowed them to differentiate their opioids and to address individual prescribers’ concerns

about prescribing opioids for chronic pain. Representatives were trained on techniques to build

these relationships, with Actavis even rolling out an “Own the Nurse” kit as a “door opener” to

time with doctors.

       164.    Defendants developed sophisticated plans to select prescribers for sales visits based

on their specialties and prescribing habits. In accordance with common industry practice,

Defendants purchase and closely analyze prescription sales data from IMS Health. This data allows

them to precisely track the rates of initial prescribing and renewal by individual doctors, which in

turn allows them to target, tailor, and monitor the impact of their appeals.

       165.    Defendants, in particular, relied upon “influence mapping,” i.e.., using decile

rankings or similar breakdowns to identify the high-volume prescribers on whom detailing would

have the greatest sales impact. Endo, for example, identified prescribers representing 30% of its

nationwide sales volume and planned to visit these physicians three times per month. Defendants

also closely monitored doctors’ prescribing after a sales representative’s visit to allow them to

refine their planning and messaging and to evaluate and compensate their detailers.

       166.    Defendants’ sales representatives have visited hundreds of thousands of doctors,

including visits to Lamar County’s and Vernon’s prescribers, and as described herein, spread

misinformation regarding the risks, benefits, and superiority of opioids for the treatment of chronic



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pain. This misinformation includes deceptive and unfair claims regarding the risks of opioids for

chronic pain, particularly the risks of addiction, withdrawal, and high doses, as well as the benefits.

       167.    Each Defendant carefully trained its sales representatives to deliver company-

approved messages designed to generate prescriptions of that company’s drugs specifically, and

opioids in general. Pharmaceutical companies exactingly direct and monitor their sales

representatives—through detailed action plans, trainings, tests, scripts, role-plays, supervisor tag-

alongs, and other means—to ensure that individual detailers actually deliver the desired messages

and do not veer off-script. Pharmaceutical companies likewise require their detailers to deploy

sales aids reviewed, approved, and supplied by the company and forbid them to use, in industry

parlance, “homemade bread”—i.e., promotional materials not approved by the company’s

marketing and compliance departments. Sales representatives’ adherence to their corporate training

is typically included in their work agreements. Departing from their company’s approved

messaging can, and does, lead to severe consequences including termination of employment.

       168.    Besides carefully training their sales representatives, Defendants used surveys of

physicians—conducted by third-party research firms—to assess how well their core messages

came across to prescribers.

       169.    In addition to making sales calls, Defendants’ detailers also identified doctors to

serve, for payment, on Defendants’ speakers’ bureaus and to attend programs with speakers and

meals paid for by Defendants. Defendants almost always selected physicians who were “product

loyalists,” as they were sure to be asked whether they prescribe the drug themselves. Endo, for

instance, sought to use specialists in pain medicine—including high prescribers of its drugs—as

local “thought leaders” to market Opana ER to primary care doctors. Such invitations are lucrative

to the physicians selected for these bureaus; honorarium rates range from $800 to $2,000 per



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program, depending on the type of event, speaker training is typically compensated at $500 per

hour.

        170.   These speaker programs and associated speaker trainings serve three purposes: they

provide an incentive to doctors to prescribe, or increase their prescriptions of, a particular drug; a

forum in which to further market to the speaker him or herself; and an opportunity to market to the

speaker’s peers. Defendants grade their speakers and future opportunities are based on speaking

performance, post-program sales, and product usage. Defendants also track the prescribing of event

attendees, with Endo noting that “physicians who came into our speaker programs wrote more

prescriptions for Opana ER after attending than before.” It would make little sense for Defendants

to devote significant resources to programs that did not increase their sales.

        171.   Like the sales representatives who select them, speakers are expected to stay “on

message”—indeed, they agree in writing to follow the slide decks provided to them. Endo’s

speaker rules, for example, provide that “all slides must be presented in their entirety and without

alterations . . . and in sequence.” This is important because the FDA regards promotional talks as

part of product labeling, and requires their submission for review. Speakers thus give the

appearance of providing independent, unbiased presentations on opioids, when in fact they are

presenting a script prepared by Defendants’ marketing departments. Although these meal-based

speaker events are more expensive to host, and typically have lower attendance than CMEs, they

are subject to less professional scrutiny and thus afford Defendants greater freedom in the

messages they present.

        172.   Defendants devoted massive resources to these direct sales contacts with

prescribers. In 2014, Defendants collectively spent $168 million on detailing branded opioids to

physicians nationwide. This figure includes $108 million spent by Purdue, $34 million by Janssen,



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$13 million by Cephalon, $10 million by Endo, and $2 million by Actavis. The total figure is more

than double Defendants’ collective spending on detailing in 2000. Detailers’ role in Defendants’

overall promotional efforts was also carefully calibrated; Endo, for example, found that devoting

61% of its marketing budget to sales representatives reflected an “[a]ppropriate combination of

personal . . . and non-personal . . . selling initiatives.”

           173.       Defendants have spent hundreds of millions of dollars promoting their opioids

through their respective sales forces because they understand that detailers’ sales pitches are

effective. Numerous studies indicate that marketing can and does impact doctors’ prescribing

habits, 56 and face-to-face detailing has the highest influence on intent to prescribe. Defendants

could see this phenomenon at work not only in the aggregate, as their sales climbed with their

promotional spending, but also at the level of individual prescribers whom they targeted for

detailing, and who responded by prescribing more of Defendants’ drugs.

           3. Defendants Directed These Promotional Efforts Through Detailed Marketing
              Plans.

           174.       Defendants guided their efforts to expand opioid prescribing through comprehensive

marketing and business plans for each drug. These documents, based on the companies’ extensive

market research, laid out ambitious plans to bring in new prescribers and increase overall

prescribing of Defendants’ opioids.

                      a. Targeting categories of prescribers

           175.       Defendants targeted, by zip codes and other local boundaries, individual health care

providers for detailing. Defendants chose their targets based on the potential for persuading a

56
   See, e.g., Puneet Manchanda & Pradeep K. Chintagunta, Responsiveness of Physician Prescription Behavior to Salesforce Effort: An Individual
Level Analysis, 15 (2-3) Mktg. Letters 129 (2004) (detailing has a positive impact on prescriptions written); Ian Larkin, Restrictions on
Pharmaceutical Detailing Reduced Off-Label Prescribing of Antidepressants and Antipsychotics in Children, 33(6) Health Affairs 1014 ( 2014)
(finding academic medical centers that restricted direct promotion by pharmaceutical sales representatives resulted in a 34% decline in on-label use
of promoted drugs); see also Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99(2) Am J.
Pub. Health 221 (2009) (correlating an increase of OxyContin prescriptions from 670,000 annually in 1997 to 6.2 million in 2002 to a doubling of
Purdue’s sales force and trebling of annual sales calls).


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provider to prescribe, ease of in-person access, and the likelihood of higher numbers of

prescriptions at higher doses, with no correlation to demonstrated need or demand for opioid

therapy, or to risk of abuse.

       176.    Collectively, Defendants’ marketing plans evince dual strategies, which often

operated parallel to one another. Defendants’ sales representatives continued to focus their

detailing efforts on pain specialists and anesthesiologists, the highest-volume prescribers of opioids

and, as a group, more educated than other practitioners about opioids’ risks and benefits. Seeking

to develop market share and expand sales, however, Defendants also targeted increasing numbers

and types of prescribers for marketing.

       177.    This expanded market of prescribers was, as a group, less informed about opioids

and, as market research concluded, more susceptible to Defendants’ marketing messages. These

prescribers included nurse practitioners and physician assistants who, a 2012 Endo business plan

noted, were “share acquisition” opportunities because they were “3x times more responsive than

MDs to details” and wrote “96% of [their] prescriptions . . . without physician consult.”

       178.    The expanded market also included internists and general practitioners who were

low- to mid-volume prescribers. Actavis, for example, rolled out a plan in 2008 to move beyond

“Kadian loyalists” to an “expanded audience” of “low morphine writers.”

               b. Increasing “direct to consumer” marketing

       179.    Defendants knew that physicians were more likely to prescribe their branded

medications when patients asked for those medications. Endo’s research, for example, found that

such communications resulted in greater patient “brand loyalty,” with longer durations of Opana

ER therapy and fewer discontinuations. Defendants thus increasingly took their opioid sales

campaigns directly to consumers, including through patient-focused “education and support”



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materials. These took the form of pamphlets, videos, or other publications that patients could view

in their physician’s office, as well as employer and workers’ compensation plan initiatives to, as

Endo put it, “[d]rive demand for access through the employer audience by highlighting cost of

disease and productivity loss.”

       180.    Defendants also knew that one of the largest obstacles to patients starting and

remaining on their branded opioids—including by switching from a competitor’s drug—was out-

of-pocket cost. They recognized they could overcome this obstacle by providing patients financial

assistance with their insurance co-payments, and each of the Defendants did so through vouchers

and coupons distributed during detailing visits with prescribers. A 2008 Actavis business review,

for example, highlighted co-pay assistance, good for up to $600 per patient per year, as a way to

drive conversions to Kadian from competitor drugs like Avinza and MS Contin. In 2012, Janssen

planned to distribute 1.5 million savings cards worth $25 each.

               c. Differentiating each brand

       181.    Purdue’s OxyContin was the clear market leader in prescription opioid therapy, with

30% of the market for analgesic drugs in 2012. However, by 2010, Defendants had begun facing

increasing pushback from the medical community and regulators based on the growing problems of

opioid addiction and abuse. Both market conditions prompted Defendants to pursue product

differentiation strategies—particularly an emphasis on their products being less subject to

diversion, abuse, and addiction—as a means of grabbing market share from Purdue and other

competitors.

       182.    Endo, for example, tracked in detail prescriber “switching” from OxyContin to

Opana ER. Actavis and Janssen did the same for switches to Kadian and Nucynta ER, respectively.

Pressure to stand out among other drugs resulted in Defendants identifying marketing themes that



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thereafter were reflected in Defendants’ deceptive and harmful messages to physicians and

consumers. A 2008 Janssen plan emphasized “value” messaging in support of Nucynta ER,

including claims of less dose escalation, lower toxins, fewer withdrawal symptoms, and less

dependence, and a 2009 Opana ER market research report focused on greater potency and lower

abuse potential of Opana ER vis-à-vis OxyContin.

              d. Moving beyond office visits

       183.   Defendants sought to reach additional prescribers by expanding beyond traditional

sales calls and speaker events to new channels for their messages. For their sales forces, these

included marketing to prescribers through voice mail, postcards, and email—so- called “e-

detailing.” Defendants also created new platforms for their speakers by implementing “peer to

peer” programs such as teleconferences and webinars that were available to prescribers nationally.

These programs allowed Defendants to use this more seemingly credible vehicle to market to,

among other hard-to-reach audiences, prescribers at hospitals, academic centers, and other

locations that limit or prohibit in-person detailing. Employing these new approaches, each

Defendant relied heavily on speakers to promote its drugs.

       4. Defendants Marketed Opioids in Lamar County and Vernon Using the Same
          Strategies and Messages They Employed Nationwide.

       184.   Defendants employed the same marketing plans and strategies and deployed the

same messages in Lamar County and Vernon as they did nationwide.

       185.   Across the pharmaceutical industry, “core message” development is funded and

overseen on a national basis by corporate headquarters. This comprehensive approach ensures that

Defendants’ messages are accurately and consistently delivered across marketing channels—

including detailing visits, speaker events, and advertising—and in each sales territory. Defendants




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consider this high level of coordination and uniformity crucial to successfully marketing their

drugs.

         186.   Defendants ensure marketing consistency nationwide through national and regional

sales representative training; national training of local medical liaisons, the company employees

who respond to physician inquiries; centralized speaker training; single sets of visual aids, speaker

slide decks, and sales training materials; and nationally coordinated advertising. Defendants’ sales

representatives and physician speakers were required to stick to prescribed talking points, sales

messages, and slide desks, and supervisors traveled with them periodically to check on both their

performance and compliance.

         187.   As they did nationwide, Defendants extensively tracked the prescribing behavior of

city and county-area health care providers and used that data to target their detailing and speaker-

recruiting efforts. Top prescribers were profiled at the county, city, region, zip code, and

sometimes facility levels, with information about their specialty, prescribing patterns (including

product and dose), product loyalty and refill history. Providers’ prescribing volume was ranked and

sorted into deciles.

         188.   As described herein, misrepresentations and deceptions regarding the risks, benefits,

and superiority of opioid use to treat chronic pain were part and parcel of Defendants’ marketing

campaigns in Lamar County and Vernon.

   C. Defendants Used “Unbranded” Marketing to Evade Regulations and Consumer
      Protection Laws.

         189.   In addition to their direct marketing efforts, Defendants used unbranded, third- party

marketing, which they deployed as part of their national marketing strategies for their branded

drugs. Each Defendant executed these strategies through a network of third-party KOLs and Front

Groups, with which it acted in concert by funding, assisting, encouraging, and directing their


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efforts.       At the same time, Defendants exercised substantial control over the content of the

messages third parties generated and disseminated, and distributed certain of those materials

themselves. As with their other marketing strategies, Defendants’ unbranded marketing created,

and relied upon, an appearance of independence and credibility that was undeserved but central to

its effectiveness. Unlike their direct promotional activities, Defendants’ unbranded marketing

allowed them to evade the oversight of federal regulators and gave them greater freedom to expand

their deceptive messages.

            1. Regulations Governing Branded Promotion Require That It be Truthful,
               Balanced, and Supported by Substantial Evidence.

            190.      Drug companies that make, market, and distribute opioids are subject to generally

applicable rules requiring truthful marketing of prescription drugs. A drug company’s branded

marketing, which identifies and promotes a specific drug, must: (a) be consistent with its label and

supported by substantial scientific evidence; (b) not include false or misleading statements or

material omissions; and (c) fairly balance the drug’s benefits and risks. 57            The regulatory

framework governing the marketing of specific drugs reflects a public policy designed to ensure

that drug companies, which are best suited to understand the properties and effects of their drugs,

are responsible for providing prescribers with the information they need to accurately assess the

risks and benefits of drugs for their patients.

            191.      Further, the Federal Food, Drug, and Cosmetic Act (“FDCA”) prohibits the sale in

interstate commerce of drugs that are “misbranded.” A drug is “misbranded” if it lacks “adequate

directions for use” or if the label is false or misleading “in any particular.”58 “Adequate directions

for use” are directions “under which the layman can use a drug safely and for the purposes for



57
     21 U.S.C. § 352(a); 21 C.F.R. §§ 1.21(a), 202.1(e)(3), 202.1(e)(6).
58
     21 U.S.C. §§ 352.

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which it is intended.”59 “Labeling” includes more than the drug’s physical label; it also includes

“all . . . other written, printed, or graphic matter . . . accompanying” the drug, including

promotional material.60 “The term “accompanying” is interpreted broadly to include promotional

materials—posters, websites, brochures, books, and the like—disseminated by or on behalf of the

manufacturer of the drug. 61 Thus, Defendants’ promotional materials are part of their drugs’

labels and are required to be accurate, balanced, and not misleading.

         192.     Labeling is misleading if it is not based on substantial evidence, if it materially

misrepresents the benefits of the drug, or if it omits material information about or minimizes the

frequency or severity of a product’s risks. “The most serious risks set forth in a product’s labeling

are generally material to any presentation of efficacy.” The FDA notes that “[b]ecause people

expect to see risk information, there is no reason for them to imagine that the product has important

risks that have been omitted . . . especially if some risks are included.” 62 Promotion that fails to

present the most important risks of the drug as prominently as its benefits lacks fair balance and is

therefore deceptive.

         193.     It is also illegal for drug companies to distribute materials that exclude contrary

evidence or information about the drug’s safety or efficacy or present conclusions that “clearly

cannot be supported by the results of the study.” 63 Further, drug companies must not make

comparisons between their drugs and other drugs that represent or suggest that “a drug is safer or

more effective than another drug in some particular when it has not been demonstrated to be safer

or more effective in such particular by substantial evidence or substantial clinical experience.”64


59
   21 C.F.R. § 201.5.
60
   21 U.S.C. § 321(m).
61
   See id.
62
   FDA, Draft Guidance for Industry, Presenting Risk Information in Prescription Drug and Medical Device Promotion, May 2009,
at 14.
63
   21 C.F.R. § 99.101(a)(4).
64
   21 C.F.R. § 202.1(e)(6)(ii).

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          194.      While the FDA must approve a drug’s label, it is the drug company’s responsibility

to ensure that the material in its label is accurate and complete and is updated to reflect any new

information.65 Promotional materials also must be submitted to the FDA when they are first used

or disseminated. The FDA does not have to approve these materials in advance; if, upon review,

the FDA determines that materials marketing a drug are misleading, it can issue an untitled letter or

warning letter. The FDA uses untitled letters for violations such as overstating the effectiveness of

the drug or making claims without context or balanced information. Warning letters address

promotions involving safety or health risks and indicate the FDA may take further enforcement

action.

          2. Defendants Deployed Front Groups and Doctors to Disseminate Unbranded
             Information on Their Behalf.

          195.      Drug companies market both directly and indirectly, using third party validators

(such as scientists, physicians, or patient or professional organizations) that appear to be

independent and therefore more credible. The FDA has made clear that its promotional

requirements apply to both forms of marketing:

          FDA’s regulation of prescription drug product promotion extends both to
          promotional activities that are carried out by the firm itself, and to promotion
          conducted on the firm’s behalf.

          ....

          Therefore, a firm is responsible for the content generated by its employees or any
          agents acting on behalf of the firm who promote the firm’s product. For example, if
          an employee or agent of a firm, such as a medical science liaison or paid speaker
          (e.g., a key opinion leader) acting on the firm’s behalf, comments on a third- party
          site about the firm’s product, the firm is responsible for the content its employee or



65
    See 21 C.F.R. § 201.56 (providing general requirements for prescription drug labeling); see also Wyeth v. Levine, 555 U.S. 555
(2009) (holding that a drug company bears responsibility for the content of its drug labels at all times); 21 C.F.R. § 314.70(c)(6)
(iii)(A-C) (allowing manufacturers to make changes that “strengthen . . . a warning, precaution, or adverse reaction” or “strengthen a
statement about drug abuse, dependence, psychological effect, or overdosage”).

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          agent provides. A firm is also responsible for the content on a blogger’s site if the
          blogger is acting on behalf of the firm.66

          196.       In addition to being carried out directly or through third parties, drug companies’

promotional activity can be branded or unbranded; unbranded marketing refers not to a specific

drug, but more generally to a disease state or treatment. By using unbranded communications, drug

companies can sidestep the extensive regulatory framework governing branded communications.

          197.       Defendants disseminated many of their false, misleading, imbalanced, and

unsupported statements indirectly, through KOLs and Front Groups, and in unbranded marketing

materials. These KOLs and Front Groups were important elements of Defendants’ marketing plans,

which specifically contemplated their use, because they seemed independent and therefore outside

FDA oversight. Through unbranded materials, Defendants, with their own knowledge of the risks,

benefits and advantages of opioids, presented information and instructions concerning opioids

generally that were contrary to, or at best, inconsistent with information and instructions listed on

Defendants’ branded marketing materials and drug labels. Defendants did so knowing that

unbranded materials typically are not submitted to or reviewed by the FDA.

          198.       Even where such unbranded messages were channeled through third-party vehicles,

Defendants adopted these messages as their own when they cited to, edited, approved, and

distributed such materials knowing they were false, misleading, unsubstantiated, unbalanced, and

incomplete. Unbranded brochures and other materials that are “disseminated by or on behalf of

[the] manufacturer” constitute drug “labeling” that may not be false or misleading in any particular.
                                                  67
See 21 C.F.R. 202.1(e)(7)(l)(2).                       Defendants’ sales representatives distributed third-party


66
   FDA, Draft Guidance for Industry on Fulfilling Regulatory Requirements for Postmarketing Submissions of Interactive
Promotional Media for Prescription Human and Animal Drugs and Biologics, January 2014, at 1, 4,
http://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm381352.pdf.
67
   This regulation provides: “Brochures, booklets, mailing pieces, detailing pieces, file cards, bulletins, calendars, price lists,
catalogs, house organs, letters, motion picture films, film strips, lantern slides, sound recordings, exhibits, literature, and reprints and
similar pieces of printed, audio, or visual matter descriptive of a drug and the references published . . . containing drug information

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marketing material that was deceptive to Defendants’ target audiences. Defendants are responsible

for these materials.

           199.       Moreover, Defendants took an active role in guiding, reviewing, and approving

many of the misleading statements issued by these third parties, ensuring that Defendants were

consistently aware of their content. By funding, directing, editing, and distributing these materials,

Defendants exercised control over their deceptive messages and acted in concert68 with these third

parties to fraudulently promote the use of opioids for the treatment of chronic pain.

           200.       For example, drug companies have been admonished for making functional claims

in FDA-reviewed branded materials because there is no evidence for such claims. Thus, drug

companies were put on notice that the FDA would not allow such claims in branded materials.

Defendants instead created and disseminated these same unsupported claims—that opioids allow

patients to sleep, return to work, or walk more easily—through unbranded marketing materials.

           201.       The third-party publications Defendants assisted in creating and distributing did not

 include the warnings and instructions mandated by their FDA-required drug labels and consistent

 with the risks and benefits known to Defendants. For example, these publications either did not

 disclose the risks of addiction, abuse, misuse, and overdose, or affirmatively denied that patients

 faced a serious risk of addiction.

           202.       By acting through third parties, Defendants were able to both avoid FDA scrutiny

and give the false appearance that the messages reflected the views of independent third parties.

Later, Defendants would cite to these sources as “independent” corroboration of their own

statements. As one physician adviser to Defendants noted, third-party documents not only had


supplied by the manufacturer, packer, or distributor of the drug and which are disseminated by or on behalf of its manufacturer, packer, or distributor
are hereby determined to be labeling, as defined in section 201(m) of the act.” As labeling, such third party-created content distributed by a drug
company may not be misleading and must meet the accuracy, substantiation, and fair balance requirements in the FDCA.
68
   As used in this Complaint, the allegation that Defendants “acted in concert” with third parties is intended to mean both that they conspired with
these third parties to achieve some end and that they aided and abetted these third parties in the commission of acts necessary to achieve it.


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greater credibility, but broader distribution as doctors did not “push back” at having materials from,

for example, the non-profit American Pain Foundation (“APF”) on display in their offices, as they

might with first party, drug company pieces. Nevertheless, the independence of these materials was

a ruse—Defendants were in close contact with these third parties, paid for and were aware of the

misleading information they were disseminating about the use of opioids to treat chronic pain, and

regularly helped them to tailor and distribute their misleading, pro-opioid messaging.

       203.     As part of a strategic marketing scheme, Defendants spread and validated their

deceptive messages through the following vehicles: (a) KOLs, who could be counted upon to write

favorable journal articles and deliver supportive CMEs; (b) a body of biased and unsupported

scientific literature; (c) treatment guidelines; (d) CMEs; (e) unbranded patient education materials;

and (f) Front Group patient-advocacy and professional organizations, which exercised their

influence both directly and through Defendant-controlled KOLs who served in leadership roles in

those organizations.

                a. Defendants’ Use of KOLs

       204.     Defendants cultivated a small circle of doctors who, upon information and belief,

were selected and sponsored by Defendants solely because they favored the aggressive treatment of

chronic pain with opioids. Defendants’ support helped these doctors become respected industry

experts. In return, these doctors repaid Defendants by touting the benefits of opioids to treat

chronic pain.

       205.     Pro-opioid doctors have been at the hub of Defendants’ promotional efforts,

presenting the appearance of unbiased and reliable medical research supporting the broad use of

opioid therapy for chronic pain. KOLs have written, consulted on, edited, and lent their names to

books and articles, and given speeches and CMEs supportive of chronic opioid therapy. They have



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served on committees that developed treatment guidelines that strongly encourage the use of

opioids to treat chronic pain (even while acknowledging the lack of evidence in support of that

position) and on the boards of pro-opioid advocacy groups and professional societies that develop,

select, and present CMEs. Defendants were able to exert control of each of these modalities

through their KOLs.

         206.      In return, the KOLs’ association with Defendants provided not only money, but

prestige, recognition, research funding, and avenues to publish. This positioned them to exert even

more influence in the medical community.

         207.      Although some KOLs initially may have advocated for more permissive opioid

prescribing with honest intentions, Defendants cultivated and promoted only those KOLs who

could be relied on to help broaden the chronic opioid therapy market. Defendants selected, funded,

and elevated those doctors whose public positions were unequivocal and supportive of using

opioids to treat chronic pain.69 These doctors’ professional reputations were then dependent on

continuing to promote a pro-opioid message, even in activities that were not directly funded by the

drug companies.

         208.      Defendants cited and promoted favorable studies or articles by these KOLs. By

contrast, Defendants did not support, acknowledge, or disseminate the publications of doctors

critical of the use of chronic opioid therapy. Indeed, one prominent KOL sponsored by Defendants,

Russell Portenoy, stated that he was told by a drug company that research critical of opioids (and

the doctors who published that research) would never obtain funding. Some KOLs have even gone




69
   Opioid-makers were not the first to mask their deceptive marketing efforts in purported science. The tobacco industry also used
KOLs in its effort to persuade the public and regulators that tobacco was not addictive or dangerous. For example, the tobacco
companies funded a research program at Harvard and chose as its chief researcher a doctor who had expressed views in line with
industry’s views. He was dropped when he criticized low-tar cigarettes as potentially more dangerous, and later described himself as
a pawn in the industry’s campaign.

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on to become direct employees and executives of Defendants, like Dr. David Haddox, Purdue’s

Vice President of Risk Management, or Dr. Bradley Galer, Endo’s former Chief Medical Officer.

       209.    Defendants provided substantial opportunities for KOLs to participate in research

studies on topics Defendants suggested or chose, with the predictable effect of ensuring that many

favorable studies appeared in the academic literature. As described by Dr. Portenoy, drug

companies would approach him with a study that was well underway and ask if he would serve as

the study’s author. Dr. Portenoy regularly agreed.

       210.    Defendants also paid KOLs to serve as consultants or on their advisory boards and

give talks or present CMEs, typically over meals or at conferences. Since 2000, Cephalon, for

instance, has paid doctors more than $4.5 million for programs relating to its opioids.

       211.    These KOLs were carefully vetted to ensure that they were likely to remain on-

message and supportive of a pharmaceutical industry agenda. One measure was a doctor’s prior

work for trusted Front Groups.

       212.    Defendants kept close tabs on the content of the misleading materials published by

these KOLs. In many instances they also scripted what these KOLs said—as they did with all their

recruited speakers. The KOLs knew, or deliberately ignored, the misleading way in which they

portrayed the use of opioids to treat chronic pain to patients and prescribers, but they continued to

publish those misstatements to benefit themselves and Defendants, all the while causing harm to

Lamar County and Vernon’s prescribers and patients.

                     i.   Russell Portenoy

       213.    Co-conspirator and KOL Dr. Russell Portenoy, who is not named as a Defendant,

former Chairman of the Department of Pain Medicine and Palliative Care at Beth Israel Medical

Center in New York, is one example of a KOL whom Defendants identified and promoted to



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further their marketing campaign. Dr. Portenoy received research support, consulting fees, and

honoraria from Cephalon, Endo, Janssen, and Purdue (among others), and was a paid consultant to

Cephalon and Purdue.

            214.      Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

treat chronic pain. He served on the American Pain Society (“APS”) / American Academy of Pain

Medicine (“AAPM”) Guidelines Committees, which endorsed the use of opioids to treat chronic

pain, first in 1997 and again in 2009. He was also a member of the board of APF, an advocacy

organization almost entirely funded by Defendants.

            215.      Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations. He appeared on Good Morning America in 2010 to discuss the use of

opioids long-term to treat chronic pain. On this widely watched program, broadcast in Lamar

County and Vernon and across the country, Dr. Portenoy claimed: “Addiction, when treating pain,

is distinctly uncommon. If a person does not have a history, a personal history, of substance abuse,

and does not have a history in the family of substance abuse, and does not have a very major

psychiatric disorder, most doctors can feel very assured that that person is not going to become

addicted.”70

            216.      Dr. Portenoy has recently admitted that he “gave innumerable lectures in the late

1980s and ‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than

1% of patients would become addicted to opioids. According to Dr. Portenoy, because the primary

goal was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits

and glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of




70
     Good Morning America television broadcast, ABC News (Aug. 30, 2010).


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opioids does not exist.” 71 Portenoy candidly stated: “Did I teach about pain management,

specifically about opioid therapy, in a way that reflects misinformation? Well, . . . I guess I did.”72

                           ii.    Lynn Webster

         217.      Co-Conspirator and KOL Dr. Lynn Webster, who is not named as a Defendant, was

the co-founder and Chief Medical Director of Lifetree Clinical Research, an otherwise unknown

pain clinic in Salt Lake County, Utah. Dr. Webster was President in 2013 and is a current board

member of AAPM, a front group that ardently supports chronic opioid therapy.73 He is a Senior

Editor of Pain Medicine, the same journal that published Endo special advertising supplements

touting Opana ER. Dr. Webster was the author of numerous CMEs sponsored by Cephalon, Endo,

and Purdue. At the same time, Dr. Webster was receiving significant funding from Defendants

(including nearly $2 million from Cephalon).

         218.      Dr. Webster had been under investigation for overprescribing by the DEA, which

raided his clinic in 2010. More than 20 of Dr. Webster’s former patients at the Lifetree Clinic have

died of opioid overdoses. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a

five question, one-minute screening tool relying on patient self-reports that purportedly allows

doctors to manage the risk that their patients will become addicted to or abuse opioids. The claimed

ability to pre-sort patients likely to become addicted is an important tool in giving doctors

confidence to prescribe opioids long-term, and for this reason, references to screening appear in

various industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or

are linked to, websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via

webinar, a program sponsored by Purdue titled, Managing Patient’s Opioid Use: Balancing the


71
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012.
72
   Id.
73
   Journal supplements are paid for by drug manufacturers and, although they may be designed to blend into the rest of the journal,
are not peer-reviewed and constitute drug company advertising.

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Need and the Risk. Dr. Webster recommended use of risk screening tools, urine testing, and patient

agreements to prevent “overuse of prescriptions” and “overdose deaths.” This webinar was

available to and was intended to reach the Lamar County and Vernon’s doctors.

            219.     Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a patient’s

dose of opioids. As he and his co-author wrote in a book entitled Avoiding Opioid Abuse While

Managing Pain (2007), when faced with signs of aberrant behavior, increasing the dose “in most

cases . . . should be the clinician’s first response.” Endo distributed this book to doctors. Years

later, Dr. Webster reversed himself, acknowledging that “[pseudoaddiction] obviously became too

much of an excuse to give patients more medication.”74

                     b. “Research” That Lacked Supporting Evidence

            220.     Rather than find a way to actually test the safety and efficacy of opioids for long-

term use, Defendants led people to believe that they already had. Defendants created a body of

false, misleading, and unsupported medical and popular literature about opioids that (a) understated

the risks and overstated the benefits of long-term use; (b) appeared to be the result of independent,

objective research; and (c) was thus more likely to shape the perceptions of prescribers, patients

and payers. This literature was, in fact, marketing material focused on persuading doctors and

consumers that the benefits of long-term opioid use outweighed the risks.

            221.     To accomplish this, Defendants—sometimes through third-party consultants and/or

advocacy organizations—commissioned, edited, and arranged for the placement of favorable

articles in academic journals. Defendants’ internal documents reveal plans to submit research


74
     John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, Milwaukee Wisc. J. Sentinel (Feb. 19, 2012).

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papers and “studies” to long lists of journals, including back-up options and last resort, “fast-track”

application journals that they could use if the pending paper was rejected everywhere else.

         222.     Defendants coordinated the timing and publication of manuscripts, abstracts,

posters/oral presentations, and educational materials in peer-reviewed journals and other

publications to support the launch and sales of their drugs. The plans for these materials did not

originate in the departments within the Defendant organizations that were responsible for research,

development or any other area that would have specialized knowledge about the drugs and their

effects on patients, but in Defendants’ marketing departments and with Defendants’ marketing and

public relations consultants. Defendants often relied on “data on file” or presented posters, neither

of which are subject to peer review. They also published their articles not through a competitive

process, but in paid journal supplements, which allowed Defendants to publish, in nationally

circulated journals, studies supportive of their drugs.

         223.     Defendants also made sure that favorable articles were disseminated and cited

widely in the medical literature, even where references distorted the significance or meaning of the

underlying study. Most notably, Purdue promoted a 1980 reference in the well-respected New

England Journal of Medicine: J. Porter & H. Jick, Addiction Rare in Patients Treated with

Narcotics, 302(2) New Eng. J. Med. 123 (1980) (“Porter-Jick Letter”). It is cited 856 times in

Google Scholar, and 86 times since 2010. It also appears as a reference in two CME programs in

2012 sponsored by Purdue and Endo.75 Defendants and those acting on their behalf fail to reveal

that this “article” is actually a letter-to-the-editor, not a peer-reviewed study (or any kind of study

at all). The Porter-Jick Letter, reproduced in full below, describes a review of the charts of

hospitalized patients who had received opioids. (Because it was a 1980 study, standards of care

75
  AAPM, Safe Opioid Prescribing Course, February 25-26, 2012, sponsored by Purdue and Endo; “Chronic Pain Management and
Opioid Use,” October 11, 2012, sponsored by Purdue. Each CME is available for online credit, including to prescribers in Lamar
County and Vernon.

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almost certainly would have limited opioids to acute or end-of-life situations, not chronic pain.)




       224.    The Porter-Jick Letter notes that, when these patients’ records were reviewed, it

found almost no references to signs of addiction, though there is no indication that caregivers were

instructed to assess or document signs of addiction. None of these serious limitations is disclosed

when Defendants, or those acting on their behalf, cite the Porter-Jick Letter, typically as the sole

scientific support for the proposition that opioids are rarely addictive, even when taken long-term.

In fact, Dr. Jick later complained that his letter had been distorted and misused.

       225.    Defendants worked not only to create or elevate favorable studies in the literature,

but to discredit or bury negative information. Defendants’ studies and articles often targeted

articles that contradicted Defendants’ claims or raised concerns about chronic opioid therapy. In

order to do so, Defendants—often with the help of third-party consultants—targeted a broad range

of media to get their message out, including negative review articles, letters to the editor,

commentaries, case-study reports, and newsletters.



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       226.    Defendants’ strategies—first, to plant and promote supportive literature and then, to

cite the pro-opioid evidence in their promotional materials, while failing to disclose evidence that

contradicts those claims—are flatly inconsistent with their legal obligations. The strategies were

intended to, and did, knowingly and intentionally distort the truth regarding the risks, benefits and

superiority of opioids for chronic pain relief resulting in distorted prescribing patterns.

               c. Treatment Guidelines

       227.    Treatment guidelines have been particularly important in securing acceptance for

chronic opioid therapy. They are relied upon by doctors, especially the general practitioners and

family doctors targeted by Defendants, who are otherwise not experts, nor trained, in the treatment

of chronic pain. Treatment guidelines not only directly inform doctors’ prescribing practices, but

are cited throughout the scientific literature and referenced by third-party payers in determining

whether they should cover treatments for specific indications. Furthermore, Endo’s internal

documents indicate that pharmaceutical sales representatives employed by Endo, Actavis, and

Purdue discussed treatment guidelines with doctors during individual sales visits.

                      i.   FSMB

       228.    The Federation of State Medical Boards (“FSMB”) is a trade organization

representing the various state medical boards in the United States. The state boards that comprise

the FSMB membership have the power to license doctors, investigate complaints, and discipline

physicians. The FSMB finances opioid- and pain-specific programs through grants from

Defendants.

       229.    In 1998, the FSMB developed Model Guidelines for the Use of Controlled

Substances for the Treatment of Pain (“FSMB Guidelines”), which FSMB admitted was produced




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“in collaboration with pharmaceutical companies.”76 The FSMB Guidelines taught not that opioids

could be appropriate in limited cases or after other treatments had failed, but that opioids were

“essential” for treatment of chronic pain, including as a first prescription option. The FSMB

Guidelines failed to mention risks relating to respiratory depression and overdose, and they

discussed addiction only in the sense that “inadequate understandings” of addiction can lead to

“inadequate pain control.”

       230.    A 2004 iteration of the FSMB Guidelines and the 2007 book adapted from the 2004

guidelines, Responsible Opioid Prescribing, also make these same claims. These guidelines were

posted online and were available to and intended to reach Lamar County and Vernon’s physicians.

       231.    The publication of Responsible Opioid Prescribing was backed largely by drug

manufacturers, including Cephalon, Endo, and Purdue. The FSMB financed the distribution of

Responsible Opioid Prescribing by its member boards by contracting with drug companies,

including Endo and Cephalon, for bulk sales and distribution to sales representatives (for

distribution to prescribing doctors).

       232.    In all, 163,131 copies of Responsible Opioid Prescribing were distributed to state

medical boards (and through the boards, to practicing doctors), and the FSMB benefitted by

earning approximately $250,000 in revenue and commissions from their sale. The FSMB website

describes the book as the “leading continuing medication education (CME) activity for prescribers

of opioid medications.”

       233.    Drug companies relied on FSMB guidelines to convey the message that “under-

treatment of pain” would result in official discipline, but no discipline would result if opioids were

prescribed as part of an ongoing patient relationship and prescription decisions were documented.




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FSMB turned doctors’ fear of discipline on its head—doctors, who used to believe that they would

be disciplined if their patients became addicted to opioids, were taught that they would be punished

instead if they failed to prescribe opioids to their patients with pain.

         234.      FSMB, more recently, has moderated its stance. Although the 2012 revision of

Responsible Opioid Prescribing continued to teach that “pseudoaddiction” is real and that opioid

addiction risk can be managed through risk screening, it no longer recommended chronic opioid

therapy as a first choice after the failure of over-the-counter medication and has heightened its

addiction and risk warnings.

                          ii.    AAPM/APS Guidelines

         235.      AAPM and the APS are professional medical societies, each of which received

substantial funding from Defendants from 2009 to 2013 (with AAPM receiving over $2 million).

         236.      They issued a consensus statement in 1997, The Use of Opioids for the Treatment of

Chronic Pain, which endorsed opioids to treat chronic pain and claimed that the risk that patients

would become addicted to opioids was low.77 The co-author of the statement, Dr. Haddox, was a

paid speaker for Purdue at the time. Dr. Portenoy was the sole consultant. The consensus statement,

which also formed the foundation of the FSMB Guidelines, remained on AAPM’s website until

2011. The statement was taken down from AAPM’s website only after a doctor complained,

though it lingers on the internet elsewhere.78

         237.      AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

and continued to recommend the use of opioids to treat chronic pain.79 Fourteen of the 21 panel


77
   Consensus statement, The Use of Opioids for the Treatment of Chronic Pain, APS & AAPM (1997), available at
http://opi.areastematicas.com/generalidades/OPIOIDES.DOLORCRONICO.pdf.
78
   Id.
79
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Noncancer Pain, 10(2) The Journal of
Pain: Official Journal of the American Pain Society 113-130 (2009)



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members who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry

Fine of the University of Utah, received support from Janssen, Cephalon, Endo, and Purdue.

       238.    The 2009 Guidelines promote opioids as “safe and effective” for treating chronic

pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,

Clinical Professor of Neurology at Michigan State University and founder of the Michigan

Headache & Neurological Institute, resigned from the panel because of his concerns that the 2009

Guidelines were influenced by contributions that drug companies, including Defendants, made to

the sponsoring organizations and committee members. These AAPM/APS Guidelines have been a

particularly effective channel of deception and have influenced not only treating physicians, but

also the body of scientific evidence on opioids; the Guidelines have been cited 732 times in

academic literature, were upon information and belief disseminated in Lamar County and Vernon

during the relevant time period, are still available online, and were reprinted in the Journal of Pain.

       239.    Defendants widely referenced and promoted the 2009 Guidelines without disclosing

the acknowledged lack of evidence to support them.

                    iii.   American Geriatrics Society

       240.    The American Geriatrics Society (“AGS”), a nonprofit organization serving health

care professionals who work with the elderly, disseminated guidelines regarding the use of opioids

for chronic pain in 2002 (The Management of Persistent Pain in Older Persons, hereinafter “2002

AGS Guidelines”) and 2009 (Pharmacological Management of Persistent Pain in Older Persons,

hereinafter “2009 AGS Guidelines”). The 2009 AGS Guidelines included the following

recommendations: “All patients with moderate to severe pain . . . should be considered for opioid

therapy (low quality of evidence, strong recommendation),” and “the risks [of addiction] are



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exceedingly low in older patients with no current or past history of substance abuse.” 80 These

recommendations, which continue to appear on AGS’s website, are not supported by any study or

other reliable scientific evidence. Nevertheless, they have been cited 278 times in Google Scholar

since their 2009 publication.

         241.      AGS contracted with Defendants Endo, Purdue, and Janssen to disseminate the

2009 Guidelines, and to sponsor CMEs based on them. These Defendants were aware of the

content of the 2009 Guidelines when they agreed to provide funding for these projects. The 2009

Guidelines were first published online on July 2, 2009. AGS submitted grant requests to

Defendants including Endo and Purdue beginning July 15, 2009. Internal AGS discussions in

August 2009 reveal that it did not want to receive up-front funding from drug companies, which

would suggest drug company influence, but would instead accept commercial support to

disseminate the publication. However, by drafting the guidelines knowing that pharmaceutical

company funding would be needed, and allowing these companies to determine whether to provide

support only after they had approved the message, AGS ceded significant control to these

companies. Endo, Janssen, and Purdue all agreed to provide support to distribute the guidelines.

         242.      According to one news report, AGS has received $344,000 in funding from opioid

makers since 2009.81 Five of 10 of the experts on the guidelines panel disclosed financial ties to

Defendants, including serving as paid speakers and consultants, presenting CMEs sponsored by

Defendants, receiving grants from Defendants, and investing in Defendants’ stock. The Institute of

Medicine recommends that, to ensure an unbiased result, fewer than 50% of the members of a

guidelines committee should have financial relationships with drug companies.



80
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342 (2009), available
at http://onlinelibrary.wiley.com/doi/10.1111/j.1526-4637.2009.00699.x/full.
81
   John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, Milwaukee J. Sentinel, May 30, 2012.

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                            iv.      Guidelines That Did Not Receive Defendants’ Support

          243.       The extent of Defendants’ influence on treatment guidelines is demonstrated by the

fact that independent guidelines—the authors of which did not accept drug company funding—

reached very different conclusions. The 2012 Guidelines for Responsible Opioid Prescribing in

Chronic Non-Cancer Pain, issued by the American Society of Interventional Pain Physicians

(“ASIPP”), warned that “[t]he recent revelation that the pharmaceutical industry was involved in

the development of opioid guidelines as well as the bias observed in the development of many of

these guidelines illustrate that the model guidelines are not a model for curtailing controlled

substance abuse and may, in fact, be facilitating it.” ASIPP’s Guidelines further advise that

“therapeutic opioid use, specifically in high doses over long periods of time in chronic non-cancer

pain starting with acute pain, not only lacks scientific evidence, but is in fact associated with

serious health risks including multiple fatalities, and is based on emotional and political

propaganda under the guise of improving the treatment of chronic pain.” ASIPP recommends long-

acting opioids in high doses only “in specific circumstances with severe intractable pain” and only

when coupled with “continuous adherence monitoring, in well- selected populations, in

conjunction with or after failure of other modalities of treatments with improvement in physical

and functional status and minimal adverse effects.”82

          244.       Similarly, the 2011 Guidelines for the Chronic Use of Opioids, issued by the

American College of Occupational and Environmental Medicine, recommend against the “routine

use of opioids in the management of patients with chronic pain,” finding “at least moderate




82
   Laxmaiah Manchikanti, et al., American Society of Interventional Pain Physicians (ASIPP) Guidelines for Responsible Opioid Prescribing in
Chronic Non-Cancer Pain: Part 1, Evidence Assessment, 15 Pain Physician (Special Issue) S1-S66; Part 2 – Guidance, 15 Pain Physician (Special
Issue) S67-S116 (2012).


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evidence that harms and costs exceed benefits based on limited evidence,” while conceding there

may be patients for whom opioid therapy is appropriate.83

          245.      The Clinical Guidelines on Management of Opioid Therapy for Chronic Pain,

issued by the U.S. Department of Veterans Affairs (“VA”) and Department of Defense (“DOD”) in

2010, notes that their review:

                    revealed the lack of solid evidence based research on the efficacy of long-
                    term opioid therapy. Almost all of the randomized trials of opioids for
                    chronic non-cancer pain were short-term efficacy studies. Critical research
                    gaps . . . include: lack of effectiveness studies on long-term benefits and
                    harms of opioids . . .; insufficient evidence to draw strong conclusions
                    about optimal approaches to risk stratification . . .; lack of evidence on the
                    utility of informed consent and opioid management plans . . .; and
                    treatment of patients with chronic non-cancer pain at higher risk for drug
                    abuse or misuse.84

                    d. Continuing Medical Education

          246. CMEs are ongoing professional education programs provided to doctors. Doctors are

required to attend a certain number and, often, type of CME programs each year as a condition of

their licensure. These programs are delivered in person, often in connection with professional

organizations’ conferences, online, or through written publications. Doctors rely on CMEs not only

to satisfy licensing requirements, but to get information on new developments in medicine or to

deepen their knowledge in specific areas of practice. Because CMEs are typically delivered by

KOLs who are highly respected in their fields, and are thought to reflect these physicians’ medical

expertise, they can be especially influential to doctors.

          247.      The countless doctors and other health care professionals who participate in

accredited CMEs constitute an enormously important audience for opioid reeducation. As one

target, Defendants aimed to reach general practitioners, whose broad area of focus and lack of
83
   American College of Occupational and Environmental Medicine’s Guidelines for the Chronic Use of Opioids, (2011), available at:
https://www.nhms.org/sites/default/files/Pdfs/ACOEM%202011-Chronic%20Pain%20Opioid%20.pdf
84
   Management of Opioid Therapy for Chronic Pain Working Group, VA/DoD Clinical Practice Guideline for Management of Opioid Therapy for
Chronic Pain (May 2010), available at http://www.healthquality.va.gov/guidelines/Pain/cot/COT_312_Full-er.pdf.


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specialized training in pain management made them particularly dependent upon CMEs and, as a

result, especially susceptible to Defendants’ deceptions.

         248.      In all, Defendants sponsored CMEs that were delivered thousands of times,

promoting chronic opioid therapy and supporting and disseminating the deceptive and biased

messages described in this Complaint. These CMEs, while often generically titled to relate to the

treatment of chronic pain, focused on opioids to the exclusion of alternative treatments, inflated the

benefits of opioids, and frequently omitted or downplayed their risks and adverse effects.

         249.      The American Medical Association (“AMA”) has recognized that support from drug

companies with a financial interest in the content being promoted “creates conditions in which

external interests could influence the availability and/or content” of the programs and urges that

“[w]hen possible, CME[s] should be provided without such support or the participation of

individuals who have financial interests in the educational subject matter.”85

         250.      Dozens of CMEs that were available to and attended or reviewed by city and county

doctors during the relevant time period did not live up to the AMA’s standards.

         251.      The influence of Defendants’ funding on the content of these CMEs is clear. One

study by a Georgetown University Medical Center professor compared the messages retained by

medical students who reviewed an industry-funded CME article on opioids versus another group

who reviewed a non-industry-funded CME article. The industry-funded CME did not mention

opioid-related death once; the non-industry-funded CME mentioned opioid-related death 26 times.

Students who read the industry-funded article more frequently noted the impression that opioids

were underused in treating chronic pain. The “take-aways” of those reading the non- industry-

funded CME mentioned the risks of death and addiction much more frequently than the other


85
   Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov. 2011), available at
http://eo2.commpartners.com/users/ama/downloads/120328_Opinion_E-9_0115.pdf.

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group. Neither group could accurately identify whether the article they read was industry-funded,

making clear the difficulty health care providers have in screening and accounting for source

bias.86

           252.       By sponsoring CME programs presented by Front Groups like APF, AAPM, and

others, Defendants could expect messages to be favorable to them, as these organizations were

otherwise dependent on Defendants for other projects. The sponsoring organizations honored this

principle by hiring pro-opioid KOLs to give talks that supported chronic opioid therapy.

Defendant-driven content in these CMEs had a direct and immediate effect on prescribers’ views

on opioids. Producers of CMEs and Defendants measured the effects of CMEs on prescribers’

views on opioids and their absorption of specific messages, confirming the strategic marketing

purpose in supporting them.

                      e. Unbranded Patient Education

           253.       Pharmaceutical industry marketing experts see patient-focused advertising,

including direct-to-consumer marketing, as particularly valuable in “increas[ing] market share . . .

by bringing awareness to a particular disease that the drug treats.” 87 Evidence also demonstrates

that physicians are willing to acquiesce to patient demands for a particular drug— even for opioids

and for conditions for which they are not generally recommended.88 An Actavis marketing plan,

for example, noted that “[d]irect-to-consumer marketing affects prescribing decisions.”

Recognizing this fact, Defendants put their relationships with Front Groups to work to engage in

largely unbranded patient education about opioid treatment for chronic pain.



86
   Adriane Fugh-Berman, Marketing Messages in Industry-Funded CME, PharmedOut (June 25, 2010), available at
pharmedout.galacticrealms.com/Fugh-BermanPrescriptionforConflict6-25-10.pdf.
87
   Kanika Johar, An Insider’s Perspective: Defense of the Pharmaceutical Industry’s Marketing Practices, 76 Albany L. Rev. 299, 308 (2013).
88
   Prescribers often accede to patient requests. According to one study, nearly 20% of sciatica patients requesting oxycodone would receive a
prescription for it, compared with 1% making no request. More than half of patients requesting a strong opioid received one. J.B. McKinlay et al.,
Effects of Patient Medication Requests on Physician Prescribing Behavior, 52(2) Med. Care 294 (2014).


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       254.    The drug companies expect that they will recoup their investment in direct-to-

consumer advertisements by capturing at least some of any additional prescriptions that result from

patients “asking their doctor” about drugs that can treat their pain. Doctors also may review direct-

to-consumer materials sales representatives give them to distribute to patients.

               f. Defendants’ Use of Front Groups

       255.    As noted above, Defendants Cephalon, Endo, Janssen, and Purdue entered into

arrangements with numerous organizations to promote opioids. These organizations depend upon

Defendants for significant funding and, in some cases, for their survival. They were involved not

only in generating materials and programs for doctors and patients that supported chronic opioid

therapy, but also in assisting Defendants’ marketing in other ways—for example, responding to

negative articles and advocating against regulatory changes that would constrain opioid

prescribing. They developed and disseminated pro-opioid treatment guidelines; conducted outreach

to groups targeted by Defendants, such as veterans and the elderly; and developed and sponsored

CMEs that focused exclusively on use of opioids to treat chronic pain. Defendants funded these

Front Groups in order to ensure supportive messages from these seemingly neutral and credible

third parties, and their funding did, in fact, ensure such supportive messages.

                      i.   American Pain Foundation

       256.    The most prominent of Defendants’ Front Groups was APF, which received more

than $10 million in funding from opioid manufacturers from 2007 until it closed its doors in May

2012. Endo alone provided more than half of that funding; Purdue was next, at $1.7 million.

       257.    APF issued education guides for patients, reporters, and policymakers that touted

the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of addiction.

APF also launched a campaign to promote opioids for returning veterans, which has contributed to



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high rates of addiction and other adverse outcomes—including death—among returning soldiers.

APF also engaged in a significant multimedia campaign—through radio, television and the

internet—to educate patients about their “right” to pain treatment, namely opioids. All of the

programs and materials were available nationally and were intended to reach Lamar County’s and

Vernon’s residents.

       258.    In addition to Perry Fine, Russell Portenoy, and Scott Fishman, who served on

APF’s Board and reviewed its publications, another board member, Lisa Weiss, was an employee

of a public relations firm that worked for both Purdue and APF.

       259.    In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies out of total

income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants from

defendants Purdue, Cephalon, Endo, and others to avoid using its line of credit. As one of its board

members, Russell Portenoy, explained, the lack of funding diversity was one of the biggest

problems at APF.

       260.    APF held itself out as an independent patient advocacy organization. It often

engaged in grassroots lobbying against various legislative initiatives that might limit opioid

prescribing, and thus the profitability of its sponsors. It was often called upon to provide “patient

representatives” for Defendants’ promotional activities, including for Purdue’s Partners Against

Pain and Janssen’s Let’s Talk Pain. As laid out below, APF functioned largely as an advocate for

the interests of Defendants, not patients. Indeed, as early as 2001, Purdue told APF that the basis of




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a grant was Purdue’s desire to “strategically align its investments in nonprofit organizations that

share [its] business interests.”

            261.     In practice, APF operated in close collaboration with opioid makers. On several

occasions, representatives of the drug companies, often at informal meetings at Front Group

conferences, suggested activities and publications APF could pursue. APF then submitted grant

proposals seeking to fund these activities and publications, knowing that drug companies would

support projects conceived as a result of these communications.

            262.     APF assisted in other marketing projects for drug companies. One project funded by

another drug company—APF Reporter’s Guide: Covering Pain and Its Management (2008)89—

recycled text that was originally created as part of the company’s training document.

            263.     The same drug company made general grants, but even then, it directed how APF

used them. In response to an APF request for funding to address a potentially damaging state

Medicaid decision related to pain medications generally, the company representative responded, “I

provided an advocacy grant to APF this year—this would be a very good issue on which to use

some of that. How does that work?”

            264.     The close relationship between APF and the drug company was not unique, but in

fact mirrors the relationships between APF and Defendants. APF’s clear lack of independence—in

its finances, management, and mission—and its willingness to allow Defendants to control its

activities and messages, support an inference that each Defendant that worked with APF was able

to exercise editorial control over its publications.

            265.     Indeed, the U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of


89
     https://assets.documentcloud.org/documents/277606/apf-reporters-guide.pdf.

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opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

objective and neutral third party and Defendants stopped funding it. Within days of being targeted

by Senate investigation, APF’s board voted to dissolve the organization “due to irreparable

economic circumstances.” APF “cease[d] to exist, effective immediately.”90

                 ii.       The American Academy of Pain Medicine

          266.      The American Academy of Pain Medicine, with the assistance, prompting,

involvement, and funding of Defendants, issued treatment guidelines and sponsored and hosted

medical education programs essential to Defendants’ deceptive marketing of chronic opioid

therapy.

           267. AAPM has received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintains a corporate relations council, whose members pay $25,000 per

year (on top of other funding) to participate. The benefits include allowing members to present

educational programs at off-site dinner symposia in connection with AAPM’s marquee event—its

annual meeting held in Palm Springs, California, or other resort locations. AAPM describes the

annual event as an “exclusive venue” for offering education programs to doctors.

          268.      Membership in the corporate relations council also allows drug company executives

and marketing staff to meet with AAPM executive committee members in small settings.

Defendants Endo, Purdue, Cephalon and Actavis were members of the council and presented

deceptive programs to doctors who attended this annual event.

          269.      AAPM is viewed internally by Endo as “industry friendly,” with Endo advisors and

speakers among its active members. Endo attended AAPM conferences, funded its CMEs, and

distributed its publications. The conferences sponsored by AAPM heavily emphasized sessions on


90
     http://www.painfoundation.org.

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opioids—37 out of roughly 40 at one conference alone. AAPM’s presidents have included top

industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was even

elected president of AAPM while under a DEA investigation. Another past AAPM president, Dr.

Scott Fishman, stated that he would place the organization “at the forefront” of teaching that “the

risks of addiction are . . . small and can be managed.”91

         270.      AAPM’s staff understood that they and their industry funders were engaged in a

common practice. Defendants were able to influence AAPM through both their significant and

regular funding, and the leadership of pro-opioid KOLs within the organization.

         3. Defendants Acted in Concert with KOLs and Front Groups in the Creation,
            Promotion, and Control of Unbranded Marketing.

         271.      Like cigarette manufacturers, which engaged in an industry-wide effort to

misrepresent the safety and risks of smoking, Defendants worked with each other and with the

Front Groups and KOLs they funded and directed to carry out a common scheme to deceptively

present the risks, benefits, and superiority of opioids to treat chronic pain.

         272.      Defendants acted through and with the same network of Front Groups, funded the

same KOLs, and often used the very same language and format to disseminate the same deceptive

messages. These KOLs have worked reciprocally with Defendants to promote misleading

messaging regarding the appropriate use of opioids to treat chronic pain. Although participants

knew this information was false and misleading, these misstatements were upon information and

belief nevertheless disseminated to Lamar County’s and Vernon’s prescribers and patients.

         273.      One vehicle for their collective collaboration was Pain Care Forum (“PCF”). PCF

began in 2004 as an APF project with the stated goals of offering “a setting where multiple

organizations can share information” and to “promote and support taking collaborative action
91
  Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief of the Division of
Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.

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regarding federal pain policy issues.” APF President Will Rowe described the Forum as “a

deliberate effort to positively merge the capacities of industry, professional associations, and

patient organizations.”

          274.       PCF is comprised of representatives from opioid manufacturers and distributors

(including Cephalon, Endo, Janssen, and Purdue); doctors and nurses in the field of pain care;

professional organizations (e.g., American Academy of Pain Management, APS, and American

Society of Pain Educators); patient advocacy groups (e.g., APF and ACPA); and other like-minded

organizations (e.g., FSMB and Wisconsin Pain & Policy Studies Group), almost all of which

received substantial funding from Defendants.

          275.       PCF, for example, developed and disseminated “consensus recommendations” for a

Risk Evaluation and Mitigation Strategy (“REMS”) for long-acting opioids that the FDA mandated

in 2009 to communicate the risks of opioids to prescribers and patients.92 This was critical as a

REMS that went too far in narrowing the uses or benefits, or highlighting the risks of chronic

opioid therapy, would deflate Defendants’ marketing efforts. The recommendations—drafted by

Will Rowe of APF—claimed that opioids were “essential” to the management of pain, and that the

REMS “should acknowledge the importance of opioids in the management of pain and should not

introduce new barriers.”93 Defendants worked with PCF members to limit the reach and manage

the message of the REMS, which enabled them to maintain, and not undermine, their deceptive

marketing of opioids for chronic pain.




92
   The FDA can require a drug maker to develop a REMS—which could entail (as in this case) an education requirement or distribution limitation—
to manage serious risks associated with a drug.
93
   Defendants also agreed that short-acting opioids should also be included in REMS as not to disadvantage the long-acting, branded drugs.


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        4. Defendants Targeted Vulnerable and Lucrative Populations.

                a. The Elderly

        276.    Elderly patients taking opioids have been found to be exposed to elevated fracture

risks, a greater risk for hospitalizations, and increased vulnerability to adverse drug effects and

interactions, such as respiratory depression, which, as Defendants acknowledge in their labels (but

not in their marketing), occurs more frequently in elderly patients. A 2010 paper in the Archives of

Internal Medicine reported that elderly patients who used opioids had a significantly higher rate of

death, heart attacks, and strokes than users of NSAIDs. Defendants’ targeted marketing to the

elderly and the absence of cautionary language in their promotional materials flies in the face of

scientific evidence and their own labels, and creates a heightened risk of serious injury to elderly

patients.

        277.    Defendants    also   promoted   the   notion—also    without    adequate   scientific

foundation—that the elderly are particularly unlikely to become addicted to opioids. AGS’s 2009

Guidelines, for example, which Purdue, Endo, and Janssen publicized, described the risk of

addiction as “exceedingly low in older patients with no current or past history of substance abuse.”

Yet, a 2010 study examining overdoses among long-term opioid users found that patients 65 or

older were among those with the largest number of serious overdoses.

        278.    Defendants’ efforts have paid off. Since 2007, prescriptions for the elderly have

grown at twice the rate of prescriptions for adults between the ages of 40 and 59.

                b. Veterans

        279.    Veterans, too, are suffering greatly from the effects of Defendants’ targeted

marketing. A 2008 survey showed that prescription drug abuse among military personnel had

doubled from 2002 to 2005, and then nearly tripled again over the next three years. In 2009,



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military doctors wrote 3.8 million prescriptions for narcotic pain pills—four times as many as they

had in 2001. Further, one-third of veterans prescribed opioids as of 2012 remained on take-home

opioids for more than 90 days. Although many of these veterans are returning from service with

traumatic injuries, the increase in opioid prescribing is disproportionate to the population and, in

far too many cases, unsuited for their treatment. Among former service members receiving VA

services nationally in a single year (2005), 1,013 had died of an accidental drug overdose—double

the rate of the civilian population.

         280.    Lamar County and Vernon have a population of veterans who must cope with the

consequences of overprescribing opioids.

         281.    Opioids are particularly dangerous to veterans. According to a study published in

the 2013 Journal of American Medicine, veterans returning from Iraq and Afghanistan who were

prescribed opioids have a higher incidence of adverse clinical outcomes, such as overdoses and

self-inflicted and accidental injuries; 40% of veterans with post-traumatic stress disorder received

opioids and benzodiazepines (anti-anxiety drugs) that, when mixed with alcohol, can cause

respiratory depression and death. According to a VA Office of Inspector General Report, despite

the risks, 92.6% of veterans who were prescribed opioid drugs were also prescribed

benzodiazepines. 94      Again, as with elderly patients, Defendants both purposefully sought to

increase opioid prescribing to this vulnerable group and omitted from their promotional materials

the known, serious risks opioids pose to them.

         282.    Exit Wounds, a 2009 publication sponsored by Purdue, distributed by APF with

grants from Janssen and Endo, and written as a personal narrative of one veteran, describes opioids

as “underused” and the “gold standard of pain medications” and fails to disclose the risk of


94
     https://www.va.gov/oig/pubs/VAOIG-14-00895-163.pdf.

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addiction, overdose, or injury. It notes that opioid medications “increase a person’s level of

functioning” and that “[l]ong experience with opioids shows that people who are not predisposed to

addiction are unlikely to become addicted to opioid pain medications.” The book also asserts that

“[d]enying a person opioid pain medication because he or she has a history of substance abuse or

addiction is contrary to the model guidelines for prescribing opioids, published by the U.S.

Federation of State Medical Boards.” As laid out above, the FSMB itself received support from

Defendants during the time it created and published its guidelines.

          283.      Exit Wounds minimizes the risks of chronic opioid therapy and does not disclose the

risk that opioids may have fatal interactions with benzodiazepines, which were taken by a

significant number of veterans.95 It is not the unbiased narrative of a returning war veteran. It is

pure marketing, sponsored by Purdue, Endo, and Janssen. Janssen, for example, supported the

marketing effort, and its insufficient disclosures, despite acknowledging on the label for its opioid

Duragesic that its use with benzodiazepines “may cause respiratory depression, hypotension, and

profound sedation or potentially result in coma.” A similar warning is found on the labels of other

Defendants’ opioids.

          284.      The deceptive nature of Exit Wounds is obvious in comparing it to guidance on

opioids published by the VA and DOD in 2010 and 2011. The VA’s Taking Opioids Responsibly

describes opioids as “dangerous.” It cautions against taking extra doses and mentions the risk of

overdose and the dangers of interactions with alcohol. The list of side effects from opioids includes

decreased hormones, sleep apnea, hyperalgesia, addiction, immune system changes, birth defects

and death—none of which is disclosed in Exit Wounds.



95
   FDA guidance states that materials designed to target a particular audience should disclose risks particular to that audience. See
FDA Notice, Guidance for Industry, “Brief Summary and Adequate Directions for Use: Disclosing Risk Information in Consumer-
Directed Print Advertisements and Promotional Labeling for Prescription Drugs,” August 6, 2015.

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   D. Why Defendants’ Marketing Messages Are Misleading and Unfair

       285.      Defendants’ marketing of opioids for long-term use to treat chronic pain, both

directly and with and through third parties, included information that was false, misleading,

contrary to credible scientific evidence and their own labels, and lacked balance and substantiation.

Their marketing materials omitted material information about the risks of opioids, and overstated

their benefits. Moreover, Defendants inaccurately suggested that chronic opioid therapy was

supported by evidence, and failed to disclose the lack of evidence in support of treating chronic

pain with opioids.

       286.    There are seven primary misleading and unfounded representations. Defendants and

the third parties with which they teamed:

              misrepresented that opioids improve function;

              concealed the link between long-term use of opioids and addiction;

              misrepresented that addiction risk can be managed;

              masked the signs of addiction by calling them “pseudoaddiction”;

              falsely claimed withdrawal is easily managed;

              misrepresented or omitted the greater dangers from higher doses of opioids; and

              deceptively minimized the adverse effects of opioids and overstated the risks of

               NSAIDs.

       287.    In addition to these misstatements, Purdue purveyed an eighth deception that

OxyContin provides a full 12 hours of pain relief.




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           288.       Exacerbating each of these misrepresentations and deceptions was the collective

effort of Defendants and third parties to hide from the medical community the fact that the FDA “is

not aware of adequate and well-controlled studies of opioid use longer than 12 weeks.”96

           1. Defendants and Their Third-Party Allies Misrepresented that Opioids Improve
              Function

           289.       Each of the following materials was created with the expectation that, by instructing

patients and prescribers that opioids would improve patients’ function and quality of life, patients

would demand opioids and doctors would prescribe them. These claims also encouraged doctors to

continue opioid therapy in the belief that failure to improve pain, function, or quality of life, could

be overcome by increasing doses or prescribing supplemental short-acting opioids on an as-needed

basis for breakthrough pain.

           290.       However, not only is there no evidence of improvement in long-term functioning,

but a 2006 study-of-studies found that “[f]or functional outcomes . . . other analgesics were

significantly more effective than were opioids.” 97 Studies of the use of opioids in chronic

conditions for which they are commonly prescribed, such as low back pain, corroborate this

conclusion and have failed to demonstrate an improvement in patients’ function. Research

consistently shows that long-term opioid therapy for patients who have lower back injuries does

not cause patients to return to work or physical activity. 98 Indeed, one Defendant’s own internal

marketing plans characterized functional improvement claims as “aspirational.” Another

acknowledged in 2012 that “[s]ignificant investment in clinical data [was] needed” to establish

opioids’ effect on mitigating quality of life issues, like social isolation.

96
   Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians for Responsible Opioid
Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).
97
   Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects, 174(11) Can. Med. Ass’n J. 1589-
1594 (2006). This study revealed that efficacy studies do not typically include data on opioid addiction, such that, if anything, the data overstate
effectiveness.
98
   Moreover, users of opioids had the highest increase in the number of headache days per month, scored significantly higher on the Migraine
Disability Assessment (MIDAS), and had higher rates of depression, compared to non-opioid users. They also were more likely to experience
sleepiness, confusion, and rebound headaches, and reported a lower quality of life than patients taking other medications.


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          291.      The long-term use of opioids carries a host of serious side effects, including

addiction, mental clouding and confusion, sleepiness, hyperalgesia, and immune-system and

hormonal dysfunction that degrade, rather than improve, patients’ ability to function. Defendants

often omitted these adverse effects as well as certain risks of drug interactions from their

publications.

          292.      Yet each of the following statements by Defendants suggest that the long-term use

of opioids improve patients’ function and quality of life, and that scientific evidence supports this

claim.

Actavis            a.    Documents from a 2010 sales training indicate that Actavis trained its
                         sales force to instruct prescribers that “most chronic benign pain
                         patients do have markedly improved ability to function when
                         maintained on chronic opioid therapy.” (Emphasis added.)

                   b.    Documents from a 2010 sales training indicate that Actavis trained its
                         sales force that increasing and restoring function is an expected
                         outcome of chronic Kadian therapy, including physical, social,
                         vocational, and recreational function.

                   c.    Actavis distributed a product advertisement that claimed that use of
                         Kadian to treat chronic pain would allow patients to return to work,
                         relieve “stress on your body and your mental health,” and cause
                         patients to enjoy their lives. The FDA warned Actavis that such claims
                         were misleading, writing: “We are not aware of substantial evidence or
                         substantial clinical experience demonstrating that the magnitude of the
                         effect of the drug has in alleviating pain, taken together with any drug-
                         related side effects patients may experience . . . results in any overall
                         positive impact on a patient’s work, physical and mental functioning,
                         daily activities, or enjoyment of life.”99

                   d.     Actavis sales representatives told Lamar County and Vernon
                         prescribers that prescribing Actavis’s opioids would improve their
                         patients’ ability to function and improve their quality of life.




99
   Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18.
2010), available at
http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/EnforcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterst
oPharmaceuticalCompanies/ucm259240.htm.


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           e.   Cephalon sponsored the FSMB’s Responsible Opioid Prescribing
                (2007), which taught that relief of pain itself improved patients’
Cephalon        function. Responsible Opioid Prescribing explicitly describes
                functional improvement as the goal of a “long-term therapeutic
                treatment course.” Cephalon also spent $150,000 to purchase copies of
                the book in bulk and distributed the book through its pain sales force
                to 10,000 prescribers and 5,000 pharmacists.

           f.   Cephalon sponsored the American Pain Foundation’s Treatment
                Options: A Guide for People Living with Pain (2007), which taught
                patients that opioids, when used properly “give [pain patients] a
                quality of life we deserve.” The Treatment Options guide notes that
                non-steroidal anti-inflammatory drugs have greater risks associated
                with prolonged duration of use, but there was no similar warning for
                opioids. APF distributed 17,200 copies in one year alone, according to
                its 2007 annual report. The publication is also currently available
                online.

           g.   Cephalon sponsored a CME written by key opinion leader Dr. Lynn
                Webster, titled Optimizing Opioid Treatment for Breakthrough Pain,
                which was offered online by Medscape, LLC from September 28,
                2007, to December 15, 2008. The CME taught that Cephalon’s Actiq
                and Fentora improve patients’ quality of life and allow for more
                activities when taken in conjunction with long- acting opioids.

           h.    Cephalon sales representatives told Lamar County and Vernon
                prescribers that opioids would increase patients’ ability to function and
                improve their quality of life.


Endo       i.    Endo sponsored a website, painknowledge.com, through APF and
                NIPC, which, in 2009, claimed that with opioids, “your level of
                function should improve; you may find you are now able to participate
                in activities of daily living, such as work and hobbies, that you were
                not able to enjoy when your pain was worse.”        Endo continued to
                provide funding for this website through 2012, and closely tracked
                unique visitors to it.

           j.   A CME sponsored by Endo, titled Persistent Pain in the Older Patient,
                taught that chronic opioid therapy has been “shown to reduce pain and
                improve depressive symptoms and cognitive functioning.”

           k.    Endo distributed handouts to prescribers that claimed that use of
                Opana ER to treat chronic pain would allow patients to perform work
                as a chef. This flyer also emphasized Opana ER’s indication without
                including equally prominent disclosure of the “moderate to severe

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                            pain” qualification.100

                     l.    Endo’s sales force distributed FSMB’s Responsible Opioid Prescribing
                           (2007) which taught that relief of pain itself improved patients’
                           function. Responsible Opioid Prescribing explicitly describes
                           functional improvement as the goal of a “long-term therapeutic
                           treatment course.”

                     m. Endo provided grants to APF to distribute Exit Wounds to veterans,
                        which taught that opioid medications “increase your level of
                        functioning” (emphasis in the original). Exit Wounds also omits
                        warnings of the risk of interactions between opioids and
                        benzodiazepines, which would increase fatality risk. Benzodiazepines
                        are frequently prescribed to veterans diagnosed with post- traumatic
                        stress disorder.

                     n.   Endo sales representatives told Lamar County and Vernon prescribers
                         that opioids would increase patients’ ability to function and improve
                         their quality of life by helping them become more physically active
                         and return to work.
Janssen              o. Janssen sponsored a patient education guide titled Finding Relief: Pain
                        Management for Older Adults (2009), which its personnel reviewed
                        and approved, and its sales force distributed. This guide features a man
                        playing golf on the cover and lists examples of expected functional
                        improvement from opioids, like sleeping through the night, returning to
                        work, recreation, sex, walking, and climbing stairs. The guide states as
                        a “fact” that “opioids may make it easier for people to live normally”
                        (emphasis in the original). The myth/fact structure implies authoritative
                        backing for the claims that does not exist. The targeting of older adults
                        also ignored heightened opioid risks in this population

                     p. Janssen sponsored, developed, and approved content of a website, Let’s
                        Talk Pain in 2009, acting in conjunction with the APF, AAPM, and
                        ASPMN, whose participation in Let’s Talk Pain Janssen financed and
                        orchestrated. This website featured an interview, which was edited by
                        Janssen personnel, claiming that opioids were what allowed a patient to
                        “continue to function,” inaccurately implying her experience would be
                        representative. This video is still available today on youtube.com.

                     q. Janssen provided grants to APF to distribute Exit Wounds to veterans,
                        which taught that opioid medications “increase your level of
                        functioning” (emphasis in the original). Exit Wounds also omits
                        warnings of the risk of interactions between opioids and

100
      FDA regulations require that warnings or limitations be given equal prominence in disclosure, and failure to do so constitutes “misbranding” of
the product. 21 C.F.R. § 202.1(e)(3); see also 21 U.S.C. §331(a).



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                  benzodiazepines, which would increase fatality risk. Benzodiazepines
                  are frequently prescribed to veterans diagnosed with post-traumatic
                  stress disorder.

            r.       Janssen sales representatives told Lamar County and Vernon
                  prescribers that opioids would increase patients’ ability to function and
                  improve their quality of life by helping them become more physically
                  active and return to work.


Purdue       s.     Purdue ran a series of advertisements for OxyContin in 2012 in
                  medical journals titled “Pain vignettes,” which were case studies
                  featuring patients, each with pain conditions persisting over several
                  months, recommending OxyContin for each. One such patient, “Paul,”
                  is described as a “54-year- old writer with osteoarthritis of the hands,”
                  and the vignettes imply that an OxyContin prescription will help him
                  work more effectively.

             t.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding
                  Pain & Its Management, which inaccurately claimed that “multiple
                  clinical studies” had shown that opioids are effective in improving
                  daily function, psychological health, and health-related quality of life
                  for chronic pain patients.” The sole reference for the functional
                  improvement claim noted the absence of long-term studies and
                  actually stated: “For functional outcomes, the other analgesics were
                  significantly more effective than were opioids.” The Policymaker’s
                  Guide is still available online.

             u.    Purdue sponsored APF’s Treatment Options: A Guide for People
                  Living with Pain (2007), which counseled patients that opioids, when
                  used properly, “give [pain patients] a quality of life we deserve.” APF
                  distributed 17,200 copies in one year alone, according to its 2007
                  annual report. The guide is currently available online.

             v. Purdue sponsored APF’s Exit Wounds (2009), which taught veterans
                that opioid medications “increase your level of functioning.” Exit
                Wounds also omits warnings of the risk of interactions between
                opioids and benzodiazepines, which would increase fatality risk.
                Benzodiazepines are frequently prescribed to veterans diagnosed with
                post-traumatic stress disorder.

             w. Purdue sponsored the FSMB’s Responsible Opioid Prescribing (2007),
                which taught that relief of pain itself improved patients’ function.
                Responsible Opioid Prescribing explicitly describes functional
                improvement as the goal of a “long-term therapeutic treatment
                course.” Purdue also spent over $100,000 to support distribution of the

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                    book.

               x.     Purdue sales representatives told Lamar County and Vernon
                    prescribers that opioids would increase patients’ ability to function and
                    improve their quality of life.

       2. Defendants and Their Third-Party Allies Concealed the Truth About the Risk of
          Addiction from Long-Term Opioid Use

       293.    The fraudulent representation that opioids are rarely addictive is central to

Defendants’ scheme. To reach chronic pain patients Defendants, and the Front Groups and KOLs

that they directed, assisted, and collaborated with, had to overcome doctors’ legitimate fears that

opioids would addict their patients. The risk of addiction is an extremely weighty risk—

condemning patients to, among other things, dependence, compulsive use, haziness, a lifetime of

battling relapse, and a dramatically heightened risk of serious injury or death. But for Defendants’

campaign to convince doctors otherwise, finding benefits from opioid use for common chronic pain

conditions sufficient to justify that risk would have, and previously had, posed a nearly

insurmountable challenge.

       294.    Through their well-funded, comprehensive marketing efforts, Defendants and their

KOLs and Front Groups were able to change prescriber perceptions despite the well-settled

historical understanding and clear evidence that opioids taken long-term are often addictive.

Defendants and their third-party partners: (a) brazenly maintained that the risk of addiction for

patients who take opioids long-term was low; and (b) omitted the risk of addiction and abuse from

the list of adverse outcomes associated with chronic opioid use, even though the frequency and

magnitude of the risk—and Defendants’ own labels—compelled disclosure.

       295.    Further, in addition to falsely claiming opioids had low addiction risk or omitting

disclosure of the risk of addiction altogether, Defendants employed language that conveyed to

prescribers that the drugs had lower potential for abuse and addiction. Further, in addition to

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making outright misrepresentations about the risk of addiction, or failing to disclose that serious

risk at all, Defendants used code words that conveyed to prescribers that their opioid was less

prone to abuse and addiction. For instance, sales representatives for Actavis, Endo, Janssen, and

Purdue promoted their drugs as having “steady-state” properties with the intent and expectation

that prescribers would understand this to mean that their drugs caused less of a rush or a feeling of

euphoria, which can trigger abuse and addiction. Further, Endo actively promoted its reformulated

Opana ER on the basis that it was “designed to be crush-resistant,” suggesting both (a) that Endo

had succeeded in making the drug harder to adulterate, and (b) that it was less addictive, in

consequence. In fact, however, Endo knew that “the clinical significance of INTAC Technology or

its impact on abuse/misuse has not been established for Opana ER” and that Opana ER could still

be ground and cut into small pieces by those looking to abuse the drug. In the same vein, Janssen

denied that Nucynta ER was an opioid and claimed that it was not addictive, and Purdue claimed

that its opioids were not favored by addicts and did not produce a buzz, all of which falsely

suggested that its opioids were less likely to be abused or addictive.

            296.     Each of the following was created with the expectation that, by instructing patients

and prescribers that addiction rates are low and that addiction is unlikely when opioids are

prescribed for pain, doctors would prescribe opioids to more patients. For example, one publication

sponsored exclusively by Purdue—APF’s 2011 A Policymaker’s Guide to Understanding Pain &

Its Management—claimed that opioids are not prescribed often enough because of “misconceptions

about opioid addiction.”101

            297.     Acting directly or with and through third parties, each of the Defendants claimed

that the potential for addiction from its drugs was relatively small, or non-existent, even though


101
      http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.

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there was no scientific evidence to support those claims, and the available research contradicted

them. A recent literature survey found that while ranges of “problematic use” of opioids ranged

from <1% to 81%, 102 abuse averaged between 21% and 29% and addiction between 8% and

12%.103 These estimates are well in line with Purdue’s own studies, showing that between 8% and

13% of OxyContin patients became addicted, but on which Purdue chose not to rely, instead citing

the Porter-Jick letter.

          298.       The FDA has found that 20% of opioid patients use two or more pharmacies, 26%

obtain opioids from two or more prescribers, and 16.5% seek early refills—all potential “red flags”

for abuse or addiction.104 The FDA in fact has ordered manufacturers of long-acting opioids to

“[c]onduct one or more studies to provide quantitative estimates of the serious risks of misuse,

abuse, addiction, overdose and death associated with long-term use of opioid analgesics for

management of chronic pain,” in recognition of the fact that it found “high rates of addiction” in

the medical literature.105

          299.       Of course, the significant (and growing) incidence of abuse, misuse, and addiction

to opioids is also powerful evidence that Defendants’ statements regarding the low risk of addiction

were, and are, untrue. This was well-known to Defendants who had access to sales data and

reports, adverse event reports, federal abuse and addiction-related surveillance data, and other

sources that demonstrated the widening epidemic of opioid abuse and addiction.

          300.       Acting directly or through and with third parties, each of the Defendants claimed

that the potential for addiction even from long-term use of its drugs was relatively small, or non-
102
    Cited for the low end of that range was the 1980 Porter-Jick letter in the New England Journal of Medicine.
103
    Kevin Vowels et al., Rates of opioid misuse, abuse, and addiction in chronic pain: a systematic
review and data synthesis, 156 PAIN 569-76 (April 2015).
104
    Len Paulozzi, M.D., “Abuse of Marketed Analgesics and Its Contribution to the National Problem of Drug Abuse,” available at
http://www.fda.gov/downloads/AdvisoryCommittees/
CommitteesMeetingMaterials/Drugs/AnestheticAndLifeSupportDrugsAdvisoryCommittee/UCM233244. pdf
105
    September 10, 2013 letter from Bob Rappaport, M.D., to NDA applicants of ER/LA opioid analgesics, available
http://www.fda.gov/downloads/Drugs/DrugSafety/InformationbyDrugClass/
UCM367697.pdf ; Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians for Responsible
Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).


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existent, despite the fact that the contention was false and there was no scientific evidence to

support it. Examples of these misrepresentations are laid out below:

Actavis         a. Documents from a 2010 sales training indicate that Actavis trained its
                   sales force that long-acting opioids were less likely to produce
                   addiction than short-acting opioids, although there is no evidence that
                   either form of opioid is less addictive or that any opioids can be taken
                   long-term without the risk of addiction.

                b. Actavis had a patient education brochure distributed in 2007 that
                  claimed addiction is possible, but it is “less likely if you have never
                  had an addiction problem.” Although the term “less likely” is not
                  defined, the overall presentation suggests the risk is so low as not to be
                  a worry.

                c. Kadian sales representatives told Lamar County and Vernon’s
                   prescribers that Kadian was steady state” and had extended release
                   mechanisms, the implication of which was that it did not produce a
                   rush or euphoric effect, and therefore was less addictive and less likely
                   to be abused.

                d. Kadian sales representatives told the Lamar County and Vernon’s
                   prescribers that the contents of Kadian could not be dissolved in water
                   if the capsule was opened, implying that Kadian was less likely to be
                   abused—and thereby less addictive—than other opioids.

                e. Kadian sales representatives omitted any discussion of addiction risks
                   related to Actavis’s drugs to Lamar County and Vernon prescribers.


Cephalon        f. Cephalon sponsored and facilitated the development of a guidebook,
                   Opioid Medications and REMS: A Patient’s Guide, which claims,
                   among other things, that “patients without a history of abuse or a
                   family history of abuse do not commonly become addicted to opioids.”

                g. Cephalon sponsored APF’s Treatment Options: A Guide for People
                   Living with Pain (2007), which taught that addiction is rare
                   and limited to extreme cases of unauthorized dose escalations,
                   obtaining opioids from multiple sources, or theft.

                h. Cephalon sales representatives omitted any discussion of addiction
                   risks related to Cephalon’s drugs to Lamar County and Vernon
                   prescribers.
Endo            i. Endo trained its sales force in 2012 that use of long-acting opioids
                   resulted in increased patient compliance, without any supporting

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       evidence.

     j. Endo’s advertisements for the 2012 reformulation of Opana ER
       claimed it was designed to be crush resistant, in a way that conveyed
       that it was less likely to be abused. This claim was false; the FDA
       warned in a May 10, 2013 letter that there was no evidence Endo’s
       design “would provide a reduction in oral, intranasal or intravenous
       abuse” and Endo’s “post-“post-marketing date submitted are
       insufficient to support any conclusion about the overall or route-
       specific rates of abuse.” Further, Endo instructed its sales
       representatives to repeat this claim about “design,” with the intention
       of conveying Opana ER was less subject to abuse.

     k. Endo sponsored a website, painknowledge.com, through APF and
        NIPC, which, in 2009, claimed that: “[p]eople who take opioids as
        prescribed usually do not become addicted.” Although the term
        “usually” is not defined, the overall presentation suggests the risk is so
        low as not to be a concern. The language also implies that, as long as
        a prescription is given, opioid use will not become problematic. Endo
        continued to provide funding for this website through 2012, and
        closely tracked unique visitors to it.

     l. Endo sponsored a website, PainAction.com, which stated “Did you
        know? Most chronic pain patients do not become addicted to the
        opioid medications that are prescribed for them.”

     m. Endo sponsored CMEs published by APF’s NIPC, of which Endo was
       the sole funder, titled Persistent Pain in the Older Adult and Persistent
       Pain in the Older Patient. These CMEs claimed that opioids used by
       elderly patients present “possibly less potential for abuse than in
       younger patients[,]” which lacks evidentiary support and deceptively
       minimizes the risk of addiction for elderly patients.

     n. Endo distributed an education pamphlet with the Endo logo titled
        Living with Someone with Chronic Pain, which inaccurately
        minimized the risk of addiction:  “Most health care providers who
        treat people with pain agree that most people do not develop an
        addiction problem.”

     o. Endo distributed a patient education pamphlet edited by key opinion
        leader Dr. Russell Portenoy titled Understanding Your Pain: Taking
        Oral Opioid Analgesics. It claimed that “[a]ddicts take opioids for
        other reasons [than pain relief], such as unbearable emotional
        problems.” This implies that pain patients prescribed opioids will not
        become addicted, which is unsupported and untrue.



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               p. Endo contracted with AGS to produce a CME promoting the 2009
                  guidelines for the Pharmacological Management of Persistent Pain in
                  Older Persons. These guidelines falsely claim that “the risks [of
                  addiction] are exceedingly low in older patients with no current or
                  past history of substance abuse.” None of the references in the
                  guidelines corroborates the claim that elderly patients are less likely to
                  become addicted to opioids, and there is no such evidence. Endo was
                  aware of the AGS guidelines’ content when it agreed to provide this
                  funding, and AGS drafted the guidelines with the expectation it would
                  seek drug company funding to promote them after their completion.

               q. Endo sales representatives told Lamar County and Vernon prescribers
                  that its drugs were “steady state,” the implications of which was that
                  they did not produce a rush or euphoric effect, and therefore were less
                  addictive and less likely to be abused.

               r. Endo provided grants to APF to distribute Exit Wounds (2009) to
                  veterans, which taught that “[l]ong experience with opioids shows that
                  people who are not predisposed to addiction are very unlikely to
                  become addicted to opioid pain medications.” Although the term “very
                  unlikely” is not defined, the overall presentation suggests that the risk
                  is so low as not to be a concern.

               s. Endo sales representatives omitted discussion of addiction risks related
                  to Endo’s drugs.


               t. Janssen sponsored a patient education guide titled Finding Relief: Pain
Janssen            Management for Older Adults (2009), which its personnel reviewed
                   and approved and which its sales force distributed. This guide
                   described a “myth” that opioids are addictive, and asserts as fact that
                   “[m]any studies show that opioids are rarely addictive when used
                   properly for the management of chronic pain.” Although the term
                   “rarely” is not defined, the overall presentation suggests the risk is so
                   low as not to be a concern. The language also implies that as long as a
                   prescription is given, opioid use is not a problem.

               u. Janssen contracted with AGS to produce a CME promoting the 2009
                  guidelines for the Pharmacological Management of Persistent Pain in
                  Older Persons. These guidelines falsely claim that “the risks [of
                  addiction] are exceedingly low in older patients with no current or past
                  history of substance abuse.” The study supporting this assertion does
                  not analyze addiction rates by age and, as already noted, addiction
                  remains a significant risk for elderly patients. Janssen was aware of the
                  AGS guidelines’ content when it agreed to provide this funding, and
                  AGS drafted the guidelines with the expectation it would seek drug

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       company funding to promote them after their completion.

     v. Janssen provided grants to APF to distribute Exit Wounds (2009) to
        veterans, which taught that [l]ong experience with opioids shows that
        people who are not predisposed to addiction are very unlikely to
        become addicted to opioid pain medications.” Although the term “very
        unlikely” is not defined, the overall presentation suggests the risk is so
        low as not to be a worry.

     w. Janssen currently runs a website, Prescriberesponsibly.com (last
       modified July 2, 2015), which claims that concerns about opioid
       addiction are “overstated.”

     x. A June 2009 Nucynta Training module warns Janssen’s sales force that
        physicians are reluctant to prescribe controlled substances like
        Nucynta, but this reluctance is unfounded because “the risks . . . are
        much smaller than commonly believed.”

     y. Janssen sales representatives told Lamar County and Vernon
       prescribers that its drugs were “steady state,” the implication of which
       was that they did not produce a rush or euphoric effect, and therefore
       were less addictive and less likely to be abused.

     z. Janssen sales representatives told Lamar County and Vernon
       prescribers that Nucynta and Nucynta ER were “not opioids,”
       implying that the risks of addiction and other adverse outcomes
       associated with opioids were not applicable to Janssen’s drugs. In
       truth, however, as set out in Nucynta’s FDA-mandated label, Nucynta
       “contains tapentadol, an opioid agonist and Schedule II substance with
       abuse liability similar to other opioid agonists, legal or illicit.”

     aa. Janssen’s sales representatives told Lamar County and Vernon prescribers
        that Nucynta’s unique properties eliminated the risk of addiction associated
        with the drug.

     bb. Janssen sales representatives omitted discussion of addiction risks related to
         Janssen’s drugs.




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Purdue               cc. Purdue published a prescriber and law enforcement education
                        pamphlet in 2011 entitled Providing Relief, Preventing Abuse, which
                        under the heading, “Indications of Possible Drug Abuse,” shows
                        pictures of the stigmata of injecting or snorting opioids—skin
                        popping, track marks, and perforated nasal septa. In fact, opioid
                        addicts who resort to these extremes are uncommon; the far more
                        typical reality is patients who become dependent and addicted through
                        oral use.106 Thus, these misrepresentations wrongly reassure doctors
                        that, as long as they do not observe those signs, they need not be
                        concerned that their patients are abusing or addicted to opioids.

                      dd. Purdue sponsored APF’s A Policymaker’s Guide to Understanding
                        Pain & Its Management, which inaccurately claimed that less than 1%
                        of children prescribed opioids will become addicted. This publication
                        is still available online. This publication also asserted that pain is
                        undertreated due to “misconceptions about opioid addiction.”

                      ee. Purdue sponsored APF’s Treatment Options: A Guide for People
                        Living with Pain (2007), which asserted that addiction is rare and
                        limited to extreme cases of unauthorized dose escalations, obtaining
                        opioids from multiple sources, or theft.

                      ff. A Purdue-funded study with a Purdue co-author claimed that
                        “evidence that the risk of psychological dependence or addiction is
                        low in the absence of a history of substance abuse.” 107 The study
                        relied only on the Porter-Jick letter to the editor concerning a chart
                        review of hospitalized patients, not patients taking Purdue’s long-
                        acting, take-home opioid. Although the term “low” is not defined,
                        the overall presentation suggests the risk is so low as not to be a worry.

                      gg. Purdue contracted with AGS to produce a CME promoting the 2009
                        guidelines for the Pharmacological Management of Persistent Pain in
                        Older Persons. These guidelines falsely claim that “the risks [of
                        addiction] are exceedingly low in older patients with no current or past
                        history of substance abuse.” None of the references in the guidelines
                        corroborates the claim that elderly patients are less likely to become
                        addicted to opioids and the claim is, in fact, untrue. Purdue was aware
                        of the AGS guidelines’ content when it agreed to provide this funding,
                        and AGS drafted the guidelines with the expectation it would seek
                        drug company funding to promote them after their completion.


106
    Purdue itself submitted briefing materials in October 2010 to a meeting of the FDA’s Joint Meeting of the Anesthetic and Life
Support Drugs Advisory Committee and the Drug Safety and Risk Management Advisory Committee in which it stated that
OxyContin was used non-medically by injection 4-17% of the time.
107
    C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain: a randomized controlled trial I painful
diabetic neuropathy, 105 Pain 71 (2003).

                                                                95
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                hh. Purdue sponsored APF’s Exit Wounds (2009), which counseled
                     veterans that “[l]ong experience with opioids shows that
                     people who are not predisposed to addiction are very unlikely
                     to become addicted to opioid pain medications.” Although the term
                     “very unlikely” is not defined, the overall presentation suggests it is
                     so low as not to be a worry.

                ii. Purdue sales representatives told Lamar County and Vernon
                   prescribers that its drugs were “steady state,” the implication of which
                   was that they did not produce a rush or euphoric effect, and therefore
                   were less addictive and less likely to be abused.

                jj. Purdue sales representatives told Lamar County and Vernon
                   prescribers that Butrans has a lower abuse potential than other drugs
                   because it was essentially tamper- proof and, after a certain point,
                   patients no longer experience a “buzz” from increased dosage.

                kk. Advertisements that Purdue sent to Lamar County and Vernon
                  prescribers stated that OxyContin ER was less likely to be favored by
                  addicts, and, therefore, less likely to be abused or diverted, or result in
                  addiction.

                ll. Purdue sales representatives omitted discussion of addiction risks
                   related to Purdue’s drugs.

       301.    In addition to denying or minimizing the risk of addiction and abuse generally,

Defendants also falsely claimed that their particular drugs were safer, less addictive, and less likely

to be abused or diverted than their competitors’ or predecessor drugs. In making these claims,

Defendants said or implied that because their drug had a “steady-state” and did not produce peaks

and valleys, which cause drug-seeking behavior—either to obtain the high or avoid the low—it was

less likely to be abused or addicting. Endo also asserted in particular that, because a reformulation

of Opana ER was (or was designed to be) abuse-deterrent or tamper-resistant, patients were less

likely to become addicted to it. Defendants had no evidence to support any of these claims, which,




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by FDA regulation, must be based on head-to-head trials; 108 the claims also were false and

misleading in that they misrepresented the risks of both the particular drug and opioids as a class.

         302.     Further, rather than honestly disclose the risk of addiction, Defendants, and the third

parties they directed and assisted and whose materials they distributed, attempted to portray those

who were concerned about addiction as unfairly denying treatment to needy patients. To increase

pressure on doctors to prescribe chronic opioid therapy, Defendants turned the tables; it was

doctors who fail to treat their patients’ chronic pains with opioids—not doctors who cause their

patients to become addicted to opioids—who are failing their patients (and subject to discipline).

Defendants and their third-party allies claimed that purportedly overblown worries about addiction

cause pain to be under-treated and opioids to be over-regulated and under-prescribed. This mantra

of under-treated pain and under-used drugs reinforced Defendants’ messages that the risks of

addiction and abuse were not significant and were overblown.

         303.     For example, Janssen’s website, Let’s Talk Pain, warns in a video posted online that

“strict regulatory control has made many physicians reluctant to prescribe opioids. The unfortunate

casualty in all of this is the patient, who is often undertreated and forced to suffer in silence.” The

program goes on to say: “Because of the potential for abusive and/or addictive behavior, many

healthcare professionals have been reluctant to prescribe opioids for their patients . . . . This

prescribing environment is one of many barriers that may contribute to the under treatment of pain,

a serious problem in the United States.”

         304.     In the same vein, a Purdue website called In the Face of Pain complains, under the

heading of “Protecting Access,” that, through at least mid-2013, policy governing the prescribing

of opioids was “at odds with” best medical practices by “unduly restricting the amounts that can be


108
   See Guidance for Industry, “Abuse-Deterrent Opioids—Evaluation and Labeling,” April 2015 (describing requirements for
premarket and postmarket studies).

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prescribed and dispensed”; “restricting access to patients with pain who also have a history of

substance abuse”; and “requiring special government-issued prescription forms only for the

medications that are capable of relieving pain that is severe.” This unsupported and untrue rhetoric

aims to portray doctors who do not prescribe opioids as uncaring, converting their desire to relieve

patients’ suffering into a mandate to prescribe opioids.

       3. Defendants and Their Third-Party Allies Misrepresented that Addiction Risk Can
          Be Avoided or Managed

       305.    To this day, defendants each continue to maintain that most patients can safely take

opioids long-term for chronic pain without becoming addicted. Presumably only to explain why

doctors encounter so many patients addicted to opioids, Defendants and their third-party allies have

come to admit that some patients could become addicted, but that doctors can avoid or manage that

risk by using screening tools or questionnaires. These tools, they say, identify those with higher

addiction risks (stemming from personal or family histories of substance abuse, mental illness, or

abuse) so that doctors can more closely monitor patients at greater risk of addiction.

       306.    There are three fundamental flaws in these assurances that doctors can identify and

manage the risk of addiction. First, there is no reliable scientific evidence that screening works to

accurately predict risk or reduce rates of addiction. Second, there is no reliable scientific evidence

that high-risk or addicted patients can take opioids long-term without triggering addiction, even

with enhanced monitoring and precautions. Third, there is no reliable scientific evidence that

patients without these red flags are necessarily free of addiction risk.

       307.    Addiction is difficult to predict on a patient-by-patient basis, and there are no

reliable, validated tools to do so. A recent Evidence Report by the Agency for Healthcare Research

and Quality (“AHRQ”), which “systematically review[ed] the current evidence on long-term opioid

therapy for chronic pain” identified “[n]o study” that had “evaluated the effectiveness of risk


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mitigation strategies, such as use of risk assessment instruments, opioid management plans, patient

education, urine drug screening, prescription drug monitoring program data, monitoring

instruments, more frequent monitoring intervals, pill counts, or abuse- deterrent formulations on

outcomes related to overdose, addiction, abuse or misuse.”109 Furthermore, attempts to treat high-

risk patients, such as those who have a documented predisposition to substance abuse, by resorting

to patient contracts, more frequent refills, or urine drug screening are not proven to work in the real

world, if busy doctors even in fact attempt them.

           308.       Most disturbingly, despite the widespread use of screening tools, patients with past

substance use disorders—which every tool rates as a risk factor—receive, on average, higher doses

of opioids.

           309.       Each Defendant claimed that the risk of addiction could be avoided or managed,

claims that are deceptive and without scientific support:

      Actavis                     a. Documents from a 2010 sales training indicate that Actavis trained its
                                     sales force that prescribers can use risk screening tools to limit the
                                     development of addiction.
      Cephalon                   b. Cephalon sponsored APF’s Treatment Options: A Guide for People
                                      Living with Pain (2007), which taught patients that “opioid
                                      agreements” between doctors and patients can “ensure that you take
                                      the opioid as prescribed.”
      Endo                       c. Endo paid for a 2007 supplement110 available for continuing education
                                     credit in the Journal of Family Practice. This publication, titled Pain
                                     Management Dilemmas in Primary Care: Use of Opioids,
                                     recommended screening patients using tools like the Opioid Risk Tool
                                     or the Screener and Opioid Assessment for Patients with Pain, and
                                     advised that patients at high risk of addiction could safely (e.g.,
                                     without becoming addicted) receive chronic opioid therapy using a
                                     “maximally structured approach” involving toxicology screens and pill
                                     counts.
                                 d. Purdue’s unbranded website, In the Face of Pain (inthefaceofpain.com)
                                      states that policies that “restrict[] access to patients with pain who also

109
     The Effectiveness and Risks of Long-term Opioid Treatment of Chronic Pain, Agency for Healthcare Res. & Quality (September 19, 2014).
110
   The Medical Journal, The Lancet found that all of the supplement papers it received failed peer-review. Editorial, “The Perils of Journal and
Supplement Publishing,” 375 The Lancet 9712 (347) 2010.


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      Purdue                     have a history of substance abuse” and “requiring special government-
                                 issued prescription forms for the only medications that are capable of
                                 relieving pain that is severe” are “at odds with” best medical
                                 practices.111

                            e.    Purdue sponsored a 2012 CME program taught by a KOL titled
                                 Chronic Pain Management and Opioid Use: Easing Fears, Managing
                                 Risks, and Improving Outcomes. This presentation recommended that
                                 use of screening tools, more frequent refills, and switching opioids
                                 could treat a high-risk patient showing signs of potentially addictive
                                 behavior.

                            f. Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, titled
                               Managing Patient’s Opioid Use: Balancing the Need and Risk. This
                               publication taught prescribers that screening tools, urine tests, and
                               patient agreements have the effect of preventing “overuse of
                               prescriptions” and “overdose deaths.”

                              g. Purdue sales representatives told Lamar County and Vernon
                                 prescribers that screening tools can be used to select patients
                                 appropriate for opioid therapy and to manage the risks of addiction.


          4. Defendants and Their Third-Party Allies Created Confusion By Promoting the
             Misleading Term “Pseudoaddiction.”

          310.      Defendants and their third-party allies developed and disseminated each of the

following misrepresentations with the intent and expectation that, by instructing patients and

prescribers that signs of addiction are actually the product of untreated pain, doctors would

prescribe opioids to more patients and continue to prescribing them, and patients would continue to

use opioids despite signs that the patient was addicted. The concept of “pseudoaddiction” was

coined by Dr. David Haddox, who went to work for Purdue, and popularized by Dr. Russell

Portenoy, who consulted for Cephalon, Endo, Janssen, and Purdue. Much of the same language

appears in other Defendants’ treatment of this issue, highlighting the contrast between

“undertreated pain” and “true addiction,” as if patients could not experience both. As KOL Dr.

111
  See In the Face of Pain Fact Sheet: Protecting Access to Pain Treatment, Purdue Pharma L.P. (Resources verified Mar. 2012),
ww.inthefaceofpain.com/content/uploads/2011/12/factsheet_ProtectingAccess.pdf.



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Lynn Webster wrote: “[Pseudoaddiction] obviously became too much of an excuse to give patients

more medication. . . . It led us down a path that caused harm. It is already something we are

debunking as a concept.”112

            311.     Each of the publications and statements below falsely states or suggests that the

concept of “pseudoaddiction” is substantiated by scientific evidence and accurately describes the

condition of patients who only need, and should be treated with, more opioids:

Actavis                  a. Documents from a 2010 sales training indicate that Actavis trained
                            its sales force to instruct physicians that aberrant behaviors like self-
                            escalation of doses constituted “pseudoaddiction.”

Cephalon                b. Cephalon sponsored FSMB’s Responsible Opioid Prescribing (2007),
                            which taught that behaviors such as “requesting drugs by name,”
                            “demanding or manipulative behavior,” seeing more than one doctor
                            to obtain opioids, and hoarding are all signs of “pseudoaddiction.”
                            Cephalon also spent $150,000 to purchase copies of the book in bulk
                            and distributed it through its pain sales force to 10,000 prescribers
                            and 5,000 pharmacists.

Endo                    c.    Endo distributed copies of a book by KOL Dr. Lynn Webster
                             entitled Avoiding Opioid Abuse While Managing Pain (2007).
                             Endo’s internal planning documents describe the purpose of
                             distributing this book as to “[i]ncrease the breadth and depth of the
                             Opana ER prescriber base.” The book claims that when faced with
                             signs of aberrant behavior, the doctor should regard it as
                             “pseudoaddiction” and thus, increasing the dose in most cases . . .
                             should be the clinician’s first response.” (emphasis added).

                        d. Endo spent $246,620 to buy copies of FSMB’s Responsible Opioid
                           Prescribing (2007), which was distributed by Endo’s sales force.
                           This book asserted that behaviors such as “requesting drugs by
                           name,” “demanding or manipulative behavior,” seeing more than
                           one doctor to obtain opioids, and hoarding, are all signs of
                           “pseudoaddiction.”

Janssen                 e. From 2009 to 2011 Janssen’s website, Let’s Talk Pain, stated that
                            “pseudoaddiction . . . refers to patient behaviors that may occur
                            when pain is under-treated” and that “[p]seudoaddiction is different

112
      John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, Milwaukee Wisc. J. Sentinel (Feb.19, 2012).



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                       from true addiction because such behaviors can be resolved with
                       effective pain management.”(emphasis added).

Purdue            f.    Purdue published a prescriber and law enforcement education
                       pamphlet in 2011 entitled Providing Relief, Preventing Abuse, which
                       described “pseudoaddiction” as a concept that “emerged in the
                       literature to describe the inaccurate interpretation of [drug-seeking
                       behaviors] in patients who have pain that has not been effectively
                       treated.”

                  g. Purdue distributed to physicians, at least as of November 2006, and
                     posted on its unbranded website, Partners Against Pain, a pamphlet
                     copyrighted 2005 and titled Clinical Issues in Opioid Prescribing.
                     This pamphlet included a list of conduct, including “illicit drug use
                     and deception” it defined as indicative of “pseudoaddiction” or
                     untreated pain. It also states: “Pseudoaddiction is a term which has
                     been used to describe patient behaviors that may occur when pain
                     is undertreated. . . .        Even such behaviors as illicit drug use
                     and deception can occur in the patient’s efforts to obtain relief.
                     Pseudoaddiction can be distinguished from true addiction in that the
                     behaviors resolve when the pain is effectively treated.” (Emphasis
                     added.)

                  h. Purdue sponsored FSMB’s Responsible Opioid Prescribing (2007),
                     which taught that behaviors such as “requesting drugs by name,
                     “demanding or manipulative behavior,” seeing more than one doctor
                     to obtain opioids, and hoarding, are all signs of “pseudoaddiction.”
                     Purdue also spent over $100,000 to support distribution of the book.

                  i. Purdue sponsored APF’s A Policymaker’s Guide to Understanding
                     Pain & Its Management, which states: “Pseudo-addiction describes
                     patient behaviors that may occur when pain is undertreated. . . .
                     Pseudo-addiction can be distinguished from true addiction in that
                     this behavior ceases when pain is effectively treated.” (Emphasis
                     added.)

       5. Defendants and Their Third-Party Allies Claimed Withdrawal is Simply Managed

       312.    Defendants and their third-party allies promoted the false and misleading messages

below with the intent and expectation that, by misrepresenting the difficulty of withdrawing from

opioids, prescribers and patients would be more likely to start chronic opioid therapy and would

fail to recognize the actual risk of addiction.



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       313.      In an effort to underplay the risk and impact of addiction, Defendants and their

third-party allies frequently claim that, while patients become “physically” dependent on opioids,

physical dependence can be addressed by gradually tapering patients’ doses to avoid the adverse

effects of withdrawal. They fail to disclose the extremely difficult and painful effects that patients

can experience when they are removed from opioids—effects that also make it less likely that

patients will be able to stop using the drugs.

       314.      In reality, withdrawal is prevalent in patients after more than a few weeks of

therapy. Common symptoms of withdrawal include: severe anxiety, nausea, vomiting, headaches,

agitation, insomnia, tremors, hallucinations, delirium, and pain. Some symptoms may persist for

months, or even years, after a complete withdrawal from opioids, depending on how long the

patient had been using opioids. Withdrawal symptoms trigger a feedback loop that drives patients

to seek opioids, contributing to addiction.

       315.      Each of the publications and statements below falsely states or suggests that

withdrawal from opioids was not a problem and they should not be hesitant about prescribing or

using opioids:

Actavis           a.   Documents from a 2010 sales training indicate that Actavis trained
                       its sales force that discontinuing opioid therapy can be handled
                       “simply” and that it can be done at home. Actavis’s sales
                       representative training claimed opioid withdrawal would take only a
                       week, even in addicted patients.
Endo              b.   A CME sponsored by Endo, titled Persistent Pain in the Older
                       adult, taught that withdrawal symptoms can be avoided entirely by
                       tapering the dose by 10-20% per day for ten days.
Janssen           c.   A Janssen PowerPoint presentation used for training its sales
                       representatives titled “Selling Nucynta ER” indicates that the “low
                       incidence of withdrawal symptoms” is a “core message” for its sales
                       force. This message is repeated in numerous Janssen training
                       materials between 2009 and 2011. The studies supporting this claim
                       did not describe withdrawal symptoms in patients taking Nucynta
                       ER beyond 90 days or at high doses and would therefore not be
                       representative of withdrawal symptoms in the chronic pain

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                      population. Patients on opioid therapy long-term and at high doses
                      will have a harder time discontinuing the drugs and are more likely
                      to experience withdrawal symptoms. In addition, in claiming a low
                      rate of withdrawal symptoms, Janssen relied upon a study that only
                      began tracking withdrawal symptoms in patients two to four days
                      after discontinuing opioid use; Janssen knew or should have known
                      that these symptoms peak earlier than that for most patients. Relying
                      on data after that initial window painted a misleading picture of the
                      likelihood and severity of withdrawal associated with chronic opioid
                      therapy. Janssen also knew or should have known that the patients
                      involved in the study were not on the drug long enough to develop
                      rates of withdrawal symptoms comparable to rates of withdrawal
                      suffered by patients who use opioids for chronic pain—the use for
                      which Janssen promoted Nucynta ER.

                d. Janssen sales representatives told Lamar County and Vernon
                    prescribers that patients on Janssen’s drugs were less susceptible to
                    withdrawal than those on other opioids.
Purdue          e. Purdue sponsored APF’s A Policymaker’s Guide to Understanding
                    Pain & Its Management, which taught that “Symptoms of physical
                    dependence can often be ameliorated by gradually decreasing the
                    dose of medication during discontinuation,” but did not disclose the
                    significant hardships that often accompany cessation of use.

                f. Purdue sales representatives told Lamar County and Vernon
                   prescribers that the effects of withdrawal from opioid use can be
                   successfully managed.

                g. Purdue sales representatives told Lamar County and Vernon
                   prescribers that the potential for withdrawal on Butrans was low due
                   to Butrans’s low potency and its extended release mechanism.


       6. Defendants and Their Third-Party Allies Misrepresented that Increased Doses
          Pose No Significant Additional Risks

       316.   Each of the following misrepresentations was created with the intent and

expectation that, by misrepresenting and failing to disclose the known risks of high dose opioids,

prescribers and patients would be more likely to continue to prescribe and use opioids, even when

they were not effective in reducing patients’ pain, and not to discontinue opioids even when

tolerance required them to reach even higher doses.



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       317.    Defendants and their third-party allies claimed that patients and prescribers could

increase doses of opioids indefinitely without added risk, even when pain was not decreasing or

when doses had reached levels that were “frighteningly high,” suggesting that patients would

eventually reach a stable, effective dose. Each of Defendants’ claims also omitted warnings of

increased adverse effects that occur at higher doses, and misleadingly suggested that there was no

greater risk to higher dose opioid therapy.

       318.    These claims are false. Patients receiving high doses of opioids as part of long-term

opioid therapy are three to nine times more likely to suffer an overdose from opioid-related causes

than those on low doses. As compared to available alternative pain remedies, scholars have

suggested that tolerance to the respiratory depressive effects of opioids develops at a slower rate

than tolerance to analgesic effects. Accordingly, the practice of continuously escalating doses to

match pain tolerance can, in fact, lead to overdose even where opioids are taken as recommended.

The FDA has itself acknowledged that available data suggest a relationship between increased

doses and the risk of adverse effects. Moreover, it is harder for patients to terminate use of higher-

dose opioids without severe withdrawal effects, which contributes to a cycle of continued use, even

when the drugs provide no pain relief and are causing harm—the signs of addiction.

       319.    Each of the following claims suggests that high-dose opioid therapy is safe:

Actavis         a.    Documents from a 2010 sales training indicate that Actavis trained
                      its sales force that “individualization” of opioid therapy depended
                      on increasing doses “until patient reports adequate analgesia” and
                      to “set dose levels on [the] basis of patient need, not on [a]
                      predetermined maximal dose.” Actavis further counseled its sales
                      representatives that the reasons some physicians had for not
                      increasing doses indefinitely were simply a matter of physician
                      “comfort level,” which could be overcome or used as a tool to
                      induce them to switch to Actavis’s opioid, Kadian.

Cephalon        b.    Cephalon sponsored APF’s Treatment Options: A Guide for People
                      Living with Pain (2007), which claimed that some patients “need”

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                     a larger dose of their opioid, regardless of the dose currently
                     prescribed.

               c.   Cephalon sponsored a CME written by KOL Dr. Lynn Webster,
                     Optimizing Opioid Treatment for Breakthrough Pain, which was
                     offered online by Medscape, LLC from September 28, 2007
                     through December 15, 2008. The CME taught that non-opioid
                     analgesics and combination opioids that include aspirin and
                     acetaminophen are less effective to treat breakthrough pain
                     because of dose limitations.

               d.   Cephalon sales representatives assured Lamar County and Vernon
                     prescribers that opioids were safe, even at high doses.


Endo           e.    Endo sponsored a website, painknowledge.com, through APF and
                     NIPC,
                      which, in 2009, claimed that opioids may be increased until “you
                     are on the right dose of medication for your pain,” and once that
                     occured, further dose increases would not occur. Endo funded the
                     site, which was a part of Endo’s marketing plan, and tracked
                     visitors to it.

               f.     Endo distributed a patient education pamphlet edited by KOL Dr.
                      Russell Portenoy titled Understanding Your Pain: Taking Oral
                      Opioid Analgesics. In Q&A format, it asked: “If I take the opioid
                      now, will it work later when I really need it?” The response was:
                      “The dose can be increased . . . . You won’t ‘run out’ of pain
                      relief.”
Janssen        g.   Janssen sponsored a patient education guide entitled Finding Relief:
                     Pain Management for Older Adults (2009), which its personnel
                     reviewed and approved and its sales force distributed. This guide
                     listed dose limitations as “disadvantages” of other pain medicines
                     and omitted any discussion of risks of increased doses of opioids.
                     The publication also falsely claimed that it is a “myth” that “opioid
                     doses have to be bigger over time.”
Purdue         h.     Purdue’s In the Face of Pain website, along with initiatives of APF,
                      promoted the notion that if a patient’s doctor does not prescribe
                      them what—in their view—is a sufficient dose of opioids, they
                      should find another doctor who will. In so doing, Purdue exerted
                      undue, unfair, and improper influence over prescribers who face
                      pressure to accede to the resulting demands.

               i.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding
                     Pain & Its Management, which taught that dose escalations are
                     “sometimes necessary,” even indefinitely high ones. This

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                      suggested that high dose opioids are safe and appropriate and did
                      not disclose the risks from high dose opioids. This publication is
                      still available online.

                j.    Purdue sponsored APF’s Treatment Options: A Guide for People
                      Living with Pain (2007), which taught patients that opioids have
                      “no ceiling dose” and are therefore the most appropriate treatment
                      for severe pain. The guide also claimed that some patients “need”
                      a larger dose of the drug, regardless of the dose currently
                      prescribed. This language fails to disclose heightened risks at
                      elevated doses.

                k.    Purdue sponsored a CME issued by the American Medical
                      Association in 2003, 2007, 2010, and 2013. The CME, Overview
                      of Management Options, was edited by KOL Dr. Russell Portenoy,
                      among others, and taught that other drugs, but not opioids, are
                      unsafe at high doses. The 2013 version is still available for CME
                      credit.

                l.    Purdue sales representatives told Lamar County and Vernon
                      prescribers that opioids were just as effective for treating patients
                      long-term and omitted any discussion that increased tolerance
                      would require increasing, and increasingly dangerous, doses.


       7. Defendants and Their Third-Party Allies Deceptively Omitted or Minimized
          Adverse Effects of Opioids and Overstated the Risks of Alternative Forms of Pain
          Treatment.

       320.    Each of the following misrepresentations was created with the intent and

expectation that, by omitting the known, serious risks of chronic opioid therapy, including the risks

of addiction, abuse, overdose, and death, and emphasizing or exaggerating risks of competing

products, prescribers and patients would be more likely to choose opioids. Defendants and their

third-party allies routinely ignored the risks of chronic opioid therapy. These include (beyond the

risks associated with misuse, abuse, and addiction): hyperalgesia, a “known serious risk associated

with chronic opioid analgesic therapy in which the patient becomes more sensitive to certain




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painful stimuli over time;”113 hormonal dysfunction; decline in immune function; mental clouding,

confusion, and dizziness; increased falls and fractures in the elderly; neonatal abstinence syndrome

(when an infant exposed to opioids prenatally withdraws from the drugs after birth); and potentially

fatal interactions with alcohol or benzodiazepines, which are used to treat post-traumatic stress

disorder and anxiety (disorders frequently coexisting with chronic pain conditions).114

           321.        Despite these serious risks, Defendants asserted, or implied, that opioids were

appropriate first-line treatments and safer than alternative treatments, including NSAIDs such as

ibuprofen (Advil, Motrin) or naproxen (Aleve). While NSAIDs can pose significant

gastrointestinal, renal, and cardiac risks, particularly for elderly patients, Defendants’ exaggerated

descriptions of those risks were deceptive in themselves, and made their omissions regarding the

risks of opioids all the more striking and misleading. Defendants and their third-party allies

described over-the-counter NSAIDs as life-threatening and falsely asserted that they were

responsible for 10,000-20,000 deaths annually (more than opioids), when in reality the number is

closer to 3,200. This description of NSAIDs starkly contrasted with their representation of opioids,

for which the listed risks were nausea, constipation, and sleepiness (but not addiction, overdose, or

death). Compared with NSAIDs, opioids are responsible for roughly four times as many fatalities

annually.

           322.        As with the preceding misrepresentations, Defendants’ false and misleading claims

regarding the comparative risks of NSAIDs and opioids had the effect of shifting the balance of

opioids’ risks and purported benefits. While opioid prescriptions have exploded over the past two

decades, the use of NSAIDs has declined during that same time.

113
      Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D., Pres. Physicians for Responsible Opioid
Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).
114
     Several of these risks do appear in the FDA-mandated warnings. See, e.g., the August 13, 2015
OxyContin Label, Section 6.2, identifying adverse reactions including: “abuse, addiction … death, … hyperalgesia, hypogonadism . . . mood altered
. . . overdose, palpitations (in the context of withdrawal), seizures, suicidal attempt, suicidal ideation, syndrome of inappropriate antidiuretic hormone
secretion, and urticaria [hives].”


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       323.   Each of the following reflects Defendants’ deceptive claims and omissions about the

risks of opioids, including in comparison to NSAIDs:

Actavis        a.    Documents from a 2010 sales training indicate that Actavis trained its sales
                     force that the ability to escalate doses during long-term opioid therapy,
                     without hitting a dose ceiling, made opioid use safer than other forms of
                     therapy that had defined maximum doses, such as acetaminophen or
                     NSAIDs.

               b.    Actavis also trained physician-speakers that “maintenance therapy with
                     opioids can be safer than long-term use of other analgesics,” including
                     NSAIDs, for older persons.

               c.   Kadian sales representatives told Lamar County and Vernon prescribers that
                     NSAIDs were more toxic than opioids.
Cephalon       d.    Cephalon sponsored APF’s Treatment Options: A Guide for People Living
                     with Pain (2007), which taught patients that opioids differ from NSAIDs
                     in that they have “no ceiling dose” and are therefore the most appropriate
                     treatment for severe pain. The publication attributed 10,000 to 20,000
                     deaths annually to NSAID overdose. Treatment Options also warned that
                     risks of NSAIDs increase if “taken for more than a period of months,”
                     with no corresponding warning about opioids.

               e.   Cephalon sales representatives told Lamar County and Vernon’s prescribers
                     that NSAIDs were more toxic than Cephalon’s opioids
Endo           f.    Endo distributed a “case study” to prescribers titled Case Challenges in
                     Pain Management: Opioid Therapy for Chronic Pain. The study cites an
                     example, meant to be representative, of a patient “with a massive upper
                     gastrointestinal bleed believed to be related to his protracted use of
                     NSAIDs” (over eight years), and recommends treating with opioids
                     instead.

               g.     Endo sponsored a website, painknowledge.com, through APF and NIPC,
                     which contained a flyer called “Pain: Opioid Therapy.” This publication
                     included a list of adverse effects from opioids that omitted significant
                     adverse effects like hyperalgesia, immune and hormone dysfunction,
                     cognitive impairment, tolerance, dependence, addiction, and death. Endo
                     continued to provide funding for this website through 2012, and closely
                     tracked unique visitors to it.

               h.    Endo provided grants to APF to distribute Exit Wounds (2009), which
                     omitted warnings of the risk of interactions between opioids and
                     benzodiazepines, which would increase fatality risk. Exit Wounds also
                     contained a lengthy discussion of the dangers of using alcohol to treat
                     chronic pain but did not disclose dangers of mixing alcohol and opioids.

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               i.   Endo sales representatives told Lamar County and Vernon prescribers that
                    NSAIDs were more toxic than opioids.
Janssen        j.   Janssen sponsored a patient education guide titled Finding Relief: Pain
                     Management for Older Adults (2009), which its personnel reviewed and
                    approved and its sales force distributed. This publication described the
                    advantages and disadvantages of NSAIDs on one page, and the
                    “myths/facts” of opioids on the facing page. The disadvantages of
                    NSAIDs are described as involving “stomach upset or bleeding,” “kidney
                    or liver damage if taken at high doses or for a long time,” “adverse
                    reactions in people with asthma,” “increase [in] the risk of heart attack and
                    stroke.” The only adverse effects of opioids listed are “upset stomach or
                    sleepiness,” which the brochure claims will go away, and constipation.

               k.    Janssen sponsored APF’s Exit Wounds (2009), which omits warnings of
                    the risk of interactions between opioids and benzodiazepines. Janssen’s
                    label for Duragesic, however, states that use with benzodiazepines “may
                    cause respiratory depression, [low blood pressure], and profound sedation
                    or potentially result in coma. Exit Wounds also contained a lengthy
                    discussion of the dangers of using alcohol to treat chronic pain but did not
                    disclose dangers of mixing alcohol and opioids.

               l.    Janssen sales representatives told Lamar County and Vernon prescribers
                    that Nucynta was not an opioid, making it a good choice for chronic pain
                    patients who previously were unable to continue opioid therapy due to
                    excessive side effects. This statement was misleading because Nucynta
                    is, in fact, an opioid and has the same effects as other opioids.
Purdue         m.   Purdue sponsored APF’s Exit Wounds (2009), which omits warnings of
                    the risk of interactions between opioids and benzodiazepines, which would
                    increase fatality risk. Exit Wounds also contained a lengthy discussion of
                    the dangers of using alcohol to treat chronic pain but did not disclose
                    dangers of mixing alcohol and opioids.

               n.    Purdue sponsored APF’s Treatment Options: A Guide for People Living
                    with Pain (2007), which advised patients that opioids differ from NSAIDs
                    in that they have “no ceiling dose” and are therefore the most appropriate
                    treatment for severe pain. The publication attributes 10,000 to 20,000
                    deaths annually to NSAID overdose. Treatment Options also warned that
                    risks of NSAIDs increase if “taken for more than a period of months,”
                    with no corresponding warning about opioids.

               o.   Purdue sponsored a CME issued by the American Medical Association in
                    2003, 2007, 2010, and 2013; The 2013 version is still available for CME
                    credit. The CME, Overview of Management Options, was edited by KOL
                    Dr. Russell Portenoy, among others, and taught that NSAIDs and other
                    drugs, but not opioids, are unsafe at high doses.

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                       p.         Purdue sales representatives told Lamar County and Vernon prescribers
                                 that NSAIDs were more toxic than opioids.


           8. Purdue Misleadingly Promoted OxyContin as Providing 12 Hours of Relief

           324.       In addition to making the deceptive statements above, Purdue also dangerously

misled doctors and patients about OxyContin’s duration and onset of action.

           325.       Purdue promotes OxyContin as an extended-release opioid, but the oxycodone does

not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

oxycodone into the body upon administration, and the release gradually tapers, as illustrated in the

following chart, which was, upon information and belief, adapted from Purdue’s own sales

materials:115




115
    Jim Edwards, “How Purdue Used Misleading Charts to Hide OxyContin’s Addictive Power,” CBSNews.com, Sept. 28, 2011,
http://www.cbsnews.com/news/how-purdue-used-misleading-charts-to- hide-oxycontins-addictive-power/. The 160 mg dose is no longer marketed.
Purdue’s promotional materials in the past displayed a logarithmic scale, which gave the misleading impression the concentration remained constant.



                                                                       111
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The reduced release of the drug over time means that the oxycodone no longer provides the same

level of pain relief; as a result, in many patients, OxyContin does not last for the 12 hours for

which Purdue promotes it—a fact that Purdue has known at all times relevant to this action.

       326.    OxyContin tablets provide an initial absorption of approximately 40% of the active

medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful opioid—

OxyContin is roughly twice as powerful as morphine—triggers a powerful psychological response.

OxyContin thus behaves more like an immediate release opioid, which Purdue itself once claimed

was more addicting in its original 1995 FDA-approved drug label. Second, the initial burst of

oxycodone means that there is less of the drug at the end of the dosing period, which results in the

drug not lasting for a full 12 hours and precipitates withdrawal symptoms in patients, a

phenomenon known as “end of dose” failure. (The FDA found in 2008 that a “substantial number”

of chronic pain patients will experience “end-of-dose failure” with OxyContin.) The combination


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of fast onset and end-of-dose failure makes OxyContin particularly addictive, even compared with

other opioids.

       327.      Purdue nevertheless has falsely promoted OxyContin as if it were effective for a full

12 hours. Its advertising in 2000 included claims that OxyContin provides “Consistent Plasma

Levels Over 12 Hours.” That claim was accompanied by a chart depicting plasma levels on a

logarithmic scale. The chart minimized the rate of end-of-dose failure by depicting 10 mg in a

way that it appeared to be half of 100 mg in the table’s y-axis. That chart, shown below, depicts the

same information as the chart above, but does so in a way that makes the absorption rate appear

more consistent:




       328.      More recently, other Purdue advertisements also emphasized “Q12h” (meaning

twice-daily) dosing. These include an advertisement in the February 2005 Journal of Pain and

2006 Clinical Journal of Pain featuring an OxyContin logo with two pill cups, reinforcing the

twice-a-day message. Other advertisements that ran in the 2005 and 2006 issues of the Journal of

Pain depict a sample prescription for OxyContin, with “Q12h” handwritten for emphasis.



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          329.       The information that OxyContin did not provide pain relief for a full 12 hours was

known to Purdue, and Purdue’s competitors, but was not disclosed to general practitioners.

Purdue’s knowledge of some pain specialists’ tendency to prescribe OxyContin three times per day

instead of two (which would have compensated for end-of-dose failure) was set out in Purdue’s

internal documents as early as 1999 and is apparent from MEDWATCH Adverse Event reports for

OxyContin.116 Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted to

position its Opana ER drug as offering “durable” pain relief, which Endo understood to suggest a

contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of

12-hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER

referring to “real” 12-hour dosing.

          330.       Purdue’s failure to disclose the prevalence of end-of-dose failure meant that

prescribers in Lamar County and Vernon were not informed of risks relating to addiction, and that

they received the misleading message that OxyContin would be effective for treating chronic pain

for the advertised duration. Furthermore, doctors would compensate by increasing the dose or

prescribing “rescue” opioids, which had the same effect as increasing the amount of opioids

prescribed to a patient.117, 118




116
    MEDWATCH refers to the FDA’s voluntary adverse event reporting system.
117
    Purdue’s Clinical Issues in Opioid Prescribing, put out in 2005 under Purdue’s unbranded Partners Against Pain banner, states that “it is
recommended that a supplementary immediate-release medication be provided to treat exacerbations of pain that may occur with stable dosing.”
References to “rescue” medication appear in publications Purdue sponsored such as APF’s A Policymaker’s Guide (2011) and the 2013 CME
Overview of Pain Management Options.
118
    The Connecticut Attorney General’s office filed a citizens’ petition with the FDA on January 27, 2004, requesting that the OxyContin label be
amended with a warning not to prescribe the drug more than twice daily as a means of compensating for end-of-dose failure. The FDA denied this
request on September 11, 2008. The FDA found that the state had failed to present sufficient evidence that more frequent dosing caused adverse
outcomes, but the FDA did not challenge the Connecticut finding that end-of-dose failure of OxyContin was prevalent. Indeed, the FDA found that
end-of-dose failure affected a “substantial” number of chronic pain patients prescribed OxyContin.


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   E. Each Defendant Engaged in Deceptive Marketing, Both Branded and Unbranded, that
      Targeted and Reached Lamar County and Vernon Prescribers.

       331.    Defendants—and the Front Groups and KOLs who depended on and worked

alongside them—were able to affect a sea change in medical opinion in favor of accepting opioids

as a medically necessary long-term treatment for chronic pain. As set forth below, each Defendant

contributed to that result through a combination of both direct marketing efforts and third-party

marketing efforts over which that Defendant exercised editorial control. These deceptive and

misleading statements were directed to, and reached, Lamar County and Vernon prescribers and

patients, with the intent of distorting their views on the risks, benefits, and superiority of opioids

for treatment of chronic pain.

       332.    Defendants engaged in their deceptive marketing campaign, both nationwide and in

Lamar County and Vernon, using a number of strategies. Defendants trained their sales forces and

recruited physician speakers to deliver these deceptive messages and omissions, and they in turn

conveyed them to prescribers. Defendants also broadly disseminated promotional messages and

materials, both by delivering them personally to doctors during detailing visits and by mailing

deceptive advertisements directly to prescribers. Because they are disseminated by Defendant drug

manufacturers and relate to Defendants’ drugs, these materials are considered “labeling” within the

meaning of 21 C.F.R. § 1.3(a), which means Defendants are liable for their content.

       333.    As described below, Lamar County and Vernon has located a number of area

prescribers who received Defendants’ misrepresentations. Each of the misrepresentations received

by these doctors constitutes an integral piece of a centrally directed marketing strategy to change

medical perceptions regarding the use of opioids to treat chronic pain. Defendants were aware of

each of these misrepresentations, and Defendants approved of them and oversaw their

dissemination at the national, corporate level.


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          1. Actavis

          334.       As described below, Actavis promoted its branded opioid, Kadian, through a highly

deceptive marketing campaign, carried out principally through its sales force and recruited

physician speakers. As internal documents indicate, this campaign rested on a series of

misrepresentations and omissions regarding the risks, benefits, and superiority of opioids, and

indeed incorporated each of the types of deceptive messages. Based on the highly coordinated and

uniform nature of Actavis’s marketing, Actavis conveyed these deceptive messages to county

prescribers. Actavis did so with the intent that Lamar County and Vernon prescribers and/or

consumers would rely on the messages in choosing to use opioids to treat chronic pain.119

                     a. Actavis’ Deceptive Direct Marketing

          335.       To help devise its marketing strategy for Kadian, Actavis commissioned a report

from one of its consultants in January 2005 about barriers to market entry. The report concluded

that two major challenges facing opioid manufacturers in 2005 were (i) overcoming “concerns

regarding the safety and tolerability” of opioids, and (ii) the fact that “physicians have been trained

to evaluate the supporting data before changing their respective practice behavior.” To address

these challenges, the report advocated a “[p]ublication strategy based on placing in the literature

key data that influence members of the target audience” with an “emphasis . . . on ensuring that the

message is believable and relevant to the needs of the target audience.” This would entail the

creation of “effective copy points . . . backed by published references” and “developing and placing

publications that demonstrate [the] efficacy [of opioids] and [their] safety/positive side effect

profile.” According to the report, this would allow physicians to “reach[] a mental agreement” and




119
   Actavis also sold various generic opioids, including Norco, which were widely prescribed in the Lamar County and Vernon and benefited from
Actavis’s overall promotion of opioids, but were not directly marketed by sales representatives.


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change their “practice behavior” without having first evaluated supporting data—of which Actavis

(and other Defendants) had none.

       336.    The consulting firm predicted that this manufactured body of literature “w[ould], in

turn, provide greater support for the promotional message and add credibility to the brand’s

advocates” based on “either actual or perceived ‘scientific exchange’” in relevant medical

literature. (emphasis added). To this end, it planned for three manuscripts to be written during the

first quarter of 2005. Of these, “[t]he neuropathic pain manuscript will provide evidence

demonstrating KADIAN is as effective in patients with presumptive neuropathic pain as it is in

those with other pain types”; “[t]he elderly subanalysis . . . will provide clinicians with evidence

that KADIAN is efficacious and well tolerated in appropriately selected elderly patients” and will

“be targeted to readers in the geriatrics specialty”; and “[t]he QDF/BID manuscript will . . . .call

attention to the fact that KADIAN is the only sustained-release opioid to be labeled for [once or

twice daily] use.” In short, Actavis knew exactly what each study would show—and how that study

would fit into its marketing plan—before it was published. Articles matching Actavis’s

descriptions later appeared in the Journal of Pain and the Journal of the American Geriatrics

Society.

       337.    To ensure that messages based on this science reached individual physicians,

Actavis deployed sales representatives, or detailers, to visit prescribers in Lamar County and

Vernon and across the country. At the peak of Actavis’s promotional efforts in 2011, the company

spent $6.7 million on detailing.

       338.    To track its detailers’ progress, Actavis’s sales and marketing department actively

monitored the prescribing behavior of physicians. It tracked the Kadian prescribing activity of

individual physicians, and assessed the success of its marketing efforts by tabulating how many



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Kadian prescriptions a prescriber wrote after he or she had been detailed. As described below,

Kadian monitored numerous Lamar County and Vernon physicians.

       339.    Actavis also planned to promote Kadian by giving presentations at conferences of

organizations where it believed it could reach a high concentration of pain specialists. Its choice of

conferences was also influenced by the host’s past support of opioids. For example, Actavis

documents show that Actavis presented papers concerning Kadian at an annual meeting of AGS

because AGS’s guidelines “support the use of opioids.”

       340.    Actavis targeted prescribers using both its sales force and recruited physician

speakers, as described below.

                     i.   Actavis’ Deceptive Sales Training

       341.    Actavis’s sales representatives targeted physicians to deliver sales messages that

were developed centrally and deployed uniformly across the country. These sales representatives

were critical in delivering Actavis’s marketing strategies and talking points to individual

prescribers.

       342.    Actavis’s strategy and pattern of deceptive marketing is evident in its internal

training materials. A sales education module titled “Kadian Learning System” trained Actavis’s

sales representatives on the marketing messages—including deceptive claims about improved

function, the risk of addiction, the false scientific concept of “pseudoaddiction,” and opioid

withdrawal—that sales representatives were directed and required, in turn, to pass on to

prescribers, nationally and in Lamar County and Vernon.

       343.    The sales training module, dated July 1, 2010, includes the misrepresentations

documented in this Complaint, starting with its promise of improved function. The sales training

instructed Actavis sales representatives that “most chronic benign pain patients do have markedly



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improved ability to function when maintained on chronic opioid therapy,” when, in reality,

available data demonstrate that patients on chronic opioid therapy are less likely to participate in

daily activities like work. The sales training also misleadingly implied that the dose of prescription

opioids could be escalated without consequence and omitted important facts about the increased

risks of high dose opioids. First, Actavis taught its sales representatives, who would pass the

message on to doctors, that pain patients would not develop tolerance to opioids, which would have

required them to receive increasing doses: “Although tolerance and dependence do occur with

long-term use of opioids, many studies have shown that tolerance is limited in most patients with

[Chronic pain].” Second, Actavis instructed its sales personnel that opioid “[d]oses are titrated to

pain relief, and so no ceiling dose can be given as to the recommended maximal dose.” Actavis

failed to explain to its sales representatives and, through them, to doctors, the greater risks

associated with opioids at high doses.

       344.    Further, the 2010 sales training module highlighted the risks of alternate pain

medications without providing a comparable discussion of the risks of opioids, painting the

erroneous and misleading impression that opioids are safer. Specifically, the document claimed that

“NSAIDs prolong the bleeding time by inhibiting blood platelets, which can contribute to bleeding

complications” and “can have toxic effects on the kidney.” Accordingly, Actavis coached its sales

representatives that “[t]he potential toxins of NSAIDs limits their dose and, to some extent, the

duration of therapy” since “[t]hey should only be taken short term.” By contrast, the corresponding

section related to opioids neglects to include a single side effect or risk associated with the use of

opioids, including from long-term use.

       345.    This sales training module also severely downplayed the main risk associated with

Kadian and other opioids—addiction. It represented that “there is no evidence that simply taking



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opioids for a period of time will cause substance abuse or addiction” and, instead, “[i]t appears

likely that most substance-abusing patients in pain management practices had an abuse problem

before entering the practice.” This falsely suggests that few patients would become addicted, that

only those with a prior history of abuse are at risk of opioid addiction, and that doctors could

screen for those patients and safely prescribe to others. To the contrary, opioid addiction affects a

significant population of patients; while patients with a history of abuse may be more prone to

addiction, all patients are at risk, and doctors may not be able to identify, or safely prescribe to,

patients at greater risk.

        346.    The sales training also noted that there were various “signs associated with

substance abuse,” including past history or family history of substance or alcohol abuse, frequent

requests to change medication because of side effects or lack of efficacy, and a “social history of

dysfunctional or high-risk behaviors including multiple arrests, multiple marriages, abusive

relationships, etc.” This is misleading, as noted above, because it implies that only patients with

these kinds of behaviors and history become addicted to opioids.

        347.    Further, the sales training neglected to disclose that no risk-screening tools related

to opioids have ever been scientifically validated. The AHRQ recently issued an Evidence Report

that could identify “[n]o study” that had evaluated the effectiveness of various risk mitigation

strategies—including the types of patient screening implied in Actavis’s sales training—on

outcomes related to overdose, addiction, abuse or misuse.

        348.    The sales training module also directed representatives to counsel doctors to be on

the lookout for the signs of “[p]seudoaddiction,” which were defined as “[b]ehaviors (that mimic

addictive behaviors) exhibited by patients with inadequately treated pain.” However, the concept of




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“pseudoaddiction” is unsubstantiated and meant to mislead doctors and patients about the risks and

signs of addiction.

       349.      Finally, the 2010 national training materials trivialized the harms associated with

opioid withdrawal by explaining that “[p]hysical dependence simply requires a tapered withdrawal

should the opioid medication no longer be needed.” This, however, overlooks the fact that the side

effects associated with opiate withdrawal are severe and a serious concern for any person who

wishes to discontinue long-term opioid therapy.

       350.      The Kadian Learning System module dates from July 2010, but Actavis sales

representatives were passing deceptive messages on to prescribers even before then. A July 2010

“Dear Doctor” letter issued by the FDA indicated that “[b]etween June 2009 and February 2010,

Actavis sales representatives distributed . . . promotional materials that . . . omitted and minimized

serious risks associated with [Kadian].” Certain risks that were misrepresented included the risk of

“[m]isuse, [a]buse, and [d]iversion of [o]pioids” and, specifically, the risk that “[o]pioid agonists

have the potential for being abused and are sought by drug abusers and people with addiction

disorders and are subject to criminal diversion.” The FDA also took issue with an advertisement for

misrepresenting Kadian’s ability to help patients “live with less pain and get adequate rest with less

medication,” when the supporting study did not represent “substantial evidence or substantial

clinical experience.”

       351.      Actavis’s documents also indicate that the company continued to deceptively market

its drugs after 2010. Specifically, a September 2012 Kadian Marketing Update, and the “HCP

Detail” aid contained therein, noted that Kadian’s “steady state plasma levels” ensured that Kadian

“produced higher trough concentrations and a smaller degree of peak-to-trough fluctuations” than

other opioids.



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       352.    Actavis also commissioned surveys of prescribers to ensure Kadian sales

representatives were promoting the “steady-state” message. That same survey—paid for and

reviewed by Actavis—found repeated instances of prescribers being told by sales representatives

that Kadian had low potential of abuse or addiction. This survey also found that prescribers were

influenced by Actavis’s messaging. A number of Kadian prescribers stated that they prescribed

Kadian because it was “without the addictive potential” and wouldn’t “be posing high risk for

addiction.” As a result, Actavis’s marketing documents celebrated a “perception” among doctors

that Kadian had “low abuse potential”.

       353.    Finally, the internal documents of another Defendant, Endo, indicate that

pharmaceutical sales representatives employed by Endo, Actavis, and Purdue discussed the

AAPM/APS Guidelines with doctors during detailing visits. These guidelines deceptively

concluded that the risk of addiction is manageable for patients regardless of past abuse histories.

                     ii.   Actavis’ Deceptive Speaking Training

       354.    Actavis also increasingly relied on speakers—physicians whom Actavis recruited to

market opioids to their peers—to convey similar marketing messages. Actavis set a goal to train

100 new Kadian speakers in 2008 alone, with a plan to set up “power lunch teleconferences”

connecting speakers to up to 500 participating sites nationwide. Actavis sales representatives, who

were required to make a certain number of sales visits each day and week, saw the definition of

sales call expanded to accommodate these changes; such calls now included physicians’ “breakfast

& lunch meetings with Kadian advocate/speaker.”

       355.    A training program for Actavis speakers included training on many of the same

messages found in the Kadian Learning System, as described below. The deceptive messages in

Actavis’s speakers’ training are concerning for two reasons: (a) the doctors who participated in the



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training were, themselves, prescribing doctors, and the training was meant to increase their

prescriptions of Kadian; and (b) these doctors were trained, paid, and directed to deliver these

messages to other doctors who would write prescriptions of Kadian.

        356.    Consistent with the training for sales representatives, Actavis’s speakers’ training

falsely minimized the risk of addiction posed by long-term opioid use. Actavis claimed, without

scientific foundation, that “[o]pioids can be used with minimal risk in chronic pain patients without

a history of abuse or addiction.” The training also deceptively touted the effectiveness of “Risk

Tools,” such as the Opioid Risk Tool, in determining the “risk for developing aberrant behaviors”

in patients being considered for chronic opioid therapy. In recommending the use of these

screening tools, the speakers’ training neglected to disclose that none of them had been

scientifically validated.

        357.    The speakers’ training also made reference to “pseudoaddiction” as a “[c]ondition

characterized by behaviors, such as drug hoarding, that outwardly mimic addiction but are in fact

driven by a desire for pain relief and usually signal undertreated pain.” It then purported to assist

doctors in identifying those behaviors that actually indicated a risk of addiction from those that did

not. Behaviors it identified as “[m]ore suggestive of addiction” included “[p]rescription forgery,”

“[i]njecting oral formulations,” and “[m]ultiple dose escalations or other nonadherence with

therapy despite warnings.” Identified as “[l]ess suggestive of addiction” were “[a]ggressive

complaining about the need for more drugs,” “[r]equesting specific drugs,” “[d]rug hoarding during

periods of reduced symptoms,” and “[u]napproved use of the drug to treat another symptom.” By

portraying the risks in this manner, the speakers’ training presentation deceptively gave doctors a

false sense of security regarding the types of patients who can become addicted to opioids and the

types of behaviors these patients exhibit.



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       358.    The speakers’ training downplayed the risks of opioids, while focusing on the risks

of competing analgesics like NSAIDs. For example, it asserted that “Acetaminophen toxin is a

major health concern.” The slide further warned that “Acetaminophen poisoning is the most

common cause of acute liver failure in an evaluation of 662 US Subjects with acute liver failure

between 1998-2003,” and was titled “Opioids can be a safer option than other analgesics.”

However, in presenting the risks associated with opioids, the speakers’ training focused on nausea,

constipation, and sleepiness, and ignored the serious risks of hyperalgesia, hormonal dysfunction,

decline in immune function, mental clouding, confusion, and dizziness; increased falls and

fractures in the elderly, neonatal abstinence syndrome, and potentially fatal interactions with

alcohol or benzodiazepines. As a result, the training exaggerated the risks of NSAIDs, both

absolutely and relative to opioids, to make opioids appear to be a more attractive first-line

treatment for chronic pain.

       359.    The speakers’ training also misrepresented the risks associated with increased doses

of opioids. For example, speakers were instructed to “[s]tart low and titrate until patient reports

adequate analgesia” and to “[s]et dose levels on [the] basis of patient need, not on predetermined

maximal dose.” However, the speakers’ training neglected to warn speakers (and speakers bureau

attendees) that patients on high doses of opioids are more likely to suffer adverse events.




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               b. Actavis’s Deceptive Statements to Lamar County’s and Vernon’s Prescribers
                  and Patients

       360.    The misleading messages and training materials Actavis provided to its sales force

and speakers were part of a broader strategy to convince prescribers to use opioids to treat their

patients’ pain, without complete and accurate information about the risks, benefits, and

alternatives. This deception was national in scope and upon information and belief included Lamar

County and Vernon. Actavis’s nationwide messages upon information and belief reached Lamar

County and Vernon prescribers in a number of ways. For example, they were carried into Lamar

County and Vernon by Actavis’s sales representatives during detailing visits as well as made

available to Lamar County and Vernon patients and prescribers through websites and ads,

including ads in prominent medical journals. They have also been delivered to Lamar County and

Vernon prescribers by Actavis’s paid speakers, who were required by Actavis policy and by FDA

regulations to stay true to Actavis’s nationwide messaging.

       361.    Once trained, Actavis’s sales representatives and speakers were directed to, and

upon information and belief did, visit potential prescribers in Lamar County and Vernon as

elsewhere, to deliver their deceptive messages. These contacts are demonstrated by Actavis’s

substantial effort in tracking the habits of individual physicians prescribing Kadian, and by the

direct evidence of Actavis detailing prescribers.

       362.    Upon information and belief, Actavis tracked, in substantial detail, the prescribing

behavior of Lamar County and Vernon area physicians.

       2. Cephalon

       363.    At the heart of Cephalon’s deceptive promotional efforts was a concerted and

sustained effort to expand the market for its branded opioids, Actiq and Fentora, far beyond their

FDA-approved use in opioid-tolerant cancer patients. Trading on their rapid-onset formulation,


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Cephalon touted its opioids as the answer to “breakthrough pain”—a term its own KOL allies

planted in the medical literature—whether cancer pain or not. Cephalon promoted this message

through its sales force, paid physician speakers, advertisements, and CMEs, even after the FDA

issued the company warnings and rejected an expanded drug indication.

       364.     Even as it promoted Actiq and Fentora off-label, Cephalon also purveyed many of

the deceptive messages described above. It did so both directly—through detailing visits and

speaker programs—and through the publications and CMEs of its third-party partners. These

messages      included   misleading   claims   about      functional   improvement,   addiction   risk,

pseudoaddiction, and the safety of alternatives to opioids.

       365.     Based on the highly coordinated and uniform nature of Cephalon’s marketing,

Cephalon upon information and belief conveyed these deceptive messages to Lamar County and

Vernon prescribers. The materials that Cephalon generated in collaboration with third-parties upon

information and belief were also distributed or made available in Lamar County and Vernon.

Upon information and belief, Cephalon distributed these messages, or facilitated their distribution,

in Lamar County and Vernon with the intent that prescribers and/or consumers would rely on them

in choosing to use opioids to treat chronic pain.

                a. Cephalon’s Deceptive Direct Marketing

       366.     Like the other Defendants, Cephalon directly engaged in misleading and deceptive

marketing of its opioids through its sales force and branded advertisements. These messages were

centrally formulated and intended to reach prescribers nationwide, including those practicing in the

Lamar County and Vernon area. Cephalon also spent the money necessary to aggressively promote

its opioid drugs, setting aside $20 million to market Fentora in 2009 alone.




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                                 i.     Cephalon’s Fraudulent Off-Label Marketing of Actiq and Fentora

             367.       Chief among Cephalon’s direct marketing efforts was its campaign to deceptively

promote its opioids for off-label uses. Cephalon reaps significant revenue from selling its opioids

for treatment of chronic non-cancer pain. However, neither of its two opioid drugs— Actiq or

Fentora—is approved for this purpose. Instead, both have indications that are very clearly and

narrowly defined to limit their use to a particular form of cancer pain. Despite this restriction, and

in order to claim its piece of the broader chronic non-cancer pain market, Cephalon deceptively and

unlawfully marketed Actiq and then Fentora for patients and uses for which they were not safe,

effective, or allowed. This resulted in prescriptions written and paid and, grievously, caused

patients to be injured and die. Upon information and belief, Cephalon’s efforts to expand the

market for its drugs beyond cancer pain extended to Lamar County and Vernon prescribers.

                   a) Cephalon launched its fraudulent marketing scheme for Actiq

             368.       Cephalon’s Actiq is a powerful opioid narcotic that is delivered to the bloodstream

by a lollipop lozenge that dissolves slowly in the mouth. As described by one patient, Actiq “tastes

like the most delicious candy you ever ate.”120

             369.       Actiq is appropriately used only to treat “breakthrough” cancer pain that cannot be

controlled by other medications. Breakthrough pain is a short-term flare of moderate-to- severe

pain in patients with otherwise stable persistent pain. Actiq is a rapid-onset drug that takes effect

within 10-15 minutes but lasts only a short time. It is also an extremely strong drug, considered to

be at least 80 times more powerful than morphine. Fentanyl, a key ingredient in Actiq, has been

linked to fatal respiratory complications in patients. Actiq is not safe in any dose for patients who

are not opioid tolerant, meaning patients who have taken specific doses of opioids for a week or

longer and whose systems have acclimated to the drugs.
120
      See John Carreyrou, Narcotic ‘Lollipop’ Becomes Big Seller Despite FDA Curbs, Wall St. J., Nov. 3, 2006.


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           370.       In 1998, the FDA approved Actiq “ONLY for the management of breakthrough

cancer pain in patients with malignancies who are already receiving and who are tolerant to opioid

therapy for their underlying persistent cancer pain.”121 (emphasis in FDA document). Because of

Actiq’s dangers, wider, off-label uses—as the FDA label makes clear—are not permitted:

                      This product must not be used in opioid non-tolerant patients because life-
                      threatening respiratory depression and death could occur at any dose in
                      patients not on a chronic regimen of opioids. For this reason, ACTIQ is
                      contraindicated in the management of acute or postoperative pain.122

           371.       Actiq and Fentora are thus intended to be used only in the care of cancer patients

and only by oncologists and pain specialists who are knowledgeable of, and skilled in, the use of

Schedule II opioids to treat cancer pain. Unlike other drugs, of which off-label uses are permitted

but cannot be promoted by the drug maker, Actiq and Fentora are so potent that off- label use for

opioid naïve patients is barred by the FDA, as their labels make clear.

           372.       Notwithstanding the drug’s extreme potency and related dangers, and the FDA’s

explicit limitations, Cephalon actively promoted Actiq for chronic non-cancer pain—an

unapproved, off-label use. Cephalon marketed Actiq as appropriate for the treatment of various

conditions including back pain, headaches, pain associated with sports-related injuries, and other

conditions not associated with cancer and for which it was not approved, appropriate, or safe.

           373.       Actiq’s initial sales counted in the tens of millions of dollars, corresponding to its

limited patient population. But by 2005, Actiq sales reached $412 million, making it Cephalon’s

second-highest selling drug. As a result of Cephalon’s deceptive, unlawful marketing, sales

exceeded $500 million by 2006.




121
    FDA Approval Letter for NDA 20-747 (Nov. 4, 1998) at 5, http://www.accessdata.fda.gov/drugsatfda_docs/appletter/1998/20747ltr.pdf.
122
    Actiq Drug Label, July 2011. The 1998 version does not substantively differ: “Because life-threatening hypoventilation could occur at any dose
in patients not taking chronic opiates, Actiq is contra- indicated in the management of acute or postoperative pain. This product must not be used in
opioid non-tolerant patients.” (emphasis in original).


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                   b) October 1, 2006 – Cephalon fraudulently marked Actiq’s successor drug,
                      Fentora

         374.      Actiq was set to lose its patent protection in September 2006. To replace the

revenue stream that would be lost once generic competitors came to market, Cephalon purchased a

new opioid drug, Fentora, from Cima Labs and, in August 2005, submitted a New Drug

Application (“NDA”) to the FDA for approval. Like Actiq, Fentora is an extremely powerful and

rapid-onset opioid. It is administered by placing a tablet in the mouth until it disintegrates and is

absorbed by the mucous membrane that lines the inside of the mouth.

         375.      On September 25, 2006, the FDA approved Fentora, like Actiq, only for the

treatment of breakthrough cancer pain in cancer patients who were already tolerant to around- the-

clock opioid therapy for their underlying persistent cancer pain. Fentora’s unusually strong and

detailed black box warning label—the most serious medication warning required by the FDA—

makes clear that, among other things:

              Fatal respiratory depression has occurred in patients treated with FENTORA,
              including following use in opioid non-tolerant patients and improper dosing.
              The substitution of FENTORA for any other fentanyl product may result in
              fatal overdose.

              Due to the risk of respiratory depression, FENTORA is contraindicated in the
              management of acute or postoperative pain including headache/migraine and
              in opioid non-tolerant patients.123

         376.      When Cephalon launched Fentora on October 1, 2006, it picked up the playbook it

had developed for Actiq and simply substituted in Fentora. Cephalon immediately shifted 100

general pain sales representatives from selling Actiq to selling Fentora to the very same physicians

for uses that would necessarily and predictably be off-label. Cephalon’s marketing of Actiq

therefore “primed the market” for Fentora. Cephalon had trained numerous KOLs to lead


123
   Fentora Drug Label, February 2013, http://www.accessdata.fda.gov/drugsatfda_docs/label/
2013/021947s008lbl.pdf

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promotional programs for Fentora, typically including off-label uses for the drug. Cephalon billed

Fentora as a major advance that offered a significant upgrade in the treatment of breakthrough pain

generally—not breakthrough cancer pain in particular—from Actiq. Cephalon also developed a

plan in 2007 to target elderly chronic pain patients via a multi-city and county tour with stops at

AARP events, YMCAs, and senior living facilities.

         377.     On February 12, 2007, only four months after the launch, Cephalon CEO Frank

Baldino told investors:

              [W]e’ve been extremely pleased to retain a substantial portion, roughly 75%
              of the rapid onset opioid market. We executed our transition strategy and the
              results in our pain franchise have been better than we expected. With the
              successful launch of FENTORA and the progress in label expansion program,
              we are well positioned to grow our pain franchise for many years to come.124

         378.     On May 1, 2007, just seven months after Fentora’s launch, Cephalon’s then-

Executive Vice President for Worldwide Operations, Bob Roche, bragged to financial analysts that

Fentora’s reach would exceed even Actiq’s. He described the company’s successful and

“aggressive” launch of Fentora that was persuading physicians to prescribe Fentora for ever

broader uses. He identified two “major opportunities”—treating breakthrough cancer pain and:

         The other opportunity of course is the prospect for FENTORA outside of cancer
         pain, in indications such as breakthrough lower back pain and breakthrough
         neuropathic pain. . . .

              ....

         We believe that a huge opportunity still exists as physicians and patients
         recognize FENTORA as their first choice rapid onset opioid medication. . . .
         [opioids are] widely used in the treatment
         of. . . non-cancer patients . . . .

              ....



124
    See Cephalon Q4 2006 Earnings Call Transcript, Seeking Alpha (February 12, 2007, 8:48 PM EST) at 5,
http://seekingalpha.com/article/26813-cephalon-q4-2006-earnings-call-transcript.

                                                            130
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          Of all the patients taking chronic opioids, 32% of them take that medication to
          treat back pain, and 30% of them are taking their opioids to treat neuropathic pain.
          In contrast only 12% are taking them to treat cancer pain, 12%.

          We know from our own studies that breakthrough pain episodes experienced by
          these non-cancer sufferers respond very well to FENTORA. And for all these
          reasons, we are tremendously excited about the significant impact FENTORA can
          have on patient health and wellbeing and the exciting growth potential that it has
          for Cephalon.

          In summary, we have had a strong launch of FENTORA and continue to grow the
          product aggressively. Today, that growth is coming from the physicians and
          patient types that we have identified through our efforts in the field over the last
          seven years. In the future, with new and broader indications and a much bigger
          field force presence, the opportunity that FENTORA represents is enormous.125

                     c) September 2007 – Reports of death and serious side effects led the FDA to issue
                        a public health warning for Fentora

          379.       On September 10, 2007, Cephalon sent letters to doctors warning of deaths and

other “serious adverse events” connected with the use of Fentora, indicating that “[t]hese deaths

occurred as a result of improper patient selection (e.g., use in opioid non-tolerant patients),

improper dosing, and/or improper product substitution.” 126                                    The warning did not mention

Cephalon’s deliberate role in the “improper patient selection.”

          380.       Two weeks later, the FDA issued its own Public Health Advisory. The FDA

emphasized, once again, that Fentora should be prescribed only for approved conditions and that

dose guidelines should be carefully followed. The FDA Advisory made clear that several Fentora-

related deaths had occurred in patients who were prescribed the drug for off-label uses. The FDA

Advisory warned that Fentora should not be used for any off-label conditions, including migraines,

post-operative pain, or pain due to injury, and that it should be given only to patients who have

developed opioid tolerance. The Advisory reiterated that, because Fentora contains a much greater

125
    See Cephalon Q1 2007 Earnings Call Transcript, Seeking Alpha (May 1, 2007, 8:48 PM EST) at 23, http://seekingalpha.com/article/34163-
cephalon-q1-2007-earnings-call-transcript?page=1.
126
    Letter from Jeffrey M. Dayno, M.D., Vice President, Medical Services, Cephalon, Inc. to Healthcare Providers (Sept. 10, 2007),
http://www.fda.gov/downloads/Safety/MedWatch/SafetyInformation/
SafetyAlertsforHumanMedicalProducts/UCM154439.pdf.


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amount of fentanyl than other opiate painkillers, it is not a suitable substitute for other

painkillers.127

          381.      Notwithstanding the regulatory scrutiny, Cephalon’s off-label marketing continued.

Cephalon’s 2008 internal audit of its Sales & Marketing Compliance Programs concluded that

marketing and tactical documents, as written, may be construed to promote off-label uses. The

same report acknowledged that Cephalon lacked a process to confirm that speakers’ program

participants were following Cephalon’s written, formal policies prohibiting off-label promotion,

and that “non-compliant [Cephalon Speaker Programs] may be taking place.” Moreover, the report

acknowledged that Cephalon’s “call universe” may include “inappropriate prescribers”—

prescribers who had nothing to do with cancer pain.

                    d) May 6, 2008 – The FDA rejected Cephalon’s request for expanded approval of
                       Fentora

          382.       Cephalon filed a supplemental new drug application, (“sNDA”), asking the FDA to

approve Fentora for the treatment of non-cancer breakthrough pain. Cephalon admitted that

Fentora already had been heavily prescribed for non-cancer pain, but argued that such widespread

use demonstrated why Fentora should be approved for these wider uses. 128 Cephalon’s application

also conceded that “[t]o date, no medication has been systematically evaluated in clinical studies or

approved by the FDA for the management of [breakthrough pain] in patients with chronic

persistent non-cancer-related pain.” Id.




127
    FDA Public Health Advisory, Important Information for the Safe Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
http://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
128
    See Fentora CII: Advisory Committee Briefing Document, U.S. FDA Anesthetic & Life Support Drugs Advisory Comm. & Drug Safety & Risk
Mgmt. Advisory Comm. (May 6, 2008),
http://www.fda.gov/ohrms/dockets/ac/08/briefing/2008-4356b2-02-Cephalon.pdf.


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          383.       In response to Cephalon’s application, the FDA presented data showing that 95% of

all Fentora use was for treatment of non-cancer pain.129 By a vote of 17-3, the relevant Advisory

Committee—a panel of outside experts—voted against recommending approval of Cephalon’s

sNDA for Fentora, citing the potential harm from broader use. On September 15, 2008, the FDA

denied Cephalon’s application and requested, in light of Fentora’s already off- label use, that

Cephalon implement and demonstrate the effectiveness of proposed enhancements to Fentora’s

Risk Management Program. In December 2008, the FDA followed that request with a formal

request directing Cephalon to submit a Risk Evaluation and Mitigation Strategy for Fentora.

                     e) March 26, 2009 – the FDA’s Division of Drug Marketing, Advertising and
                        Communications (“DDMAC”) warned Cephalon about its misleading
                        advertising of Fentora

          384.       Undeterred by the rejection of its sNDA, Cephalon continued to use its general pain

sales force to promote Fentora off-label to pain specialists as an upgrade of Actiq for the treatment

of non-cancer breakthrough pain. Deceptively and especially dangerously, Cephalon also continued

to promote Fentora for use by all cancer patients suffering breakthrough cancer pain, and not only

those who were opioid tolerant.

          385.       On March 26, 2009, DDMAC issued a Warning Letter to Cephalon, telling

Cephalon that its promotional materials for Fentora amounted to deceptive, off-label promotion of

the drug.130 Specifically, the Warning Letter asserted that a sponsored link on Google and other

search engines for Fentora, which said “[l]earn about treating breakthrough pain in patients with




129
    See Yoo Jung Chang & Lauren Lee, Review of Fentora and Actiq Adverse Events from the Adverse Event Reporting System (“AERS”) Database,
U.S. FDA Anesthetic & Life Support Drugs Advisory Comm. & Drug Safety & Risk Mgmt. Advisory Comm. (May 6, 2008),
http://www.fda.gov/ohrms/dockets/ac/08/slides/2008-4356s2-02-FDAcorepresentations.ppt#289,1.
130
    Letter from Michael Sauers, Regulatory Review Officer, Division of Drug Marketing, Advertising and Communications, to Carole S. Marchione,
Senior Director and Group Leader, Regulatory Affairs (March 26, 2009),
http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/
EnforcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/UCM166238.pdf.


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cancer,” 131 was improper because it “misleadingly broaden[ed] the indication for Fentora by

implying that any patient with cancer who requires treatment for breakthrough pain is a candidate

for Fentora therapy . . . when this is not the case.”

        386.     DDMAC emphasized that Fentora’s label was limited to cancer patients with

breakthrough pain “who are already receiving and who are tolerant to around-the-clock opioid

therapy for their underlying persistent cancer pain.” (emphasis in original). DDMAC explained

that the advertisement was “especially concerning given that Fentora must not be used in opioid

non-tolerant patients because life-threatening hypoventilation and death could occur at any dose in

patients not on a chronic regimen of opioids.” (Emphasis in original). DDMAC also warned

Cephalon that, based on a review of Cephalon-sponsored links for Fentora on internet search

engines, the company’s advertisements were “misleading because they make representations and/or

suggestions about the efficacy of Fentora, but fail to communicate any risk information associated

with the use” of the drug. (emphasis in original).

                 f) Cephalon continues to knowingly, deceptively, and illegally promote Fenotra for
                    off-label uses

        387.     Cephalon’s own market research studies confirm that its Fentora promotions were

not focused on physicians who treat breakthrough cancer pain. Cephalon commissioned several

market research studies to determine whether oncologists provided an “adequate” market potential

for Fentora. These studies’ central goal was to determine whether oncologists treat breakthrough

cancer pain themselves, or whether they refer such patients to general pain specialists. The first

study, completed in 2007, reported that 90% of oncologists diagnose and treat breakthrough cancer

pain themselves, and do not refer their breakthrough cancer pain patients to pain specialists. The

131
    Screen shots of the sponsored link are available here: http://www.fda.gov/downloads/Drugs/
GuidanceComplianceRegulatoryInformation/EnforcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPharmace
uticalCompanies/UCM166240.pdf.



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second study, completed in 2009, confirmed the results of the 2007 study, this time reporting that

88% of oncologists diagnose and treat breakthrough cancer pain themselves and rarely, if ever,

refer those patients to general pain specialists. (One reason that general pain specialists typically do

not treat oncological pain is that the presence of pain can, in itself, be an indicator of a change in

the patient’s underlying condition that should be monitored by the treating oncologist.)

           388.      Cephalon was well aware that physicians were prescribing Fentora for off-label

uses.

           389.      Cephalon was also aware that its detailing had an impact on prescription rates.

           390.      In 2011, Cephalon wrote and copyrighted an article titled “2011 Special Report: An

Integrated Risk Evaluation and Risk Mitigation Strategy for Fentanyl Buccal Tablet (FENTORA®)

and Oral Transmucosal Fentanyl Citrate (ACTIQ®)” that was published in Pain Medicine News.132

The article promoted Cephalon’s drugs for off-label uses by stating that the “judicious use of

opioids can facilitate effective and safe management of chronic pain” and noted that Fentora “has

been shown to be effective in treatment of [break through pain] associated with multiple causes of

pain,” not just cancer.133

                  ii.   Cephalon’s Misrepresentation of the Risks Associated with the Use of Opioids
                        for the Long-Term Treatment of Chronic Pain

           391.      Cephalon’s conduct in marketing Actiq and Fentora for chronic non-cancer pain,

despite their clear (and deadly) risks and unproved benefits, was an extension, and reaped the

benefits, of Cephalon’s generally deceptive promotion of opioids for chronic pain.

           392.      There is no scientific evidence corroborating a link between chronic opioid therapy

and increased functionality. Any suggestion of such a link is, in fact, false.



132
      http://www.pharmacytimes.com/publications/issue/2012/january2012/r514-jan-12-rems.
133
      Id.

                                                        135
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       393.    Along with deploying its sales representatives, Cephalon used speakers bureaus to

help reach prescribers. The company viewed each treating physician as a vehicle to generate

prescriptions – whether written by that physician directly or caused indirectly by his or her

influence over other physicians.

        394. Having determined that speakers were an effective way to reach prescribers,

Cephalon set to work ensuring that its speakers would disseminate its misleading messages.

Cephalon did not disclose to speakers that, even when these tools are applied, they are unable to

control for the risk of addiction.

       395.    As with the other Defendants, Cephalon deployed the made-up concept of

“pseudoaddiction” to encourage prescribers to address addictive behavior in the worst way

possible—with more opioids.

       396.    Working with FSMB, Cephalon also trained its speakers to turn doctors’ fear of

discipline on its head—doctors, who believed that they would be disciplined if their patients

became addicted to opioids, were taught instead that they would be punished if they failed to

prescribe opioids to their patients with pain. Through this messaging, Cephalon aimed to normalize

the prescribing of opioids for chronic pain and failed to acknowledge the serious risks of long-term

opioid use and its inappropriateness as a front-line treatment for pain.

       397.    Finally, Cephalon also developed a guidebook called Opioid Medications and

REMS: A Patient’s Guide, which deceptively minimized the risks of addiction from the long- term

use of opioids. Specifically, the guidebook claimed that “patients without a history of abuse or a

family history of abuse do not commonly become addicted to opioids,” which is dangerously false.

Cephalon distributed the guidebook broadly, and it was available to, and intended to reach,

prescribers in Lamar County and Vernon.



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       398.    The misleading messages and materials Cephalon provided to its sales force and its

speakers were part of a broader strategy to convince prescribers to use opioids to treat their

patients’ pain, without complete and accurate information about the risks, benefits, and

alternatives. This deception was national in scope and upon information and belief included Lamar

County and Vernon. Cephalon’s nationwide messages upon information and belief have reached

Lamar County and Vernon prescribers in a number of ways; they were delivered by Cephalon’s

sales representatives in detailing visits and made available to county patients and prescribers

through websites and ads, including ads in prominent medical journals. They have also been

delivered to county prescribers by Cephalon’s paid speakers, who were required by Cephalon

policy to stay true to the company’s nationwide messaging.

               b. Cephalon’s Deceptive Third-Party Statements

       399.    Like the other Defendants, Cephalon also relied on third parties to disseminate its

messages through deceptive publications and presentations. By funding, developing and reviewing

the content, and distributing and facilitating the distribution of these messages, Cephalon exercised

editorial control over them. Cephalon, in some instances, used its sales force to directly distribute

certain publications by these Front Groups and KOLs, rendering those publications “labeling”

within the meaning of § 21 C.F.R. § 1.3(a) and making Cephalon responsible for their contents.

Cephalon also deployed its KOLs as speakers for talks and CMEs to selected groups of prescribers.

       400.    Cephalon’s relationships with several such Front Groups and KOLs—and the

misleading and deceptive publications and presentations those relationships generated—are

described below.




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              i.     FSMB – Responsible Opioid Prescribing

       401.     In 2007, for example, Cephalon sponsored and distributed through its sales

representatives FSMB’s Responsible Opioid Prescribing, which was drafted by Dr. Fishman. Dr.

Fishman was frequently hired by a consulting Firm, Conrad & Associates LLC, to write pro-opioid

marketing pieces disguised as science. Dr. Fishman’s work was reviewed and approved by drug

company representatives, and he felt compelled to draft pieces that he admits distorted the risks and

benefits of chronic opioid therapy in order to meet the demands of his drug company sponsors.

       402.     Responsible Opioid Prescribing was a signature piece of Dr. Fishman’s work and

contained a number of deceptive statements. This publication claimed that, because pain had a

negative impact on a patient’s ability to function, relieving pain—alone—would “reverse that

effect and improve function.” However, the truth is far more complicated; functional improvements

made from increased pain relief can be offset by a number of problems, including addiction.

       403.     Responsible Opioid Prescribing also misrepresented the likelihood of addiction by

mischaracterizing drug-seeking behavior as “pseudoaddiction.” It explained that “requesting drugs

by name,” engaging in “demanding or manipulative behavior,” seeing more than one doctor to

obtain opioids, and hoarding were all signs of “pseudoaddiction” and likely the effects of

undertreated pain, rather than true addiction. There is no scientific evidence to support the concept

of   “pseudoaddiction,”      and   any   suggestion    that   addictive   behavior   masquerades   as

“pseudoaddiction” is false.

       404.        Cephalon spent $150,000 to purchase copies of Responsible Opioid Prescribing in

bulk. It then used its sales force to distribute these copies to 10,000 prescribers and 5,000

pharmacists nationwide. These were available to, and intended to, reach prescribers and

pharmacists in Lamar County and Vernon.



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              ii.    APF – Treatment Options: A Guide for People Living with Pain

       405.      Cephalon also exercised considerable control over the Front Group APF, which

published and disseminated many of the most egregious falsehoods regarding chronic opioid

therapy. Their relationship, and several of the APF publications, are described in detail below.

       406.      Documents indicate that Cephalon provided APF with substantial assistance in

publishing deceptive information regarding the risks associated with the use of opioids for chronic

pain. An April 3, 2008 Fentora Assessment Strategy Tactics Team Meeting presentation outlines

Cephalon’s strategy to prepare for a meeting at which the FDA Advisory Committee would

consider expanding the indication of Fentora to include chronic, non-cancer pain. Cephalon

prepared by “reaching out to third-party organizations, KOLs, and patients to provide context and,

where appropriate, encourage related activity.” First among the Front Groups listed was APF.

       407.      Cephalon was among the drug companies that worked with APF to “educate” the

Institute of Medicine of the National Academies (IOM) on issues related to chronic opioid therapy.

APF President Will Rowe circulated a document to Cephalon and other drug company personnel

that contained key message points and suggested that they “[c]onsider using this document in your

communications with the members of the IOM Committee.” According to Rowe, recipients should

“consider this a working document which you can add to or subtract from.” Rowe also advised

that, if recipients “have an ally on that Committee,” they should “consider sharing this document

with that person.”

       408.      Cephalon personnel responded enthusiastically, with Cephalon’s Associate Director

for Alliance Development stating her belief that “the document does a good job of bringing

together many important ideas.” Cephalon reviewed and directed changes to this document, with

the Cephalon Associate Director thanking Rowe “for incorporating the points we had raised.” The



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close collaboration between Cephalon and APF on this project demonstrates their agreement to

work collaboratively to promote the use of opioids as an appropriate treatment for chronic pain.

           409.    Cephalon’s influence over APF’s activities was so pervasive that APF’s President,

Will Rowe, even reached out to Defendants—including Cephalon—rather than his own staff, to

identify potential authors to answer a 2011 article critical of opioids that had been published in the

Archives of Internal Medicine.

           410.    Starting in 2007, Cephalon sponsored APF’s Treatment Options: A Guide for

People Living with Pain. 134 It is rife with misrepresentations regarding the risks, benefits, and

superiority of opioids.

           411.    For example, Treatment Options deceptively asserts that the long-term use of

opioids to treat chronic pain could help patients function in their daily lives by stating that, when

used properly, opioids “give [pain patients] a quality of life [they] deserve.” There is no scientific

evidence corroborating that statement, and such statements are, in fact, false. Available data

demonstrate that patients on chronic opioid therapy are actually less likely to participate in life

activities like work.

           412.    Treatment Options also claims that addiction is rare and is evident from patients’

conduct in self-escalating their doses, seeking opioids from multiple doctors, or stealing the drugs.

Treatment Options further minimizes the risk of addiction by claiming that it can be avoided

through the use of screening tools, like “opioid agreements,” which can “ensure [that patients] take

the opioid as prescribed.” Nowhere does Treatment Options explain to patients and prescribers that

neither “opioid agreements” nor any other screening tools have been scientifically validated to




134
      https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.

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decrease the risks of addiction, and the publication’s assurances to the contrary are false and

deceptive.

       413.     Treatment Options also promotes the use of opioids to treat chronic pain by painting

a misleading picture of the risks of alternate treatments, most particularly NSAIDs. Treatment

Options notes that NSAIDs can be dangerous at high doses, and attributes 10,000 to 20,000 deaths

a year annually to NSAID overdose. According to Treatment Options, NSAIDs are different from

opioids because opioids have “no ceiling dose,” which is beneficial since some patients “need”

larger doses of painkillers than they are currently prescribed. These claims misleadingly suggest

that opioids are safe even at high doses and omit important information regarding the risks of high-

dose opioids.

       414.     Additionally, Treatment Options warns that the risks associated with NSAID use

increase if NSAIDs are “taken for more than a period of months,” but deceptively omits any

similar warning about the risks associated with the long-term use of opioids. This presentation

paints a misleading picture of the risks and benefits of opioid compared with alternate treatments.

       415.     APF distributed 17,200 copies of Treatment Options in 2007 alone. It is currently

available online and was intended to reach Lamar County and Vernon prescribers and pharmacists.

                    iii.   Key Opinion Leaders and Misleading Science

       416.     Cephalon also knew that its misleading messages would be more likely to be

believed by prescribers if they were corroborated by seemingly neutral scientific support.

       417.     Employing these tactics, Cephalon caused the term “breakthrough pain”—a term it

seeded in the medical literature—to be used in articles published by practitioners and clinicians it

supported. With funding from Cephalon, for example, Dr. Portenoy wrote an article that purported

to expand the definition of breakthrough cancer pain to non-cancer indications, vastly expanding



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the marketing potential of Cephalon’s Fentora. The article was published in the nationally

circulated Journal of Pain in 2006 and helped drive a surge in Fentora prescriptions.

         418.         The concept of “breakthrough pain” ultimately formed the sole basis for the central

theme of promotional messages Cephalon cited to support the approval and marketing of Actiq and

Fentora, rapid-acting opioids which begin to work very quickly but last only briefly. Neither of

these drugs had a natural place in the treatment of chronic pain before Cephalon’s marketing

campaign changed medical practice. A recent literature survey of articles describing non-cancer

breakthrough pain calls into question the validity of the concept, suggesting it is not a distinct pain

condition but a hypothesis to justify greater dosing of opioids. In other words, Cephalon conjured

the science of breakthrough pain in order to sell its drugs.

         419.         As one scholar has pointed out, references to breakthrough pain in articles published

on the MEDLINE bibliographic database spiked in 1998 and again in 2006. 135 These spikes

coincide with FDA’s approval of Actiq and Fentora.

                iv.      Misleading Continuing Medical Education

         420.         Cephalon developed sophisticated plans for the deployment of its KOLs, broken

down by sub-type and specialty, to reach targeted groups of prescribers through CMEs. Cephalon

used the CME programs it sponsored to deceptively portray the risks related to the use of opioids to

treat chronic non-cancer pain and promote the off-label use of Actiq and Fentora.

         421.         In 2007 and 2008, Cephalon sponsored three CMEs that each positioned Actiq and

Fentora as the only “rapid onset opioids” that would provide effective analgesia within the time

period during which “breakthrough pain” was at its peak intensity. Although the CMEs used only




135
   Adriane Fugh-Berman, Marketing Messages in Industry-Funded CME, PharmedOut , Georgetown U. Med. Ctr. (June 25, 2010),
available at pharmedout.galacticrealms.com/Fugh BermanPrescriptionforConflict6-25-10.pdf. (accessed date)

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the generic names of the drugs, the description of the active ingredient and means of administration

means that a physician attending the CME knew it referred only to Actiq or Fentora.

       422. The CMEs each taught attendees that there was no sound basis for the distinction

between cancer and non-cancer “breakthrough pain,” and one instructed patients that Actiq and

Fentora were commonly used in non-cancer patients, thus effectively endorsing this use.

Optimizing Opioid Treatment for Breakthrough Pain, offered online by Medscape, LLC from

September 28, 2007, through December 15, 2008, was prepared by KOL Dr. Webster and M. Beth

Dove. It recommends prescribing a “short-acting opioid” (e.g., morphine, hydromorphone,

oxycodone) “when pain can be anticipated,” or a rapid-onset opioid when it cannot. The only

examples of rapid-onset opioids then on the market were oral transmucosal fentanyl citrate (i.e.,

Actiq) or fentanyl effervescent buccal tablet (i.e., Fentora): “Both are indicated for treatment of

[breakthrough pain] in opioid-tolerant cancer patients and are frequently prescribed to treat

[breakthrough pain] in noncancer patients as well.”

       423.     Optimizing Opioid Treatment for Breakthrough Pain not only deceptively

promoted Cephalon’s drugs for off-label use, but also misleadingly portrayed the risks, benefits,

and superiority of opioids for the treatment of chronic pain. For example, the CME misrepresented

that Actiq and Fentora would help patients regain functionality by advising that they improve

patients’ quality of life and allow for more activities when taken in conjunction with long-acting

opioids. The CME also minimized the risks associated with increased opioid doses by explaining

that NSAIDs were less effective than opioids for the treatment of breakthrough pain because of

their dose limitations, without disclosing the heightened risk of adverse events on high-dose

opioids.




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        424.    Around the same time, Dr. Webster was receiving nearly $2 million in funding from

Cephalon.

        425.    Optimizing Opioid Treatment for Breakthrough Pain was available online and was

intended to reach county prescribers.

        426.    Cephalon similarly used an educational grant to sponsor the CME Breakthrough

Pain: Improving Recognition and Management, which was offered online between March 31,

2008, and March 31, 2009, by Medscape, LLC. The direct result of Cephalon’s funding was a

purportedly educational document that echoed Cephalon’s marketing messages. The CME

deceptively omitted Actiq’s and Fentora’s tolerance limitations, cited examples of patients who

experienced pain from accidents, not from cancer, and, like Cephalon’s Optimizing Opioid

Treatment CME, taught that Actiq and Fentora were the only products on the market that would

take effect before the breakthrough pain episode subsided. This CME was available online and was

intended to reach Lamar County and Vernon prescribers.

        427.    Lastly, KOL Dr. Fine authored a CME, sponsored by Cephalon, titled Opioid-Based

Management of Persistent and Breakthrough Pain, with KOLs Dr. Christine A. Miaskowski and

Michael J. Brennan, M.D. Cephalon paid to have this CME published in a supplement of Pain

Medicine News in 2009.136 It instructed prescribers that “clinically, broad classification of pain

syndromes as either cancer- or noncancer-related has limited utility,” and recommended dispensing

“rapid onset opioids” for “episodes that occur spontaneously” or unpredictably, including “oral

transmucosal fentanyl,” i.e., Actiq, and “fentanyl buccal tablet,” i.e., Fentora, including in patients

with chronic non-cancer pain. Dr. Miaskowski disclosed in 2009, in connection with the




136
   https://www.yumpu.com/en/document/view/11409251/opioid-based-management-of-persistent-and-breakthrough-
pain.

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APS/AAPM Opioid Treatment Guidelines, that she served on Cephalon’s speakers bureau.137 Dr.

Fine also received funding from Cephalon for consulting services.

        428.     Opioid-Based Management of Persistent and Breakthrough Pain was available to

and was intended to reach Lamar County and Vernon prescribers.

        429.     Cephalon’s control over the content of these CMEs is apparent based on its advance

knowledge of their content. A December 2005 Cephalon launch plan set forth key “supporting

messages” to position Fentora for its product launch. Among them was the proposition that “15-

minute onset of action addresses the unpredictable urgency of [breakthrough pain].” Years later,

the same marketing messages reappeared in the Cephalon-sponsored CMEs described above.

Echoing the Cephalon launch plan, Optimizing Opioid Treatment for Breakthrough Pain stated that

“[t]he unpredictability of [breakthrough pain] will strongly influence the choice of treatment” and

that Fentora “delivers an onset of analgesia that is similar to [Actiq] at ≤ 15 minutes.” Similarly,

Opioid-Based Management of Persistent and Breakthrough Pain defined “breakthrough pain” as

“unpredictable,” over a table describing both cancer and non-cancer “breakthrough pain.”

        430.     Cephalon tracked the effectiveness of its deceptive marketing through third parties,

demonstrating that Cephalon not only planned for, but depended upon, their activities as a key

element of its marketing strategy. These programs were available to prescribers in Lamar County

and Vernon and, based on the uniform and nationwide character of Cephalon’s marketing featured

the same deceptive messages described above.




 137
   14 of 21 panel members who drafted the AAPM/APS Guidelines received support from Janssen, Cephalon, Endo, and
 Purdue.

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                c. Cephalon’s Deceptive Third-Party Statements to Lamar County and Vernon
                   Prescribers and Patients

        431.    Cephalon used various measures to disseminate its deceptive statements regarding

the risks of off-label use of Actiq and Fentora and the risks, benefits, and superiority of opioids to

the Lamar County and Vernon patients and prescribers.

        432.    Cephalon’s speakers regularly held talks for county prescribers. These talks

followed the same deceptive talking points covered in Cephalon’s speakers’ training.

        433.    Cephalon also targeted Lamar County and Vernon prescribers through the use of its

sales force.

        434.    Given that Cephalon’s own studies demonstrated that the overwhelming majority of

oncologists diagnose and treat breakthrough cancer pain themselves, Cephalon knew the only

purpose of representatives meeting with these prescribers was to promote off-label use. Based on

the uniform and nationwide character of Cephalon’s marketing, Cephalon’s deceptive messages

would have been disseminated to county prescribers by Cephalon’s sales representatives during

these events.

        435.    Sales representatives, and the misrepresentations on which they were trained, drove

significant Fentora sales.

        3. Endo

        436.    Endo promoted its opioids through the full array of marketing channels. The

company deployed its sales representatives, paid physician speakers, journal supplements, and

advertising in support of its branded opioids, principally Opana and Opana ER. Misleading claims

about the purportedly lower abuse potential of Opana ER featured prominently in this campaign.

Endo also made many other deceptive statements and omissions. These included deceptive




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messages about functional improvement, addiction risk, “pseudoaddiction,” addiction screening

tools, and the safety of alternatives to opioids.

        437.    At the same time, Endo also relied on third-party partners to promote the safety,

efficacy, and superiority of opioids generally, through a combination of CMEs, websites, patient

education pamphlets, and other publications. These materials echoed the misrepresentations

described above, and also made deceptive statements about withdrawal symptoms and the safety of

opioids at higher doses.

        438.    Through the highly coordinated and uniform nature of Endo’s marketing, Endo

conveyed these deceptive messages to county prescribers. The materials that Endo generated in

collaboration with third-parties also upon information and belief were distributed or made available

in Lamar County and Vernon. Upon information and belief, Endo distributed these messages, or

facilitated their distribution, in Lamar County and Vernon with the intent that county prescribers

and/or consumers would rely on them in choosing to use opioids to treat chronic pain.

                a. Endo’s Deceptive Direct Marketing

        439.    Like the other Defendants, Endo used deceptive direct marketing to increase the

sales of its dangerous opioids. As set forth below, Endo conveyed these deceptive messages in

training of its sales force and recruited speakers, who in turn conveyed them to physicians; in a

misleading journal supplement; and in unbranded advertising.

                      i.    Endo’s Sales Force and Deceptive Sales Training

        440.    Endo’s promotion of Opana ER relied heavily on in-person marketing, including to

Lamar County and Vernon prescribers. Endo had an aggressive detailing program. In the first

quarter of 2010 alone, sales representatives made nearly 72,000 visits to prescribers nationwide to




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detail Opana ER. Between 2007 and 2013, Endo spent between $3 million and $10 million each

quarter to promote opioids through its sales force.

       441.    Endo’s sales representatives, like those of the other Defendants, targeted physicians

to deliver sales messages that were developed centrally and deployed uniformly across the country.

These sales representatives were critical in transmitting Endo’s marketing strategies and talking

points to individual prescribers.

       442.    Endo specifically directed its sales force to target physicians who would prescribe

its drugs to treat chronic pain. For example, an Opana Brand Tactical Plan dated August, 2007

aimed to increase “Opana ER business from [the Primary Care Physician] community” more than

45% by the end of that year. Indeed, Endo sought to develop strategies that would be most

persuasive to primary care doctors—strategies that sought to influence the prescribing behavior of

primary care physicians through the use of subject matter experts. A February 2011 Final Report

on Opana ER Growth Trends, for example, predicted that Endo’s planned “[u]se of Pain Specialists

as local thought leaders should affect increased primary care adoption.”

       443.    Endo trained its sales force to make a number of misrepresentations to physicians

nationwide, including to physicians in Lamar County and Vernon. Endo’s sales representatives

were trained to represent to these prescribers that Opana ER would help patients regain function

they had lost to chronic pain; that Endo opioids had a lower potential for abuse because they were

“designed to be crush resistant,” despite the fact that “clinical significance of INTAC Technology

or its impact on abuse/misuse ha[d] not been established for Opana ER;” and that drug seeking

behavior was a sign of undertreated pain rather than addiction.

       444.    Endo knew that its marketing reached physicians repeatedly because it tracked their

exposure. Internal Endo documents dated August 23, 2006 demonstrate that the following



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percentages of physicians would view an Endo journal insert (or paid supplement) at least 3 times

in an 8 month period: 86% of neurologists; 86% of rheumatologists; 85% of oncologists; 85% of

anesthesiologists; 70% of targeted primary care physicians; and 76% of OB/GYNs.

       445.    Endo was not only able to reach physicians through its marketing, but also

successfully impart its marketing messages. The company found that its promotional materials

tripled prescribers’ ability to recall the sales message and doubled their willingness to prescribe

Opana ER in the future. This was true of marketing that contained deceptions.

       446.    For example, according to internal Endo documents, up to 10% of physicians it

detailed were able to recall, without assistance, the message that Opana ER had “Minimal/less

abuse/misuse” potential than other drugs. The Endo message that prescribers retained was a plain

misrepresentation: that use of Opana ER was unlikely to lead to abuse and addiction. Although

Opana ER always has been classified under Schedule II as a drug with a “high potential for

abuse”, the largest single perceived advantage of Opana ER, according to a survey of 187

physicians who reported familiarity with the drug, was “perceived low abuse potential,” cited by

15% of doctors as an advantage. U p on information and belief, low abuse potential was among

the deceptive messages that Lamar County and Vernon prescribers received, and retained, from

Endo sales representatives.

       447.    Endo’s own internal documents acknowledged the misleading nature of these

statements, conceding that “Opana ER has an abuse liability similar to other opioid analgesics as

stated in the [FDA-mandated] box warning.” A September 2012 Opana ER Business Plan

similarly stated that Endo needed a significant investment in clinical data to support comparative

effectiveness, scientific exchange, benefits and unmet need, while citing lack of “head-to-head

data” as a barrier to greater share acquisition.


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       448.    Nevertheless, Endo knew that its marketing was extremely effective in turning

physicians into prescribers. Nationally, the physicians Endo targeted for in-person marketing

represented approximately 84% of all prescribers of Opana ER in the first quarter of 2010. Endo

also observed that the prescribers its sales representatives visited wrote nearly three times as many

prescriptions per month for Opana ER as those physicians who were not targeted for Endo’s

marketing—7.4 prescriptions per month versus 2.5. The most heavily targeted prescribers wrote

nearly 30 prescriptions per month. Internal Endo documents from May 2008 indicate that Endo

expected that each of its sales representatives would generate 19.6 prescriptions per week by the

end of 2008. As summarized by a February 2011 report on Opana ER growth trends, Endo’s

“[a]ggressive detailing [is] having an impact.”

       449.    More broadly, Endo’s sales trainings and marketing plans demonstrate that its sales

force was trained to provide prescribers with misleading information regarding the risks of opioids

when used to treat chronic pain. Foremost among these messages were misleading claims that the

risks of addiction, diversion, and abuse associated with opioids—and Endo’s products in

particular—were low, and lower than other opioids.

               a) Endo’s Sales Force Deceptively Minimized the Risks of Addiction Associated
                  with Chronic Opioid Therapy.

       450.    By way of illustration, Endo’s Opana ER INTAC Technology Extended-Release

Sell Sheet Implementation Guide, which instructs Endo sales personnel how to effectively “support

key messages” related to the marketing of Opana ER, states that it is an “approved message” for

sales representatives to stress that Opana ER was “designed to be crush resistant,” even though this

internal document conceded that “the clinical significance of INTAC Technology or its impact on

abuse/misuse has not been established for Opana ER.”



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       451.    Other Endo documents acknowledged the limitations on Opana ER’s INTAC

technology, conceding that while Opana ER may be resistant to pulverization, it can still be

“ground” and “cut into small pieces” by those looking to abuse the drug.

       452.    Endo’s claims about the crush-resistant design of Opana ER also made their way to

the company’s press releases. A January 2013 article in Pain Medicine News, based in part on an

Endo press release, described Opana ER as “crush-resistant.” This article was posted on the Pain

Medicine News website, which was accessible to Lamar County and Vernon patients and

prescribers.

       453.    The only reason to promote the crush resistance of Opana ER was to persuade

doctors that there was less risk of abuse, misuse, and diversion of the drug. The idea that Opana

ER was less addictive than other drugs was the precise message that county prescribers took from

Endo’s marketing.

       454.    On May 10, 2013 the FDA warned Endo that there was no evidence that Opana

ER’s design “would provide a reduction in oral, intranasal, or intravenous abuse” and that the

post-marketing data Endo had submitted to the FDA “are insufficient to support any conclusion

about the overall or route-specific rates of abuse.” Even though it was rebuked by the FDA, Endo

continued to market Opana ER as having been designed to be crush resistant, knowing that this

would (falsely) imply that Opana actually was crush resistant and that this crush-resistant quality

would make Opana ER less likely to be abused.

       455. Endo’s sales training and the promotional materials distributed by its sales

representatives also minimized the risk of addiction. Endo also circulated education materials that

minimized the risk of addiction. For example, Endo circulated an education pamphlet with the

Endo logo titled “Living with Someone with Chronic Pain,” which implied, to persons providing


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care to chronic pain patients, that addiction was not a substantial concern by stating that “[m]ost

health care providers who treat people with pain agree that most people do not develop an

addiction problem.” This pamphlet was downloadable from Endo’s website and accessible to

Lamar County’s and Vernon prescribers.

       456.    Endo’s sales training also misrepresented the risks of addiction associated with

Endo’s products by implying that Opana’s prolonged absorption would make it less likely to lead

to abuse. For example, a presentation titled “Deliver the Difference for the Opana Brand in POA

II” sets out that one of the “[k]ey [m]essages” for the Endo sales force was that Opana ER

provides “[s]table, steady-state plasma levels for true 12-hour dosing that lasts.” Endo’s sales

representatives used this messaging to imply to county prescribers that Opana ER provided

“steady state” pain relief, making Opana less likely to incite euphoria in patients and less likely to

lead to addiction.

       457.    Endo further instructed its sales force to promote the misleading concept of

“pseudoaddiction,”—i.e., that drug-seeking behavior was not cause for alarm, but merely a

manifestation of undertreated pain. In a sales training document titled “Understanding the Primary

Care MD and their use of Opioids,” Endo noted that the “biggest concerns” among primary care

physicians were “prescription drug abuse (84.2%), addiction (74.9%), adverse effects (68%),

tolerance (60.7%), and medication interaction (32%).” In response to these concerns, Endo

instructed its sales representatives to ask whether their customers were “confus[ing] ‘pseudo-

addiction’ with ‘drug-seekers’” and how confident they were that their health care providers “know

these differences (Tolerance, Dependence, Addiction, Pseudo- Addiction . . .).”




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               b) Endo’s Sales Force Deceptively Implied that Chronic Opioid Therapy Would
                  Improve Patients’ Ability to Function.

       458.    In addition to their deceptive messages regarding addiction, Endo’s promotional

materials and sales trainings also misleadingly claimed that patients using opioids for the long-

term treatment of chronic pain would experience improvements in their daily function. In reality,

long-term opioid use has not been shown to, and does not, improve patients’ function, and, in fact,

is often accompanied by serious side effects that degrade function. Endo’s own internal documents

acknowledged that claims about improved quality of life were unsubstantiated “off label claims.”

       459.    Nevertheless, Endo distributed product advertisements that suggested that using

Opana ER to treat chronic pain would allow patients to perform demanding tasks like work as a

chef. One such advertisement states prominently on the front: “Janice is a 46-year-old chef with

chronic low back pain. She needs a treatment option with true 12-hour dosing.” The advertisement

does not mention the “moderate to severe pain” qualification in Opana ER’s indication, except in

the fine print. These advertisements were mailed to prescribers and distributed by Endo’s sales

force in detailing visits, which would have included Endo representatives’ visits to prescribers.

       460.    In a 2007 Sales Tool that was intended to be shown by Endo sales personnel to

physicians during their detailing visits, Endo highlighted a hypothetical patient named “Bill,” a

40-year-old construction worker who was reported to suffer from chronic low back pain.

According to the Sales Tool, Opana ER will make it more likely that Bill can return to work and

support his family.

       461.    Similarly, training materials for sales representatives from March 2009 ask whether

it is true or false that “[t]he side effects of opioids prevent a person from functioning and can

cause more suffering than the pain itself.” The materials indicate that this is “[f]alse” because

“[t]he overall effect of treatment with opioids is very favorable in most cases.”

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       462.   A sales training video dated March 8, 2012 that Endo produced and used to train its

sales force makes the same types of claims. A patient named Jeffery explains in the video that he

suffers from chronic pain and that “chronic pain [ . . .] reduces your functional level.” Jeffery

claims that after taking Opana ER, he “can go out and do things” like attend his son’s basketball

game and “[t]here’s no substitute for that.” This video was shown to Endo’s sales force, which

adopted its misleading messaging in its nationwide sales approach, including upon information

and belief the approach it used in Lamar County and Vernon.

       463.   Claims of improved functionality were central to Endo’s marketing efforts for years.

A 2012 Endo Business Plan lists ways to position Opana ER, and among them is the claim that

Opana ER will help patients “[m]aintain[] normal functionality, sleep, [and] work/life/performance

productivity” and have a positive “[e]ffect on social relationships.” Indeed, that business plan

describes the “Opana ER Vision” as “[t]o make the Opana franchise (Opana ER, Opana, Opana

Injection) the choice that maximizes improvement in functionality and freedom from the burden of

moderate-to-severe pain.”




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               c) Endo’s Sales Force Deceptively presented the Risks and Benefits of Opioids to
                  Make Them Appear Safer Than Other Analgesics

       464.    Endo further misled patients and prescribers by downplaying the risks of opioids in

comparison to other pain relievers. For example, upon information and belief in Lamar County and

Vernon and elsewhere, Endo distributed a presentation titled Case Challenges in Pain

Management: Opioid Therapy for Chronic Pain. This study held out as a representative example

one patient who had taken NSAIDs for more than eight years and, as a result, developed “a

massive upper gastrointestinal bleed.” The presentation recommended treating this patient with

opioids instead. By focusing on the adverse side effects of NSAIDs, while omitting discussion of

serious side effects associated with opioids, this presentation misleadingly portrayed the

comparative risks and benefits of these drugs.

       465.    Endo distributed Case Challenges in Pain Management: Opioid Therapy for

Chronic Pain to 116,000 prescribers in 2007, including primary care physicians.

                     ii.   Endo’s Speakers Bureau Programs Deceptively Minimized the Risks of
                           Addiction Associated with Chronic Opioid Therapy

       466.    In addition to its sales representatives’ visits to doctors, Endo also used deceptive

science and speaker programs to spread its deceptive messages.

       467.    Endo leaned heavily on its speakers’ bureau programs. In 2008 alone, Endo spent

nearly $4 million to promote up to 1,000 speakers programs around the country. Endo contracted

with a medical communications firm to operate its speakers bureau program, planning to hold a

total of 500 “fee-for-service . . . peer-to-peer promotional programs” for Opana ER in just the

second half of 2011, including dinners, lunches and breakfasts. These programs were attended by

sales representatives, revealing their true purpose as marketing, rather than educational, events.




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        468.   Endo’s internal reporting stated that the “return on investment” turned positive 8-

12 weeks after such programs. Endo measured that return on investment in numbers of

prescriptions written by physicians who attended the events. One internal Endo document

concluded: “[w]e looked at the data for [the] 2011 program and the results were absolutely clear:

physicians who came into our speaker programs wrote more prescriptions for Opana ER after

attending than they had before they participated. You can’t argue with results like that.”

        469.   These speakers’ bureau presentations included the very same misrepresentations

Endo disseminated through its sales representatives. A 2012 speaker slide deck for Opana ER—

on which Endo’s recruited speakers were trained and to which they were required to adhere to in

their presentations—misrepresented that the drug had low abuse potential, in addition to

suggesting that as many as one-quarter of the adult population could be candidates for opioid

therapy.

        470.   In addition, a 2013 training module directed speakers to instruct prescribers that

“OPANA ER with INTAC is the only oxymorphone designed to be crush resistant” and advised

that “[t]he only way for your patients to receive oxymorphone ER in a formulation designed to be

crush resistant is to prescribe OPANA ER with INTAC.” This was a key point in distinguishing

Opana ER from competitor drugs. Although Endo mentioned that generic versions of

oxymorphone were available, it instructed speakers to stress that “[t]he generics are not designed

to be crush resistant.” This was particularly deceptive given that Opana ER was not actually crush-

resistant.

        471.   In 2009, Endo wrote a talk titled The Role of Opana ER in the Management of

Chronic Pain. The talk included a slide titled “Use of Opioids is Recommended for Moderate to

Severe Chronic Noncancer Pain,” which cited the AAPM/APS Guidelines—and their


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accompanying misstatements regarding the likelihood of addiction (by claiming that addiction

risks were manageable regardless of patients’ past abuse histories) while omitting their disclaimer

regarding the lack of supporting evidence in favor of that position. This dangerously

misrepresented to doctors the force and utility of the 2009 Guidelines.

       472.    The misleading messages and materials Endo provided to its sales force and its

speakers were part of a broader strategy to convince prescribers to use opioids to treat their

patients’ pain, irrespective of the risks, benefits, and alternatives. This deception was national in

scope and included Lamar County and Vernon. Endo’s nationwide messages would have reached

county prescribers in a number of ways. For example, they were carried into Lamar County and

Vernon by Endo’s sales representatives during detailing visits as well as made available to county

patients and prescribers through websites and ads. They also have been delivered to county

prescribers by Endo’s paid speakers, who were required by Endo policy and by FDA regulations to

stay true to Endo’s nationwide messaging.

                    iii.   Endo’s Misleading Journal Supplement

       473.    In 2007, Endo commissioned the writing, and paid for the publishing of a

supplement available for CME credit in the Journal of Family Practice called Pain Management

Dilemmas in Primary Care: Use of Opioids, and it deceptively minimized the risk of addiction by

emphasizing the effectiveness of screening tools. Specifically, it recommended screening patients

using tools like the Opioid Risk Tool or the Screener and Opioid Assessment for Patients with

Pain. It also falsely claimed that, through the use of tools like toxicology screens, pill counts, and

a “maximally structured approach,” even patients at high risk of addiction could safely receive

chronic opioid therapy. Endo distributed 96,000 copies of this CME nationwide, and it was

available to, and was intended to, reach Lamar County’s and Vernon prescribers.


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                   iv.    Endo’s Deceptive Unbranded Advertising

       474.    Endo also used unbranded advertisements to advance its goals. By electing to focus

on unbranded marketing, Endo was able to make claims about the benefits of its opioids that the

FDA would never allow in its branded materials. The chart below compares an Endo unbranded

statement with one of Endo’s FDA-regulated, branded statements:


              Living with Someone                             Opana ER Advertisement
                with Chronic Pain                             (2011/2012/2013) (Branded)
               (2009)(Unbranded)


   Patient education material created by Endo                     Endo advertisement

                                                      “[C]ontains oxymorphone, an opioid
                                                      agonist and Schedule II controlled
  “Most health care providers who treat               substance with an abuse liability similar to
  people with pain agree that most people do          other opioid agonists, legal or illicit.”
  not develop an addiction problem.”
                                                      “All patients treated with opioids require
                                                      careful monitoring for signs of abuse and
                                                      addiction, since use of opioid analgesic
                                                      products carries the risk of addiction
                                                      even under appropriate medical use.”


               b. Endo’s Deceptive Third-Party Statements

       475.    Endo’s Efforts were not limited to directly making misrepresentations through its

marketing materials, its speakers, and its sales force. Endo believed that support for patient

advocacy and professional organizations would reinforce Endo’s position as “the pain

management company.”

       476.    Prior to, but in contemplation of, the 2006 launch of Opana ER, Endo developed a

“Public Stakeholder Strategy.” Endo identified “tier one” advocates to assist in promoting the

approval and acceptance of its new extended release opioid. Endo also intended to enlist the



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support of organizations that would be “favorable” to schedule II opioids from a sales perspective

and that engaged in, or had the potential to advocate for, public policy. Endo sought to develop its

relationships with these organizations through its funding. In 2008, Endo spent $1 million per year

to attend conventions of these pro-opioid medical societies, including meetings of AAPM, APS,

and the American Society of Pain Management Nursing (“ASPMN”).

       477.    APF’s ability to influence professional societies and other third parties is

demonstrated by its approach to responding to a citizens’ petition filed with the FDA by the

Physicians for Responsible Opioid Prescribing (the “PROP Petition”). The PROP petition, filed by

a group of prescribers who had become concerned with the rampant prescribing of opioids to treat

chronic pain, asked the FDA to require dose and duration limitations on opioid use and to change

the wording of the approved indication of various long-acting opioids to focus on the severity of

the pain they are intended to treat.

       478.       The PROP Petition set off a flurry of activity at Endo. It was understood that

 Endo would respond to the petition but Endo personnel wondered “[s]hould we [ . . . ] consider

 filing a direct response to this [citizens’ petition] or do you think we are better served by working

 through our professional society affiliations?” One Endo employee responded: “My sense is the

 societies are better placed to make a medical case than Endo.” Endo’s Director of Medical

 Science agreed that “a reply from an external source would be most impactful.” These

 communications reflected Endo’s absolute confidence that the professional societies would

 support its position.

                         i.   APF

       479.    One of the societies with which Endo worked most closely was APF. Endo

provided substantial assistance to, and exercised editorial control, over the deceptive and


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misleading messages that APF conveyed through its National Initiative on Pain Control (“NIPC”).

Endo was one of APF’s biggest financial supporters, providing more than half of the $10 million

APF received from opioid manufacturers during its lifespan. Endo spent $1.1 million on the NIPC

program in 2008 alone, funding earmarked in part, for the creation of CME materials that were

intended to be used repeatedly.

       480.   Endo’s influence over APF’s activities was so pervasive that APF President Will

Rowe reached out to Defendants—including Endo—rather than his own staff, to identify potential

authors to answer a 2011 article critical of opioids that had been published in the Archives of

Internal Medicine. Personnel from Defendants Purdue, Endo, Janssen, and Cephalon worked with

Rowe to formulate APF’s response which was ultimately published.

       481.   Documents also indicate that Endo personnel were given advance notice of the

materials APF planned to publish on its website and provided an opportunity to comment on the

content of those materials before they were published. For example, in early July of 2009, APF’s

Director of Strategic Development wrote to Endo personnel to give them advance notice of

content that APF planned to be “putting . . . up on the website but it’s not up yet.” The Endo

employee assured the sender that she “w[ould] not forward it to anyone at all” and promised that

she would “’double delete it’ from [her] inbox.” In response, APF’s Director of Strategic

Development replied internally with only four words: “And where’s the money?”

       482.   At no time was Endo’s relationship with APF closer than during its sponsorship of

the NIPC. Before being taken over by APF, the NIPC was sponsored by Professional Postgraduate

Services which the Accreditation Council for Continuing Medical Education determined to be a

“commercial interest” and could no longer serve as a sponsor. In response, Endo reached out to

APF. An August 2009 document titled “A Proposal for the American Pain Foundation to Assume


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Sponsorship of the National Initiative on Pain Control,” pointed out that “[f]or the past 9 years,

the NIPC has been supported by unrestricted annual grants from Endo Pharmaceuticals, Inc.”

According to this document, APF’s sponsorship of the NIPC “[o]ffers the APF a likely

opportunity to generate new revenue, as Endo has earmarked substantial funding: $1.2 million in

net revenue for 2010 to continue the NIPC.” Further, sponsorship of the APF would “[p]rovide[]

numerous synergies to disseminate patient education materials,” including “[h]andouts to

attendees at all live events to encourage physicians to drive their patients to a trusted source for

pain education—the APF website.”

         483.   A September 14, 2009 presentation to APF’s board contained a materially similar

discussion of NIPC sponsorship, emphasizing the financial benefit to APF from assuming the role

of administering NIPC. The proposal “offer[ed] a solution to continue the development and

implementation of the NIPC initiative as non-certified . . . yet independent education to physicians

and healthcare professionals in the primary care setting, while providing the APF with a

dependable, ongoing source of grant revenue.” A number of benefits related to NIPC sponsorship

were listed, but chief among them was “a likely opportunity [for APF] to generate new revenue, as

Endo has earmarked substantial funding: $1.2 million in net revenue for 2010 to continue the

NIPC.”

         484.   Internal Endo scheduling documents indicate that “NIPC module curriculum

development, web posting, and live regional interactive workshops” were Endo promotional tasks

in 2010. Endo emails indicate that Endo personnel reviewed the content created by NIPC and

provided feedback.

         485.   Behind the scenes, Endo exercised substantial control over NIPC’s work. Endo

exerted its control over NIPC by funding NIPC and APF projects; developing, specifying, and


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reviewing content; and taking a substantial role in the distribution of NIPC and APF materials,

which in effect determined which messages were actually delivered to prescribers and consumers.

As described below, Endo projected that it would be able to reach tens of thousands of prescribers

nationwide through the distribution of NIPC materials.

       486.    From 2007 until at least 2011, Endo also meticulously tracked the distribution of

NIPC materials, demonstrating Endo’s commercial interest in, and access to, NIPC’s reach. Endo

knew exactly how many participants viewed NIPC webinars and workshops and visited its

website, Painknowledge.com. Endo not only knew how many people viewed NIPC’s content, but

what their backgrounds were (e.g., primary care physicians or neurologists). Endo’s access to and

detailed understanding of the composition of the audience at these events demonstrates how

deeply Endo was involved in NIPC’s activities. Moreover, Endo tracked the activities of NIPC—

ostensibly a third party—just as it tracked its own commercial activity.

       487.    Endo worked diligently to ensure that the NIPC materials it helped to develop

would have the broadest possible distribution. Endo’s 2008 to 2012 Opana Brand Tactical Plan

indicates that it sought to reach 1,000 prescribers in 2008 through live NIPC events, and also to

“[l]everage live programs via enduring materials and web posting.” Endo also planned to

disseminate NIPC’s work by distributing two accredited newsletters to 60,000 doctors nationwide

for continuing education credit and by sponsoring a series of 18 NIPC regional case-based

interactive workshops. Endo had earmarked more than one million dollars for NIPC activities in

2008 alone.

       488.    In short, NIPC was a key piece of Endo’s marketing strategy. Indeed, internal APF

emails question whether it was worthwhile for APF to continue operating NIPC given that NIPC’s

work was producing far more financial benefits for Endo than for APF. Specifically, after Endo


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approved a $244,337.40 grant request to APF to fund a series of NIPC eNewsletters, APF

personnel viewed it as “[g]reat news,” but cautioned that “the more I think about this whole thing,

[Endo’s] making a lot of money on this with still pretty slender margins on [APF’s] end.” APF’s

commitment to NIPC’s “educational” mission did not figure at all in APF’s consideration of the

value of its work, and Endo’s motive and benefit were never in doubt.

              a) Misleading Medical Education

       489.   NIPC distributed a series of eNewsletter CMEs focused on “key topic[s]

surrounding the use of opioid therapy” sponsored by Endo. These newsletters were edited by KOL

Dr. Fine and listed several industry-backed KOLs, including Dr. Webster, as individual authors.

Endo estimated that roughly 60,000 prescribers viewed each one. These CMEs were available to,

and would have been accessed by, Lamar County and Vernon prescribers. Before-and-after

surveys, summarized in the chart below, showed that prescriber comfort with prescribing opioids

ranged from 27% to 62% before exposure to the CME, and from 76% to 92% afterwards:




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       490.    Endo documents made it clear that the persuasive power of NIPC speakers was

directly proportional to their perceived objectivity. Accordingly, Endo personnel directed that,

when giving Endo-sponsored talks, NIPC faculty would not appear to be “Endo Speakers.”

Nevertheless, the two parties understood that Endo and NIPC shared a common “mission to

educate physicians” and working “through the APF . . . [wa]s a great way to work out . . .problems

that could have been there without the APF’s participation and support.”

       491.    The materials made available on and through NIPC included misrepresentations.

For example, Endo worked with NIPC to sponsor a series of CMEs titled Persistent Pain in the

Older Patient and Persistent Pain in the Older Adult. These CMEs misrepresented the prevalence

of addiction by stating that opioids have “possibly less potential for abuse” in elderly patients than

in younger patients, even though there is no evidence to support such an assertion. Moreover,

whereas withdrawal symptoms are always a factor in discontinuing long-term opioid therapy,

Persistent Pain in the Older Adult also misleadingly indicated that such symptoms can be avoided

entirely by tapering the patient’s does by 10-20% per day for ten days. Persistent Pain in the Older

Patient, for its part, made misleading claims that opioid therapy has been “shown to reduce pain

and improve depressive symptoms and cognitive functioning.” NIPC webcast these CMEs from its

own website, where they were available to, and were intended to reach, Lamar County and Vernon

prescribers.

               b) Pain Knowledge

       492.    Working with NIPC enabled Endo to make a number of misleading statements

through the NIPC’s website, Painknowledge.com. Endo tracked visitors to PainKnowledge.com

and used Painknowledge.com to broadcast notifications about additional NIPC programming that

Endo helped to create.


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       493.    APF made a grant request to Endo to create an online opioid “tool-kit” for NIPC

and to promote NIPC’s website, Painknowledge.com. In so doing, APF made clear that it planned

to disseminate Defendants’ misleading messaging. The grant request expressly indicated APF’s

intent to make misleading claims about functionality, noting: “Some of these people [in chronic

pain] may be potential candidates for opioid analgesics, which can improve pain, function, and

quality of life.” Endo provided $747,517 to fund the project.

       494.    True to APF’s word, Painknowledge.com misrepresented that opioid therapy for

chronic pain would lead to improvements in patients’ ability to function. Specifically, in 2009 the

website instructed patients and prescribers that, with opioids, a patient’s “level of function should

improve” and that patients “may find [they] are now able to participate in activities of daily living,

such as work and hobbies, that [they] were not able to enjoy when [their] pain was worse.”

       495.    Painknowledge.com also deceptively minimized the risk of addiction by claiming

that “[p]eople who take opioids as prescribed usually do not become addicted.”

Painknowledge.com did not stop there. It deceptively portrayed opioids as safe at high doses and

also misleadingly omitted serious risks, including the risks of addiction and death, from its

description of the risks associated with the use of opioids to treat chronic pain.

       496.    Endo was the sole funder of Painknowledge.com, and it continued to provide that

funding despite being aware of the website’s misleading contents.

               c) Exit Wounds

       497.    Finally, Endo also sponsored APF’s publication and distribution of Exit Wounds, a

publication aimed at veterans that also contained a number of misleading statements about the

risks, benefits, and superiority of opioids to treat chronic pain. Exit Wounds was drafted by Derek

Mcginnis.” Medical Writer X was frequently hired by a consulting Firm, Conrad & Associates


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LLC, to write pro-opioid marketing pieces disguised as science. Medical Writer X’s work was

reviewed and approved by drug company representatives, and he felt compelled to draft pieces

that he admits distorted the risks and benefits of chronic opioid therapy in order to meet the

demands of his drug company sponsors.

       498.    Exit Wounds is a textbook example of Medical Writer X’s authorship on drug

companies’ behalf. The book misrepresented the functional benefits of opioids by stating that

opioid medications “increase your level of functioning” (emphasis in original).

       499.    Exit Wounds also misrepresented that the risk of addiction associated with the use

of opioids to treat chronic pain was low. It claimed that “[l]ong experience with opioids shows

that people who are not predisposed to addiction are very unlikely to become addicted to opioid

pain medications.”

       500.    Finally, Exit Wounds misrepresented the safety profile of using opioids to treat

chronic pain by omitting key risks associated with their use. Specifically, it omitted warnings of

the risk of interactions between opioids and benzodiazepines—a warning sufficiently important to

be included on Endo’s FDA-required labels. Exit Wounds also contained a lengthy discussion of

the dangers of using alcohol to treat chronic pain but did not disclose dangers of mixing alcohol

and opioids—a particular risk for veterans.

       501.    As outlined above, Endo exercised dominance over APF and the projects it

undertook in an effort to promote the use of opioids to treat chronic pain. In addition, as outlined

above, Medical Writer X’s work was being reviewed and approved by drug company

representatives, motivating him to draft pro-opioid propaganda masquerading as science.

Combined, these factors gave Endo considerable influence over the work of Medical Writer X and

over APF. Further, by paying to distribute Exit Wounds, Endo endorsed and approved its contents.


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                      ii.   Other Front Groups: FSMB, AAPM, and AGS

          502.   In addition to its involvement with APF, Endo worked closely with other third-

party Front Groups and KOLs to disseminate deceptive messages regarding the risks, benefits, and

superiority of opioids for the treatment of chronic pain. As with certain APF publications, Endo in

some instances used its sales force to directly distribute certain publications by these Front Groups

and KOLs, making those publications “labeling” within the meaning of 21 C.F.R.§ 1.3(a).

          503.   In 2007, Endo sponsored FSMB’s Responsible Opioid Prescribing, which in

various ways deceptively portrayed the risks, benefits, and superiority of opioids to treat chronic

pain. Responsible Opioid Prescribing was drafted by “Dr. Fishman.”

          504.   Endo spent $246,620 to help FSMB distribute Responsible Opioid Prescribing.

Endo approved this book for distribution by its sales force. Based on the uniform and nationwide

character of Endo’s marketing campaign, and the fact that Endo purchased these copies

specifically to distribute them, these copies were distributed to physicians nationwide, including

upon information and belief physicians in Lamar County and Vernon.

          505.   In December 2009, Endo also contracted with AGS to create a CME to promote the

2009 guidelines titled the Pharmacological Management of Persistent Pain in Older Persons with

a $44,850 donation. These guidelines misleadingly claimed that “the risks [of addiction] are

exceedingly low in older patients with no current or past history of substance abuse,” as the study

supporting this assertion did not analyze addiction rates by age. They also stated, falsely, that

“[a]ll patients with moderate to severe pain . . . should be considered for opioid therapy (low

quality of evidence, strong recommendation)” when in reality, opioid therapy was only an

appropriate treatment for a subset of those patients, as recognized by Endo’s FDA-mandated

labels.


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           506.       AGS’s grant request to Endo made explicit reference to the CME that Endo was

funding. Endo thus knew full well what content it was paying to distribute, and was in a position

to evaluate that content to ensure it was accurate, substantiated, and balanced before deciding

whether or not to invest in it. After having sponsored the AGS CME, Endo’s internal documents

indicate that Endo’s pharmaceutical sales representatives discussed the AGS guidelines with

doctors during individual sales visits.

           507.       Endo also worked with AAPM, which it viewed internally as “Industry Friendly,”

with Endo advisors and speakers among its active members. Endo attended AAPM conferences,

funded its CMEs, and distributed its publications.

           508.           A talk written by Endo in 2009 and approved by Endo’s Medical Affairs Review

Committee,138 titled The Role of Opana ER in the Management of Chronic Pain, includes a slide

titled Use of Opioids is Recommended for Moderate to Severe Chronic Noncancer Pain. That slide

cites the AAPM/APS Guidelines, which contain a number of misstatements and omits their

disclaimer regarding the lack of supporting evidence. This talk dangerously misrepresented to

doctors the force and utility of the 2009 Guidelines. Furthermore, Endo’s internal documents

indicate that pharmaceutical sales representatives employed by Endo, Actavis, and Purdue

discussed treatment guidelines with doctors during individual sales visits.

                             iii.      Key Opinion Leaders and Misleading Science

           509.       Endo also sought to promote opioids for the treatment of chronic pain through the

use of key opinion leaders and biased, misleading science.



138
    Although they were given slightly different names by each Defendant, each Defendant employed a committee that could review and approve
materials for distribution. These committees included representatives from all relevant departments within Defendants’ organizations, including the
legal, compliance, medical affairs, and marketing departments. The task of these review committees was to scrutinize the marketing materials
Defendants planned to distribute and to ensure that those materials were scientifically accurate and legally sound. Tellingly, these committees were
called to review only materials that created a potential compliance issue for the company, an implicit recognition by defendants that they ultimately
would be responsible for the content under review.


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           510.       Endo’s 2010 publication plan for Opana ER identified a corporate goal of making

Opana ER the second-leading branded product for the treatment of moderate-to-severe chronic

pain (after OxyContin). Endo sought to achieve that goal by providing “clinical evidence for the

use of Opana ER in chronic low back pain and osteoarthritis,” and subsequently successfully had

articles on this topic published.139

           511.       In the years that followed, Endo sponsored articles authored by Endo consultants

and Endo employees, which argued that the metabolic pathways utilized by Opana ER, compared

with other opioids, were less likely to result in drug interactions in elderly low back and

osteoarthritis pain patients. In 2010, Endo directed its publication manager to reach out to a list of

consultants conducting an ongoing Endo-funded study, to assess their willingness to respond to an

article 140 that Endo believed emphasized the risk of death from opioids, “without [] fair

balance.”141

           512.       Endo’s reliance on flawed, biased research is also evident in its 2012 marketing

materials and strategic plans. A 2012 Opana ER slide deck for Endo’s speakers bureaus—on

which these recruited physician speakers were trained and to which they were required to

adhere—misrepresented that the drug had low abuse potential and suggested that as many as one-

quarter of the adult population could be candidates for opioid therapy. Although the FDA requires

such speaker slide decks to reflect a “fair balance” of information on benefits and risks, Endo’s

slides reflected one-sided and deeply biased information. The presentation’s 28 literature citations

were largely to “data on file” with the company, posters, and research funded by, or otherwise


139
    These studies suffered from the limitations common to the opioid literature—and worse. None of the comparison trials lasted longer than three
weeks. Endo also commissioned a six-month, open label trial during which a full quarter of the patients failed to find a stable dose, and 17% of
patients discontinued, citing intolerable effects. In open label trials, subjects know which drug they are taking; such trials are not as rigorous as
double-blind, controlled studies in which neither the patients nor the examiners know which drugs the patients are taking.
140
    Susan Okie, A Flood of Opioids, a Rising Tide of Deaths, 363 New Engl. J. Med. 1981 (2010), finding that opioid overdose deaths and opioid
prescriptions both increased by roughly 10-fold from 1990 to 2007.
141
    Endo did manage to get a letter written by three of those researchers, which was not published.


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connected to, Endo. Endo’s speakers relayed the information in these slides to audiences that were

unaware of the skewed science on which the information was based.

        513.     A 2012 Opana ER Strategic Platform Review suffered from similar defects. Only a

small number of the endnote referenced in the document, which it cited to indicate “no gap” in

scientific evidence for particular claims, were to national-level journals. Many were published in

lesser or dated journals, and written or directly financially supported by opioid manufacturers.

Where the strategy document did cite independent, peer-reviewed research, it did so out of

context.    For example, it cited a 2008 review article on opioid efficacy for several claims,

including that “treatment of chronic pain reduces pain and improves functionality,” but it ignored

the article’s overall focus on the lack of consistent effectiveness of opioids in reducing pain and

improving functional status.142

        514.     Notwithstanding Endo’s reliance upon dubious or cherry-picked science, in an

Opana ER brand strategy plan it internally acknowledged the continuing need for a significant

investment in clinical data to support comparative effectiveness. Endo also cited a lack of “head-

to-head data” as a barrier to greater share acquisition, and the “lack of differentiation data” as a

challenge to addressing the “#1 Key Issue” of product differentiation. This acknowledged lack of

support did not stop Endo from directing its sales representatives to tell prescribers that its drugs

were less likely to be abused or be addictive than other opioids.

        515.     Endo also worked with various KOLs to disseminate various misleading statements

about chronic opioid therapy. For example, Endo distributed a patient education pamphlet edited

by KOL Dr. Russell Portenoy titled Understanding your Pain: Taking Oral Opioid Analgesics.

This pamphlet deceptively minimized the risks of addiction by stating that “[a]ddicts take opioids

142
     Andrea M. Trescot et al., Opioids in the management of non-cancer pain: an Update of American Society of the
Interventional Pain Physicians, Pain Physician 2008 Opioids Special Issue, 11:S5-S62.

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for other reasons [than pain relief], such as unbearable emotional problems,” implying that

patients who are taking opioids for pain are not at risk of addiction.

               516.     Understanding     your   Pain:    Taking    Oral   Opioid     Analgesics   also

misleadingly omitted any description of the increased risks posed by higher doses of opioid

medication. Instead, in a Q&A format, the pamphlet asked “[i]f I take the opioid now, will it work

later when I really need it?” and responded that “[t]he dose can be increased... [y]ou won’t ‘run

out’ of pain relief.”

        517.    Dr. Portenoy received research support, consulting fees, and honoraria from Endo

for editing Understanding Your Pain and other projects.

         518. Understanding Your Pain was available on Endo’s website during the time period

of this Complaint and was intended to reach Lamar County and Vernon prescribers.

        519.    Endo similarly distributed a book written by Dr. Lynn Webster titled Avoiding

Opioid Abuse While Managing Pain, which stated that in the face of signs of aberrant behavior,

increasing the dose “in most cases . . . should be the clinician’s first response.”

        520.    A slide from an Opana ER business plan contemplated distribution of the book as

part of Endo’s efforts to “[i]ncrease the breadth and depth of the OPANA ER prescriber base via

targeted promotion and educational programs.” The slide indicates that the book would be

particularly effective “for [the] PCP audience” and instructed “[s]ales representatives [to] deliver[

the book] to participating health care professionals.” The slide, shown below, demonstrates

Endo’s express incorporation of this book by a KOL into its marketing strategy:




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       521.    Endo Documents indicate that, around 2007, the company purchased at least

50,000 copies of the book for distribution. Internal Endo documents Demonstrate that the book

had been approved for distribution by Endo’s sales force, and that Endo had fewer than 8,000

copies on hand in March of 2013. Based on the nationwide and uniform character of Endo’s

marketing, and the book’s approval for distribution, this book was available to and was intended

to reach prescribers.

               c. Endo’s Deceptive Statements to Lamar County and Vernon’s Prescribers and
                  Patients

       522.    Endo upon information and belief also directed the dissemination of the

misstatements described above to Lamar County’s and Vernon patients and prescribers, including

through its sales force, speakers bureaus, CMEs, and the Painknowledge.com website.

       523.    Consistent with their training, Endo’s sales representatives delivered all of these

deceptive messages to county prescribers.

       524.    Endo also directed misleading marketing to city and county prescribers and patients

through the APF/NIPC materials it sponsored, reviewed, and approved. For example, Endo hired a

New York-based KOL to deliver a CME titled Managing Persistent Pain in the Older Patient on


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April 27, 2010. As described above, this CME misrepresented the prevalence of addiction in older

patients and made misleading claims that chronic opioid therapy would improve patients’ ability

to function. An email invitation to the event and other NIPC programs was sent to “all healthcare

professionals” in APF’s database.

       525.    The significant response to Painknowledge.com also indicates that those websites

were viewed by Lamar County and Vernon prescribers, who were then exposed to the site’s

misleading information regarding the effect of opioids on patients’ ability to function and the

deceptive portrayal of the risks of opioids. As of September 14, 2010, Painknowledge.com had

10,426 registrants, 86,881 visits, 60,010 visitors, and 364,241 page views. Upon information and

belief, based on the site’s nationwide availability, among the site’s visitors were Lamar County’s

and Vernon patients and prescribers who were then exposed to the site’s misleading information

regarding the effect of opioids on patients’ ability to function and the deceptive portrayal of the

risks of opioids.

       526.    Endo knew that the harms from its deceptive marketing would be felt in Lamar

County and Vernon. It saw workers’ compensation programs as a lucrative opportunity, and it

promoted the use of opioids for chronic pain arising from work-related injuries, like chronic lower

back pain. Endo developed plans to “[d]rive demand for access through the employer audience by

highlighting cost of disease and productivity loss in those with pain; [with a] specific focus on

high-risk employers and employees.” In 2007, Endo planned to reach 5,000 workers’

compensation carriers to ensure that Opana ER would be covered under disability insurance plans.

Endo knew or should have known that claims for its opioids would be paid for by Lamar County’s

and Vernon workers’ compensation program.




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       4. Janssen

       527.     Janssen promoted its branded opioids, including Duragesic, Nucynta, and Nucynta

ER, through its sales representatives and a particularly active speakers program. Deceptive

messages regarding low addiction risk and low prevalence of withdrawal symptoms were a

foundation of this marketing campaign. Janssen also conveyed other misrepresentations including

that its opioids could safely be prescribed at higher doses and were safer than alternatives such as

NSAIDs.

       528.     Janssen supplemented these efforts with its own unbranded website, as well as

third-party publications and a Front Group website, to promote opioids for the treatment of

chronic pain. These materials likewise made deceptive claims about addiction risk, safety at

higher doses, and the safety of alternative treatments. They also claimed that opioid treatment

would result in functional improvement, and further masked the risk of addiction by promoting the

concept of pseudoaddiction.

       529.     Based on the highly coordinated and uniform nature of Janssen’s marketing,

Janssen conveyed these deceptive messages to county prescribers. The materials that Janssen

generated in collaboration with third-parties also were upon information and belief distributed or

made available in Lamar County and Vernon. Janssen upon information and belief distributed

these messages, or facilitated their distribution, in Lamar County and Vernon with the intent that

county prescribers and/or consumers would rely on them in choosing to use opioids to treat

chronic pain.




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               a. Janssen’s Deceptive Direct Marketing

       530.    Janssen joined the other Defendants in propagating deceptive branded marketing

that falsely minimized the risks and overstated the benefits associated with the long-term use of

opioids to treat chronic pain. Like the other Defendants, Janssen sales representatives visited

targeted physicians to deliver sales messages that were developed centrally and deployed

identically across the country. These sales representatives were critical in transmitting Janssen’s

marketing strategies and talking points to individual prescribers. In 2011, at the peak of its effort

to promote Nucynta ER, Janssen spent more than $90 million on detailing.

       531.    Janssen’s designs to increase sales through deceptive marketing are apparent on the

face of its marketing plans. For example, although Janssen knew that there was no credible

scientific evidence establishing that addiction rates were low among patients who used opioids to

treat chronic pain, its Nucynta Business Plans indicated that one of the “drivers” to sell more

Nucynta among primary care physicians was the “[l]ow perceived addiction and/or abuse

potential” associated with the drug. However, there is no evidence that Nucynta is any less

addictive or prone to abuse than other opioids, or that the risk of addiction or abuse is low.

Similarly, Janssen knew that there were severe symptoms associated with opioid withdrawal

including, severe anxiety, nausea, vomiting, hallucinations, and delirium, yet Janssen touted the

ease with which patients could come off opioids.

                     i.   Janssen’s Deceptive Sales Training

       532.    Janssen’s sales force was compensated based on the number of Nucynta

prescriptions written in each sales representative’s territory. Janssen encouraged these sales

representatives to maximize sales of Nucynta and meet their sales targets by relying on the false

and misleading statements described above.


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       533.    For example, Janssen’s sales force was trained to trivialize addiction risk. A June

2009 Nucynta training module warns that physicians are reluctant to prescribe controlled

substances like Nuycnta because of their fear of addicting patients, but this reluctance is

unfounded because “the risks . . . are [actually] much smaller than commonly believed.” Janssen

also encouraged its sales force to misrepresent the prevalence of withdrawal symptoms associated

with Nucynta. A Janssen sales training PowerPoint titled “Selling Nucynta ER and Nucynta”

indicates that the “low incidence of opioid withdrawal symptoms” is a “core message” for its sales

force. The message was touted at Janssen’s Pain District Hub Meetings, in which Janssen

periodically gathered its sales force personnel to discuss sales strategy.

       534.    This “core message” of a lack of withdrawal symptoms runs throughout Janssen’s

sales training materials. For example, Janssen’s “Licensed to Sell” Facilitator’s Guide instructs

those conducting Janssen sales trainings to evaluate trainees, in part, on whether they remembered

that “[w]ithdrawal symptoms after abrupt cessation of treatment with NUCYNTA ER were mild

or moderate in nature, occurring in 11.8% and 2% of patients, respectively” and whether they

were able to “accurately convey” this “core message.” Janssen further claimed in 2008 that “low

incidence of opioid withdrawal symptoms” was an advantage of the tapentado molecule.

       535.    Similarly, a Nucynta Clinical Studies Facilitator’s Guide instructs individuals

training Janssen’s sales representatives to ask trainees to describe a “key point”—that “83% of

patients reported no withdrawal symptoms after abruptly stopping treatment without initiating

alternative therapy”—“as though he/she is discussing it with a physician.”

       536.    This misrepresentation regarding withdrawal was one of the key messages Janssen

imparted to employees in the “Retail ST 101 Training” delivered to Nucynta sales representatives.




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        537.    Indeed, training modules between 2009 and 2011 instruct training attendees that

“most patients [who discontinued taking Nucynta] experienced no withdrawal symptoms” and

“[n]o patients experienced moderately severe or severe withdrawal symptoms.”

        538.    During the very time Janssen was instructing its sales force to trivialize the risks of

addiction and withdrawal associated with the use of Nucynta to treat chronic pain, it knew or

should have known, that significant numbers of patients using opioids to treat chronic pain

experienced issues with addiction. Janssen knew or should have known that its studies on

withdrawal were flawed and created a misleading impression of the rate of withdrawal symptoms

and, as a result, the risk of addiction.

        539.    The misleading messages and materials Janssen provided to its sales force were

part of a broader strategy to convince prescribers to use opioids to treat their patients’ pain,

irrespective of the risks, benefits, and alternatives. This deception was national in scope and

included Lamar County and Vernon. Janssen’s nationwide messages upon information and belief

reached Lamar County’s and Vernon’s prescribers in a number of ways, including through its

sales force in detailing visits, as well as through websites and ads. They were also upon

information and belief delivered to Lamar County’s and Vernon’s prescribers by Janssen’s paid

speakers, who were required by Janssen policy and by FDA regulations to stay true to Janssen’s

nationwide messaging.

                      ii.   Janssen’s Deceptive Speakers Bureau Programs

        540.    Janssen did not stop at disseminating its misleading messages regarding chronic

opioid therapy through its sales force. It also hired speakers to promote its drugs and trained them

to make the very same misrepresentations made by its sales representatives.




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       541.    Janssen’s speakers worked from slide decks—which they were required to

present—reflecting the deceptive information about the risks, benefits, and superiority of opioids

outlined above. For example, a March 2011 speaker’s presentation titled A New Perspective For

Moderate to Severe Acute Pain Relief: A Focus on the Balance of Efficacy and Tolerability set out

the following adverse events associated with use of Nucynta: nausea, vomiting, constipation,

diarrhea, dizziness, headache, anxiety, restlessness, insomnia, myalgia, and bone pain. It

completely omitted the risks of misuse, abuse, addiction, hyperalgesia, hormonal dysfunction,

decline in immune function, mental clouding, confusion, and other known, serious risks associated

with chronic opioid therapy. The presentation also minimized the risks of withdrawal by stating

that “more than 82% of subjects treated with tapentadol IR reported no opioid withdrawal

symptoms.”

       542.    An August 2011 speaker presentation titled New Perspectives in the Management

of Moderate to Severe Chronic Pain contained the same misleading discussion of the risks

associated with chronic opioid therapy. It similarly minimized the risks of withdrawal by reporting

that 86% of patients who stopped taking Nucynta ER “abruptly without initiating alternative

opioid therapy” reported no withdrawal symptoms whatsoever. The same deceptive claims

regarding risks of adverse events and withdrawal appeared in a July 2012 speaker’s presentation

titled Powerful Pain Management: Proven Across Multiple Acute and Chronic Pain Models.

       543.    These speakers presentations were part of Janssen’s nationwide marketing efforts.

Upon information and belief, a number of these events were available to and were intended to

reach Lamar County and Vernon prescribers.




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                   iii.   Janssen’s Deceptive Unbranded Advertising

       544.    Janssen was aware that its branded advertisements and speakers programs would

face regulatory scrutiny that would not apply to its unbranded materials, so Janssen also engaged in

direct, unbranded marketing.

       545.    One such unbranded project was Janssen’s creation and maintenance of

Prescriberesponsibly.com (last updated July 2, 2015), a website aimed at prescribers and patients

that claims that concerns about opioid addiction are “overstated.” A disclaimer at the bottom of the

website states that the “site is published by Janssen Pharmaceuticals, Inc., which is solely

responsible for its content.” This website was available to and upon information and belief

intended to reach Lamar County’s and Vernon’s prescribers and patients.

               b. Janssen’s Deceptive Third-Party Statements

       546.    Janssen’s efforts were not limited to directly making misrepresentations through its

sales force, speakers’ bureau, and website. To avoid regulatory constraints and give its efforts an

appearance of independence and objectivity, Janssen obscured its involvement in certain marketing

activities by “collaborat[ing] with key patient advocacy organizations” to release misleading

information about opioids.

                     i.   AAPM and AGS – Finding Relief: Pain Management for Older Adults

       547.    Janssen worked with AAPM and AGS to create a patient education guide entitled

Finding Relief: Pain Management for Older Adults (2009). In doing so, Janssen contracted with a

medical publishing firm, Conrad & Associates, LLC. The content was drafted by a writer

(“Medical Writer X”) hired by Conrad & Associates and funded by Janssen. These materials were

reviewed, in detail, by Janssen’s medical-legal review team, which conducted detailed reviews and

gave him editorial feedback on his drafts, which was adopted in the published version.



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          548.       Medical Writer X understood, without being explicitly told, that since his work was

funded and reviewed by Janssen, the materials he was writing should aim to promote the sale of

more drugs by overcoming the reluctance to prescribe or use opioids to treat chronic pain. He knew

that the publication was undertaken in connection with the launch of a new drug and was part of its

promotional effort. Medical Writer X knew of the drug company’s sponsorship of the publication,

and he would go to the company’s website to learn about the drug being promoted. He also knew

that his clients—including Janssen—would be most satisfied with his work if he emphasized that:

(a) even when used long-term, opioids are safe and the risk of addiction is low; (b) opioids are

effective for chronic pain; and (c) opioids are under-prescribed because doctors are hesitant,

confused, or face other barriers.143

          549.       Finding Relief is rife with the deceptive content. Finding Relief misrepresents that

opioids increase function by featuring a man playing golf on the cover and listing examples of

expected functional improvement from opioids, like sleeping through the night, returning to work,

recreation, sex, walking, and climbing stairs. The guide states as a “fact” that “opioids may make it

easier for people to live normally” (emphasis in the original). The functional claims contained in

Finding Relief are textbook examples of Defendants’ use of third parties to disseminate messages

the FDA would not allow them to say themselves. Compare, e.g.:

                             Branded Advertisement That Triggers an
                             FDA Warning Letter (2008)144
                             Improvement in Daily Activities Includes:
                                 Walking on a flat surface
                                 Standing or sitting
                                 Climbing stairs
                                 Getting in and out of bed or bath
143
    Medical Writer X now acknowledges that the lists of adverse effects from chronic opioid use in the publications he authored, which excluded
respiratory depression, overdose, and death and minimized addiction, were, “ridiculous” and “prime examples” of leaving out facts that the
pharmaceutical company sponsors and KOLs knew at the time were true. His writings repeatedly described the risk of addiction as low. Medical
Writer X stated that he understood that the goal was to promote opioids and, as a result, discussing addiction would be “counterproductive.”
144
    This advertisement drew an FDA Warning Letter dated March 24, 2008. Though the advertisement was by drug company King, it is used here to
demonstrate the types of claims that the FDA regarded as unsupported.


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                           Ability to perform domestic duties
       with:

                    Seemingly Independent Publication: “Finding Relief: Pain
                    Management for Older Adults”
                    (Final Authority, Janssen 2009):
                    Your recovery will be measured by how well you reach
                    functional goals such as
                         Sleeping without waking from pain
                         Walking more, or with less pain
                         Climbing stairs with less pain
                         Returning to work
                         Enjoying recreational activities
                         Having sex
                         Sleeping in your own bed


       550.    Finding Relief also trivialized the risks of addiction describing as a “myth” that

opioids are addictive, and asserting as fact that “[m]any studies show that opioids are rarely

addictive when used properly for the management of chronic pain.”

       551.    Finding Relief further misrepresented that opioids were safe at high doses by listing

dose limitations as “disadvantages” of other pain medicines and omitting any discussion of risks

from increased doses of opioids. The publication also falsely claimed that it is a “myth” that

“opioid doses have to be bigger over time.”

       552.    Finally, Finding Relief deceptively overstated the risks associated with alternative

forms of treatment. It juxtaposed the advantages and disadvantages of NSAIDs on one page, with

the “myths/facts” of opioids on the facing page. The disadvantages of NSAIDs are described as

involving “stomach upset or bleeding,” “kidney or liver damage if taken at high doses or for a

long time,” “adverse reactions in people with asthma,” and “increase[d] . . .risk of heart attack and

stroke.” Conversely, the only adverse effects of opioids listed by Finding Relief are “upset




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stomach or sleepiness,” which the brochure claims will go away, and constipation. The guide

never mentions addiction, overdose, abuse, or other serious side effects of opioids.

       553.    Janssen was not merely a passive sponsor of Finding Relief. Instead, Janssen

exercised control over its content and provided substantial assistance to AGS and AAPM to

distribute it. A “Copy Review Approval Form” dated October 22, 2008 indicates that key personnel

from Janssen’s Advertising & Promotion, Legal, Health Care Compliance, Medical Affairs,

Medical Communications, and Regulatory Departments reviewed and approved Finding Relief. All

six Janssen personnel approving the publication checked the box on the approval form indicating

that Finding Relief was “Approved With Changes.” After the publication was modified at the

behest of Janssen personnel, Janssen paid to have its sales force distribute 50,000 copies of Finding

Relief throughout the nation. Thus, Finding Relief is considered labeling for Janssen’s opioids

within the meaning of 21 C.F.R. § 1.3(a).

       554.    AAPM purchased and distributed copies of Finding Relief to all of its members,

including those who reside in Lamar County and Vernon.

       555.    Finding Relief’s author, Medical Writer X, later said it was clear, from his position

at the intersection of science and marketing, that the money paid by drug companies to the KOLs

and professional and patient organizations with which he worked, distorted the information

provided to doctors and patients regarding opioids. The money behind these and many other

“educational” efforts also, he believes, led to a widespread lack of skepticism on the part of leading

physicians about the hazards of opioids. It also led these physicians to accept, without adequate

scrutiny, published studies that, while being cited to support the safety of opioids, were, in fact, of

such poor methodological quality that they would not normally be accepted as adequate scientific

evidence.



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                     ii.   AGS – Misleading Medical Education

       556.    Janssen also worked with AGS on another project—AGS’s CME promoting the

2009 guidelines for the Pharmacological Management of Persistent Pain in Older Persons. These

guidelines falsely claimed that “the risks [of addiction] are exceedingly low in older patients with

no current or past history of substance abuse” although the study supporting this assertion did not

analyze addiction rates by age. They also stated falsely, that “[a]ll patients with moderate to severe

pain . . . should be considered for opioid therapy (low quality of evidence, strong

recommendation).” Based on Janssen’s control over AGS’s Finding Relief, Janssen also would

have exercised control over this project as well.

                    iii.   APF

       557.    Janssen also worked with APF to carry out its deceptive marketing campaign.

Documents obtained from one of Janssen’s public relations firms, Ketchum, indicate that Janssen

and the firm enlisted APF as part of an effort to “draft media materials and execute [a] launch plan”

for Janssen’s drugs at an upcoming meeting of the AAPM. Janssen also drew on APF publications

to corroborate claims in its own marketing materials and its sales training. Janssen personnel

participated in a March 2011 call with APF’s “Corporate Roundtable,” in which they worked with

APF and drug company personnel to develop strategies to promote chronic opioid therapy. APF

personnel spoke with Janssen employees who “shar[ed] expertise from within their company for

[a] public awareness campaign.”

       558.    Their joint work on the “Corporate Roundtable” demonstrates the close

collaboration between Janssen and APF in promoting opioids for the treatment of chronic pain.

APF President Will Rowe also reached out to Defendants—including Janssen— rather than his

own staff, to identify potential authors to answer a 2011 article critical of opioids that had been



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published in the Archives of Internal Medicine. Additional examples of APF’s collaboration with

Janssen are laid out below:

               a) Let’s Talk Pain

       559.    Most prominent among these efforts was the Let’s Talk Pain website. Janssen

sponsored Let’s Talk Pain in 2009, acting in conjunction with APF, American Academy of Pain

Management, and American Society of Pain Management Nursing.             Janssen financed and

orchestrated the participation of these groups in the website.

      560.     Janssen exercised substantial control over the content of the Let’s Talk Pain

website. Janssen’s internal communications always referred to Let’s Talk Pain as promoting

tapentadol, the molecule it sold as Nucynta and Nucynta ER. Janssen regarded Let’s Talk Pain and

another website—Prescriberesponsibly.com— as integral parts of Nucynta’s launch:




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         561.     Janssen documents also reveal that Janssen personnel viewed APF and AAPM as

“coalition members” in the fight to increase market share.

         562.   To this end, Janssen and APF entered into a partnership to “keep pain and the

importance of responsible pain management top of mind” among prescribers and patients. They

agreed to work to reach “target audiences” that included patients, pain management physicians,

primary care physicians, and KOLs. One of the roles Janssen assumed in the process was to

“[r]eview, provide counsel on, and approve materials.” Janssen did in fact review and approve

material for the Let’s Talk Pain website, as evidenced by the following edits by a Janssen executive

to the transcript of a video that was to appear on the site:




         563.   The final version of the video on Let’s Talk Pain omitted the stricken language

above.

         564.   This review and approval authority extended to the Let’s Talk Pain website. Emails

between Janssen personnel and a consultant indicate that, even though the Let’s Talk Pain website

was hosted by APF, Janssen had approval rights over its content. Moreover, emails describing

Janssen’s review and approval rights related to Let’s Talk Pain indicate that this right extended to

“major changes and video additions.”

         565.   As a 2009 Janssen memo conceded, “[t]he Let’s Talk Pain Coalition is sponsored by

PriCara, a Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc.” and “[t]he Coalition and



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PriCara maintain editorial control of all Let’s Talk Pain materials and publications” (emphasis

added).

          566.   A 2011 Consulting Agreement between Janssen and one of APF’s employees,

relating to the dissemination of national survey data, demonstrates the near-total control Janssen

was empowered to exercise over APF in connection with the Let’s Talk Pain website, including

requiring APF to circulate and post Janssen’s promotional content. The agreement required APF to

“participate in status calls between Janssen, APF, AAPM, ASPMN, and Ketchum as requested by

Janssen” and required APF to “respond to requests to schedule status calls within 48 hours of the

request” (emphasis in original). APF also was required to “[r]eview and provide feedback to media

materials, including a press release, pitch email, a key messages document, and social media

messages, within one week of receipt” (emphasis in original).

          567.   The agreement further required APF to provide a summary of the survey results in

APF’s PAIN MONITOR e-newsletter, post a link to the survey results on APF’s Facebook page,

send out tweets related to the survey, serve as a spokesperson available for media interviews,

“[s]hare information with any media contacts with whom APF has existing relationships to

promote the announcement of the national survey findings,” identify at least two patient

spokespersons to talk about the survey data, and include the survey results in “any future APF

materials, as appropriate.” Tellingly, “any ideas made or conceived by [APF] in connection with or

during the performance” of the Agreement “shall be the property of, and belong to, [Janssen].”

          568.   Janssen also exercised its control over Let’s Talk Pain. Janssen was able to update

the Let’s Talk Pain website to describe its corporate restructuring and Janssen personnel asserted

their control over “video additions” by reviewing and editing the interview touting the functional




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benefits of opioids. Given its editorial control over the content of Let’s Talk Pain, Janssen was, at

all times, fully aware of—and fully involved in shaping—the website’s content.145

         569.     Let’s Talk Pain contained a number of misrepresentations.

         570.     For example, Let’s Talk Pain misrepresented that the use of opioids for the

treatment of chronic pain would lead to patients regaining functionality. Let’s Talk Pain featured

an interview claiming that opioids were what allowed a patient to “continue to function.” This

video is still available today on YouTube.com and is accessible to Lamar County and Vernon

prescribers and patients.

         571.     In 2009, Let’s Talk Pain also promoted the concept of “pseudoaddiction,” which it

described as patient behaviors that may occur when pain is under-treated” but differs “from true

addiction because such behaviors can be resolved with effective pain management” (emphasis

added). Let’s Talk Pain was available to, and upon information and belief was intended to, reach

Lamar County and Vernon patients and prescribers.

                                    b) Exit Wounds

         572.     Janssen also engaged in other promotional projects with and through APF. One such

project was the publication and distribution of Exit Wounds, which, as described above, deceptively

portrayed the risks, benefits, and superiority of opioids to treat chronic pain. Exit Wounds was

drafted by “Medical Writer X.” It is fully representative of his work on behalf of drug companies.

         573.     Upon information and belief, Janssen gave APF substantial assistance in distributing

Exit Wounds in Lamar County and Vernon and throughout the nation by providing grant money

and other resources.


145
    It bears noting that Janssen does not publicly identify its role in creating Let’s Talk Pain’s content. Instead, Let’s
Talk Pain represents that “coalition members” develop the content that appears on the website and lists Janssen as the
only sponsor of that coalition.

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                     c. Janssen’s Deceptive Statements to Lamar County and Vernon Prescribers and
                        Patients

          574.       Upon information and belief, Janssen also directed the misstatements described

above to Lamar County and Vernon patients and prescribers, including through CMEs, its sales

force, and recruited physician speakers.

                              i.     Janssen’s Deceptive Medical Education Programs in Lamar County and
                                     Vernon

          575.       Upon information and belief, Janssen sponsored CMEs and talks attended by Lamar

County and Vernon prescribers.

                             ii.     Janssen’s Deceptive Detailing Practices in Lamar County and Vernon

          576.       The experiences of specific prescribers confirm both that Janssen’s national

marketing campaign included the misrepresentations, and that the company upon information and

belief disseminated these same misrepresentations to Lamar County and Vernon prescribers and

consumers. In particular, these prescriber accounts reflect that Janssen detailers claimed that

Nucynta was “not an opioid” because it worked on an “alternate receptor”; 146 claimed that

Janssen’s drugs would be less problematic for patients because they had anti-abuse properties and

were “steady state”; claimed that patients on Janssen’s drugs were less susceptible to withdrawal;

omitted or minimized the risk of opioid addiction; claimed or implied that opioids were safer than

NSAIDs; and overstated the benefits of opioids, including by making claims of improved function.

          5. Purdue

          577.       Purdue promoted its branded opioids—principally Oxycontin, Butrans, and

Hysingla—and opioids generally in a campaign that consistently mischaracterized the risk of

addiction and made deceptive claims about functional improvement. Purdue did this through its

146
   The FDA-approved labels for both Nucynta and Nucynta ER describe the tapentadol molecule as an “opioid agonist and a Schedule II controlled
substance that can be abused in a manner similar to other opioid agonists, legal or illicit.”


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sales force, branded advertisements, promotional materials, and speakers, as well as a host of

materials produced by its third-party partners, most prominently APF. Purdue’s sales

representatives and advertising also misleadingly implied that OxyContin provides a full 12 hours

of pain relief, and its allied Front Groups and KOLs conveyed the additional deceptive messages

about opioids’ safety at higher doses, the safety of alternative therapies, and the effectiveness of

addiction screening tools.

       578.    Based on the highly coordinated and uniform nature of Purdue’s marketing, Purdue

upon information and belief conveyed these deceptive messages to Lamar County and Vernon

prescribers. The materials that Purdue generated in collaboration with third parties also were upon

information and belief distributed or made available in Lamar County and Vernon. Upon

information and belief, Purdue distributed these messages, or facilitated their distribution, in Lamar

County and Vernon with the intent that Lamar County and Vernon prescribers and/or consumers

would rely on them in choosing to use opioids to treat chronic pain.

               a. Purdue’s Deceptive Direct Marketing

       579.    Like the other Defendants, Purdue directly disseminated deceptive branded and

unbranded marketing focused on minimizing the risks associated with the long-term use of opioids

to treat chronic pain. Purdue directed these messages to prescribers and consumers through its sales

force and branded advertisements.

       580.    Upon information and belief, Purdue engaged in in-person marketing to doctors in

Lamar County and Vernon. Purdue had 250 sales representatives in 2007, of whom 150 were

devoted to promoting sales of OxyContin full time. Like the other Defendants’ detailers, Purdue

sales representatives visited targeted physicians to deliver sales messages that were developed

centrally and deployed, identically, across the country. These sales representatives were critical in


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delivering Purdue’s marketing strategies and talking points to individual prescribers. 147 Indeed,

Endo’s internal documents indicate that pharmaceutical sales representatives employed by Endo,

Actavis, and Purdue discussed the AAPM/APS Guidelines, which as discussed above deceptively

concluded that the risk of addiction is manageable for patients regardless of past abuse histories,

with doctors during individual sales visits.

           581.       Purdue’s spending on detailing reached its nadir in 2006 and 2007, as the company

faced civil and criminal charges for misbranding OxyContin. Since settling those charges in 2007,

however, Purdue has sharply increased its quarterly spending on promotion through its sales force,

from under $5 million in 2007 to more than $30 million by the end of 2014.

           582.       Purdue also marketed its drugs through branded advertisements which relied on,

among other deceptive tactics, misleading statements about the efficacy and onset of OxyContin.

Purdue marketed its drug as effective for 12 hours while knowing that these claims were

misleading because, for many patients, the pain relief lasted for as little as eight hours, leading to

end-of-dose failure and withdrawal symptoms.                             This prompted doctors to prescribe, or patients to

take, higher or more frequent doses of opioids, all of which increased the risk of abuse and

addiction.

           583.       For example, a “Conversion and Titration Guide” submitted to the FDA and

distributed to physicians by Purdue, prominently referred to “Q12h OxyContin Tablets,” meaning

that each tablet was intended to “offer . . . every-twelve-hour dosing.” Other marketing materials

directed at physicians and disseminated across the country in 2006 touted that OxyContin’s “12-

hour AcroContin Delivery System” was “designed to deliver oxycodone over 12 hours,” which

offered patients “life with Q12H relief.” Those same marketing materials included a timeline

147
   But Purdue did not stop there. It also tracked around 1,800 doctors whose prescribing patterns demonstrated a probability that they were writing
opioid prescriptions for addicts and drug dealers. Purdue kept the program secret for nine years and, when it finally did report information about
these suspicious doctors to law enforcement authorities, it only did so with respect to 8% of them.


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graphic with little white paper pill cups at “8AM” and, further down the line, at “8PM” only. They

also proclaimed that OxyContin provided “Consistent Plasma Levels Over 12 Hours” and set forth

charts demonstrating absorption measured on a logarithmic scale, which fraudulently made it

appear that levels of oxycodone in the bloodstream slowly taper over a 12-hour time period.

        584.   Purdue advertisements that ran in 2005 and 2006 issues of the Journal of Pain

depicted a sample prescription for OxyContin with “Q12h” handwritten. Another advertisement

Purdue ran in 2005 in the Journal of Pain touted OxyContin’s “Q12h dosing convenience” and

displayed two paper dosing cups, one labeled “8 am” and one labeled “8 pm,” implying that

OxyContin is effective for the 12-hour period between 8 a.m. and 8 p.m. Similar ads appeared in

the March 2005 Clinical Journal of Pain.

        585.   Purdue continued to include prominent 12-hour dosing instructions in its branded

advertising, such as in a 2012 Conversion and Titration Guide, which states: “Because each

patient’s treatment is personal / individualize the dose / Q12h OxyContin Tablets.”

        586.   As outlined above, however, these statements are misleading because they fail to

 make clear that a 12-hour dose does not equate to 12 hours of pain relief. Nevertheless, Purdue’s

 direct marketing materials have misleadingly claimed OxyContin offers 12 hour “dosing

 convenience.”

        587.   As described below, these deceptive statements regarding the efficacy of OxyContin

were upon information and belief also carried into Lamar County and Vernon by Purdue’s

detailers.

        588.   Purdue’s direct marketing materials also misrepresented that opioids would help

patients regain functionality and make it easier for them to conduct everyday tasks like walking,

working, and exercising.


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       589.    For example, in 2012, Purdue disseminated a mailer to doctors titled “Pain

vignettes.” These “vignettes” consisted of case studies describing patients with pain conditions that

persisted over a span of several months. One such patient, “Paul,” is described as a “54-year-old

writer with osteoarthritis of the hands,” and the vignettes imply that an OxyContin prescription will

help him work. None of these ads, however, disclosed the truth—that there is no evidence that

opioids improve patients’ lives and ability to function and that there was substantial evidence to the

contrary.

       590.    Some of the greatest weapons in Purdue’s arsenal, however, were unbranded

materials it directly funded and authored. These were in addition to the unbranded materials,

described below, that Purdue channeled through third parties.

       591.    In 2011, Purdue published a prescriber and law enforcement education pamphlet

titled Providing Relief, Preventing Abuse, which deceptively portrayed the signs—and therefore

the prevalence—of addiction. However, Purdue knew, as described above, that OxyContin was

used non-medically by injection less than less than 17% of the time. Yet, Providing Relief,

Preventing Abuse prominently listed side effects of injection like skin popping and track marks as

“Indications of Possible Drug Abuse”—downplaying much more prevalent signs of addiction

associated with OxyContin use such as asking for early refills, making it seem as if addiction only

occurs when opioids are taken illicitly.

       592.    Providing Relief, Preventing Abuse also deceptively camouflaged the risk of

addiction by falsely supporting the idea that drug-seeking behavior could, in fact, be a sign of

“pseudoaddiction” rather than addiction itself. Specifically, it noted that the concept of

“pseudoaddiction” had “emerged in the literature” to describe “[drug-seeking behaviors] in patients

who have pain that has not been effectively treated.” Nowhere in Providing Relief, Preventing



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Abuse did Purdue disclose the lack of scientific evidence justifying the concept of

“pseudoaddiction,” or that the phrase itself had been coined by a Purdue vice president.

       593.    Providing Relief, Preventing Abuse was available nationally and was intended to

reach Lamar County and Vernon prescribers. As described below, the deceptive statements in

Providing Relief, Preventing Abuse regarding addiction were the very same messages Purdue, upon

information and belief, directed at Lamar County and Vernon prescribers through its sales force.

       594.    Purdue also disseminated misrepresentations through two of its unbranded websites,

In the Face of Pain and Partners Against Pain.

       595.    Consistent with Purdue’s efforts to portray opioid treatment as “essential” for the

proper treatment of chronic pain and label skepticism related to chronic opioid therapy as an

“inadequate understanding” that leads to “inadequate pain control,” In the Face of Pain criticized

policies that limited access to opioids as being “at odds with best medical practices” and

encouraged patients to be “persistent” in finding doctors who will treat their pain. This was meant

to imply that patients should keep looking until they find a doctor willing to prescribe opioids.

       596.    In the Face of Pain was available nationally and was intended to reach Lamar

County and Vernon prescribers.

       597.    Purdue also used its unbranded website Partners Against Pain to promote the same

deceptive messages regarding risk of addiction and delivered by its sales representatives. On this

website, Purdue posted Clinical Issues in Opioid Prescribing, a pamphlet that was copyrighted in

2005. Purdue also distributed a hard-copy version of this pamphlet. Clinical Issues in Opioid

Prescribing claimed that “illicit drug use and deception” were not indicia of addiction, but rather

indications   that   a   patient’s   pain   was   undertreated.   The   publication   indicated     that

“[p]seudoaddiction can be distinguished from true addiction in that the behaviors resolve when the


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pain is effectively treated.” In other words, Purdue suggested that when faced with drug-seeking

behavior from their patients, doctors should prescribe more opioids—turning evidence of addiction

into an excuse to sell and prescribe even more drugs.

       598.    Purdue’s misleading messages and materials were part of a broader strategy to

convince prescribers to use opioids to treat their patients’ pain, irrespective of the risks, benefits,

and alternatives. This deception was national in scope and upon information and belief included

Lamar County and Vernon. As described above, Purdue’s nationwide messages would have

reached county prescribers in a number of ways. For example, they were upon information and

belief carried into Lamar County and Vernon by Purdue’s sales representatives during detailing

visits as well as made available to Lamar County and Vernon patients and prescribers through

websites and ads, including ads in prominent medical journals. They would also upon information

and belief have been delivered to Lamar County and Vernon prescribers by Purdue’s paid speakers,

who were required by Purdue policy and by FDA regulations to stay true to Purdue’s nationwide

messaging.

               b. Purdue’s Deceptive Third-Party Statements

       599.    Purdue’s efforts were not limited to making misrepresentations through its own

sales force and its own branded and unbranded marketing materials. As described above, Purdue

knew that regulatory constraints restricted what it could say about its drugs through direct

marketing. For this reason, like the other Defendants, Purdue enlisted the help of third parties to

release misleading information about opioids. The most prominent of these was APF.




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                     i.   APF

                              a) Purdue’s Control of APF

       600.    Purdue exercised considerable control over APF, which published and disseminated

many of the most blatant falsehoods regarding chronic opioid therapy. Their relationship, and

several of the APF publications, is described in detail below.

       601.    Purdue exercised its dominance over APF over many projects and years. Purdue

was APF’s second-biggest donor, with donations totaling $1.7 million. Purdue informed APF that

the grant money reflected Purdue’s effort to “strategically align its investments in nonprofit

organizations that share [its] business interests,” making clear that Purdue’s funding depended

upon APF continuing to support Purdue’s business interests. Indeed, Purdue personnel participated

in a March 2011 call with APF’s “Corporate Roundtable,” where they suggested that APF “[s]end

ambassadors to talk about pain within companies and hospitals.” Thus, Purdue suggested what role

APF could play that would complement its own marketing efforts. On that call, Purdue personnel

also committed to provide APF with a list of “industry state advocates” who could help promote

chronic opioid therapy, individuals and groups that, upon information and belief, APF reached out

to. Purdue personnel remained in constant contact with their counterparts at APF.

       602.    This alignment of interests was expressed most forcefully in the fact that Purdue

hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered into

a “Master Consulting Services” Agreement on September 14, 2011. That agreement gave Purdue

substantial rights to control APF’s work related to a specific promotional project. Moreover, based

on the assignment of particular Purdue “contacts” for each project and APF’s periodic reporting on

their progress, the agreement enabled Purdue to be regularly aware of the misrepresentations APF

was disseminating regarding the use of opioids to treat chronic pain in connection with that project.



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The agreement gave Purdue—but not APF—the right to end the project (and, thus, APF’s funding)

for any reason. This agreement demonstrates APF’s lack of independence and its willingness to

surrender to Purdue’s control and commercial interests, which would have carried across all of

APF’s work.

       603.    Purdue used this agreement to conduct work with APF on the Partners Against Pain

website. Partners Against Pain is a Purdue-branded site, and Purdue holds the copyright.

       604.    However, its ability to deploy APF on this project illustrates the degree of control

Purdue exercised over APF. In 2011, it hired an APF employee to consult on the Partners Against

Pain rollout, to orchestrate the media campaign associated with the launch of certain content on the

website, and to make public appearances promoting the website along with a celebrity

spokesperson; paying this consultant $7,500 in fees and expenses for 26 hours of work. Purdue

would require this consultant to “to discuss and rehearse the delivery of [Purdue’s] campaign

messages” and Purdue committed that “[m]essage points will be provided to [the] Consultant in

advance and discussed on [a planned] call.” At all times, decisions regarding the final content on

the Partners Against Pain website were “at the sole discretion of Purdue.”

       605.    APF also volunteered to supply one of its staff (a medical doctor or a nurse

practitioner) to assist Purdue as a consultant and spokesperson for the launch of one of Purdue’s

opioid-related projects, Understanding & Coping with Lower Back Pain, which appeared on

Partners Against Pain. One of the consultants was APF’s paid employee, Mickie Brown. The

consultant’s services would be provided in return for a $10,000 consulting fee for APF and $1,500

in honoraria for the spokesperson. All documents used by the consultant in her media appearances

would be reviewed and approved by individuals working for Purdue. It was not until later that APF

worried about “how Purdue sees this program fitting in with our [existing] grant request.”



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       606.    Given the financial and reputational incentives associated with assisting Purdue in

this project and the direct contractual relationship and editorial oversight, APF personnel were

acting under Purdue’s control at all relevant times with respect to Partners Against Pain.

       607.    APF acquiesced to Purdue’s frequent requests that APF provide “patient

representatives” for Partners against Pain. Moreover, APF staff and board members and Front

Groups ACPA and AAPM, among others (such as Dr. Webster), appear on Inthefaceofpain.com as

“Voices of Hope”—“champions passionate about making a difference in the lives of people who

live with pain” and providing “inspiration and encouragement” to pain patients. APF also

contracted with Purdue for a project on back pain in which, among other things, it provided a

patient representative who agreed to attend a Purdue-run “media training session.”

       608.    According to an Assurance of Voluntary Compliance (“AVC”) entered into between

the New York Attorney General and Purdue Pharma on August 19, 2015, Inthefaceofpain.com

received 251,648 page views between March 2014 and March 2015. With the exception of one

document linked to the website, Inthefaceofpain.com makes no mention of opioid abuse or

addiction. Purdue’s copyright appears at the bottom of each page of the website, indicating its

ownership and control of its content. There is no other indication that 11 of the individuals who

provided testimonials on Inthefaceofpain.com received payments, according to the AVC, of

$231,000 for their participation in speakers programs, advisory meetings and travel costs between

2008 and 2013. The New York Attorney General found Purdue’s failure to disclose its financial

connections with these individuals had the potential to mislead consumers.

       609.    Nowhere was Purdue’s influence over APF so pronounced as it was with the APF’s

“Pain Care Forum” (“PCF”). PCF was and continues to be run not by APF, but by Defendant

Purdue’s in-house lobbyist, Burt Rosen. As described by a former drug company employee, Rosen



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exercised full control of PCF, telling them “what do do and how to do it.” This control allowed

him, in turn, to run APF as, in accordance with Rosen’s thinking, “PCF was APF, which was

Purdue.” PCF meets regularly in-person and via teleconference, and shares information through an

email listserv.

        610.      In 2011, APF and another third-party advocacy group, the Center for Practical

Bioethics, were considering working together on a project. Having reviewed a draft document

provided by the Center for Practical Bioethics, the APF employee cautioned that “this effort will be

in cooperation with the efforts of the PCF” and acknowledged that “I know you have reservations

about the PCF and pharma involvement, but I do believe working with them and keeping the lines

of communications open is important.” The Center for Practical Bioethics CEO responded by

indicating some confusion about whom to speak with, asking “[i]s Burt Rosen the official leader”

and reflecting what other sources have confirmed.

        611.      In 2007, the PCF Education Subgroup, consisting of drug companies Purdue and

Alpharma, and Front Groups APF and ACPA (self-described as “industry-funded” groups),

developed a plan to address a perceived “lack of coordination” among the industry and pro-opioid

professional and patient organizations. PCF members agreed to develop simplified “key”

messages” to use for public education purposes. Their messages were reflected in programs like

NIPC’s Let’s Talk Pain (put together by Endo and APF), and Purdue’s In the Face of Pain.

        612.      When the FDA required drug companies to fund CMEs related to opioid risks in

accordance with its 2009 REMS, Purdue, along with these Front Groups, worked through the PCF

to ensure that, although it was mandatory for drug companies to fund these CMEs, it would not be

mandatory for prescribers to attend them. A survey was circulated among Defendants Endo,

Janssen, and Purdue, which predicted that the rates of doctors who would prescribe opioids for



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chronic pain would fall by 13% if more than four hours of mandatory patient education were

required in accordance with the REMS. With a push from PCF, acting under Purdue’s direction,

the CMEs were not made mandatory for prescribers.

          613.       APF showed its indebtedness to Purdue and its willingness to serve Purdue’s

corporate agenda when APF chairman Dr. James N. Campbell testified on the company’s behalf at

a July 2007 hearing before the Senate Judiciary Committee “evaluating the propriety and adequacy

of the OxyContin criminal settlement.” 148 Despite its ostensible role as a patient advocacy

organization, APF was willing to overlook substantial evidence—resulting in the jailing of Purdue

executives—that Purdue blatantly, despite its clear knowledge to the contrary, told physicians and

patients that OxyContin was “rarely” addictive and less addictive than other opioids. Like Purdue,

APF ignored the truth about opioids and parroted Purdue’s deceptive messaging. Dr. Campbell

testified that addiction was a “rare problem” for chronic pain patients and asserted: “[T]he

scientific evidence suggests that addiction to opioids prescribed by legitimate chronic non-cancer

pain patients without prior histories of substance abuse using the medication as directed is rare.

Furthermore, no causal effect has been demonstrated between the marketing of OxyContin and the

abuse and diversion of the drug.” There was, and is, no scientific support for those statements.

          614.       APF President Will Rowe reached out to Defendants—including Purdue—rather

than his own staff, to identify potential authors to answer a 2011 article critical of opioids that had

been published in the Archives of Internal Medicine.




148
   Evaluating the Propriety and Adequacy of the Oxycontin Criminal Settlement: Before the S. Comm. On the Judiciary, 110th Cong. 46-50, 110-
116 (2007) (statements of Dr. James Campbell, Chairman, APF). Purdue was also able to exert control over APF through its relationships with
APF’s leadership. Purdue-sponsored KOLs Russell Portenoy and Scott chaired APF’s board. Another APF board member, Perry Fine, also received
consulting fees from Purdue. APF board member Lisa Weiss was an employee of a public relations firm that worked for both Purdue and APF.
Weiss, in her dual capacity, helped vet the content of the Purdue-sponsored Policymaker’s Guide, which is described below.


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        615.     Purdue’s control over APF shaped, and was demonstrated by specific APF, pro-

opioid publications. These publications had no basis in science and were driven (and can only be

explained) by the commercial interest of pharmaceutical companies—Purdue chief among them.

                 b) A Policymaker’s Guide

        616.     Purdue provided significant funding to and was involved with APF’s creation and

dissemination of A Policymaker’s Guide to Understanding Pain & Its Management, originally

published in 2011 and still available online. A Policymaker’s Guide to Understanding Pain & Its

Management misrepresented that there were studies showing that the use of opioids for the long-

term treatment of chronic pain could improve patients’ ability to function.

         617. Specifically, A Policymaker’s Guide to Understanding Pain & Its Management

 claimed that “multiple clinical studies” demonstrated that “opioids . . . are effective in improving

 [d]aily function, [p]sychological health [and] [o]verall health-related quality of life for people with

 chronic pain” and implied that these studies established that the use of opioids long-term led to

 functional improvement. The study cited in support of this claim specifically noted that there were

 no studies demonstrating the safety of opioids long-term and noted that “[f]or functional

 outcomes, the other [studied] analgesics were significantly more effective than were opioids.”149

        618.     The Policymaker’s Guide also misrepresented the risk of addiction. It claimed that

pain had generally been “undertreated” due to “[m]isconceptions about opioid addiction” and that

“less than 1% of children treated with opioids become addicted.”

        619.     Moreover, the Policymaker’s Guide attempted to distract doctors from their

patients’ drug-seeking behavior by labeling it as “pseudoaddiction,” which, according to the guide,

“describes patient behaviors that may occur when pain is undertreated.” Like Partners Against

149
   Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects,
174(11) Can. Med. Ass’n J. 1589 (2006).

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Pain, A Policymaker’s Guide noted that “[p]seudo-addiction can be distinguished from true

addiction in that this behavior ceases when pain is effectively treated.” The similarity between

these messages regarding “pseudoaddiction” highlights the common, concerted effort behind

Purdue’s deceptive statements.

       620.    The Policymaker’s Guide further misrepresented the safety of increasing doses of

opioids and deceptively minimized the risk of withdrawal. For example, the Policymaker’s Guide

claimed that “[s]ymptoms of physical dependence” on opioids in long-term patients “can often be

ameliorated by gradually decreasing the dose of medication during discontinuation” while omitting

the significant hardship that often accompanies cessation of use. Similarly, the Policymaker’s

Guide taught that even indefinite dose escalations are “sometimes necessary” to reach adequate

levels of pain relief while completely omitting the safety risks associated with increased doses.

       621.    Purdue provided substantial monetary assistance toward the creation and

dissemination of the Policymaker’s Guide, providing APF with $26,000 in grant money. APF

ultimately disseminated Policymaker’s Guide on behalf of Defendants, including Purdue. Purdue

was not only kept abreast of the content of the guide as it was being developed, but, based on the

periodic reports APF provided to Purdue regarding its progress on the Policymaker’s Guide, had

editorial input of the contents.

       622.    The Policymaker’s Guide was posted online and was available to, and intended to

 reach Lamar County and Vernon prescribers and consumers. As described below, the deceptive

 statements in Policymaker’s Guide regarding addiction and functionality were the very same

 messages Purdue, upon information and belief, directed at Lamar County and Vernon through its

 own sales force.




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               c) Treatment Options: A Guide for People Living with Pain

       623.    Purdue’s partnership with APF did not end with the Policymaker’s Guide. Purdue

also substantially assisted APF by beginning to sponsor Treatment Options: A Guide for People

Living with Pain in 2007. Based on Purdue’s control of other APF projects, Purdue also would

have exercised control over Treatment Options.

       624.    Treatment Options is rife with misrepresentations regarding the safety and efficacy

of opioids. For example, Treatment Options misrepresents that the long-term use of opioids to treat

chronic pain could help patients function in their daily lives by stating that, when used properly,

opioids “give [pain patients] a quality of life [they] deserve.”

       625.      Further, as outlined above, Treatment Options claims that addiction is rare and

that, when it does occur, it involves unauthorized dose escalations, patients who receive opioids

from multiple doctors, or theft, painting a narrow and misleading portrait of opioid addiction.

       626.    Treatment Options also promotes the use of opioids to treat long-term chronic pain

by denigrating alternate treatments, most particularly NSAIDs. Treatment Options notes that

NSAIDs can be dangerous at high doses and inflates the number of deaths associated with NSAID

use, distinguishing opioids as having less risk. According to Treatment Options, NSAIDs are

different from opioids because opioids have “no ceiling dose.” This lack of ceiling is considered

to be beneficial as some patients “need” larger doses of painkillers than they are currently

prescribed. Treatment Options warns that the risks associated with NSAID use increased if

NSAIDs are “taken for more than a period of months,” but deceptively omits any similar warning

about the risks associated with the long-term use of opioids.

       627.    Treatment Options was posted online and remains online today. It was available to

and intended to reach Lamar County and Vernon prescribers and patients. As described below, the


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deceptive statements in Treatment Options regarding addiction and functionality echo the messages

Purdue upon information and belief directed at Lamar County and Vernon through its own sales

force. Purdue also engaged in other promotional projects with and through APF. One such project

was the publication and distribution of Exit Wounds, which, as described above, deceptively

portrayed the risks, benefits, and superiority of opioids to treat chronic pain.

       628.    Purdue provided APF with substantial assistance in distributing Exit Wounds in

Lamar County and Vernon and throughout the nation by providing grant money and other

resources.

                     ii.   Purdue’s Work with Other Third Party Front Groups and KOLs

       629.    Purdue also provided other third-party Front Groups with substantial assistance in

issuing misleading statements regarding the risks, benefits, and superiority of opioids for the long-

term treatment of chronic pain.

               a) FSMB – Responsible Opioid Prescribing

       630.    In 2007, Purdue sponsored FSMB’s Responsible Opioid Prescribing, which, as

described above, deceptively portrayed the risks, benefits, and superiority of opioids to treat

chronic pain. Responsible Opioid Prescribing also was drafted by Dr. Scott Fishman.

       631.      Purdue spent $150,000 to help FSMB distribute Responsible Opioid Prescribing.

The book was distributed nationally, and was available to and intended to reach prescribers in

Lamar County and Vernon.




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               b) AGS – Pharmacological Management of Persistent Pain in Older Persons

       632.    Along with Janssen, Purdue worked with the AGS on a CME to promote the 2009

guidelines for the Pharmacological Management of Persistent Pain in Older Persons. As discussed

above, these guidelines falsely claimed that “the risks [of addiction] are exceedingly low in older

patients with no current or past history of substance abuse” as the study supporting this assertion

did not analyze addiction rates by age. They also stated, falsely, that “[a]ll patients with moderate

to severe pain should be considered for opioid therapy (low quality of evidence, strong

recommendation).”

       633.    Controversy surrounding earlier versions of AGS guidelines had taught AGS that

accepting money directly from drug companies to fund the guidelines’ development could lead to

allegations of bias and “the appearance of conflict.” Accordingly, AGS endeavored to eliminate

“the root cause of that flack” by turning down commercial support to produce the 2009 Guidelines.

Having determined that its veneer of independence would be tarnished if it accepted drug company

money to create the content, AGS decided to develop the guidelines itself and turn to the drug

companies for funding to distribute the pro-drug company content once it had been created. As

explained by AGS personnel, it was AGS’s “strategy that we will take commercial support to

disseminate [the 2009 Guidelines] if such support is forthcoming.” AGS knew that it would be

difficult to find such support unless the report was viewed favorably by opioid makers.

       634.    AGS sought and obtained grants from Endo and Purdue to distribute

Pharmacological Management of Persistent Pain in Older Persons. As a result, the publication

was distributed nationally, and was available to and was intended to reach Lamar County and

Vernon prescribers. Indeed, internal documents of another Defendant, Endo, indicate that




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pharmaceutical sales representatives employed by Purdue discussed treatment guidelines that

minimized the risk of addiction to opioids with doctors during individual sales visits.150

                    c) Chronic Pain Management and Opioid Use: Easing Fears, Managing Risks, and
                       Improving Outcomes

          635.      Purdue sponsored a 2012 CME program called Chronic Pain Management and

Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

deceptively instructed doctors that, through the use of screening tools, more frequent refills, and

other techniques, high-risk patients showing signs of addictive behavior could be treated with

opioids. This CME was presented at various locations in the United States and is available online

today.

                    d) Managing Patient’s Opioid Use: Balancing the Need and Risk

          636.      Purdue also sponsored a 2011 CME taught by KOL Lynn Webster via webinar titled

Managing Patient’s Opioid Use: Balancing the Need and Risk. This presentation also deceptively

instructed prescribers that screening tools, patient agreements, and urine test prevented “overuse of

prescriptions” and “overdose deaths.” At the time, Dr. Webster was receiving significant funding

from Purdue. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run

by Purdue (and other Defendants). The webinar was available to and was intended to reach Lamar

County and Vernon prescribers.

                    e) Path of the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse

          637.      Purdue also sponsored a CME program entitled Path of the Patient, Managing

Chronic Pain in Younger Adults at Risk for Abuse. Path of the Patient was devoted entirely to the

message of treating chronic pain with opioids. Although the program purported to instruct a


150
   As described above, Purdue also provided substantial support for the AAPM/APS guidelines. The 1997 AAPM and APS consensus statement The
Use of Opioids for the Treatment of Chronic Pain was authored by one of its paid speakers, and 14 out of 21 panel members who drafted the
AAPM/APS Guidelines received support from Defendants Janssen, Cephalon, Endo, and Purdue.


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treating physician how to manage chronic pain in younger adults at risk for abuse, it does no such

thing.

         638.   This “educational” program, addressing treatment of a population known to be

particularly susceptible to opioid addiction, presents none of the alternative treatment options

available, only discussing treatment of chronic pain with opioids.

         639.   In a role-play in Path of the Patient, a patient who suffers from back pain tells his

doctor that he is taking twice as many hydrocodone pills as directed. The doctor reports that the

pharmacy called him because of the patient’s early refills. The patient has a history of drug and

alcohol abuse. Despite these facts, the narrator notes that, because of a condition known as

“pseudoaddiction,” the doctor should not assume his patient is addicted even if he persistently asks

for a specific drug, seems desperate, hoards medicine, or “overindulges in unapproved escalating

doses.” The doctor in the role-play treats this patient by prescribing a high-dose, long-acting

opioid. This CME was available online and was intended to reach Lamar County and Vernon’s

prescribers.

                f) Overview of Management Options

         640.   Purdue also sponsored a CME titled Overview of Management Options issued by the

American Medical Association in 2003, 2007, and 2013 (the latter of which is still available for

CME credit). The CME was edited by KOL Russel Portenoy, among others. It deceptively instructs

physicians that NSAIDs and other drugs, but not opioids, are unsafe at high doses. In reality, the

data indicates that patients on high doses of opioids are more likely to experience adverse

outcomes than patients on lower doses of the drugs. Dr. Portenoy received research support,

consulting fees, and honoraria from Purdue (among others), and was a paid Purdue consultant. This




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CME was presented online in the United States and was available to Lamar County and Vernon

prescribers.

                             iii.      Purdue’s Misleading Science

           641.       Purdue also misrepresented the risks associated with long-term opioid use by

promoting scientific studies in a deceptive way. In 1998, Purdue funded two articles by Dr.

Lawrence Robbins, which showed that between 8% and 13% of the patients he studied became

addicted to opioids—a troubling statistic for Purdue, whose market, and marketing, depended upon

the claim that opioids were rarely addictive.151 Purdue had these articles placed in headache-

specific journals where they would be less likely to be encountered by pain specialists or general

practitioners. The first of these articles has been cited a mere 16 times; the second does not even

appear on Google scholar. Five years later, Purdue funded a study of OxyContin in diabetic

neuropathy patients, which was published in 2003. Notwithstanding the fact that that Purdue-

funded studies, testing Purdue’s own drugs, had previously indicated that addiction rates were

between 8% and 13%, Purdue’s 2003 article reached back to the 1980 Porter-Jick Letter to support

its claim that OxyContin was not commonly addictive. This article was placed in a prominent pain

journal and has been cited 487 times.152 While this article was drafted over a decade ago, it

continues to be relied upon to further the misrepresentations that opioids are not addictive.

                      a)         Purdue’s Deceptive Statements to Lamar County and Vernon Prescribers
                                 and Patients

           642.       Upon information and belief, Purdue directed the dissemination of the

misstatements described above to Lamar County and Vernon patients and prescribers through the

Front Groups, KOLs, and publications described above, as well as upon information and belief

151
    Lawrence Robbins, Long-Acting Opioids for Severe Chronic Daily Headache, 10(2) Headache Q. 135 (1999); Lawrence Robbins, Works in
Progress: Oxycodone CR, a Long-Acting Opioid, for Severe Chronic Daily Headache, 19 Headache Q. 305 (1999).
152
    C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain: a randomized controlled trial I painful diabetic neuropathy,
105 Pain 71 (2003).


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through its sales force in Lamar County and Vernon and through advertisements in prominent

medical journals. The deceptive statements distributed through each of these channels reflect a

common theme of misrepresenting the benefits of Purdue’s opioids, unfairly portraying the risks of

addiction associated with their use, and deceptively implying that they would improve patients’

ability to function.

        643.    The deceptive message that OxyContin provided 12 hours of pain relief was not

only available to, and intended to, reach Lamar County and Vernon prescribers through nationally

circulated advertising, but was also upon information and belief carried directly into the offices of

Lamar County and Vernon doctors by Purdue’s sales representatives.

        644.    Likewise, the deceptive messages minimizing addiction were not only directed at

Lamar County and Vernon patients and prescribers through the publications circulated above, but

were also disseminated directly by Purdue’s sales force.

        645.    Purdue also used its sales force to disseminate misleading statements about the

ability of opioids to improve functionality.

        646.    Purdue’s national marketing campaign included the misrepresentations described

above and the company upon information and belief disseminated these same misrepresentations to

Lamar County and Vernon prescribers and consumers. In particular, these prescriber accounts

reflect that Purdue detailers omitted or minimized the risk of opioid addiction; claimed that

Purdue’s drugs would be less problematic for patients because they had extended release

mechanisms, were tamper proof, and were “steady state”; claimed that OxyContin would provide

12 hours of pain relief; represented that screening tools could help manage the risk of addiction;

minimized the symptoms of withdrawal; claimed or implied that opioids were safer than NSAIDs;

and overstated the benefits of opioids, including by making claims of improved function.


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          647.       A survey of a sample of physicians, who reported the messages that they retained

from detailing visits and other promotional activity, documented that Purdue sales representatives

from at least between 2008 and 2012, promoted OxyContin as being effective for a full 12 hours.

Purdue sales representatives also promoted OxyContin as improving patients’ sleep (an

unsubstantiated functional improvement) to an orthopedic surgeon in 2006 and to a physicians’

assistant in 2013. Purdue sales representatives also told internists that the reformulation of

OxyContin prevented illegal drug use and that the formulation was ‘less addicting,” rather than

being harder to adulterate. In 2011 Purdue sales representatives also claimed that the sustained-

release property of OxyContin reduced patient “buzz,” which is neither based on scientific

evidence nor true.

          648.       The same survey indicated that Purdue sales representatives promoted its Schedule

III opioid Butrans as having low or little abuse potential.

          649.       Insys was co-founded in 2002 by Dr. John Kapoor, a serial pharmaceutical industry

entrepreneur “known for applying aggressive marketing tactics and sharp price increases on older

drugs.”153

          650.       In 2012, Insys received U.S. Food and Drug Administration approval for Subsys, a

fentanyl sublingual spray product designed to treat breakthrough cancer pain. However, Insys

encountered significant obstacles due to insurers employing a process known as prior

authorization.         Prior authorization prevents the over prescription and abuse of powerful and

expensive drugs. The prior authorization process requires “additional approval from an insurer or

its pharmacy benefit manager before dispensing…” and may also impose step therapy which



153
   U.S. senate Homeland Security & Governmental Affairs Committee, Insys Therapeutics and the Systemic Manipulation of Prior Authorization
(quoting Fentanyl Billionaire Comes Under Fire as Death Toll Mounts From Prescription Opioids, Wall Street Journal (Nov. 22, 2016)
(www.wsj.com/articles/fentanylbillionaire-comes-under-fire-as-death-toll-mounts-from-prescription-opioids-1479830968)).


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requires beneficiaries to first use less expensive medications before moving on to a more expensive
                154
approach.

           651.       Insys circumvented this process by forming a prior authorization unit, known at one

point as the Insys Reimbursement Center (“IRC”), to facilitate the process using aggressive and

likely illegal marketing techniques. Insys published education articles that praised their products’

non-addictive nature; and funded patient advocacy groups who unknowingly promoted Insys’

agenda of raising the profile of pain so that drugs could be prescribed to treat it. Furthermore,

Insys’ former sales representatives, motivated by corporate greed, paid off medical practitioners to

prescribe Subsys in spite of any medical need.155                            Insys employees were pressured internally and

received significant monetary incentives to increase the rate of prescription approvals. 156

           652.       According to a federal indictment and ongoing congressional investigation by Sen.

Claire McCaskill, IRC employees pretended to be with doctors’ offices and falsified medical

histories of patients.            The report, acquired by McCaskill’s investigators, includes transcripts and

an audio recording of employees implementing these techniques in order to obtain authorization

from insurers and pharmacy benefit managers. The transcript reveals an Insys employee pretending
                                                                                                                                         157
to call on behalf of a doctor and inaccurately describes the patient’s medical history.                                                        For

example, Insys employees would create the impression that the patient had cancer, without

explicitly saying so, because cancer was a requirement for prior clearance to prescribe Subsys.


154
   Senate Permanent Subcommittee on Investigations, Combatting the Opioid Epidemic: A Review of Anti-Abuse Efforts in Medicare and Private
Health Insurance Systems; see also Department of Health and Human Services, Centers for Medicare & Medicaid Services, How Medicare
Prescription Drug Plans & Medicare Advantage Plans with Prescription Drug Coverage Use Pharmacies, Formularies, & Common Coverage
Rules
155
    Lopez, Linette. “It’s been a brutal week for the most shameless company in the opioid crisis- and it’s about to get worse,” Business Insider,
http://www.businessinsider.com/opioid-addiction-drugmaker-insys-arrests-justice-department-action-2017-7
156
     Boyd, Roddy. Murder Incorporated: Insys Therapeutics. Part 1. Southern Investigative Reporting Foundation. http://sirf-
online.org/2015/12/03/murder-incorporated-the-insys-therapeutics-story/; see also Indictment. United States v. Babich, et al., D. Mass. (No. 1;16 CR
10343).
157
    U.S. Senate Homeland Security & Governmental Affairs Committee, Fueling an Epidemic: Insys Therapeutics and the Systematic Manipulation
of Prior Authorization, see p. 7-10.


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Insys was warned by a consultant that it lacked needed policies for governing such activities, but

the executives failed to implement corrective internal procedures.

            653.    In a class action law suit against Insys, it was revealed that management “was aware

that only about 10% of prescriptions approved through the Prior Authorization Department were

for cancer patients,” and an Oregon Department of Justice Investigation found that 78% of
                                                                                                                                     158
preauthorization forms submitted by Insys on behalf of Oregon patients were for off-label uses.

Physicians are allowed to prescribe medications for indications outside of FDA guidelines if they

see fit, but it is illegal for pharmaceutical companies to market a drug for off-label use.

            654.    In 2008, biopharmaceutical company Cephalon settled with the U.S. Government

for 425 million in a suit against the company that alleged it marketed drugs for unapproved uses

(off-label). The FDA approved the drug only for opioid tolerant cancer patients.                                 According to the

Oregon settlement and class-action lawsuit, at least three employees involved in sales and/or

marketing at Cephalon had moved over to Insys Therapeutics.159

            655.    Additionally, Insys created a “legal speaker program” which turned out to be a

scam. The Justice Department commented on the program and stated:

            The Speaker Programs, which were typically held at high-end restaurants, were
            ostensibly designed to gather licensed healthcare professionals who had the
            capacity to prescribe Subsys and educate them about the drug. In truth, the events
            were usually just a gathering of friends and co-workers, most of whom did not
            have the ability to prescribe Subsys, and no educational component took place.
            “Speakers” were paid a fee that ranged from $1,000 to several thousand dollars
            for attending these dinners. At times, the sign-in sheets for the Speaker Programs
            were forged so as to make it appear that the programs had an appropriate audience
            of healthcare professionals.




158
   Gusovsky, Dina. The Pain Killer: A drug Company Putting Profits Above Patients, CNBC (https://www.cnbc.com/2015/11/04/the-deadly-drug-
appeal-of-insys-pharmaceuticals.html)
159
      Id.


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            656.     Insys paid hundreds of thousands of dollars to doctors in exchange for prescribing

Subsys and three top prescribers have already been convicted of taking bribes.

            657.     Fentanyl products are considered to be the most potent and dangerous opioids on the

market and up to 50 times more powerful than heroine.160

            658.     In an internal presentation dated 2012 and entitles, “2013 SUBSYS Brand Plan,”

Insys identified one of six “key strategic imperatives” as “Mitigate Prior Authorization barriers.” 161

On a later slide, the company identified several tasks associated with this effort, including “Build

internal [prior authorization] assistance infrastructure,” “Establish an internal 1-800 reimbursement

assistance hotline,” and “Educate field force on [prior authorization] process and facilitation.”162

            659.       Additional materials produced by Insys to the minority staff suggest, however, that

Insys did not match these efforts with sufficient compliance processes to prevent fraud and was

internally aware of the danger of problematic practices. Specifically, on February 18, 2014,

Compliance Implementation Services (CIS)—a healthcare consultant—issued a draft report to

Insys titled, “Insys Call Note, Email, & IRC Verbatim Data Audit Report.”163 The introduction to

the report explained that “CIS was approached by Insys’s legal representative … on behalf of the

Board of Directors for Insys to request that CIS support in review of certain communications with

Health Care Professionals (HCPs) and INSYS employees, and report how there were being

documented.”164 Insys had expressed concerns “with respect to communications with HCPs by

INSYS employees being professional in nature and in alignment with INSYS approved topics

160
    U.S. Department of Justice. Drug Enforcement Administration. A Real Threat to Law Enforcement: Fentanyl.
https://www.dea.gov/druginfo/DEA%20Targets%20Fentanyl%20%20A%20Real%20Threat%20to%20Law%20Enforcement%20(2016).pdf
161
   U.S. senate Homeland Security & Governmental Affairs Committee, Insys Therapeutics and the Systemic Manipulation of Prior Authorization
(quoting Insys Therapeutics, Inc., 2013 Subsys Brand Plan, 2012 Assessment (2012) (INSYS_HSGAC_00007472)).
162
      Id. at INSYS_HSGAC_00007765.
163
   U.S. senate Homeland Security & Governmental Affairs Committee, Insys Therapeutics and the Systemic Manipulation of Prior Authorization
(quoting Compliance Implementation Services, Insys Call Note, Email & IRC Verbatim Data Audit Report (Feb. 18, 2014)
(INSYS_HSGAC_00007763)).
164
      Id. at INSYS_HSGAC_00007765.


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regarding off or on-label promotion of an INSYS product, and general adherence to INSYS

documentation requirements.”165 An additional concern “stemmed from the lack of monitoring of

commercial activities where these types of interactions could occur.”166

            660.     Given these issues, Insys requested that CIS review—in part—“the general

communications from the INSYS Reimbursement Center (IRC) to HCPs, their office staff or

representatives, as well as health insurance carriers … to ensure they were appropriate in nature

with respect to specific uses of SUBSYS, INSYS’ commercially marketed product.”167

            661.     According to the findings CIS issued, Insys lacked formal policies governing the

actions of its prior authorization unit. For example, “[n]o formal and approved policy on

appropriate communications between IRC employees and HCPs, their staff, [health care insurers

(HCIs)], or patients exists…that governs the support function of obtaining a prior authorization for

the use of SUBSYS.”168

            662.     In addition, the report noted that “there were also gaps in formally approved

foundational policies, procedures, and [standard operating procedures] with respect to required

processes specifically within the IRC.”169

            663.     In fact, “[t]he majority of managerial directives, changes to controlled documents or

templates, as well as updates or revisions to processes were not formally approved, documented,

and disseminated for use, and were sent informally via email blast.”170




165
      Id.
166
      Id.
167
      Id.
168
      Id. at INSYS_HSGAC_00007770.
169
      Id. at INSYS_HSGAC_00007768.
170
      Id. at INSYS_HSGAC_00007771.


                                                      213
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            664.     Although four informal standard operating procedures existed with regarded to IRC

functions, these documents “lacked a formal review and approval” and failed to “outline

appropriately the actions performed within the IRC.”171

            665.     The report also explains that Insys lacked procedures for auditing interactions

between IRC employees and outside entities. According to CIS, “no formal, documented, or

detailed processes by which IRC representatives’ calls via telephone were audited for proper

communication with HCPs or HCIs in any fashion [existed] other than random physical review of a

call in a very informal and sporadic manner.”172

            666.     More broadly, the report notes that “no formal and documented auditing and

monitoring or quality control policy, process, or function exists between IRC employee

communications and HCPs, HCP staff, HCIs, or patients.”173

            667.          At the end of the report, CIS provided a number of recommendations concerning

IRC activities. First, CIS suggested that IRC management “formally draft and obtain proper review

and approval of an IRC specific policy detailing the appropriate communications that should occur

while performing the IRC associate job functions and interacting with HCPs.”174

            668.     Similarly, IRC management was urged to formally draft IRC-specific standard

operating procedures “specific to each job function within the IRC,” accompanied by “adequate

training and understanding of these processes.”175 To ensure compliance with IRC standards, Insys

was also directed to create an electronic system to allow management “to monitor both live and




171
      Id. at INSYS_HSGAC_00007770.
172
      Id. at INSYS_HSGAC_00007769.
173
      Id. at INSYS_HSGAC_00007771.
174
      Id. at INSYS_HSGAC_00007770.
175
      Id. at INSYS_HSGAC_00007771.


                                                     214
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anonymously IRC employee communications both incoming and outgoing.” 176 Finally, CIS

recommended that Insys institute a formal process for revising and updating “IRC documentation

used for patient and HCP data.”177

               669.         The CIS report concluded by noting, in part, that a review of ten conversations

 between IRC employees and healthcare providers, office staff, and insurance carriers revealed

 “that all IRC staff was professional in communication, and in no instance was inaccurate or off-

 label usage of SUBSYS communicated.”178

             670.       Yet within a year of this conclusion, according to the recording transcribed below,

an Insys IRC employee appears to have misled a PBM representative regarding the IRC

employee’s affiliation and the diagnosis applicable to Sarah Fuller. The alleged result, in that case,

was death due to inappropriate and excessive Subsys prescriptions.

             671.       One former Insys sales representative described the motto of this approach to

patients as “Start them high and hope they don’t die.”179

             6. Mallinckrodt

             672.       Mallinckrodt is a pharmaceutical manufacturer and one of the largest manufacturers

of oxycodone.

             673.       On July 11, 2017, Mallinckrodt agreed to pay $35 million to settle allegations that it

violated certain provisions of the Controlled Substances Act (CSA).180




176
      Id.
177
      Id.
178
      Id. at INSYS_HSGAC_00007772.
179
      Amended Class Action Complaint, Larson v. Insys Therapeutics Inc. (D. Ariz. Oct. 27, 2014.)
180
      https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-orders


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            674.   The settlement addressed Mallinckrodt’s failure to meet its obligations to detect and

notify the DEA of suspicious orders of controlled substances such as oxycodone and violations in

the Mallinckrodt’s manufacturing batch records at its plant in Hobart, New York.181

            675.   The DOJ stated, “Mallinckrodt’s actions and omissions formed a link in the chain of

supply that resulted in millions of oxycodone pills being sold on the street.”182

            676. The government alleged that Mallinckrodt failed to design and implement an

effective system to detect and report “suspicious orders” for controlled substances – orders that are

unusual in their frequency, size, or other patterns. From 2008 until 2011, the U.S. alleged,

Mallinckrodt supplied distributors, and the distributors then supplied various U.S. pharmacies and

pain clinics, an increasingly excessive quantity of oxycodone pills without notifying DEA of these

suspicious orders.183

            677.   The government also alleged that Mallinckrodt violated record keeping

requirements at its manufacturing facility in upstate New York. Among other things, these

violations created discrepancies between the actual number of tablets manufactured in a batch and

the number of tablets Mallinckrodt reported on its records. Accurate reconciliation of records at the

manufacturing stage is a critical first step in ensuring that controlled substances are accounted for

properly through the supply chain.184

       F. The Result of Defendants’ Fraudulent Scheme

            678.   Through their direct promotional efforts, along with those of the third-party Front

Groups and KOLs they assisted and controlled, and whose seemingly objective materials they

distributed, Defendants accomplished exactly what they set out to do: change the institutional and


181
      Id.
182
      Id.
183
      Id.
184
      Id.

                                                    216
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public perception of the risk-benefit assessments and standard of care for treating patients with

chronic pain. As a result, Lamar County and Vernon doctors began prescribing opioids long-term

to treat chronic pain—something most would never have considered prior to Defendants’

campaign.

        679. But for the misleading information disseminated by Defendants, doctors would not,

in most instances, have prescribed opioids as medically necessary or reasonably required to address

chronic pain.

       1. Defendants’ Fraudulent and Deceptive Marketing of Opioids Directly Caused
          Harm to Lamar County and Vernon.

       680.     In the first instance, Lamar County and Vernon was damaged directly, through its

payments of false claims for chronic opioid therapy by (a) partially funding a medical insurance

plan for their employees and (b) their workers’ compensation programs.

       681.     Defendants’ marketing of opioids caused health care providers to prescribe, and

Lamar County and Vernon, through partially funding medical insurance plans for their employees

and their workers’ compensation program, to pay for prescriptions of opioids to treat chronic pain.

Because of Defendants’ unbranded marketing, health care providers wrote and Lamar County and

Vernon paid for prescriptions of opioids for chronic pain that were filled not only with their drugs,

but with opioids sold by other manufacturers. All of these prescriptions were caused by

Defendants’ fraudulent marketing and therefore all of them constitute false claims. Because, as laid

out below, Lamar County and Vernon are obligated to cover medically necessary and reasonably

required care, they had no choice but to pay for these false and fraudulent claims.

       682.     The fact that Lamar County and Vernon would pay for these ineligible prescriptions

was both the foreseeable and intended consequence of Defendants’ fraudulent marketing scheme.

Defendants set out to change the medical and general consensus supporting chronic opioid therapy

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with the intention of encouraging doctors to prescribe, and government payers such as Lamar

County and Vernon, to pay for long-term prescriptions of opioids to treat chronic pain despite the

absence of genuine evidence supporting chronic opioid therapy and the contrary evidence

regarding the significant risks and limited benefits from long-term use of opioids.

                     a. Increase in Opioid Prescribing Nationally

          683.       Defendants’ scheme to change the medical consensus regarding opioid therapy for

chronic pain was greatly successful. During the year 2000, outpatient retail pharmacies filled 174

million prescriptions for opioids nationwide, rising to 257 million in 2009.185

          684.         Opioid prescriptions increased even as the percentage of patients visiting doctors

for pain remained constant. A study of 7.8 million doctor visits between 2000 and 2010 found that

opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and acetaminophen

prescriptions fell from 38% to 29%, driven primarily by the decline of NSAID use.186

          685.       Approximately 20% of the population between the ages of 30 and 44 and nearly

30% of the population over 45 have used opioids. Indeed, “[o]pioids are the most common means

of treatment for chronic pain.”187 From 1980 to 2000, opioid prescriptions for chronic pain visits

doubled. This resulted not from an epidemic of pain, but an epidemic of prescribing. A study of 7.8

million doctor visits found that prescribing for pain increased by 73% between 2000 and 2010—

even though the number of office visits in which patients complained of pain did not change and

prescribing of non-opioid pain medications decreased. For back pain alone—one of the most

common chronic pain conditions—the percentage of patients prescribed opioids increased from




185
    Office of National Drug Control Policy, 2011 Prescription Drug Abuse Prevention Plan, Whitehouse.gov, (no longer available on
whitehouse.gov), https://obamawhitehouse.archives.gov/ondcp/prescription-drug-abuse1
186
    Matthew Daubresse et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United States, 2000-2010, 51(10) Med. Care 870
(2013).
187
    Deborah Grady et al., Opioids for Chronic Pain, 171(16) Arch. Intern. Med. 1426 ( 2011).


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19% to 29% between 1999 and 2010, even as the use of NSAIDs or acetaminophen declined and

referrals to physical therapy remained steady—and climbing.

       686.    This increase corresponds with, and was caused by, Defendants’ massive marketing

push. As reflected in the chart below, according to data obtained from a marketing research

company, Defendants’ spending on marketing of opioids nationwide—including all of the drugs at

issue here—stood at more than $20 million per quarter and $91 million annually in 2000. By 2011,

that figure hit its peak of more than $70 million per quarter and $288 million annually, an increase

of more than three-fold. By 2014, the figures dropped to roughly $45 million per quarter and $182

million annually, as Defendants confronted increasing concerns regarding opioid addiction, abuse,

and diversion, and as Janssen, which accounted for most of the spending reduction, prepared to sell

its U.S. rights to Nucynta and Nucynta ER. Even so, Defendants still spent double what they had

spent in 2000 on opioid marketing.




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       687.    Defendants’ opioid detailing visits to individual doctors made up the largest

component of this spending, with total detailing expenditures more than doubling between 2000

and 2014 to $168 million annually.

       688.    Each Defendant's promotional spending reflects its participation in this marketing

blitz. Between 2000 and 2011:

              Actavis’s promotional spending, which was virtually nonexistent in the

               2004-2008 period, began to sharply rise 2009. The third quarter of 2011

               saw a peak of $3 million at one point in 2011 and nearly $7 million for the

               year, as shown below:




                                                220
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    Cephalon’s quarterly spending steadily climbed from below $1 million in

     2000 to more than $4 million in 2014 (and more than $13 million for the

     year), including a peak, coinciding with the launch of Fentora, of nearly

     $9 million half way through 2007 (and more than $27 million for the

     year), as shown below:




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    Endo 's quarterly spending went from the $2 million to $4 million range

     from 2000 to 2004 to more than $10 million following the launch of

     Opana ER in mid-2006 (and more than $38 million for the year in 2007)

     and more than $8 million coinciding with the launch of a reformulated

     version in 2012 (and nearly $34 million for the year):




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    Janssen’s quarterly spending dramatically rose from less than $5 million in

     2000 to more than $30 million in 2011, coinciding with the launch of

     Nucynta ER (with yearly spending at $142 million for 2011) as shown

     below:




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    Purdue’s quarterly spending notably decreased from 2000 to 2007, as

     Purdue came under investigation by the Department of Justice, but then

     spiked to above $25 million in 2011 (for a total of $110 million that year),

     and continued to rise, as shown below:




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              a. Plaintiffs Increased Spending on Opioids

       689.   As a direct and foreseeable consequence of Defendants’ wrongful conduct,

Plaintiffs have been required to spend significant funds each year in their efforts to combat the

public nuisance created by Defendants’ deceptive marketing campaign. All Plaintiffs have

incurred, and continue to incur, costs related to opioid addiction and abuse, including, but not

limited to, health care costs, criminal justice and victimization costs, social costs, and lost

productivity costs. Defendants’ misrepresentations regarding the safety and efficacy of long-term

opioid use proximately caused injury to Plaintiffs and the residents of Lamar County and Vernon.

                    i.   Defendants’ Misrepresentations Were Material

       690.   Defendants’ misrepresentations were material to, and influenced, Lamar County’s

and Vernon’s decisions to pay claims for opioids for chronic pain (and, therefore, to bear its



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consequential costs in treating overdose, addiction, and other side effects of opioid use). In the first

instance, Lamar County and Vernon would not have been presented with, or paid, claims for

opioids that would not have been written but for Defendants’ fraudulent and deceptive marketing.

Second, Lamar County and Vernon have demonstrated that Defendants’ marketing is material by

taking further steps to ensure that the opioids are only prescribed and covered when medically

necessary or reasonably required.

       691.    As laid out above, Defendants’ misrepresentations related to Lamar County’s and

Vernon’s requirement that medical treatments be medically necessary or reasonably required – a

condition of payment for any medical treatment under Lamar County’s and Vernon’s local

government health plans that are underwritten by Blue Cross Blue Shield of Alabama and under

their respective workers’ compensation programs. But for Defendants’ fraudulent and deceptive

marketing, prescribers would have accurately understood the risks and benefits of opioids and

would not have prescribed opioids where not medically necessary or reasonably required to treat

chronic pain. Misrepresentations as to, for example, whether patients were likely to become

addicted to the drug, would be able to resume life activities, and would experience long-term relief

were not minor or insubstantial matters, but the core of prescribers’ decision-making.

       692.    The practice of Lamar County’s and Vernon’s local government health insurance

plans, respectively, is not to pay claims that are not medically necessary or reasonably required.

However, neither Lamar County and Vernon nor its underwriter would have known whether a

prescriber had made an informed judgment that a particular claim for opioids was medically

necessary or reasonably required, or, conversely had acted under the influence of Defendants’

fraudulent and deceptive marketing. It is not clear from the face of a claim whether: (1) the patient

suffered from cancer or another terminal condition, for example, where long-term prescribing was


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medically necessary or appropriate; or (2) the prescriber was exposed to Defendants’ marketing

materials, treatment guidelines, or education programs, or visited by a drug representative who

engaged in affirmative misrepresentations or omissions, for example.

                          ii.    Increased Costs Correlate with Defendants’ Promotion

           693.     Lamar County’s and Vernon’s spending on opioids rose along with Defendants’

spending to promote opioids. That spending had a direct impact on opioid use (and its

consequences in abuse, addiction, and overdose) in Lamar County and Vernon.

           694.     It is also distressing and a sign of further problems ahead that the drop in opioid

prescribing beginning in 2014 has been accompanied by a corresponding increase in Defendants’

promotional spending, which is headed towards a new high, despite evidence of the grave toll that

opioids are taking on law enforcement, public health, and individual lives.

           2. Defendants’ Fraudulent and Deceptive Marketing of Opioids Directly Caused
              Harm to Lamar County and Vernon Consumers.

                    a. Increased Opioid Use Has Led to an Increase in Opioid Abuse, Addiction, and
                       Death

           695.     Nationally, the sharp increase in opioid use has led directly to a dramatic increase in

opioid abuse, addiction, overdose, and death. Scientific evidence demonstrates a very strong

correlation between therapeutic exposure to opioid analgesics, as measured by prescriptions filled,

and opioid abuse. “Deaths from opioid overdose have risen steadily since 1990 in parallel with

increasing prescription of these drugs.”188 Prescription opioid use contributed to 16,917 overdose

deaths nationally in 2011—more than twice as many deaths as heroin and cocaine combined; drug

poisonings now exceed motor vehicle accidents as a cause of death. More Americans have died

from opioid overdoses than from participation in the Vietnam War.


188
      Deborah Grady et al., Opioids for Chronic Pain, 171(16) Arch. Intern. Med. 1426 ( 2011).

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       696.    Contrary to Defendants’ misrepresentations, most of the illicit use stems from

prescribed opioids; in 2011, 71% of people who abused prescription opioids got them through

friends or relatives, not from drug dealers or the internet. According to the CDC, the 80% of opioid

patients who take low-dose opioids from a single prescriber (in other words, who are not illicit

users or “doctor-shoppers”) account for 20% of all prescription drug overdoses.

       697.    Death statistics represent only the tip of the iceberg. According to 2009 data, for

every overdose death that year, there were nine abuse treatment admissions, 30 emergency

department visits for opioid abuse or misuse, 118 people with abuse or addiction problems, and

795 non-medical users. Nationally, there were more than 488,000 emergency room admissions for

opioids other than heroin in 2008 (up from almost 173,000 in 2004).

       698.    Emergency room visits tied to opioid use likewise have sharply increased in Lamar

County and Vernon and/or for residents of Lamar County and Vernon.

       699.    Widespread opioid use and abuse in Lamar County and Vernon are problems even

when they do not result in injury or death. Opioid addiction is affecting residents of all ages,

ethnicities, and socio-economic backgrounds in the county and city. Many addicts start with a legal

opioid prescription—chronic back pain, fibromyalgia, or even dental pain—and do not realize they

are addicted until they cannot stop taking the drugs.

       700.       These glaring omissions, described consistently by counselors and patients,

mirror and confirm Defendants’ drug representatives’ own widespread practice, as described

above, of omitting any discussion of addiction from their sales presentations to physicians or in

their “educational” materials.




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                 b. Increased Opioid Use Has Increased Costs Related to Addiction Treatment

        701.     Lamar County and Vernon have within their territories opioid treatment programs

that provide a comprehensive treatment program for persons addicted to heroin or other opioids.

        702.     In addition to intense counseling, many treatment programs prescribe additional

drugs to treat opioid addiction. Nationally, in 2012, nearly 8 billion prescriptions of the two drugs

commonly used to treat opioid addiction—buprenorphine/naloxone and naltrexone—were written

and paid for. Studies estimate the total medical and prescription costs of opioid addiction and

diversion to public and private healthcare payers to be $72.5 billion.

        703.     Upon information and belief, both Lamar County’s and Vernon’s local government

health insurance plans have expended significant dollars for treatment of opioid addiction as a

direct and proximate result of Defendants’ conduct alleged herein.

                 c. Increased Opioid Use Has Fueled An Illegal Secondary Market for Narcotics
                    and the Criminals Who Support It

        704.     Defendants’ success in extending the market for opioids to new patients and chronic

conditions has created an abundance of drugs available for criminal use and fueled a new wave of

addiction, abuse, and injury. Defendants’ scheme supplies both ends of the secondary market for

opioids—producing both the inventory of narcotics to sell and the addicts to buy them. One

researcher who has closely studied the public health consequences of opioids has found, not

surprisingly, that a “substantial increase in the nonmedical use of opioids is a predictable adverse

effect of substantial increases in the extent of prescriptive use.”189 It has been estimated that the

majority of the opioids that are abused come, directly or indirectly, through doctors’ prescriptions.




189
  G. Caleb Alexander et al., Rethinking Opioid Prescribing to Protect Patient Safety and Public Health, 308(18)
JAMA 1865 (2012).

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        705.     A significant black market in prescription opioids also has arisen, not only creating

and supplying additional addicts, but fueling other criminal activities.

        706.     In addition, because heroin is cheaper than prescription painkillers, many

prescription opioid addicts migrate to heroin. Self-reported heroin use nearly doubled between

2007 and 2012, from 373,000 to 669,000 individuals.                In 2010, more than 3,000 people in the

U.S. died from heroin overdoses, also nearly double the rate in 2006.                Nearly 80% of those who

used heroin in the past year had previously abused prescription opioids. Patients become addicted

to opioids and then move on to heroin because these prescription drugs are roughly four times more

expensive than heroin on the street. In the words of one federal DEA official, “Who would have

ever thought in this country it would be cheaper to buy heroin than pills . . . [t]hat is the reality

we’re facing.”190

        707.     That reality holds true in Lamar County and Vernon. According to addiction

programs in the county, a typical course sees addicts requesting more and more opioids from their

doctors, who eventually cut them off. Many addicts then doctor-shop for additional prescriptions,

and when that source runs out, turn to the streets to buy opioids illicitly. A significant number

become heroin addicts. Addiction treatment programs, whose patient populations vary, reported

rates of patients who had switched from prescription opioids to heroin ranging from half to 95%.

Those addicts who do reach treatment centers often do so when their health, jobs, families and

relationships reach the breaking point, or after turning to criminal activity such as prostitution and

theft to sustain their addiction. Unfortunately, few are successful in getting and staying clean;

repeated relapse is common.



190
    Matt Pearce & Tina Susman, Philip Seymour Hoffman’s death calls attention to rise in heroin use, L.A. Times,
Feb. 3, 2014, http://articles.latimes.com/2014/feb/03/nation/la-na-heroin-surge-20140204.

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        3. Defendants’ Fraudulent Marketing Has Led to Record Profits

        708.     While the use of opioids has taken an enormous toll on Lamar County and Vernon

and its residents, Defendants have gained blockbuster profits. In 2012, health care providers wrote

259 million prescriptions for opioid painkillers191—roughly one prescription per American adult.

Opioids generated $8 billion in revenue for drug companies just in 2010.

        709.       Financial     information—where          available—indicates         that    Defendants      each

experienced a material increase in sales, revenue, and profits from the fraudulent, misleading, and

unfair market activities laid out above. Purdue’s OxyContin sales alone increased from $45 million

in 1996 to $3.1 billion in 2010. In 2010, Research Firm Frost & Sullivan projected an increase to

$15.3 billion in overall revenue from opioid sales by 2016.

        4. Defendants Fraudulently Concealed Their Misrepresentations

        710.     At all times relevant to this Complaint, Defendants took steps to avoid detection of,

and fraudulently conceal, their deceptive marketing and conspiratorial behavior.

        711.     First, and most prominently, Defendants disguised their own roles in the deceptive

marketing of chronic opioid therapy by funding and working through patient advocacy and

professional front organizations and KOLs. Defendants purposefully hid behind these individuals

and organizations to avoid regulatory scrutiny and to prevent doctors and the public from

discounting their messages.

        712.     While Defendants were listed as sponsors of many of the publications described in

this Complaint, they never disclosed their role in shaping, editing, and exerting final approval over

their content. Defendants exerted their considerable influence on these promotional and

“educational” materials.

191
     Press Release, Center for Disease Control, Opioid painkiller prescribing varies widely among states: Where you
live makes a difference (July 1, 2014), https://www.cdc.gov/media/releases/2014/p0701-opioid-painkiller.html

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       713.    In addition to hiding their own role in generating the deceptive content, Defendants

manipulated their promotional materials and the scientific literature to make it appear as if they

were accurate, truthful, and supported by substantial scientific evidence. Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions they did not

actually support. The true lack of support for Defendants’ deceptive messages was not apparent to

the medical professionals who relied upon them in making treatment decisions, nor could they have

been detected by Lamar County, Vernon, or Sheriff Allred.

       714.    Thus, while the opioid epidemic was evident, Defendants, in furtherance of their

respective marketing strategies, intentionally concealed their own role in causing it. Defendants

successfully concealed from the medical community, patients, and health care payers facts

sufficient to arouse suspicion of the existence of claims that the county now asserts. Lamar County,

Vernon, and Sheriff Allred were not alerted to the existence and scope of Defendants’ industry-

wide fraud and could not have acquired such knowledge earlier through the exercise of reasonable

diligence.

       715.    Through their public statements, marketing, and advertising, Defendants’ deceptions

deprived the county of actual or presumptive knowledge of facts sufficient to put them on notice of

potential claims.

   G. Through Their Public Statements, Marketing, And Advertising, Defendants’
      Deceptions Deprived Plaintiff of Actual or Presumptive Knowledge of Facts Sufficient
      To Put Them On Notice Of Potential Claims. Defendants Entered Into and Engaged
      In a Civil Conspiracy.

       716.    Defendants entered into a conspiracy to engage in the wrongful conduct complained

of herein, and intended to benefit both independently and jointly from their conspiratorial

enterprise.




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       717.    Defendants reached an agreement between themselves to set up, develop, and fund

an unbranded promotion and marketing network to promote the use of opioids for the management

of pain in order to mislead physicians, patients, and others through misrepresentations or omissions

regarding the appropriate uses, risks and safety of opioids.

       718.    This network is interconnected and interrelated and relied upon Defendants’

collective use of and reliance upon unbranded marketing materials, such as KOLs, scientific

literature, CMEs, patient education materials, and Front Groups. These materials were developed

and funded collectively by Defendants, and Defendants relied upon the materials to intentionally

mislead consumers and medical providers of the appropriate uses, risks and safety of opioids.

       719.    By knowingly misrepresenting the appropriate uses, risks, and safety of opioids,

Defendants committed overt acts in furtherance of their conspiracy.

       720.    The Distributor Defendants are opioid distributors who distribute opioids into

Lamar County and Vernon.

       721.    The Distributor Defendants purchased opioids from manufacturers, such as the

named defendants herein, and sold them to pharmacies throughout Lamar County and Vernon.

       722.    The Distributor Defendants played an integral role in the chain of opioids being

distributed throughout Lamar County and Vernon.

       723.    The Distributor Defendants owe a duty under Alabama law (e.g., Ala. Code § 20-2-

52, Ala. Admin. Code § 680-X-3-.05), to monitor, detect, investigate, refuse to fill, and report

suspicious orders of prescription opioids originating from Lamar County or Vernon, Alabama as

well as those orders which Defendants knew or should have known were likely to be diverted into

Lamar County and Vernon, Alabama.




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       724.    Pursuant to Ala. Code § 20-2-56, distributors/wholesalers such as Defendants are

required to “keep records and maintain inventories in conformance with the record keeping

and inventory requirements of federal law and with any additional rules issued by the State Board

of Medical Examiners, the State Board of Health, or the State Board of Pharmacy.”

       725.    The Alabama State Board of Pharmacy requires that Defendants submit records

and reports required by the Drug Enforcement Administration concerning increases in purchases

or high or unusual volumes purchased by pharmacies within 30 days.” Ala Admin. Code § 680-

X-3-05.    Defendants failed to provide information required by the Alabama Uniform Controlled

Substance Act.

       726.    According to currently available information in ARCOS, from 2006 to 2016

pharmaceutical distributors, including Defendants, consistently maintained a large number of

opioid pain medications that were likely shipped to the Lamar County and Vernon areas.

       727.    For example, in 2016, distributors were distributing ten times the amount of

Oxymorphone and four times the amount of Buprenorphine than in 2006.

       728.    The Defendants were each on notice that the controlled substances they

manufactured and distributed were the kinds that were susceptible to diversion for illegal purposes,

abused, overused, and otherwise sought for illegal, unhealthy and problematic purposes.

       729.    The Defendants were each on notice that there was an alarming and suspicious rise

in manufacturing and distributing opioids to retailers within Lamar County and Vernon during this

time period.

       730.    As entities involved in the manufacture and distribution of opioid medications,

Defendants were engaged in abnormally and/or inherently dangerous activity and had a duty of

care under Alabama law.



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           731.    The Defendants had a duty to notice suspicious or alarming orders of opioid

pharmaceuticals and to report suspicious orders to the proper authorities and governing bodies

including the DEA, Alabama Board of Pharmacy and the Alabama Department of Health and

Human Services.

           732.    The Defendants knew or should have known that they were supplying vast amounts

of dangerous drugs in Lamar County and Vernon, which were already facing abuse, diversion,

misuse, and other problems associated with the opioid epidemic.

           733.    The Defendants failed in their duty to take any action to prevent or reduce the

distribution of these drugs.

           734.    The Defendants were in a unique position and had a duty to inspect, report, or

otherwise limit the manufacture and flow of these drugs to Lamar County and Vernon.

           735.    The Defendants, in the interest of their own massive profits, intentionally failed in

this duty.

           736.    The Defendants have displayed a continuing pattern of failing to submit suspicious

order reports.

           737.    In 2008, McKesson paid a $13.25 million fine to settle similar claims regarding

suspicious orders from internet pharmacies.192

           738.    Despite these prior penalties, McKesson’s pattern of failing to report suspicious

orders continued for many years.

           739.    According to the DEA, McKesson “supplied various U.S. pharmacies an increasing

amount of oxycodone and hydrocodone pills” during the time in question, and “frequently misused

products that are part of the current opioid epidemic.”193


192
      http://www.wvgazettemail.com/news-health/20161218/suspicious-drug-order-rules-never-enforced-by-state.

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         740.      On January 17, 2017, the DEA announced that McKesson had agreed to pay a

record $150 million fine and suspend the sale of controlled substances from distribution centers in

several states.194

         741.      In 2008, defendant Cardinal paid a $34 million penalty to resolve allegations that it

failed to report suspicious opioid orders.195

         742.      Despite this past penalty, in 2017, it was announced that defendant Cardinal agreed

to a $44 million fine to “resolve allegations that it failed to alert the Drug Enforcement Agency to

suspicious orders of powerful narcotics by pharmacies in Florida, Maryland, and New York.196

         743.      Defendant AmeriSourceBergen faced a criminal inquiry “into its oversight of

painkiller sales” in 2012. They have paid out fines for similar claims to the state of West

Virginia.

         744.      Despite the charges, fines, and penalties brought against the Distributor Defendants

in the past, they continued to fail to report suspicious orders or prevent the flow of prescription

opioids, including into Lamar County and Vernon.

         745.      The Distributor Defendants are also members of the Healthcare Distribution

Management Association (“HDMA”). The HDMA created “Industry Compliance Guidelines”

which stressed the critical role of each member of the supply chain in distributing controlled

substances. The HDMA guidelines provided that “[a]t the center of a sophisticated supply chain,

Distributors are uniquely situated to perform due diligence in order to help support the security of

controlled substances they deliver to their customers.”



193
    https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-settlement-failure-report-suspicious-orders.
194
    Id.
195
    https://www.justice.gov/usao-wdwa/pr/united-states-reaches-34-million-settlement-cardinal-health-civil-penalties-under-0.
196
    https://www.washingtonpost.com/national/health-science/cardinal-health-fined-44-million-for-opioid-reporting-
violations/2017/01/11/4f217c44-d82c-11e6-9a36-1d296534b31e_story.html?utm_term=.7049c4431465.

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       746.      Between the years in question, including 2007 through 2016, the Distributor

Defendants have shipped voluminous doses of highly addictive controlled opioid pain killers into

Lamar County and Vernon.

       747.      Many of these orders should have been stopped, or at the very least, investigated as

potential suspicious orders.

       748.      The sheer volume of the increase in opioid pain medications, including Oxycodone,

being distributed to retailers, should have put the Defendants on notice to investigate and report

such orders.

       749.      The Defendants manufactured and delivered an excessive and unreasonable amount

of opioid pain medications to retailers in Lamar County and Vernon.

       750.      Upon information and belief, the Defendants did not refuse to manufacture, ship, or

supply any opioid medications to any pharmacy in Lamar County and Vernon from 2007 to the

present.

       751.      The Defendants knew or should have known that they were manufacturing and

distributing levels of opioid medications that far exceeded the legitimate needs of Lamar County

and Vernon.

       752.      The Defendants also paid their sales force bonuses and commissions on the sale of

most or all of the highly addictive opioid pain medications within Lamar County and Vernon.

           753. The Defendants made substantial profits from the opioids sold in Lamar County and

Vernon.

       754.      The Defendants violated Alabama law and regulations for manufacturers and

distributors, by failing to properly report suspicious orders.




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       755.    By the actions and inactions described above, the Defendants showed a reckless

disregard for the safety of the residents of Lamar County and Vernon.

       756.    By the actions and inactions described above, the Defendants caused great harm to

Lamar County and Vernon and loss of resources to Sheriff Allred’s annual budgets.

       757.    On December 27, 2007, the U.S. Department of Justice, Drug Enforcement

Administration, sent a letter to Cardinal stating, “This letter is being sent to every entity in the

United States registered with the Drug Enforcement Agency (DEA) to manufacture or distribute

controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled

substance manufacturers and distributors to inform DEA of suspicious orders in accordance with

21 C.F.R. § 1301.74(b).”

       758.    The DEA has provided briefings to each of the Defendant Distributors and

conducted a variety of conferences regarding their duties under federal law.

       759.    The DEA sent a letter to each of the Defendant Distributors on September 26, 2006,

warning that it would use its authority to revoke and suspend registrations when appropriate. The

letter expressly states that a distributor, in addition to reporting suspicious orders, has a “statutory

responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted into

other than legitimate medical, scientific, and industrial channels.” The DEA warns that “even just

one distributor that uses its DEA registration to facilitate diversion can cause enormous harm.”

       760.    The DEA sent a second letter to each of the Defendant Distributors on December

27, 2007. This letter reminded the Defendant Distributors of their statutory and regulatory duties to

“maintain effective controls against diversion” and “design and operate a system to disclose to the

registrant suspicious orders of controlled substances.” The letter further explains:

       The regulation also requires that the registrant inform the local DEA Division
       Office of suspicious orders when discovered by the registrant. Filing a monthly

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report of completed transactions (e.g., “excessive purchase report” or “high unity
purchases”) does not meet the regulatory requirement to report suspicious orders.
Registrants are reminded that their responsibility does not end merely with the
filing of a suspicious order report. Registrants must conduct an independent
analysis of suspicious orders prior to completing a sale to determine whether the
controlled substances are likely to be diverted from legitimate channels.
Reporting an order as suspicious will not absolve the registrant of responsibility if
the registrant knew, or should have known, that the controlled substances were
being diverted.

The regulation specifically states that suspicious orders include orders of unusual
size, orders deviating substantially from a normal pattern, and orders of an
unusual frequency. These criteria are disjunctive and are not all inclusive. For
example, if an order deviates substantially from a normal pattern, the size of the
order does not matter and the order should be reported as suspicious. Likewise, a
registrant need not wait for a “normal pattern” to develop over time before
determining whether a particular order is suspicious. The size of an order alone,
whether or not it deviates from a normal pattern, is enough to trigger the
registrant’s responsibility to report the order as suspicious. The determination of
whether an order is suspicious depends not only on the ordering patterns of the
particular customer, but also on the patterns of the registrant’s customer base and
the pattern throughout the segment of the regulated industry.

Registrants that rely on rigid formulas to define whether an order is suspicious
may be failing to detect suspicious orders. For example, a system that identifies
orders as suspicious only if the total amount of a controlled substance ordered
during one month exceeds the amount ordered the previous month by a certain
percentage or more is insufficient. This system fails to identify orders placed by
a pharmacy if the pharmacy placed unusually large orders from the beginning of
its relationship with the distributor. Also, this system would not identify orders
as suspicious if the order were solely for one highly abused controlled substance
if the orders never grew substantially. Nevertheless, ordering one highly abused
controlled substance and little or nothing else deviates from the normal pattern of
what pharmacies generally order.

When reporting an order as suspicious, registrants must be clear in their
communication with DEA that the registrant is actually characterizing an order as
suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
“excessive purchases” do not comply with the requirement to report suspicious
orders, even if the registrant calls such reports “suspicious order reports.”

Lastly, registrants that routinely report suspicious orders, yet fill these orders
without first determining that order is not being diverted into other than legitimate
medical, scientific, and industrial channels, may be failing to maintain effective
controls against diversion. Failure to maintain effective controls against
diversion is inconsistent with the public interest as that term is used in 21 U.S.C.


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      §§ 823 and 824, and may result in the revocation of the registrant’s DEA
      Certificate of Registration.

      761.    As a result of the decade-long refusal by the Defendant Distributors to abide by

federal law, the DEA has repeatedly taken administrative action to force compliance. The United

States Department of Justice, Office of the Inspector General, Evaluation and Inspections

Divisions, reported that the DEA issued final decisions in 178 registrant actions between 2008 and

2012. The Office of Administrative Law Judges issued a recommended decision in a total of 177

registrant actions before the DEA issued its final decision, including 76 actions involving orders to

show cause and 41 actions involving immediate suspension orders. The Drug Enforcement

Administration’s Adjudication of Registrant Actions, United States Department of Justice, Office

of the Inspector General, Evaluation and Inspections Divisions, I-2014-003 (May 2014). The

public record reveals many of these actions:

      On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
      Suspension Order against the AmerisourceBergen Orlando, Florida distribution
      center (Orlando Facility) alleging failure to maintain effective controls against
      diversion of controlled substances. On June 22, 2007, AmerisourceBergen
      entered into a settlement which resulted in the suspension of its DEA registration;

      On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
      Suspension Order against the Cardinal Health Auburn, Washington Distribution
      Center (Auburn Facility) for failure to maintain effective controls against
      diversion of hydrocodone;

      On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
      Suspension Order against the Cardinal Health Lakeland, Florida Distribution
      Center (Lakeland Facility) for failure to maintain effective controls against
      diversion of hydrocodone;

      On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
      Suspension Order against the Cardinal Health Swedesboro, New Jersey
      Distribution Center (Swedesboro Facility) for failure to maintain effective
      controls against diversion of hydrocodone;

      On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
      Suspension Order against the Cardinal Health Stafford, Texas Distribution Center

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       (Stafford Facility) for failure to maintain effective controls against diversion of
       hydrocodone;

       On May 2, 2008, McKesson Corporation entered into an Administrative
       Memorandum of Agreement (2008 MOA) with the DEA which provided that
       McKesson would “maintain a compliance program designed to detect and prevent
       the diversion of controlled substances, inform DEA of suspicious orders required
       by 21 C.F.R. § 1301.74(b), and follow the procedures established by its
       Controlled Substance Monitoring Program”;

       On September 30, 2008, Cardinal Health entered into a Settlement and Release
       Agreement and Administrative Memorandum of Agreement with the DEA related
       to its Auburn Facility, Lakeland Facility, Swedesboro Facility, and Stafford
       Facility. The document also referenced allegations by the DEA that Cardinal
       failed to maintain effective controls against the diversion of controlled substances
       at its distribution facilities located in McDonough, Maryland (McDonough
       Facility), Valencia, California (Valencia Facility) and Denver, Colorado (Denver
       Facility);

       On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
       Suspension Order against the Cardinal Health Lakeland, Florida Distribution
       Center (Lakeland Facility) for failure to maintain effective controls against
       diversion of oxycodone;

       On June 11, 2013, Walgreens paid $80 million in civil penalties for dispensing
       violations under the CSA regarding the Walgreens Jupiter Distribution Center and
       six Walgreens retail pharmacies in Florida;

       On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
       DEA to resolve the civil penalty portion of the administrative action taken against
       its Lakeland, Florida Distribution Center; and

       On January 5, 2017, McKesson Corporation entered into an Administrative
       Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000
       civil penalty for violation of the 2008 MOA as well as failure to identify and
       report suspicious orders at its facilities in Aurora, CO; Aurora, IL; Delran, NJ;
       LaCrosse, WI; Lakeland, FL; Landover, MD; La Vista, NE; Livonia, MI;
       Methuen, MA; Sante Fe Springs, CA; Washington Courthouse, OH; and West
       Sacramento, CA

       762.    Rather than abide by these public safety statutes, the Defendant Distributors,

individually and collectively through trade groups in the industry, pressured the U.S. Department

of Justice to “halt” prosecutions and lobbied Congress to strip the DEA of its ability to immediately



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suspend distributor registrations. The result was a “sharp drop in enforcement actions” and the

passage of the “Ensuring Patient Access and Effective Drug Enforcement Act” which, ironically,

raised the burden for the DEA to revoke a distributor’s license from “imminent harm” to

“immediate harm” and provided the industry the right to “cure” any violations of law before a

suspension order can be issued.197

                               FIRST CAUSE OF ACTION
                   ALABAMA DECEPTIVE TRADE PRACTICES ACT (“ADTPA”)
                                  ALA. CODE § 8-19-1
                             (AGAINST ALL DEFENDANTS)

          763.       Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

          764.       Defendants violated the Alabama Deceptive Trade Practices Act, Ala. Code § 18-

19-1, et seq. (“ADTPA”) because they engaged in unfair and deceptive acts or practices and/or

unconscionable consumer sales acts and practices in this state.

          765.       This Cause of Action is brought in the public interest under the ADTPA and seeks a

declaratory judgment that Defendants have violated the ADTPA, an injunction enjoining

Defendants’ misrepresentations described in this Complaint, restitution to Lamar County and

Vernon, who on behalf of consumers paid for opioid prescriptions for chronic pain and therefore

have been damaged by Defendants’ conduct, and civil penalties, and restitution to Sheriff Allred,

who suffered financial losses to his annual budgets from increased law enforcement, jail

maintenance, inmate housing, inmate transfer, and associated costs.




197
    See Lenny Bernstein and Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of Control, WASH.
POST (Oct. 22, 2016), https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-while-the-opioid-epidemic- grew-out-of-
control/2016/10/22/aea2bf8e-7f71-11e6-8d13- d7c704ef9fd9_story.html?utm_term=.d84d374ef062; Lenny Bernstein and Scott Higham,
Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, WASH. POST (Mar. 6, 2017),
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea- enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-
b1e9-a05d3c21f7cf_story.html?utm_term=.b44410552cde.


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       766.    The ADTPA prohibits, in connection with consumer transactions, unfair, deceptive

or unconscionable consumer sales practices that mislead consumers about the nature of the product

they are receiving. The ADTPA prohibits sellers from representing: that the subject of a consumer

transaction has sponsorship, approval, performance characteristics, accessories, uses, or benefits

that it does not have.

       767.    The following acts are deemed to be deceptive:

       ●       Making any express or implied statement in connection with the marketing
               or advertisement of any product that is false, or has the capacity, tendency
               or effect of deceiving or misleading consumers; or omitting any material
               information such that the express or implied statement deceives or tends to
               deceive consumers.

       ●       Making any representation, in connection with the marketing or
               advertising of a product, about research that has been performed, including
               but not limited to, any representation that a product has been clinically
               tested unless at the time the claim is made, competent and reliable
               scientific evidence exists substantiating such claim.

       ●       Making in connection with the marketing or advertising of a product. Any
               . . . statements or representations concerning a product that materially
               contradict or conflict with any other statements or representations the
               Defendants made about such Product and rend such statements or
               representations misleading and/or deceptive.

       ●       Making, or causing to be made, any written or oral claim that is false,
               misleading or deceptive.

       ●       Representing that any product has any sponsorship, approval,
               characteristics, ingredients, uses, benefits, quantities, or qualities that it
               does not have.

       ●       Representing that any product has any sponsorship, characteristics,
               ingredients, uses, benefits, quantities, or qualities that it does not have.

       ●       Making in a promotional context an express or implied representation, not
               approved or permitted for use in the labeling or under the FDCA, that a
               product is better, more effective, useful in a broader range of conditions or
               patients, safer, has fewer, or less incidence of, or less serious side effects
               or contraindications than has been demonstrated by competent and reliable
               scientific evidence, whether or not such express or implied representation

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               is made by comparison with another drug or treatment, and whether or not
               such a representation or suggestion is made directly or through use of
               published or unpublished literature, a quotation, or other reference.

       ●       Presenting information from a study in a way that implies that the study
               represents larger or more general experience with a product than it
               actually does.

       ●       Misleadingly presenting favorable information or conclusion(s) from a
               study that is inadequate in design, scope, or conduct to furnish significant
               support for such information or conclusion(s) for information that may be
               material to an HCP prescribing decision when presenting information
               about a clinical study regarding a product.

       ●       Making, or causing to be made, any written or oral claim, directly or by
               promotional speakers, that is false, misleading, or deceptive regarding any
               FDA approved product, including, but not limited to, any false,
               misleading, or deceptive claim when comparing the efficacy or safety of
               two products.

       ●       Making any claim, directly or by promotional speakers, comparing the
               safety or efficacy of a product to another product when they claim is not
               supported by substantial evidence.

       ●       Making any claim, directly or by promotional speakers, that contradicts or
               minimizes a precaution, warning, or adverse reaction that is described in
               product labeling.

        768. As alleged herein, each Defendant, at all times relevant to this Complaint, violated

the ADTPA by making deceptive representations about the use of opioids to treat chronic non-

cancer pain. Each Defendant also omitted or concealed material facts and failed to correct prior

misrepresentations and omissions about the risks and benefits of opioids. Each Defendant’s

omissions rendered even their seemingly truthful statements about opioids deceptive.

       769.    Defendant Purdue made and/or disseminated deceptive statements, including, but

not limited to, the following:

       ●       Creating, sponsoring, and assisting in the distribution of patient education
               materials distributed to Alabama consumers that contained deceptive
               statements;



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●   Creating and disseminating advertisements that contained deceptive
    statements concerning the ability of opioids to improve function long-term
    and concerning the evidence supporting the efficacy of opioids long-term
    for the treatment of chronic non-cancer pain;

●   Disseminating misleading statements concealing the true risk of addiction
    and promoting the deceptive concept of pseudoaddiction through Purdue’s
    own unbranded publications and on internet sites Purdue operated that
    were marketed to and accessible by consumers;

●   Distributing brochures to doctors, patients, and law enforcement officials
    that included deceptive statements concerning the indicators of possible
    opioid abuse;

●   Sponsoring, directly distributing, and assisting in the distribution of
    publications that promoted the deceptive concept of pseudoaddiction, even
    for high-risk patients;

●   Endorsing, directly distributing, and assisting in the distribution of
    publications that presented an unbalanced treatment of the long-term and
    dose-dependent risks of opioids versus NSAIDs;

●   Providing significant financial support to pro-opioid KOL doctors who
    made deceptive statements concerning the use of opioids to treat chronic
    non-cancer pain;

●   Providing needed financial support to pro-opioid pain organizations that
    made deceptive statements, including in patient education materials,
    concerning the use of opioids to treat chronic non-cancer pain;

●   Assisting in the distribution of guidelines that contained deceptive
    statements concerning the use of opioids to treat chronic non-cancer pain
    and misrepresented the risks of opioid addiction;

●   Endorsing and assisting in the distribution of CMEs containing deceptive
    statements concerning the use of opioids to treat chronic non-cancer pain;

●   Developing and disseminating scientific studies that misleadingly
    concluded opioids are safe and effective for the long-term treatment of
    chronic non-cancer pain and that opioids improve quality of life, while
    concealing contrary data;

●   Assisting in the dissemination of literature written by pro-opioid KOLs
    that contained deceptive statements concerning the use of opioids to treat
    chronic noncancer pain;



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       ●       Creating, endorsing, and supporting the distribution of patient and
               prescriber education materials that misrepresented the data regarding the
               safety and efficacy of opioids for the long-term treatment of chronic non-
               cancer pain, including known rates of abuse and addiction and the lack of
               validation for long-term efficacy;

       ●       Targeting veterans by sponsoring and disseminating patient education
               marketing materials that contained deceptive statements concerning the
               use of opioids to treat chronic non-cancer pain;

       ●       Targeting the elderly by assisting in the distribution of guidelines that
               contained deceptive statements concerning the use of opioids to treat
               chronic non-cancer pain and misrepresented the risks of opioid addiction
               in this population;

       ●       Exclusively disseminating misleading statements in education materials to
               Alabama hospital doctors and staff while purportedly educating them on
               new pain standards;

       ●       Making deceptive statements concerning the use of opioids to treat chronic
               noncancer pain to Alabama prescribers through in-person detailing; and

       ●       Withholding from Alabama law enforcement the names of prescribers
               Purdue believed to be facilitating the diversion of its products, while
               simultaneously marketing opioids to these doctors by disseminating
               patient and prescriber education materials and advertisements and CMEs
               they knew would reach these same prescribers.

       770.    Defendant Endo made and/or disseminated deceptive statements, including, but not

limited to, the following:

       ●       Creating, sponsoring, and assisting in the distribution of patient education
               materials that contained deceptive statements;

       ●       Creating and disseminating advertisements that contained deceptive
               statements concerning the ability of opioids to improve function long-term
               and concerning the evidence supporting the efficacy of opioids long-term
               for the treatment of chronic non-cancer pain;

       ●       Creating and disseminating paid advertisement supplements in academic
               journals promoting chronic opioid therapy as safe and effective for long
               term use for highrisk patients;




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●   Creating and disseminating advertisements that falsely and inaccurately
    conveyed the impression that Endo’s opioids would provide a reduction in
    oral, intranasal, or intravenous abuse;

●   Disseminating misleading statements concealing the true risk of addiction
    and promoting the misleading concept of pseudoaddiction through Endo’s
    own unbranded publications and on internet sites Endo sponsored or
    operated;

●   Endorsing, directly distributing, and assisting in the distribution of
    publications that presented an unbalanced treatment of the long-term and
    dose-dependent risks of opioids versus NSAIDs;

●   Providing significant financial support to pro-opioid KOLs, who made
    deceptive statements concerning the use of opioids to treat chronic non-
    cancer pain;

●   Providing needed financial support to pro-opioid pain organizations –
    including over $5 million to the organization responsible for many of the
    most egregious misrepresentations – that made deceptive statements,
    including in patient education materials, concerning the use of opioids to
    treat chronic non-cancer pain;

●   Targeting the elderly by assisting in the distribution of guidelines that
    contained deceptive statements concerning the use of opioids to treat
    chronic non-cancer pain and misrepresented the risks of opioid addiction in
    this population;

●   Endorsing and assisting in the distribution of CMEs containing deceptive
    statements concerning the use of opioids to treat chronic non-cancer pain;

●   Developing and disseminating scientific studies that deceptively concluded
    opioids are safe and effective for the long-term treatment of chronic non-
    cancer pain and that opioids improve quality of life, while concealing
    contrary data;

●   Directly distributing and assisting in the dissemination of literature written
    by pro-opioid KOLs that contained deceptive statements concerning the use
    of opioids to treat chronic non-cancer pain, including the concept of
    pseudoaddiction;

●   Creating, endorsing, and supporting the distribution of patient and
    prescriber education materials that misrepresented the data regarding the
    safety and efficacy of opioids for the long-term treatment of chronic non-
    cancer pain, including known rates of abuse and addiction and the lack of
    validation for long-term efficacy; and


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       ●      Making deceptive statements concerning the use of opioids to treat chronic
              non-cancer pain to Alabama prescribers through in-person detailing.

       771.    Defendant Janssen made and/or disseminated deceptive statements, including, but

not limited to, the following:

       ●       Creating, sponsoring, and assisting in the distribution of patient education
               materials that contained deceptive statements;

       ●       Directly disseminating deceptive statements through internet sites over
               which Janssen exercised final editorial control and approval stating that
               opioids are safe and effective for the long-term treatment of chronic non-
               cancer pain and that opioids improve quality of life, while concealing
               contrary data;

       ●       Disseminating deceptive statements concealing the true risk of addiction
               and promoting the deceptive concept of pseudoaddiction through internet
               sites over which Janssen exercised final editorial control and approval;

       ●       Promoting opioids for the treatment of conditions for which Janssen knew,
               due to the scientific studies it conducted, that opioids were not efficacious
               and concealing this information;

       ●       Sponsoring, directly distributing, and assisting in the dissemination of
               patient education publications over which Janssen exercised final editorial
               control and approval, which presented an unbalanced treatment of the
               long-term and dose dependent risks of opioids versus NSAIDs;

       ●       Providing significant financial support to pro-opioid KOLs, who made
               deceptive statements concerning the use of opioids to treat chronic non-
               cancer pain;

       ●       Providing necessary financial support to pro-opioid pain organizations that
               made deceptive statements, including in patient education materials,
               concerning the use of opioids to treat chronic non-cancer pain;

       ●       Targeting the elderly by assisting in the distribution of guidelines that
               contained deceptive statements concerning the use of opioids to treat
               chronic non-cancer pain and misrepresented the risks of opioid addiction
               in this population;

       ●       Targeting the elderly by sponsoring, directly distributing, and assisting in
               the dissemination of patient education publications targeting this
               population that contained deceptive statements about the risks of addiction


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               and the adverse effects of opioids, and made false statements that opioids
               are safe and effective for the long-term treatment of chronic non-cancer
               pain and improve quality of life, while concealing contrary data;

       ●       Endorsing and assisting in the distribution of CMEs containing deceptive
               statements concerning the use of opioids to treat chronic non-cancer pain;

       ●       Directly distributing and assisting in the dissemination of literature written
               by pro-opioid KOLs that contained deceptive statements concerning the
               use of opioids to treat chronic non-cancer pain, including the concept of
               pseudoaddiction;

       ●       Creating, endorsing, and supporting the distribution of patient and
               prescriber education materials that misrepresented the data regarding the
               safety and efficacy of opioids for the long-term treatment of chronic non-
               cancer pain, including known rates of abuse and addiction and the lack of
               validation for long-term efficacy;

       ●       Targeting veterans by sponsoring and disseminating patient education
               marketing materials that contained deceptive statements concerning the
               use of opioids to treat chronic non-cancer pain; and

       ●       Making deceptive statements concerning the use of opioids to treat chronic
               non-cancer pain to Alabama prescribers through in-person detailing.

       772.    Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements, including, but not limited to, the following:

       ●       Creating, sponsoring, and assisting in the distribution of patient education
               materials that contained deceptive statements;

       ●       Sponsoring and assisting in the distribution of publications that promoted
               the deceptive concept of pseudoaddiction, even for high-risk patients;

       ●       Providing significant financial support to pro-opioid KOL doctors who
               made deceptive statements concerning the use of opioids to treat chronic
               non-cancer pain and breakthrough chronic non-cancer pain;

       ●       Developing and disseminating scientific studies that deceptively
               concluded opioids are safe and effective for the long-term treatment of
               chronic non-cancer pain in conjunction with Cephalon’s potent rapid-onset
               opioids;




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       ●       Providing needed financial support to pro-opioid pain organizations that
               made deceptive statements, including in patient education materials,
               concerning the use of opioids to treat chronic non-cancer pain;

       ●       Endorsing and assisting in the distribution of CMEs containing deceptive
               statements concerning the use of opioids to treat chronic non-cancer pain;

       ●       Endorsing and assisting in the distribution of CMEs containing deceptive
               statements concerning the use of Cephalon’s rapid-onset opioids;

       ●       Directing its marketing of Cephalon’s rapid-onset opioids to a wide range
               of doctors, including general practitioners, neurologists, sports medicine
               specialists, and workers’ compensation programs, serving chronic pain
               patients;

       ●       Making deceptive statements concerning the use of Cephalon’s opioids to
               treat chronic non-cancer pain to Alabama prescribers through in-person
               detailing and speakers bureau events, when such uses are unapproved and
               unsafe; and

       ●       Making deceptive statements concerning the use of opioids to treat chronic
               noncancer pain to Alabama prescribers through in-person detailing and
               speakers bureau events.

       773.    Defendant Actavis made and/or disseminated deceptive statements, including, but

not limited to, the following:

       ●       Making deceptive statements concerning the use of opioids to treat chronic
               non-cancer pain to Alabama prescribers through in-person detailing;

       ●       Creating and disseminating advertisements that contained deceptive
               statements that opioids are safe and effective for the long-term treatment
               of chronic noncancer pain and that opioids improve quality of life;

       ●       Creating and disseminating advertisements that concealed the risk of
               addiction in the long-term treatment of chronic, non-cancer pain; and

       ●       Developing and disseminating scientific studies that deceptively
               concluded opioids are safe and effective for the long-term treatment of
               chronic non-cancer pain and that opioids improve quality of life while
               concealing contrary data.

       774.    These deceptive representations and concealments were reasonably calculated to

deceive the county and county consumers, were made with the intent to deceive the State and


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Alabama consumers, and did in fact deceive Lamar County’s and Vernon’s consumers and local

government health insurance plans, who paid for prescription opioids for chronic pain.

       775.    As   described    more    specifically     above,   Defendants’   representations   and

concealments constitute a course of conduct which continues to this day.

       776.    But for these deceptive representations and concealments of material fact, Lamar

County and Vernon consumers and local government health insurance plans would not have

incurred millions of dollars in overpayments.

       777.    As a direct and proximate cause of Defendants’ deceptive conduct, Lamar County

and Vernon consumers have been injured in an amount to be determined at trial.

       778.    Plaintiffs and their residents have been injured by reason of Defendants’ violation of

the ADTPA.     Sheriff Allred has incurred financial losses to his department budget by reason of

Defendants’ violation of the ADTPA.

                            SECOND CAUSE OF ACTION
                                PUBLIC NUISANCE
        ALA. CODE § 6-5-120 and ALA. CODE § 6-5-121 and ALA. CODE § 6-5-122
                           (AGAINST ALL DEFENDANTS)

       779.    Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       780.    Under Alabama Law, a nuisance “is anything that works hurt, inconvenience, or

damage to another.” Ala. Code § 6-5-120 (1975). “A public nuisance is one which damages all

persons who come within the sphere of its operation, though it may vary in its effects on

individuals.” Ala. Code § 6-5-121 (1975).

       781.    Plaintiffs have standing to pursue an action against Defendants for public nuisance

because “[a]ll municipalities in the State of Alabama may commence an action in the name of the

city to abate or enjoin any public nuisance injurious to the health, morals, comfort, or welfare of

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the community or any portion thereof.”        Ala. Code § 6-5-122 (1975).        Plaintiffs also have

standing to pursue and action against Defendants for abatement of a public nuisance for the reasons

alleged above.

       782.      Defendants, individually and acting through their employees and agents, and in

concert with each other, have intentionally, recklessly, or negligently engaged in conduct or

omissions which endanger or injure the property, health, safety or comfort of a considerable

number of persons in Lamar County and Vernon by their production, promotion, and marketing of

opioids.

       783.      Defendants’ conduct is not insubstantial or fleeting. It has caused deaths, serious

injuries, and a severe disruption of public peace, order and safety; it is ongoing, and it is producing

permanent and long-lasting damage.

       784.      Defendants’ conduct constitutes a public nuisance.

       785.      The residents of Lamar County and Vernon have a right to be free from conduct

that creates an unreasonable jeopardy to the public health, morals, comfort, welfare and safety,

and to be free from conduct that creates a disturbance and reasonable apprehension of danger

to person and property.

       786.       Defendants have created a continuing nuisance by intentionally, unlawfully,

negligently and/or recklessly distributing and selling prescription opioids that Defendants know,

or reasonably should know, will be diverted, causing widespread distribution of prescription

opioids which directly and proximately caused injury to Plaintiffs and their residents.

       787.      Defendants’ conduct in marketing, distributing, and selling prescription opioids

which Defendants know, or reasonably should know, will likely be diverted for non-legitimate,

non-medical use, creates a strong likelihood that these illegal distributions of opioids will cause



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death and injuries to Lamar County’s and Vernon’s residents and otherwise significantly and

unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

from disturbance and reasonable apprehension of danger to person and property.

       788.    Plaintiffs suffered special injuries and costs distinguishable from those suffered by

the general public.

       789.    Defendants’ conduct is ongoing, and Plaintiffs seeks damages flowing from such

conduct. Plaintiffs further seek to abate the nuisance and harm created by Defendants’ conduct.

       790.    As a direct result of Defendants’ conduct, Plaintiffs have suffered actual injury and

damages including, but not limited to, significant expenses for police, emergency, health, jail, and

other services, and seek all legal and equitable relief allowed by law.




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                                  THIRD CAUSE OF ACTION
                                 DRUG-RELATED NUISANCE
                                    ALA. CODE § 6-5-155
                                (AGAINST ALL DEFENDANTS)


       791.    Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       792.    A “Drug-Related Nuisance” is defined under Alabama law as “[t]he use, sale,

distribution, possession, storage, transportation, or manufacture of any controlled substances in

violation of the controlled substance acts, or similar act of the United States or any other state.”

Ala. Code § 6-5-155.1.

       793.    For purposes of the Drug-Related Nuisance statute, “controlled substance acts” is

defined as “[t]he provisions of Sections 20-2-1 et seq., known as the “Alabama Uniform Controlled

Substance Act,” and Sections 13A-12-201 et seq., known as “The Drug Predator Control Act of

1987,” and Sections 13A-12-210 et seq., known as “The Drug Crimes Amendments Act of 1987.”

Ala. Code § 6-5-155.

       794.    Plaintiffs allege that the actions of Defendants placed at issue herein jointly and

severally constitute a drug-related nuisance in violation of Ala. Code § 6-5-155, et seq. These

actions include, but are not limited to, conduct defined as a drug-related nuisance in Ala. Code § 6-

5-155.1(3)b. The drug-related nuisance caused and created by the Defendants is present throughout

Lamar County and Vernon.




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       795.    Plaintiffs individually and collectively have standing to file this action to abate the

drug-related nuisance caused by Defendants pursuant to Ala. Code § 6-5-155.2.          Wherever there

is reason to believe that a drug-related nuisance exists, the attorney for the county or municipality

or any community association or individual within the county may file an action in the circuit

courts of this state to abate, enjoin, and prevent the drug-related nuisance.   Ala. Code § 6-5-155.2

       796.    Defendants’ conduct jointly and severally constitutes a drug-related nuisance.

       797.    Defendants’ conduct, jointly and severally, directly and proximately caused injury

to Plaintiffs including, but not limited to, the costs and harms alleged above and law enforcement

and police costs, EMS/ambulance costs, and healthcare related calls.

       798.    Much of Lamar County is unincorporated and not within the boundary of any

municipality. These areas have been adversely impacted by Defendants’ conduct. Lamar County

and Sheriff Hal Allred have the legal right to seek abatement of the nuisance and redress for

resulting damages.

       799.    The notice provisions of Ala. Code § 6-5-155.3 are inapplicable here, as the drug-

related nuisance is not confined to any single property. Rather, the drug-related nuisance is

situated throughout Lamar County and Vernon. Thus, Plaintiffs are in the position of notifying

themselves of the nuisance, the existence of which Plaintiffs are aware.

       800.    Plaintiffs suffered special injuries and costs distinguishable from those suffered by

the general public.

       801.    Defendants’ conduct is ongoing and the Plaintiffs seek damages flowing from such

conduct. Plaintiffs further seeks to abate the nuisance and harm created by Defendants’ conduct.




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       802.      As a direct result of Defendants’ conduct, Plaintiffs have suffered actual injury and

damages including, but not limited to, the harms and losses alleged above and significant expenses

for police, emergency, health, and other services, and seek all legal and equitable relief allowed by

law.

                                 FOURTH CAUSE OF ACTION
                             INTENTIONAL OR RECKLESS FRAUD
                                (AGAINST ALL DEFENDANTS)

       803.      Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       804.      Defendants, individually and acting through their employees and agents, and in

concert with each other, jointly and severally, intentionally or recklessly made misrepresentations

and omissions of facts material to Plaintiffs and their residents to induce them to purchase,

administer, and consume opioids as set forth in detail above.

       805.      Defendants knew or should have known at the time that they made their

misrepresentations and omissions that they were false.

       806.      Defendants intended that Plaintiffs and their residents would rely on their

misrepresentations and omissions.

       807.      Plaintiffs and their residents reasonably relied upon Defendants’ misrepresentations

and omissions.

       808.      The Defendants’ intentionally and recklessly did not alter or correct the

disseminated information they knew to be fraudulent.

       809.      By reason of their reliance on Defendants’ misrepresentations and omissions of

material fact, Plaintiffs and their residents suffered actual pecuniary damage.




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       810.      Defendants’ conduct was willful, wanton, malicious, or reckless and was directed at

the public generally.

       811.      As a direct result of Defendants’ conduct, Plaintiffs have suffered actual injury and

damages including, but not limited to, the harms and losses alleged above and significant expenses

for police, emergency, health, and other services, and seek all legal and equitable relief allowed by

law, including compensatory damages and punitive damages.

                                   FIFTH CAUSE OF ACTION
                                      INNOCENT FRAUD
                                 (AGAINST ALL DEFENDANTS)

       812.      Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       813.      As an alternative to Plaintiffs’ Fourth Cause of Action, Plaintiffs allege that

Defendants, individually and acting through their employees and agents, and in concert with each

other, jointly and severally, innocently made misrepresentations and omissions of facts material to

Plaintiffs and their residents without knowledge of their falsity to induce Plaintiffs and their

residents to purchase, administer, and consume opioids as set forth in detail above.

       814.      Defendants intended that Plaintiffs and their residents would rely on their

misrepresentations and omissions.

       815.      Plaintiffs and their residents reasonably relied upon Defendants’ misrepresentations

and omissions.

       816.      The Defendants’ innocently did not alter or correct the disseminated information.

       817.      By reason of their reliance on Defendants’ misrepresentations and omissions of

material fact, Plaintiffs and their residents suffered actual pecuniary damage.




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        818.       As a direct result of Defendants’ conduct, Plaintiffs have suffered actual injury and

damages including, but not limited to, the harms and losses alleged above and significant expenses

for police, emergency, health, and other services, and seek all legal and equitable relief allowed by

law.

                                     SIXTH CAUSE OF ACTION
                                       UNJUST ENRICHMENT
                                   (AGAINST ALL DEFENDANTS)

        819.       Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

        820.       As an expected and intended result of their conscious wrongdoing as set forth in this

Complaint, Defendants have profited and benefited from opioid purchases made by Plaintiff and

their residents.

        821.       In exchange for the opioid purchases, and at the time Plaintiffs and their residents

made these payments, Plaintiffs and their residents expected that Defendants had provided all of

the necessary and accurate information regarding those risks and had not misrepresented any

material facts regarding those risks.

        822.          Defendants have been unjustly enriched at the expense of Plaintiffs.

        823.       As a direct result of Defendants’ conduct, jointly and severally, Plaintiffs have

suffered actual injury and damages including, but not limited to, the harms and losses alleged

above and significant expenses for police, emergency, law enforcement, health, and other services,

and seek all legal and equitable relief allowed by law.




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                                SEVENTH CAUSE OF ACTION
                                 NEGLIGENCE/WANTONNESS
                                  ALABAMA COMMON LAW
                                (AGAINST ALL DEFENDANTS)

       824.    Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       825.    “To establish negligence [under Alabama law], the plaintiff must prove: (1) a duty

to a foreseeable plaintiff; (2) a breach of that duty; (3) proximate causation; and (4) damage or

injury.” Lemley v. Wilson, 178 So. 3d 834, 841 (Ala. 2015). All such essential elements exist here.

       826.    Defendants have a duty to exercise reasonable care in the distribution of opioids.

       827.    Defendants jointly and severally breached this duty by failing to take any action to

prevent or reduce the distribution of the opioids.

       828.    Wantonness is defined under Alabama law as consciously acting or failing to act

with a reckless or conscious disregard for the rights or safety of others.   Defendants’ actions and

inactions alleged herein constitute wantonness under Alabama law.

       829.    As a direct and proximate result, Defendants and their agents have caused Plaintiffs

to incur excessive costs related to diagnosis, treatment, and cure of addiction or risk of addiction to

opioids, the county has borne the massive costs of these illnesses and conditions by having to

provide necessary medical care, facilities, law enforcement, jail maintenance, inmate housing, and

services for treatment of county residents.

       830.    Defendants were jointly and severally negligent and wanton in failing to monitor

and guard against third-party misconduct and participated and enabled such misconduct.

        831. Defendants were jointly and severally negligent and wanton in disclosing to

Plaintiffs suspicious orders for opioids pursuant to the aforementioned Alabama statutes.




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        832.    Defendants’ acts and omissions imposed an unreasonable risk of harm to others

separately and/or combined with the negligent, wanton, and/or criminal acts of third parties.

        833.    Defendants are in a class of a limited number of parties that can legally distribute

opioids, which places it in a position of great trust by the Plaintiffs.

        834.    The trust placed in Defendants by Plaintiffs through the license to distribute opioids

in Lamar County and Vernon creates a duty on behalf of Defendants to prevent diversion of the

medications it supplies to illegal purposes.

        835.    A negligent and/or wanton or intentional violation of this trust poses distinctive and

significant dangers to the county and its residents from the diversion of opioids for non-legitimate

medical purposes and addiction to the same by consumers.

        836.    Defendants were negligent and wanton in not acquiring and utilizing special

knowledge and special skills that relate to the dangerous activity in order to prevent and/or

ameliorate such distinctive and significant dangers.

        837.    Defendants are required to exercise a high degree of care and diligence to prevent

injury to the public from the diversion of opioids during distribution.

        838.    Defendants breached their duty to exercise the degree of care, prudence,

watchfulness, and vigilance commensurate to the dangers involved in the transaction of its business

and acted wantonly in doing so.

        839.    Defendants are in exclusive control of the management of the opioids it distributed

to pharmacies and drug stores in Lamar County and Vernon.

        840.    Plaintiffs are without fault and the injuries to the Plaintiffs and the residents of

Lamar County and Vernon would not have occurred in the ordinary course of events had

Defendants used due care commensurate to the dangers involved in the distribution of opioids.



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       841.    As a direct result of Defendants’ conduct, Plaintiffs have suffered actual injury and

damages including, but not limited to, harms and losses alleged above and significant expenses for

police, emergency, law enforcement, health, and other services, and seek all legal and equitable

relief allowed by law.

                               EIGHTH CAUSE OF ACTION
                            NEGLIGENT/WANTON MARKETING
                              (AGAINST ALL DEFENDANTS)

       842.    Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       843.    Defendants had a duty to exercise reasonable care in the marketing of opioids.

       844.    Defendants were aware of the potentially dangerous situation involving opioids.

       845.    Defendants jointly and severally negligently and/or wantonly breached their duty of

care when they marketed opioids in an improper manner by:

       a.      overstating the benefits of chronic opioid therapy, promising improvement

               in patients’ function and quality of life, and failing to disclose the lack of

               evidence supporting long-term use;

       b.      trivializing or obscuring opioids’ serious risks and adverse outcomes,

               including the risk of addiction, overdose, and death;

       c.      overstating opioids’ superiority compared with other treatments, such as

               other non-opioid analgesics, physical therapy, and other alternatives;

       d.      mischaracterizing the difficulty of withdrawal from opioids and the

               prevalence of withdrawal symptoms;

       e.      marketing opioids for indications and benefits that were outside of the

               opioids’ labels and not supported by substantial evidence.



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       846.    It was Defendants’ marketing—and not any medical breakthrough—that

rationalized prescribing opioids for chronic pain and opened the floodgates of opioid use and

abuse. The result has been catastrophic.

        847. Defendants disseminated many of their false, misleading, imbalanced, and

unsupported statements indirectly, through KOLs and Front Groups, and in unbranded marketing

materials. These KOLs and Front Groups were important elements of Defendants’ marketing plans,

which specifically contemplated their use, because they seemed independent and therefore outside

FDA oversight. Through unbranded materials, Defendants, with their own knowledge of the risks,

benefits and advantages of opioids, presented information and instructions concerning opioids

generally that were contrary to, or at best, inconsistent with information and instructions listed on

Defendants’ branded marketing materials and drug labels. Defendants did so knowing that

unbranded materials typically are not submitted to or reviewed by the FDA.

       848.    Defendants also marketed opioids through the following vehicles: (a) KOLs, who

could be counted upon to write favorable journal articles and deliver supportive CMEs; (b) a body

of biased and unsupported scientific literature; (c) treatment guidelines; (d) CMEs; (e) unbranded

patient education materials; and (f) Front Group patient-advocacy and professional organizations,

which exercised their influence both directly and through Defendant-controlled KOLs who served

in leadership roles in those organizations.

       849.    Defendants knew or should have known that opioids were unreasonably dangerous

and could cause addiction.

       850.    Defendants’ marketing was a factor in physicians, patients, and others to prescribe

or purchase opioids.




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       851.    As a direct and proximate result of Defendants’ negligence and wantonness, jointly

and severally, Plaintiffs have has suffered and continue to suffer injury, including but not limited to

incurring excessive costs related to diagnosis, treatment, and cure of addiction or risk of addiction

to opioids, bearing the massive costs of these illnesses and conditions by having to provide

necessary resources for care, treatment facilities, and law enforcement services for county residents

and using county resources in relation to opioid use and abuse.

       852.     As a direct result of Defendants’ conduct, Plaintiffs have suffered actual injury and

damages including, but not limited to, the harms and losses alleged above and significant expenses

for police, emergency, health, and other services, and seek all legal and equitable relief allowed by

law.

                             NINTH CAUSE OF ACTION
                    CIVIL CONSPIRACY – ALABAMA COMMON LAW
                                (ALL DEFENDANTS)

       853.    Plaintiffs incorporate the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       854.    Defendants engaged in a civil conspiracy with each other and with the co-

conspirators identified above who are not parties to this action.        Defendants and their non-

Defendant co-conspirators combined to accomplish an unlawful end, or alternatively to accomplish

a lawful end by unlawful means.

       855.    Defendants’ civil conspiracy was an integral part and cause of the Defendants’

tortious conduct, jointly and severally, that is alleged above.        The purpose of Defendants’

conspiracy with each other and their non-Defendant co-conspirators was to cause damage to the

Plaintiffs, and the Defendants committed the overt acts alleged herein in order that Plaintiffs would

suffer the damages alleged herein.



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       856.   Plaintiffs have been damaged as a direct and proximate result of this civil

conspiracy, and Plaintiffs demand compensatory damages and punitive damages.

                         TENTH CAUSE OF ACTION
          VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT
                 ORGANIZATIONS ACT – 18 U.S.C. § 1962(c)-(d)
                            (ALL DEFENDANTS)

       857.   Plaintiffs incorporate the allegations within all prior paragraphs within this

   Complaint as if they were fully set forth herein.

       858.   Defendants were “persons” as defined by 18 U.S.C. § 1961(3) at all relevant times

   as they were capable of holding, and did hold, a legal or beneficial interest in property.

       859.   RICO makes it unlawful for any person employed by or associated with any

   enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

   conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

   a pattern of racketeering activity.   18 U.S.C. § 1962(c).

       860.   RICO, among other provisions, makes it unlawful for any person to conspire to

   violate the provisions of 18 U.S.C. § 1962(c). 18 U.S.C. § 1962(d).

       861.   Defendants, jointly and severally, acted aggressively to capture a large percentage

   of the opioid sales market and to expand the market inappropriately through their acts as

   alleged above.    In doing so, the Defendants launched an aggressive nationwide campaign

   over-emphasizing the under-treatment of pain and deceptively marketing opioids in the manner

   alleged above.     Defendants knowingly failed to report suspicious orders as required by

   applicable law, thereby inundating the market with opioids. Defendants, with each other and

   with their co-conspirators who are not named as defendants in this action, KOLs, Front Groups,

   and others, were employed by and associated with, and conducted or participated in the affairs

   of, one or several RICO enterprises (“the Opioid Fraud Enterprise”), the purpose of which was


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to deceive opioid prescribers, the public, and regulators into believing that opioids are safe and

effective for the treatment of long-term chronic pain and presented minimal risk of addiction

and/or that Defendants were complying with their reporting obligations.             In doing so,

Defendants sought to maximize revenues from the design, manufacture, sale, and distribution

of opioids that were in truth highly addictive and often ineffective and dangerous when used for

long-term, chronic, and other types of pain.

   862.    As a direct and proximate result of their fraudulent scheme and common course of

conduct, Defendants were able to generate billions of dollars in revenue.     Defendants’ multi-

year conduct violated 18 U.S.C. § 1962(c)-(d).

   863.    Plaintiffs alleged above the facts underlying Defendants’ Opioid Fraud Enterprise.

Defendants’ Opioid Fraud Enterprise constitutes an “enterprise” for purposes of Rico as it was

comprised of a group of individuals associated in fact, even though they are not a collective

legal entity. 18 U.S.C. §1961(4). The Opioid Fraud Enterprise had an existence separate

and distinct from each of its component entities, was separate and distinct from the pattern of

racketeering in which Defendants engaged, and was an ongoing organization consisting of legal

entities including, but not limited to, the Manufacturing Defendants, the Distributor

Defendants, the identified but non-named physician co-conspirators, and other KOLs and Front

Groups.

   864.    Within the Opioid Fraud Enterprise, there was a common communication network

by which members exchanged information on a regular basis through the use of wires and mail.

The Opioid Fraud Enterprise used this network for purposes of deceptively marketing, selling,

and distributing opioids to prescribers and the general public.




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   865.    The participants in the Opioid Fraud Enterprise were systematically linked to each

other through corporate ties, contractual relationships, financial ties, and the continuing

coordination of activities. Through the Opioid Fraud Enterprise, Defendants functioned as a

continuing unit with the purpose of furthering the illegal scheme and their common purposes of

increasing their revenues and market share and minimizing losses. Each Defendant in the

Opioid Fraud Enterprise benefitted financially from the enterprise and revenue generated by the

scheme to defraud prescribers and consumers in Alabama, including Plaintiffs’ prescribers and

consumers.

   866.    The past and ongoing conduct of the Defendants alleged above constitute a pattern

of racketeering activity under 18 U.S.C. § 1961(5). Although each Defendant participated in

the Opioid Fraud Enterprise, each has a separate existence from the enterprise, including

distinct legal statuses, different offices and roles, bank accounts, officers, directors, employees,

individual personhood, reporting requirements, and financial statements.

   867.    To carry out and attempt to carry out their scheme, Defendants knowingly

conducted and participated, directly and indirectly, in the conduct of the affairs of the enterprise

through a pattern of racketeering activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5),

and 1962(c), and that employed the use of the mail and wire facilities, in violation of 18 U.S.C.

§§ 1341 and 1343.

   868.    Defendants have committed, conspired to commit, and/or aided and abetted in the

commission of at least two predicate acts of racketeering activity within the past four years.

These multiple acts of racketeering activity were related to each other and also posed a threat of

continued racketeering activity, which constitutes a pattern of racketeering activity.




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   869.    In devising and executing their illegal scheme, Defendants knowingly carried out a

material scheme and/or artifice to defraud regulators, prescribers, and the public to obtain

money from the Plaintiffs by means of materially false or fraudulent pretenses, representations,

promises, or omissions of material facts.    Defendants committed these acts intentionally and

knowingly with the specific intent to advance the illegal scheme.

   870.    Many of the precise dates of Defendants’ fraudulent uses of the U.S. mail and

interstate wire facilities are concealed from the Plaintiffs and cannot be alleged without access

to Defendants’ books and records.

   871.    Defendants have not undertaken the acts specified herein in isolation but in

furtherance and as part of a common scheme and conspiracy. The predicate acts constitute a

variety of unlawful activities as alleged above, each conducted with the common purposes of

obtaining significant revenues and monies from consumers who are Plaintiffs’ residents, at the

expenses of each of the Plaintiffs, collectively and separately.

   872.    Plaintiffs relied upon representations and omissions that were made or caused by the

Defendants.

   873.    Plaintiffs’ injuries were directly and proximately caused by Defendants’

racketeering activity.   But for Defendants’ racketeering activity, Plaintiffs would not be

bearing the costs of the current opioid epidemic.

   874.    Plaintiffs have been injured as a result of Defendants’ conduct alleged herein in

multiple ways, including suffering increased law enforcement and public works costs,

increased costs for overtime, mental health treatment, workers’ compensation and health

insurance plan payments, increased emergency and treatment services, damage to emergency

equipment and vehicles, and lost productivity, economic opportunity, and tax revenue.



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           875.   Plaintiffs claim three times their actual damages plus injunctive/equitable relief and

reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

                                           RELIEF REQUESTED

           WHEREFORE, Plaintiff demands judgment against defendants, jointly and severally, as to

all Causes of Action, awarding Plaintiff in amounts likely to exceed $75,000:

      i.      compensatory damages in an amount sufficient to fairly and completely compensate

              Plaintiff for all damages;

     ii.      treble damages, penalties and costs pursuant to the Alabama Deceptive Trade Practices

              Act;

    iii.      punitive damages;

    iv.       interest, costs and disbursements;

     v.       that Defendants be ordered to abate the public nuisance they created in violation of

              Alabama law;

    vi.       that Defendants be ordered to abate the drug-related nuisance they created in violation

              of Alabama law;

    vii.      that Defendants, pursuant to Ala. Code § 6-5-155.7, be ordered to pay a civil penalty of

              up to the maximum per day, for each day the drug-related nuisance exists, with the

              penalty payable to the general fund of Lamar County and Vernon and to the operating

              budget of Sheriff Hal Allred;

   viii.      that Defendants be ordered to pay a fine of up to $50,000 to the general fund of Lamar

              County and Vernon and to the operating budget of Sheriff Hal Allred in relation to the

              drug-related nuisance; and

    ix.       such and further relief as this Court may deem just and proper;



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       WHEREFORE, Plaintiff pray that the Court grant them judgment in their favor against

Defendants and award them compensatory damages, punitive damages, for damages attorney’s fees

and costs, and any other relief deemed just in the premises.



                          PLAINTIFFS DEMAND TRIAL BY STRUCK JURY


Dated: February 5, 2018                      s/ Keith Jackson
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                                             Keith Jackson (ASB-7519-j66b)
                                             Robert R. Riley, Jr. (ASB-8310-y75r)
                                             3530 Independence Drive
                                             Birmingham, Alabama 35209


                                             s/ Audrey Oswalt Strawbridge
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                                             Audrey Oswalt Strawbridge ASB-4597y55s)
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